Case 4:21-cv-00033-ALM                      Document 84-2 Filed 12/20/24                             Page 1 of 132 PageID #:
                                                       3969



                                IN THE UNITED STATES DISTRICT COURT
                                 FOR THE EASTERN DISTRICT OF TEXAS
                                         SHERMAN DIVISION

     TIMOTHY JACKSON,                    §
          Plaintiff,                     §
                                         §
   v.                                    §       Civil Action No. 4:21-cv-00033
                                         §
   LAURA WRIGHT, MILTON B. LEE,          §
   MELISA DENIS, MARY DENNY,             §
   DANIEL FEEHAN, A.K. MAGO,             §
   CARLOS MUNGUIA, AND G.                §
   BRINT RYAN, each in their official    §
   capacities as members of the board of §
   regents for the University of North   §
   Texas System; RACHEL GAIN;            §
   ELLEN BAKULINA; ANDREW                §
   CHUNG; DIEGO CUBERO; STEVEN           §
   FRIEDSON; REBECCA DOWD                §
   GEOFFROY-SCHWINDEN;                   §
   BENJAMIN GRAF; FRANK                  §
   HEIDLBERGER; BERNARDO                 §
   ILLARI; JUSTIN LAVACEK; PETER         §
   MONDELLI; MARGARET NOTLEY;            §
   APRIL L. PRINCE; CATHY                §
   RAGLAND; GILLIAN ROBERTSON;           §
   HENDRIK SCHULZE; VIVEK                §
   VIRANI; AND BRIAN F. WRIGHT,          §
           Defendants.                   §
______________________________________________________________________________

    BOARD DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT APPENDIX
______________________________________________________________________________


UNT 1090-1115 ................................................................................................................. Appx.001
UNT 5061 ......................................................................................................................... Appx.027
Bakulina deposition excerpts ............................................................................................. Appx.028
Bakulina deposition exhibit 19 .......................................................................................... Appx.036
Brand deposition excerpts .................................................................................................. Appx.038
Chung deposition excerpts ................................................................................................. Appx.043
Cowley deposition excerpts ............................................................................................... Appx.048
Gain deposition excerpts .................................................................................................... Appx.057
Case 4:21-cv-00033-ALM                      Document 84-2 Filed 12/20/24                             Page 2 of 132 PageID #:
                                                       3970



Graf deposition excerpts .................................................................................................... Appx.061
Heidlberger deposition excerpts ........................................................................................ Appx.067
Heidlberger deposition exhibit 26...................................................................................... Appx.074
Heidlberger deposition exhibit 27...................................................................................... Appx.076
Jackson deposition excerpts ............................................................................................... Appx.078
Slottow deposition excerpts ............................................................................................... Appx.085
Slottow deposition exhibit 2 .............................................................................................. Appx.098
Walls deposition excerpts .................................................................................................. Appx.102
Walls deposition exhibits ................................................................................................... Appx.111
Ishiyama deposition excerpts ............................................................................................. Appx.118
Tweet thread....................................................................................................................... Appx.123
Case 4:21-cv-00033-ALM         Document 84-2 Filed 12/20/24             Page 3 of 132 PageID #:
                                          3971



                         Open Letter on Antiracist Actions Within SMT

 Anyone may sign this document via the Google Forms link at the end of the letter text. In
the first 10 days after publishing, this letter received more than 900 signatures. We are still
   accepting signatures, but since the rate of signing has lowered significantly we’ll only
                update the letter once per week. Thank you for your support!

At the Plenary Session of the Society for Music Theory’s 2019 meeting, Philip Ewell, Yayoi
Uno Everett, Ellie Hisama, and Joseph Straus powerfully demonstrated how systemic racism,
sexism, and ableism animate musical discourse. They spoke not only with candor and wisdom,
but also with exceptional courage. ​The ​Journal of Schenkerian Studies​, in Volume 12, has just
published a number of vitriolic responses to a single aspect of one presentation—under the
pretense of scholarly debate, no less—and the ensuing scandal has diverted our field’s focus
from the structural critiques made in the plenary.​ The journal’s violation of academic standards
of peer review, its singling out of Prof. Ewell while denying him a chance to respond, and ​the
language of many of its essays​ constitute anti-Black racism. These actions provide further
evidence of the structural force of white supremacy in our discipline. While this episode is the
most recent, and perhaps the most illustrative, the treatment Prof. Ewell received from the
Journal of Schenkerian Studies ​is only the latest instance of systemic racism that marginalized
Society members have faced for many years.

We applaud the ​recent statement​ of the Executive Board of the Society for Music Theory. To aid
the Executive Board in their aim to “determine further actions,” we the undersigned advocate for
the following:

   1. A public statement from the President, authorized by the Executive Board and in
      accordance with the Policy on Public Statements, that SMT acknowledges the following
      three points: (a) that American music theory is historically rooted in white supremacy, the
      racist idea that whites are superior to nonwhites, (b) that these white supremacist roots
      have resulted in racist policies that have benefitted whites and whiteness while
      disadvantaging nonwhites and nonwhiteness, and (c) that these racist policies have
      resulted in injustices suffered by BIPOC at all stages of their careers. Further, we call
      upon the President, with the authorization of the Executive Board, to apologize to all
      BIPOC who have suffered such injustices, without equivocation.
   2. A demonstration of support by the Society for the graduate students of the University of
      North Texas Department of Music History, Theory, and Ethnomusicology in their ​call for
      accountability​. We recommend that this support take the form of a letter to UNT Press
      demanding a full and truthful account of recent editorial processes at the ​Journal of
      Schenkerian Studies​. This account should include information pertaining to which


                                                                                   APPX.001
                                                                                 UNT_001090
Case 4:21-cv-00033-ALM          Document 84-2 Filed 12/20/24               Page 4 of 132 PageID #:
                                           3972



        authors submitted works through the call for responses and which were invited to
        participate individually, a description of the peer review process, details of which
        members of the editorial board, advisory board, and journal staff viewed submissions
        before publication, and an explanation of how certain authors were able to separate their
        roles as academic advisors to the editorial staff from their roles as authors.
   3.   The establishment of an Ombudsperson position or committee that advocates on behalf of
        those disadvantaged by imbalances of power in cases of conflict and misconduct related
        to journal editing, publications, conferences, governance, and teaching, since SMT has a
        role to play in promoting its policies for all members in all professional situations.
   4.   A statement that calls upon Society members to resign from the editorial board of the
        Journal of Schenkerian Studies​, as the journal’s recent comportment is incompatible with
        the SMT Policy on Ethics.
   5.   An amendment to the SMT Policy on Harassment, as it pertains to publication, to apply
        to members’ behavior in all their scholarly endeavors, not only in SMT publications,
        discussion groups, and interest group interactions.
   6.   A censure of the advisory board of the ​Journal of Schenkerian Studies​, pursuant to
        relevant portions of the SMT Mission Statement, Policy on Ethics, and Policy on
        Harassment, as the Society’s policies have no meaning if violations do not invite censure.
        In particular, the Policy on Harassment states that “cases of proven offenses” will result
        in “revocation of membership and honors.”
   7.   That all members of the society, as individuals, confront the ways we ourselves have
        sustained systems of racism and sexism through our own scholarship and pedagogy. The
        adoption of the above points is not a substitute for this self-reflection. That self-reflection
        will be aided by recent studies and works on antiracism, such as those​ ​Harvard has
        compiled​ and those in the​ ​Chronicle of Higher Education​. Members affiliated with an
        institution of higher learning can likely contact staff members dedicated to antiracist
        training and pedagogy. ​Project Spectrum’s keynote address at the 2020 MTSNYS
        conference​ also outlines important steps that individual theorists can take toward enacting
        change in our field.

It is only through acknowledgment and sustained, careful reflection that we can truly begin to
address these issues as an academic community. As a starting point, each music theorist must ask
themselves: What books and articles do I read? What scholars do I cite in my own research?
What music do I analyze in my research and in my classes? What readings do I assign in my
classes? What interest groups am I involved with? What committees do I serve on and what is
the racial and gender makeup of those committees? What students do I mentor? In short, we all
need to ask ourselves: What have I done as an individual to perpetuate existing white
supremacist systems of power and inequity in our field? Probing these questions in our work
individually is essential to our collective reckoning.


                                                                                      APPX.002
                                                                                    UNT_001091
Case 4:21-cv-00033-ALM        Document 84-2 Filed 12/20/24            Page 5 of 132 PageID #:
                                         3973




This document was collaboratively authored by eight music theorists who identify as white:
Edward Klorman, Stephen Lett, Rachel Lumsden, Mitch Ohriner, Cora S. Palfy, Nathan Pell,
Chris Segall, and Daniel Shanahan. As is too often the case, white racial activism relies on
uncredited labor by BIPOC. This document has benefitted from criticism, editing, and authorship
by Philip Ewell, Anna Gawboy, Jennifer Iverson, Vivian Luong, and Toru Momii. Its failings
rest with the initial authors.

We also believe that there is broad support within the music theory community and beyond for
the views expressed in this letter. If you would like to show your solidarity, please add your
name by filling out the form found at the following link.

   Complete the form here and your name will be added alphabetically on the next daily
                                      update.

                            https://forms.gle/wvLpit67oZU9rDE39

Signed,

Damien Abner, Riverside City College
Rosa Abrahams, Ursinus College
Ruard Absaroka, University of Salzburg
Giulia Accornero, Harvard University
Stefanie Acevedo, University of Dayton
Byron Adams, University of California, Riverside
George Adams, University of Chicago
Byron Adams, UC Riverside
Kyle Adams, Jacobs School of Music, Indiana University
Elisa Corona Aguilar, NYU Student
Aisha Ahmad-Post, Colorado Springs, CO
Brian Alegant, Oberlin College Conservatory
Makulumy Alexander-Hills, Columbia University
Khyam Allami, Doctoral Researcher, Royal Birmingham Conservatoire, Birmingham City
University, UK
Michael Allemana, University of Chicago
Emily Ruth Allen, Florida State University
Esme Allen-Creighton, North York Suzuki School of Music
Penrose Allphin, University of Massachusetts, Amherst
Andrés R. Amado, University of Texas Rio Grande Valley


                                                                                 APPX.003
                                                                               UNT_001092
Case 4:21-cv-00033-ALM       Document 84-2 Filed 12/20/24         Page 6 of 132 PageID #:
                                        3974



Matt Ambrosio, Lawrence University
Drake Andersen, Vassar College
Clovis de Andre, Faculdade Cantareira (São Paulo, Brazil)
Christopher Antila, RILM (Répertoire International de Littérature Musicale)
Spencer Arias, Michigan State University
Daniel Arthurs, University of Tulsa
Sean Atkinson, Texas Christian University
Robin Attas, Queen's University
Jacqueline Avila, University of Tennessee
William R. Ayers, University of Central Florida
Andrew Aziz, San Diego State University
Michael Baker, University of Kentucky
Ben Baker, Eastman School of Music
David John Baker, London, UK
Sara Bakker, Utah State University
Twila Bakker, Edmonton, Alberta
Ellen Bakulina, University of North Texas
Ellen Bakulina, University of North Texas
Lara Safinaz Balikci, McGill University
Doug Balliett, The Juilliard School
Brad Balliett, New York, NY
Marcos Balter, University of California, San Diego
Sam Baltimore, Retired
Lisa Barg, McGill University
Alyssa Barna, University of Minnesota
Jessica Barnett, SUNY Fredonia
Matthew Barnson, SUNY Stony Brook
Daniel Barolsky, Beloit College
Christopher Bartlette, Binghamton University
Samantha Bassler, New York University, Steinhardt Dept of Music and Performing Arts
Professions
Eliot Bates, The Graduate Center, CUNY
Inessa Bazayev, Louisiana State University
Melinda Beasi, Easthampton, MA
Richard Beaudoin, Dartmouth College
Jennifer Beavers, University of Texas at San Antonio
Rachel Becker, Boise State University
Adam Behan, University of Cambridge
Owen Belcher, University of Missouri Kansas City


                                                                            APPX.004
                                                                           UNT_001093
Case 4:21-cv-00033-ALM       Document 84-2 Filed 12/20/24          Page 7 of 132 PageID #:
                                        3975



Matthew Bell, Tallahassee, FL
Vincent Pérez Benítez, Penn State University
Lauren Bennati, University of Wisconsin-Milwaukee
Michael Bennett, Graduate student, Stony Brook University
William Bennett, Harvard University
Linda Berna, Chicago College of Performing Arts at Roosevelt University
Zachary Bernstein, Eastman School of Music, University of Rochester
Michael Berry, University of Washington
David Carson Berry, University of Cincinnati, College-Conservatory of Music
Nilanjana Bhattacharjya , Arizona State University
Nicole Biamonte, McGill University
Ian Biddle, Newcastle University, UK
Benjamin Bierman, John Jay College, CUNY
Stefanie Bilidas, University of Texas at Austin
Sebastian Bisciglia, University of Toronto
Wendelin Bitzan, Robert Schumann Hochschule Düsseldorf, Germany
Nicolas Bizub, University of Cincinnati College-Conservatory of Music
Andrew Blake, Eastman School of Music, University of Rochester
Damian Blättler, Rice University
Dan Blim, Denison University
Morgan Block, University of Arizona
Chandler Blount, Florida State University
Michael S. Boerner, Stony Brook University
Breighan Boeskool , Granger, IN
Claire Boge, Miami University (Oxford, Ohio)
Jacob Bohan, Charlotte, North Carolina
Christine Boone, University of North Carolina Asheville
David Borgo, UC San Diego
Jack Boss, University of Oregon
Mauro Botelho, Davidson College
Beau Bothwell, Kalamazoo College
Janet Bourne, University of California, Santa Barbara
Sara Bowden, Northwestern University
Lynette Bowring, Yale University
Douglas Boyce, George Washington University
Clifton Boyd, Yale University
Michael Boyd, Chatham University
Matthew Boyle, University of Alabama
Antares Boyle, Portland State University


                                                                              APPX.005
                                                                              UNT_001094
Case 4:21-cv-00033-ALM       Document 84-2 Filed 12/20/24         Page 8 of 132 PageID #:
                                        3976



Penny Brandt , University of Texas at Austin
Andre Bregegere, William Paterson University
Matt Brennan, University of Glasgow
Zachary Bresler, University of Agder, Kristiansand, Norway
David Bretherton, University of Southampton
Amelia Brey, The Juilliard School
Seth Brodsky, University of Chicago
Christopher Brody, University of Louisville
Per Broman, Bowling Green State University
Erin M. Brooks, State University of New York-Potsdam
Eliza Brown, DePauw University
Jenine Brown, Peabody Conservatory of the Johns Hopkins Univ.
Matthew Brown, Eastman School of Music
Andrea Brown, University of Maryland
Michael Bruschi, Yale University
Michael Buchler, Florida State University
James Buhler, University of Texas at Austin
Carl Burdick, University of Cincinnati
Samantha Burgess, Ohio State University
Geoffrey Burleson, Hunter College-CUNY
L. Poundie Burstein, CUNY
Patricia Burt, University of Delaware
Mark J. Butler, Northwestern University
David Byrne, University of Manitoba
Thomas Cabaniss, The Juilliard School, New York, NY
Stephen Cabell, Occidental College
Ian Calhoun, University of North Texas
Andrea Calilhanna, Western Sydney University, MARCS Institute for Brain, Behaviour and
Development
Michael Callahan, Michigan State University
Clifton Callender, Florida State University
Melissa Camp, University of North Carolina, Chapel Hill
Lee Cannon-Brown, Harvard University
Ellon D Carpenter, Arizona State University, Emerita
Daphne GA Carr, NYU FAS Music
Carolyn Carrier, Philadelphia, PA
Rebecca Carroll, Rutgers University
James Carroll, Springfield, MA
Daniel Carsello, Temple University


                                                                            APPX.006
                                                                          UNT_001095
Case 4:21-cv-00033-ALM      Document 84-2 Filed 12/20/24         Page 9 of 132 PageID #:
                                       3977



Antonio Cascelli, Maynooth University
James P Cassaro , University of Pittsburgh
Zosha Di Castri, Columbia University
Devin Chaloux, New Hampshire
Samuel Chan, New York University
Aditya Chander, Yale University
Varun Chandrasekhar, The University of Minnesota
Dustin Chau, University of Chicago
Damian Cheek, University of Arkansas - Fort Smith
Timothy K. Chenette, Utah State University
William Cheng, Dartmouth College
Hon Ki Cheung, University of Minnesota
Adrian P. Childs, University of Georgia
Matt Chiu, Eastman School of Music
Hiroaki Cho, Brown University
Andrew Chung, University of North Texas
Amy Cimini, UC San Diego
Alice Clark, Loyola University New Orleans
Caryl Clark, University of Toronto
Timothy Clarkson , Sydney Conservatorium of Music, Sydney University
Seth Cluett, Columbia University
Jacob A. Cohen, Oberlin College
Sara Jo Cohen, University of Michigan Press
Christa Cole, Indiana University
Carla Colletti, Webster University
Adam Collins, University of Montana
Henri Colombat, McGill University
John Combs, Florida State University
Jade Conlee, Yale University
Corrina Connor , Victoria University of Wellington, New Zealand
Karen M. Cook, University of Hartford
Robert C. Cook, Louisville CO (University of Iowa, emeritus)
Margaret Cormier, McGill University
David Cortello, Catawba Valley Community College, Hickory, North Carolina
Evan Cortens, Mount Royal University
Nicole Cosme, Yale University
Alyssa Cottle, Harvard University
Benjamin Court, UCLA
Alexander Cowan, Harvard University


                                                                            APPX.007
                                                                            UNT_001096
Case 4:21-cv-00033-ALM       Document 84-2 Filed 12/20/24         Page 10 of 132 PageID #:
                                         3978



 Georgia Cowart, Cleveland
 Arnie Cox, Oberlin College & Conservatory
 Daniel Cox, Yale
 Maxe Crandall, Stanford University
 Hannah N. Crider, Florida State University
 Stephen A. Crist, Emory University
 Luis Cruz, Rutgers University
 Diego Cubero, University of North Texas
 Alejandro Cueto, University of Texas at Austin
 Nick Curry, Harvard Law School
 David Damschroder, University of Minnesota
 Joe Davies, University of Oxford
 Joe Davies , University of Oxford
 James Q. Davies, UC Berkeley
 Stacey Davis, University of Texas at San Antonio
 Angharad Davis, Yale University
 Hannah Davis-Abraham, University of Toronto
 Laina Dawes, Columbia University
 Greg Decker, Bowling Green State University (Ohio)
 Kyle DeCoste, Columbia University
 Rob Deemer, State University of New York at Fredonia
 Galen DeGraf, Columbia University
 Tomoko Deguchi, Winthrop University
 Michael Dekovich, University of Oregon
 Hayden Denesha, Rock Hill Symphony Orchestra
 Jay Derderian, Composer - Portland, Oregon
 Johanna Devaney, Brooklyn College and CUNY Graduate Center
 Dana DeVlieger, University of Delaware
 Joshua DeVries, University of Michigan
 David Dewar, University of Bristol, UK
 Emily DeWoolfson, Temple University
 Thomas Dickinson, South Carolina Governor’s School for the Arts and Humanities
 Brittni Leigh Dixon, Florida State University
 Kendall Durelle Briggs, DMA, Professor of Music, The Juilliard School
 Benjamin Dobbs, Furman University
 Julia Doe, Columbia University
 Brianne Dolce, Institute of Historical Research
 James Donaldson, McGill University
 Sahara Donna, University of North Texas


                                                                             APPX.008
                                                                            UNT_001097
Case 4:21-cv-00033-ALM      Document 84-2 Filed 12/20/24        Page 11 of 132 PageID #:
                                        3979



 Luka Douridas, RILM (Répertoire International de Littérature Musicale)
 Eric Drott, University of Texas at Austin
 Aleksandra (Sasha) Drozzina, Toronto, ON
 Daniel Nicolae Dubei, New York City, NY
 Michèle Duguay, The Graduate Center, CUNY
 Ben Duinker, University of Toronto
 Craig Duke, Indiana University
 Philip Duker, University of Delaware
 Melissa Dunphy, Rutgers University
 Jonathan Dunsby, Eastman School of Music
 Jacques Dupuis, Brandeis University
 Dave Easley, Oklahoma City University
 Michael Ebie, Michigan State University
 Ryan Ebright, Bowling Green State University
 Lindsey Eckenroth, Brooklyn College, CUNY
 Ethan Edl, Yale University
 Lolita Emmanuel, Sydney Conservatorium of Music, University of Sydney
 Laura Emmery, Emory University
 Neal Endicott, Michigan State University
 Christopher Endrinal, Florida Gulf Coast University
 Clare Sher Ling Eng, Belmont University
 Nora Engebretsen, Bowling Green State University
 Tom Erbe, UC San Diego
 Walter Everett, University of Michigan
 Sara Everson, Florida State University
 Philip Ewell, Hunter College
 Samuel Falotico, University of Colorado Boulder
 David Falterman, Eastman School of Music, University of Rochester
 Tobias Fasshauer, Berlin University of the Arts
 Joe Feagin, Texas A&M University
 Fred Fehleisen, The Juilliard School
 Brent Ferguson, Washburn University and MidAmerica Nazarene University
 Matthew Ferrandino, University of Kansas
 Abigail Fine, University of Oregon
 Stanley Ralph Fink, Florida State University
 Aaron Flagg, The Juilliard School
 Amy Fleming, Baylor University
 Nathan Fleshner, University of Tennessee
 J. Wesley Flinn, University of Minnesota Morris


                                                                          APPX.009
                                                                          UNT_001098
Case 4:21-cv-00033-ALM       Document 84-2 Filed 12/20/24          Page 12 of 132 PageID #:
                                         3980



 Rebecca Flore, University of Chicago
 David Walter Floyd, Champaign, IL
 Gretchen Foley, University of Nebraska-Lincoln
 Mike Ford, Columbia University
 Jane Forner, Columbia University
 Karen Fournier , University of Michigan @ Ann Arbor
 Elizabeth Fox, University of Toronto
 Aaron Andrew Fox, Dept. of Music, Columbia University
 Kelly Francis, Kennesaw State University
 Peter Franck, Western University
 Kristin M. Franseen, Carleton University and University of Ottawa
 Walter Frisch, Columbia University
 Simon Frisch, The Juilliard School
 Louise Fristensky, The University of North Texas
 Johanna Frymoyer, University of Notre Dame
 Dr Sophie Fuller, Trinity Laban Conservatoire of Music and Dance, UK
 Anna Fulton, Grand Valley State University
 Alison Furlong, Columbus, OH
 Joshua Gailey, Seattle, WA
 Rachel Gain, University of North Texas
 Michael Gallope, University of Minnesota
 Bronwen Garand-Sheridan , Yale
 Orlando Jacinto Garcia, Florida International University
 Sarah Gates, Northwestern University
 Leslie Gay, University of Tennessee, Knoxville
 David Geary, Wake Forest University
 Molly Gebrian, University of Arizona
 Robin Gebrian, West Hartford CT
 William van Geest, University of Michigan
 Ian Gerg, Southeastern Oklahoma State University
 Sarah Gerk, Binghamton University
 Emily Gertsch , University of Georgia
 Elaine Fitz Gibbon, Harvard University
 Jeffrey L. Gillespie , Butler University
 Mylene Gioffredo, Universite de Metz
 Irene Girton, Occidental College
 Jon-Tomas Godin, Brandon University
 Keir GoGwilt, UC San Diego
 Daniel Goldberg, University of Connecticut


                                                                            APPX.010
                                                                           UNT_001099
Case 4:21-cv-00033-ALM        Document 84-2 Filed 12/20/24            Page 13 of 132 PageID #:
                                          3981



 Halina Goldberg, Indiana University, Bloomington
 Rachel May Golden, University of Tennessee
 K. E. Goldschmitt, Wellesley College
 Grace Gollmar, University of Texas at Austin
 Stephen Gomez-Peck, The Graduate Center, CUNY
 Juan Gonzalez, Alumni
 Sumanth Gopinath, University of Minnesota Twin Cities
 Stephen Gosden, University of North Florida
 Gillian L. Gower, University of Denver/University of Edinburgh
 Naomi Graber, University of Georgia
 Thomas Gracy, Boston University
 Benjamin Graf, University of North Texas
 Aaron Grant, Missouri Western State University
 Roger Mathew Grant, Wesleyan University
 Julianne Grasso, University of Texas at Austin
 Ashley A. Greathouse , PhD Candidate, University of Cincinnati
 Andrew Green, University of Glasgow
 Laura Gayle Green, Florida State University
 Hannah Greene, Yale College (alum)
 Stefan Greenfield-Casas, Northwestern University
 phillip greenlief, oakland, ca
 Jess Griggs, Austin, TX
 Michelle L Grosser, University of Toronto
 Bree Kathleen Guerra, University of Texas at Austin
 Jeannie Ma. Guerrero, Rochester, NY
 Massimo Guida, Toronto
 Massimiliano Guido, Pavia University, Italy
 Stephanie Gunst, independent scholar, Charlottesville, VA
 Toni Haastrup, UK
 Sara Haefeli, Ithaca College, Editor of the Journal of Music History Pedagogy
 Zaki Hagins, Conservatorium Maastricht
 Lauren Halsey, University of Washington
 Elizabeth Hambleton, UCSB
 Chelsey hamm, Christopher Newport University
 Scott Hanenberg, Virginia Tech
 Mena Mark Hanna, Barenboim-Said Akademie, Berlin
 Marc Hannaford, University of Michigan
 Calder Hannan, Columbia University
 Kristi Hardman, The Graduate Center, CUNY


                                                                                 APPX.011
                                                                                 UNT_001100
Case 4:21-cv-00033-ALM       Document 84-2 Filed 12/20/24         Page 14 of 132 PageID #:
                                         3982



 Matthew Harikian, University of Minnesota
 J. Tanner Harrod, Graduate Student, University of Nebraska-Lincoln
 Lauren Hartburg, Florida State University
 Dr. Daniel Hartley, Trinity Laban Conservatoire of Music & Dance
 Robert Hasegawa, McGill University
 Amy Hatch, University of North Texas/University of Texas at Arlington
 Stan Hawkins, University of Oslo and University of Agder, Norway
 Midavi Hayden, Independent Artist-Scholar; Cincinnati, OH
 Martin Hebel, University of Cincinnati College-Conservatory of Music
 Garrett Hecker, Santa Fe College (Gainesville, FL)
 Nicola Leonard Hein, Columbia University New York
 Haley Heinricks, Harvard University
 David Heinsen, University of Texas at Austin
 Bill Heinze, University of Minnesota
 Salvador Hernandez, University of North Texas
 Matthias Heyman, University of Antwerp, Belgium
 Laura Hibbard, University of Connecticut
 Andrew Hicks, Cornell University
 Orit Hilewicz, Eastman School of Music
 Ann Hiloski-Fowler , West Chester University of Pennsylvania
 Ellie M. Hisama, Columbia University
 Jocelyn Ho, UCLA
 Hubert Ho, Northeastern University
 Trevor Hofelich, Florida State University
 John Hollenbeck, Schulich School of Music, McGill University
 Kevin Holm-Hudson, University of Kentucky
 Julian Bennett Holmes, Manhattan School of Music; Columbia University
 Heather Holmquest, Nazareth College
 Knut Holtstraeter, University of Freiburg, Germany
 Tanya Honerman, University of Kansas
 Erika Supria Honisch, Stony Brook University
 Jason Hooper, University of Massachusetts Amherst
 Fred Hosken, Northwestern University
 Rachel Hottle, McGill University
 Blake Howe, Louisiana State University
 Alison Howell, Rutgers University
 Madeleine Howey, Indiana University
 Amanda Hsieh, University of Toronto
 Charles Hsueh, Stony Brook University


                                                                           APPX.012
                                                                          UNT_001101
Case 4:21-cv-00033-ALM      Document 84-2 Filed 12/20/24        Page 15 of 132 PageID #:
                                        3983



 Daniel Huang, University of Cincinnati College-Conservatory of Music
 Stephen S. Hudson, University of Richmond
 Bryn Hughes, The University of Lethbridge
 Tim Hughes, The London College of Music
 James Humberstone, Sydney Conservatorium of Music, The University of Sydney
 Eric Hung, Music of Asian America Research Center
 Kyle Hutchinson,
 Liam Hynes-Tawa, Yale University
 Brendan Ige, Eastern Michigan University
 Sarah Iker, Massachusetts Institute of Technology
 Mark Inchoco, University of California, Riverside
 Tom Ingram, Winnipeg, MB
 Lauren Irschick, Eastman School of Music
 Thomas Irvine, University of Southampton
 Eric Isaacson, Indiana University Jacobs School of Music
 Velia Ivanova, Columbia University
 Roman Ivanovitch, Indiana University
 Jennifer Iverson, University of Chicago
 Joseph R Jakubowski , Harvard University
 Joseph Jakubowski, Harvard University
 Donald James, Boston College
 Mark Janello, Peabody Conservatory, Johns Hopkins University
 Freya Jarman, University of Liverpool, UK
 Jason Jedlicka, Cleveland Institute of Music
 J. Daniel Jenkins, University of South Carolina
 Stephanie Jensen-Moulton, Brooklyn College, CUNY
 Emily John, Special Music School, NYC, Queens College - CUNY
 James A. John, Aaron Copland School of Music, Queens College-CUNY
 Tom Johnson, contingent faculty
 Lindsay Johnson, University of Maryland, Baltimore County
 Erin Johnson-Williams, Durham University
 Blair Johnston, Indiana University
 Erin Johnston, The Graduate Center, CUNY
 Evan Jones, Florida State University
 Alexandrea Jonker, McGill University
 Tamyka Jordon, Louisiana State University
 Patricia Julien, University of Vermont
 Sylvia Kahan, College of Staten Island and Graduate Center, CUNY
 Elyse Kahler, University of Texas at Arlington


                                                                           APPX.013
                                                                          UNT_001102
Case 4:21-cv-00033-ALM        Document 84-2 Filed 12/20/24             Page 16 of 132 PageID #:
                                          3984



 Noah Kahrs, Eastman School of Music
 Peter Kaminsky, University of Connecticut - Storrs
 Seth Keele, University of North Texas
 Robert T. Kelley, Lander University
 Laura L. Kelly, University of Texas at San Antonio
 Matthew Kennedy, University of South Florida
 Colin Kennedy, Washington, DC
 Emily Kenyon, South Country Central School District
 Marissa Kerbel, University of Cincinnati
 Linda Kernohan, The Ohio State University, Otterbein University
 Daniel Ketter, Daniel Ketter
 Dr. Ildar D. Khannanov, Peabody Institute, Johns Hopkins University
 Wes Khurana, University of Toronto
 Marianne Kielian-Gilbert, Indiana University
 Marina Kifferstein, CUNY Graduate Center
 Catrina Kim, University of North Carolina at Greensboro
 Jesse Kinne, Louisiana Tech University
 Jesse Kiser, University at Buffalo
 Michael L. Klein, Temple University
 Joshua Klopfenstein , University of Chicago
 Edward Klorman, McGill University
 Andrew J Kluth, Case Western Reserve University
 Corissa Knecht, University of Arizona
 Douglas Knehans, College-Conservatory of Music, Cincinnati, OH
 Andrew Knight-Hill, University of Greenwich, UK
 Kristina Knowles, Arizona State University
 Melinda Knowling, Univeristy of North Texas
 Jon Kochavi, Swarthmore College
 Emily Koh, University of Georgia
 Tatiana Koike, Yale University
 Adam J. Kolek, Rowan University
 Robert Komaniecki, University of Iowa
 Kevin Korsyn, University of Michigan
 Ryan Kosseff-Jones, Geneva, NY
 Stephen M. Kovaciny, Madison, WI
 Sarah Koval, Harvard University
 Mariusz Kozak, Columbia University
 Reiner Krämer, University of Northern Colorado
 Joseph Kraus, Florida State University


                                                                                APPX.014
                                                                               UNT_001103
Case 4:21-cv-00033-ALM       Document 84-2 Filed 12/20/24         Page 17 of 132 PageID #:
                                         3985



 Hanisha Kulothparan, Michigan State University
 Jonathan Kulp , University of Louisiana at Lafayette
 Anita Kumar, Georgia State University
 Jaclyn Noel Kurtz, Cuyahoga Falls, Ohio
 Darren A. LaCour, Lindenwood University
 Eric Lai, Baylor University
 Hei-Yeung John Lai, University of British Columbia
 steven laitz, the Juilliard School
 Nathan Lam, Massachusetts Institute of Technology
 George Tsz-Kwan Lam, Hong Kong Baptist University
 Wing Lau, University of Arkansas
 Heather Laurel, Independent Scholar (Mannes/CUNY Alum)
 Justin Lavacek, University of North Texas
 Megan Lavengood, George Mason University
 TJ Laws-Nicola , University of Kansas
 Kara Yoo Leaman, Oberlin College & Conservatory
 Gavin Lee, Soochow University
 Dickie Lee, University of Georgia
 Christina Lee, Mannes College - The New School, The Juilliard School, CUNY Graduate Center
 Frank Lehman, Tufts University
 Marc LeMay, Georgia State University
 Jordan Lenchitz , Florida State University
 Chris Lennard, The University of Texas at Austin
 Rebecca Lentjes, RILM Abstracts of Music Literature
 Kendra Preston Leonard, Silent Film Sound and Music Archive
 Stephen Lett, University of Saskatchewan
 Anne Levitsky, Dixie State University
 Tamara Levitz, UCLA
 Benjamin R. Levy, University of California, Santa Barbara
 Michael Lewanski, Depaul University, School of Music
 Edwin Li, Harvard University
 Pengcheng Li, The Graduate Center, CUNY
 Siv B. Lie, University of Maryland
 Stephen F. Lilly, Minneapolis, MN
 Stephanie Lind, Queen's University (Canada)
 Sarah Allison Lindmark, University of North Carolina, Chapel Hill
 Peng Liu, University of Texas at Austin
 Kerrith Livengood, University of Illinois
 Zachary Lloyd, Florida State University


                                                                             APPX.015
                                                                           UNT_001104
Case 4:21-cv-00033-ALM     Document 84-2 Filed 12/20/24       Page 18 of 132 PageID #:
                                       3986



 Judy Lochhead, Stony Brook University
 Charity Lofthouse, Hobart and William Smith Colleges, Geneva, NY
 Megan Long, Oberlin College
 James A. Long, Oakland University
 Rebecca J. Long, University of Louisville
 Gerardo (Gerry) Lopez, Michigan State University
 Eduardo López-Dabdoub, Florida State University
 Ralph Lorenz, Syracuse University
 Sarah Louden, New York University Steinhardt
 Gabriel Lubell, Indiana University Jacobs School of Music
 Ann E Lucas, Associate Professor of Music, Boston College
 Olivia R. Lucas, Louisiana State University
 Nicholas Luciano, Greensboro, NC
 Rachel Lumsden, Florida State University
 Justin Lundberg, Chicago
 Siriana Lundgren, Harvard University
 Vivian Luong, University of Saskatchewan
 Matthew Lyons, University of Texas at Austin
 Megan Lyons, University of Connecticut
 Yiqing Ma, University of Michigan
 James MacKay, Loyola University New Orleans
 Barbara Dobbs Mackenzie, RILM, Brook Center, CUNY Graduate Center
 Julian Maddox, Cleveland Institute of Music
 Alejandro L. Madrid, Cornell University
 Andrus Madsen, Newton Baroque
 Erin K. Maher, Delaware Valley University
 Su Yin Mak, The Chinese University of Hong Kong
 Victoria Malawey, Macalester College (St. Paul, MN)
 Anabel Maler, University of Iowa
 Noriko Manabe, Temple University
 Kate Mancey, Harvard University
 Rachel Mann, University of Texas Rio Grande Valley
 Dr. Nicole Marchesseau, McMaster University
 Elizabeth Margulis, Princeton University
 Sarah Marlowe, Eastman School of Music
 Jennifer Martin, University of Wisconsin-Milwaukee
 Caitlin Martinkus, Virginia Tech
 David Marvel, University of Oklahoma
 William Marvin, Eastman School of Music


                                                                       APPX.016
                                                                      UNT_001105
Case 4:21-cv-00033-ALM        Document 84-2 Filed 12/20/24        Page 19 of 132 PageID #:
                                          3987



 Elizabeth Marvin, Eastman School of Music
 Will Mason, Wheaton College
 Steven D. Mathews, University of Cincinnati
 T.J. Mattson, University of North Texas
 Fred Everett Maus, Department of Music, University of Virginia
 Paula Maust, University of Maryland, Baltimore County
 Panayotis Mavromatis, New York University
 Horace Maxile, Baylor University
 Braden Maxwell, Eastman School of Music
 Susan McClary, Case Western Reserve University
 Ryan McClelland, University of Toronto
 Michael McClimon, Philadelphia, PA
 Sarah McConnell , University of Alaska Fairbanks
 Patrick McCreless, Yale University
 Stephen McFall, Indiana University
 Cana F. McGhee, Harvard University
 Claire McGinn, University of York
 Eric McKee, Penn State University
 Tim McKinney, Baylor University
 Elizabeth McLain, Virginia Tech
 Myles McLean, University of North Texas
 Ken McLeod, University of Toronto
 Andrew Mead, Jacobs School of Music, Indiana University
 Andrew Mead, Indiana University
 Elizabeth Medina-Gray, Ithaca College
 Sarah Mendes, University of Texas at Austin
 Sadie Menicanin, University of Toronto
 Lila Meretzky, Yale University
 Kathryn Renae Metcalf, Japan
 Mark Micchelli, University of Pittsburgh
 Garrett Michaelsen, University of Massachusetts Lowell
 Jason Louis Mile, London, ON
 Emily Milius, University of Oregon
 Natalie Miller, Princeton University
 McKensie Miller, Chapman University
 Brian A. Miller, Yale University
 Connor Milstead, St. Mary’s College of Maryland
 Helen Julia Minors, Kingston University, London
 Nathaniel Mitchell, Princeton University


                                                                           APPX.017
                                                                          UNT_001106
Case 4:21-cv-00033-ALM        Document 84-2 Filed 12/20/24          Page 20 of 132 PageID #:
                                          3988



 Toru Momii, Columbia University
 Peter Mondelli, University of North Texas
 Dayna Mondelli, Independent Proofreader and Copyeditor
 Eugene Montague, George Washington University
 Luiz Felipe Stellfeld Monteiro, Escola de Música e Belas Artes do Paraná (EMBAP), Curitiba,
 Brazil
 Steven Moon, University of Pittsburgh
 Steven Vande Moortele, University of Toronto
 Rebecca Moranis, University of Toronto
 Kacie Morgan, UCLA
 Alexander Morgan, New York
 Landon Morrison, Harvard University
 Brian Moseley, SUNY Buffalo
 Imani Danielle Mosley, University of Florida
 Tahirih Motazedian, Vassar College
 Andre Mount, Crane School of Music, SUNY Potsdam
 Reinaldo Moya , Augsburg University, Minneapolis, Minnesota
 Dorian Mueller, University of Michigan
 Stephen Muir, University of Leeds, UK
 Scott Murphy, University of Kansas
 Alana Murphy, CUNY Graduate Center/ RILM
 Barbara Murphy, University of Tennessee-Knoxville
 Nancy Murphy, University of Houston
 Estelle Murphy, Maynooth University, Ireland
 Derek J. Myler, Eastman School of Music
 Robert Nance, University of North Texas
 Jessica Narum, Baldwin Wallace University
 Meghan Naxer, Oregon State University
 Jocelyn Neal, University of North Carolina at Chapel Hill
 Severine Neff, University of North Carolina at Chapel Hill, Emeritus
 Dr. Lisa Neher, Portland, OR
 Christoph Neidhöfer, McGill University
 Trevor R. Nelson, Eastman School of Music--University of Rochester
 Anna Rose Nelson, University of Michigan
 Joshua Neumann , University of Florida
 Bryce Newcomer, Xavier University
 Neil Newton, Los Angeles, CA
 Patrick Nickleson, Queen's University
 Demi Nicks, The Graduate Center, CUNY


                                                                               APPX.018
                                                                              UNT_001107
Case 4:21-cv-00033-ALM        Document 84-2 Filed 12/20/24    Page 21 of 132 PageID #:
                                          3989



 Maggie Nicks, Florida State University
 Jack Haig Nighan, Indiana University
 Drew Nobile, University of Oregon
 Michael Norris, Victoria University of Wellington
 Felipe Ledesma Núñez, Harvard University
 Shaugn O'Donnell, The City College, CUNY
 William O'Hara, Gettysburg College
 Russell O'Rourke, Columbia University
 Jennifer Oates, Queens College, CUNY
 Chelsea Oden, University of Oregon
 Judith Ofcarcik, Fort Hays State University
 Mitch Ohriner, University of Denver
 Hideaki Onishi, Singapore
 Dani Van Oort, University of North Texas
 Michael Oravitz, University of Northern Colorado
 Jeremy Orosz, University of Memphis
 David Orvek, Indiana University
 Mariam Osman, Indiana University
 Anna-Elena Pääkkölä, Åbo Akademi University, Finland
 Kirsten Paige, Stanford University
 Cora S. Palfy, Elon University
 James Palmer, Vancouver, Canada
 Jinny Park, Indiana University
 Hyeonjin Park, UCLA
 Joon Park, University of Arkansas
 Sarah Parkin, London, UK
 Laurel Parsons, University of Alberta
 Daniel Partridge, Portland State University
 Morgan Patrick, Northwestern University
 Andrew Pau, Oberlin College & Conservatory
 William Pearson, DePauw University
 Robert D. Pearson, Emory University
 Jacy Pedersen, University of Cincinnati
 Julie Pedneault-Deslauriers, University of Ottawa
 Crystal Peebles, Ithaca College
 Nathan Pell, Nathan Pell
 Rich Pellegrin, University of Florida
 Anna C. Peloso, Indiana University, Jacobs School of Music
 Naomi Perley, RILM


                                                                       APPX.019
                                                                      UNT_001108
Case 4:21-cv-00033-ALM       Document 84-2 Filed 12/20/24            Page 22 of 132 PageID #:
                                         3990



 Jeffrey Perry, Louisiana State University
 Lukas Perry, Eastman School of Music, University of Rochester
 Becky Perry, Lawrence University
 V Spike Peterson, University of Arizona
 Marie-Ève Piché, McGill University
 Marcelle Pierson, University of Pittsburgh
 Miriam Piilonen, Northwestern University
 John R. Pippen, Colorado State University
 Chad Polk, Cleveland Institute of Music
 Cayenna Ponchione-Bailey, University of Oxford
 Mariana Poole, Elon University
 Ève Poudrier, University of British Columbia
 Andrew S. Powell, Independent Scholar (University of Kansas alum)
 Sarah Pozderac-Chenevey, Independent scholar, Akron, OH
 Roxane Prevost, University of Ottawa
 Simon Prosser, The Graduate Center, CUNY
 Jasbir Puar, Rutgers University
 Joel Puckett, Peabody Conservatory, Johns Hopkins University
 Katherine Pukinskis, Amherst College
 Michael Puri, University of Virginia
 Ian Quinn, Yale University
 Steven Rahn, University of Texas at Austin
 Shanika Ranasinghe, Royal Holloway, University of London
 Richard Randall, Carnegie Mellon University
 Jacob Reed, University of Chicago
 S. Alexander Reed, Associate Professor, Ithaca College
 John S. Reef, Nazareth College
 Sam Reenan, Eastman School of Music
 Alan Reese, Cleveland Institute of Music
 Alex Rehding, Harvard University
 Samuel Reich, Denison University/University of Cincinnati
 Molly Reid, Appalachian State University
 Connor Reinman, Indiana University
 Christopher Reynolds, UC Davis
 Anne-Marie Reynolds, Juilliard School
 Adam Ricci, UNC Greensboro
 Mark Richardson, East Carolina University
 Melanie Richter-Montpetit, University of Sussex
 Deborah Rifkin, Ithaca College


                                                                              APPX.020
                                                                             UNT_001109
Case 4:21-cv-00033-ALM       Document 84-2 Filed 12/20/24            Page 23 of 132 PageID #:
                                         3991



 Steven Rings, University of Chicago
 Marianna Ritchey, University of Massachusetts, Amherst
 Blake Ritchie, Rutgers University
 S R I Rizvi, Sahibganj College, Sahibganj, Jharkhand, India
 Malia Jade Roberson, California State University, Channel Islands
 Brian Robison, Northeastern University
 Joti Rockwell, Pomona College
 Stephen Rodgers, University of Oregon
 Lynne Rogers, Mannes School of Music at The New School
 Jillian C. Rogers, Indiana University
 Allyson Rogers, McGill University
 J. Griffith Rollefson, University College Cork
 Jena Root, Youngstown State University (Ohio)
 Adam Rosado, Iona College
 Rachel Rosenman, Harvard University
 Joshua Rosner, McGill University
 Martin Ross, Western University
 Jade Roth, McGill University
 Paul N Roth, University of San Diego California
 Katrina Roush, University of Texas Rio Grande Valley
 Charles Roush, University of Texas Rio Grande Valley
 Toby W. Rush, University of Dayton
 Declan Ryan, DePaul University School of Music
 Eron F. S. , Eastman School of Music
 Siavash Sabetrohani, University of Chicago
 Siavash Sabetrohani , University of Chicago
 Alex Sallade, The Ohio State University
 Keith Salley, Shenandoah University
 Mark Sallmen, University of Toronto
 Cristina Saltos , University of Texas at Austin
 Frank Samarotto , Indiana University Bloomington
 Lanier Sammons, California State University, Monterey Bay
 Alexander Sanchez-Behar, Texas A&M University-Kingsville
 Olga Sánchez-Kisielewska, University of Chicago
 Felicia Sandler, New England Conservatory
 Giorgio Sanguinetti, University of Rome "Tor Vergata"
 Matthew Leslie Santana, UC San Diego
 Matthew C. Saunders, Lakeland Community College (Kirtland, Ohio)
 Isaac Schankler, Cal Poly Pomona


                                                                              APPX.021
                                                                             UNT_001110
Case 4:21-cv-00033-ALM        Document 84-2 Filed 12/20/24           Page 24 of 132 PageID #:
                                          3992



 Andrew Schartmann, New England Conservatory
 James Schippers, Michigan State University
 Alexandria Schneider, University of Kansas
 Katherine Schofield, King's College London
 Peter Schubert, McGill University
 Matthew D. M. Schullman, University of Oklahoma (Norman)
 Scott Schumann, Central Michigan University
 Emily Schwitzgebel, Northwestern University
 Travis Scott, Xavier University of Louisiana
 Jo Collinson Scott, Reader in Music, University of the West of Scotland
 Derek B. Scott, University of Leeds, UK
 Tyler M. Secor, University of Cincinnati College Conservatory of Music
 Chris Segall, University of Cincinnati
 Kate Sekula, University of Science and Arts of Education
 Ian Sewell, Columbia University
 Douglas Shadle, Vanderbilt University
 Kayla Shaeffer, Florida State University
 Jennifer Shafer, University of Delaware
 Daniel Shanahan, The Ohio State University
 August A. Sheehy, Stony Brook University
 Jack Sheinbaum, University of Denver
 Braxton D. Shelley, Harvard University
 Joel T. Shelton, Elon University
 Lauren Shepherd, Columbia University
 Christopher Sherwood-Gabrielson, University of Michigan
 Julissa Shinsky, University of Texas at Austin
 Rachel Short, Shenandoah Conservatory
 Tessa Shune , Chapman University
 Abigail D. Shupe, Colorado State University
 Max Silva, University of Chicago
 Rebecca Simpson-Litke, University of Manitoba
 Peter Sloan, UC San Diego
 Jeremy W. Smith, University of Louisville
 Stephen Decatur Smith, Stony Brook University
 Kelli Smith-Biwer, University of North Carolina - Chapel Hill
 Sean R. Smither, The Juilliard School
 Peter Smucker, Stetson University
 Jennifer Snodgrass, Appalachian State University
 Alexandra Sobrino, Miami, Florida


                                                                              APPX.022
                                                                             UNT_001111
Case 4:21-cv-00033-ALM       Document 84-2 Filed 12/20/24        Page 25 of 132 PageID #:
                                         3993



 Danielle Sofer, LGBTQ+ Music Study Group
 Emma Soldaat, University of Toronto
 Jason Solomon, Agnes Scott College
 Jessica Sommer, Ball State University
 Jonathan De Souza, University of Western Ontario
 Stephen Spencer, The Graduate Center, CUNY
 Mark Spicer, Hunter College and the Graduate Center, CUNY
 Scott Spiegelberg, DePauw University
 Martha Sprigge, University of California, Santa Barbara
 Ron Squibbs, University of Connecticut
 Alexander Stalarow, San Francisco Conservatory of Music
 Jonathan Arthur Stallings, University of California San Diego
 Justin Stanley, University of Oregon
 Deborah Stein, New England Conservatory of Music
 Anna Stephan-Robinson, West Liberty University
 Jonathan Sterne, McGill University
 Daniel Stevens, University of Delaware
 Bryan Stevens, University of North Texas
 Joseph Stiefel, Indiana University
 Philip Stoecker, Hofstra University
 Nicholas Stoia, Duke University
 Jordan Carmalt Stokes, West Chester University of Pennsylvania
 Chris Stover, University of Oslo
 Eva-Maria van Straaten, Georg-August University Göttingen, Germany
 Jeremy Strachan, Queen's University
 Joseph Straus, CUNY Graduate Center
 Ofir Stroh, Blair School of Music
 Cara Stroud, Michigan State University
 Greg Stuart, University of South Carolina
 Jacob David Sudol, Florida International University
 Rina Sugawara, University of Chicago
 James Sullivan, Michigan State University
 Peter M. Susser, Columbia University
 Kaitlyn Swaim, University of North Texas
 Kevin Swinden, Wilfrid Laurier University
 Kelly Symons, Ottawa
 Victor Szabo, Hampden-Sydney College
 Kristin Taavola, University of Denver
 Lina Sofia Tabak, CUNY Graduate Center


                                                                          APPX.023
                                                                         UNT_001112
Case 4:21-cv-00033-ALM       Document 84-2 Filed 12/20/24       Page 26 of 132 PageID #:
                                         3994



 Carlos Pérez Tabares, University of Michigan
 Ivan Tan, Brown University
 Daphne Tan, University of Toronto
 Nicholas Ivan Tapia, St. Mary’s University (Music Education)
 Jeremy Tatar, McGill University
 Benjamin Tausig, SUNY Stony Brook
 Ryan Taycher, Roosevelt University
 Timothy D. Taylor, UCLA
 Charles Taylor, University of New Orleans
 Blake Taylor, University of Connecticut
 Emma Taylor, The Hartt School at the University of Hartford
 Samuel Teeple, The Graduate Center, CUNY
 Wilfrido Terrazas, University of California, San Diego
 Loretta Terrigno, The Juilliard School
 Bryan Terry, McGill University
 Florian Thalmann, Kyoto University
 Robert Gross, Board Certified Music Therapist, Denton, TX
 Midge Thomas, Connecticut College
 Sean Emmett Thompson, San Francisco State University
 Alexis Millares Thomson, University of Toronto
 Emmi Tinajero, University of North Texas
 Spencer Topel, Brooklyn, New York
 Peter van Tour, Norwegian Academy of Music, Oslo
 Sylvie Tran, University of Michigan
 Emily Lamb Truell, Indiana University
 Caitlan Truelove, Graduate Student, University of Cincinnati
 Dale Trumbore, Los Angeles, CA
 Tobias Tschiedl, McGill University
 Cynthia Johnston Turner, University of Georgia
 Isabel Tweraser, Florida State University
 Kristian Twombly, Chair, St Cloud State University
 Dr. Finn Upham, McGill University, Schulich School of Music
 Elizabeth Randell Upton , UCLA
 Diane Urista, Cleveland Institute of Music
 Stephanie Venturino, Eastman School of Music
 Vivek Virani, University of North Texas
 Samantha Waddell, Michigan State University
 Ben Wadsworth, Kennesaw State University
 Steve Waksman, Smith College


                                                                         APPX.024
                                                                        UNT_001113
Case 4:21-cv-00033-ALM        Document 84-2 Filed 12/20/24         Page 27 of 132 PageID #:
                                          3995



 Daniel K.S. Walden, University of Oxford
 Kristen Wallentinsen, Rutgers University
 Zachary Wallmark, University of Oregon
 Levi Walls, University of North Texas
 Robert Walser, Case Western Reserve University
 Jordan Walsh, University of Texas at Austin
 Aleisha Ward, National Library of New Zealand
 Evan Ware, California State Polytechnic University, Pomona
 Lindsay Warrenburg, Boston, MA
 Hannah Waterman, Stony Brook University
 Laura Watson , Maynooth University, Ireland
 Andrew H. Weaver, The Catholic University of America
 Miriam Brack Webber, Bemidji State University
 Katelin Webster, The Ohio State University
 Joelle Welling, University of Calgary
 Robert Wells, University of Mary Washington
 Allison Wente, Elon University
 Marianne Wheeldon, University of Texas at Austin
 Andrew Malilay White, University of Chicago
 Christopher White, University of Massachusetts Amherst
 Jason White, Wilfrid Laurier University
 Juliet White-Smith, The Ohio State University
 Ryan Whittington, Florida State University
 Anya Wilkening, Columbia University
 Ann Marie Willer, (formerly) University of North Texas
 Matthew Williams, University at Buffalo
 Dr. Natalie Williams, (formerly) North Park University
 Justin Williams , University of Bristol (UK)
 Jeff Williams, Harvard University
 Ruthie Williamson, Indiana University Kelley School of Business
 Julianna Willson, Eastman School of Music
 Lauren Wilson, Eastman School of Music
 Imogen Wilson, Columbia University
 Christopher Witulski , Bowling Green State University
 Elizabeth L. Wollman, Baruch College, CUNY
 Kathryn Woodard, Philadelphia, PA
 Chelsea N Wright, University of Oregon
 Robert B. Wrigley, The Graduate Center, CUNY
 Alice Xue, CUNY


                                                                            APPX.025
                                                                           UNT_001114
Case 4:21-cv-00033-ALM      Document 84-2 Filed 12/20/24         Page 28 of 132 PageID #:
                                        3996



 Jessica Findley Yang, University of Tennessee - Knoxville
 Rachel Yoder, DigiPen Institute of Technology
 Michelle Yom, CUNY Graduate Center
 Anna Yu Wang, Harvard University
 Jeff Yunek, Kennesaw State University
 Jason Yust, Boston University
 Anna Zayaruznaya, Yale University
 Emily Zazulia, University of California, Berkeley
 Lawrence Zbikowski, University of Chicago Department of Music
 Kamil zeglen, Chapman university
 Spencer Zembrodt, Florence, KY (SUNY Fredonia, 2018)
 Xieyi (Abby) Zhang, Georgia State University
 Rosalind Zhang, Toronto
 Shelley Zhang , University of Pennsylvania
 Zhuo Zhao, Rutgers University
 Julie Zhu, Stanford University




                                                                          APPX.026
                                                                         UNT_001115
Case 4:21-cv-00033-ALM                           Document 84-2 Filed 12/20/24                               Page 29 of 132 PageID #:


                                                          UNT
                                                             3997
  OFFICE OF THE        PROVOST
               ACADEMIC AFFAIRS
                                                    I

 March     2 2021

 Dear Dr Jackson


 Thank you for your response                   to   the   Ad Hoc Panels Report of Review                   of Conception                and Produc

 tion of      Vol 12 of the Journal of Schenkerian                Studies       PS   I   was heartened     that
                                                                                                                you accepted some of
 the panels       recommendations               including        1   the publication          of a clear and transparent explanation for

 the journals editorial process                 2 the appointment of an editor inchief who                       is   a fulltime tenured

 faculty      member and 3 the inclusion of a conflict of interest statement concerning                                        submissions by

 editorial     staff   and members of the editorial board I also note that you did not address the panels


fourth recommendation                  which concerns           issues   of governance           and oversight   Furthermore you re
served the right for the journal to publish contributions                            that are     not peer reviewed           It   is    important
that faculty in the          division   and    college    who      have an interest in the journal share an understanding of

the credibility        these changes will           bring to the journal



The university         is   moving forward with a plan to ensure                     that     the JSS remains a prominent venue                  for


peer reviewed          scholarship of the highest quality In consultation with Dean John Richmond and

Chair Benjamin Brand              I    am charging the Division of Music                       History Theory and Ethnomusicology

to   launch    a national search for a new editor in chief who                           is   a fulltime tenured faculty member pref

erably at an R1 university or comparable conservatory of music This editor then will                                               determine the

membership of the JSS editorial board recruiting new members as needed and renewing                                                      existing

members as appropriate                 In close collaboration            with the board the          new   editor will        establish clear

and transparent guidelines concerning the governance                               structure      of the journal and      its      editorial     re

view and publication             practices including             the boards       oversight role and whether the journal will

publish contributions            that are      not peer reviewed            I
                                                                                expect    these guidelines to comport well with the

publication      standards       of   A Short Guide        to   Ethical Editingfor        New Editors of the Council               for   Publication

Ethics     The editor and board will be responsible for defining                               a timeline selection      of articles and

other details     related      to the publication          of the next volume of the JSS The editor and board also will
consult with      Dean Richmond and Chair Brand to define the future relationship of the JSS with the

College of Music the Division of Music History Theory and Ethnomusicology and the                                                         UNT
Press and on the opportunities                  for     our graduate      students       to participate in the    editorial
                                                                                                                                    process



Dean Richmond Chair Brand and I are eager to see the Journal of Schenkerian                                      Studies       continue to

make important contributions                   to the discipline of music theory                  We are confident       it    will      do so

through       the universitys         course    of action outlined above Thank you once again                          for participating              in

this review
                 process



Sincerely




 Jennifer Cowley
                 PhD
 Provost and Vice President for Academic Affairs




                                                                                                                                   APPX.027
                                                                                                                                                       UNT 005061
Case 4:21-cv-00033-ALM                        Document 84-2 Filed 12/20/24                                Page 30 of 132 PageID #:
                                                          3998
                        ELLEN BAKULINA, PH.D.       10/16/2024          1                                   ELLEN BAKULINA, PH.D.    10/16/2024            3



       1                  UNITED STATES DISTRICT COURT                                     1                            I N D E X
                          FOR THE EASTERN DISTRICT OF
       2                        SHERMAN DIVISION                                           2                                                      PAGE
       3 TIMOTHY JACKSON,                 )                                                3   Appearances....................................       2
                                          )
       4         Plaintiff,               )                                                4   Stipulations...................................       5
                                          )
       5   vs.                            )   CASE NO. 4:21-CV-00033-ALM                   5   ELLEN BAKULINA, PH.D.
                                          )
       6   LAURA WRIGHT, et al.,          )                                                6           Direct Examination by Mr. Allen........      6
                                          )
       7         Defendants.              )                                                7   Reporter's Certificate......................... 227
       8 ********************************************************                          8                           EXHIBITS
       9               VIDEOTAPED ZOOM ORAL DEPOSITION OF                                  9     NUMBER                DESCRIPTION                MARKED
      10                         ELLEN BAKULINA, PH.D.                                    10    Exhibit 1   Re-Notice of Taking Deposition..... 13
      11                           October 16, 2024                                       11    Exhibit 2   Bakulina CV
                                                                                                            (UNT 005258 - 005267).............. 14
      12                         (Reported Remotely).                                     12
                                                                                                Exhibit 3   Bakulina CV with Highlights
      13                                                                                  13                (UNT 005257 - 005267).............. 31

      14 ********************************************************                         14    Exhibit 4   Title Page, List of Articles,
                                                                                                            Theoria, Volume 26, 2020........... 35
      15         VIDEOTAPED ORAL DEPOSITION OF ELLEN BAKULINA, PH.D.,                     15
                                                                                                Exhibit 5   Excerpt from SMT Website, Oxford
      16 produced as a witness at the instance of the Plaintiff                           16                 University Press Academic, and
                                                                                                            Ewell Article...................... 45
      17 and duly sworn, was taken in the above-styled and                                17
                                                                                                Exhibit 6   Email, Not everyone was
      18 numbered cause on the 16th day of October, 2024,                                 18                enthusiastic about Ewell's talk
                                                                                                            (JACKS 086826)..................... 85
      19 from 9:03 a.m. to 3:54 p.m., before Kim D. Carrell,                              19
                                                                                                Exhibit 7   Email, Material for the Committee
      20 Certified Shorthand Reporter in and for the State of                             20                (UNT 0002645 - 002782)............. 88

      21 Texas, reported remotely by computerized stenotype                               21    Exhibit 8   Email, 12-11-19, Jackson to
                                                                                                            Bakulina, et al.
      22 machine at the physical location of the Witness, Ellen                           22                (UNT 000563 - 000566)..............106

      23 Bakulina, Ph.D., in Montreal, Canada, pursuant to the                            23    Exhibit 9   Email, 7-25-20, Slottow
                                                                                                            to Jackson, et al.
      24 Federal Rules of Civil Procedure and the provisions                              24                (UNT 000300 - 000303)..............137

      25 stated on the record or attached hereto.                                         25




                                                                                                     ELLEN BAKULINA, PH.D.      10/16/2024
                                                                                                                                       4
                        ELLEN BAKULINA, PH.D.       10/16/2024          2
                                                                                 1    Exhibit 10 Email Chain Ending Jackson to
                                                                                                Cubero, et al.
                                                                                 2              (UNT 000304 - 000309)..............144
       1                              APPEARANCES                                3    Exhibit 11 Letter, 7-29-20, Bakulina to
       2 FOR THE PLAINTIFF:                                                                     Richmond
       3         Michael Thad Allen                                              4              (UNT 000116 - 000309)..............150
                 ALLEN LAW, LLC                                                  5    Exhibit 12 Email, 7-29-20, Bakulina to
       4         P.O. Box 404
                 Quaker Hill, CT 06375                                                          Brand, et al.
       5         Telephone: 860.772.4738
                 Fax: 860.469.2783
                                                                                 6              (UNT 000488).......................158
       6         E-mail: M.allen@allen-lawfirm.com                               7    Exhibit 13 Email, 7-31-20, Richmond to
       7                                                                                        Music Faculty, et al.
       8   FOR THE DEFENDANTS:
                                                                                 8              (UNT 000568).......................160
                                                                                 9    Exhibit 14   Ad Hoc Review Panel Report
       9         Mary Quimby
                 Assistant Attorney General                                                     (Exhibit D)
      10         General Litigation Division                                   10               (JACKSON000208 - 000233)...........164
                 P.O. Box 12548, Capital Station
      11         Austin, Texas 78711                                           11     Exhibit 15 Email Chain, Re: Statement on
                 Telephone: 512.463.2120                                                        JSS Issue
      12         Fax: 512.320.0667
                 E-mail: Mary.Quimby@oag.texas.gov                             12               (UNT 000361 - 000363)..............175
      13
                                                                               13     Exhibit 16 Email Chain Re: Meeting with
      14             - and -                                                                    Journal Review Panel, Wed.
      15         Renaldo Stowers    (Appearing Live)                           14               Sept. 16
                 Cari Jacoby
      16         University of North Texas System
                                                                                                (UNT 002509).......................186
                 Office of General Counsel                                     15
      17         801 North Texas Boulevard
                 Denton, Texas 76201                                                  Exhibit 17       Email Chain Re: Talk with the
      18         Telephone: 940.565.2717
                 Fax: 940.369.7026
                                                                               16                     UNT Ad Hoc Journal Review Panel
      19         E-mail: Renaldo.Stowers@untsystem.edu                                               (UNT 002555).......................196
                         cari.jacoby@untsystem.edu
      20                                                                       17
                                                                                      Exhibit 18 Undated Letter, Bakulina to
      21 ALSO PRESENT:
                                                                               18               Richmond
      22         Timothy Jackson, Plaintiff                                                     (UNT 002559 - 002561)..............203
      23         VIDEOGRAPHER:                                                 19
      24         Mr. Jason Warner                                                     Exhibit 19 Email Chain Ending 5-17-21,
                 Legal Video Group                                             20               Brand to Cowley, et al.
      25         lvg.dallas@gmail.com
                 214-598-5229                                                                   (UNT 005054 - 005055)..............208
                                                                               21
                                                                               22
                                                                               23
                                                                               24
                                                                               25

                                                          Julia Whaley & Associates   214-668-5578
                                                                                                                          APPX.028
                                                                                                                          Page 1 to 4 of 228
Case 4:21-cv-00033-ALM                      Document 84-2 Filed 12/20/24 Page 31 of 132 PageID #:
                     ELLEN BAKULINA, PH.D.    10/16/2024                ELLEN BAKULINA, PH.D. 10/16/2024
                                                         3999
                                                                     97                                                                            99
 1   possible that we interacted between his plenary address                    1           A.   In the scholars of the field, yes. I think,
 2   and the publication of Volume 12 of JSS, yes.                              2    yes.
 3         Q.    Did anything prevent you from reaching out to                  3           Q.   But yet you felt that you could speak to him
 4   Philip Ewell individually and inviting him to participate                  4    about issues concerning publication in Theoria, right?
 5   in Volume 12 of the Journal of Schenkerian Studies?                        5                     MS. QUIMBY: Objection, form.
 6                      MS. QUIMBY: Objection, form.                            6           A.   Wait. Was it the same year?
 7         A.    I think my membership on the Journal of                        7           Q.   The Theoria article came out in 2020, right?
 8   Schenkerian Studies board prevented me from inviting him                   8                     MS. QUIMBY: Objection, form.
 9   personally to. So I would not -- I felt I could not                        9           Q.   The same year?
10   invite him and say like, hey, Phil, do you want to write                 10                      MS. QUIMBY: Objection, form.
11   a response to the responses or response to something? I                  11            A.   Yes. But it doesn't mean that the discussion
12   could not. I felt I could not invite him on my own like                  12     happened at the same time.
13   this because I was a member of JSS board.                                13            Q.   Well, any discussions you had with Philip Ewell
14         Q.    What prevented you, as a member of the JSS                   14     over anything related to the publication in Theoria, did
15   board, from inviting Philip Ewell personally?                            15     you feel somehow intimidated by him?
16         A.    What prevented me was that as a board member, I              16                      MS. QUIMBY: Objection, form.
17   was -- I thought at least, maybe it was a wrong                          17            A.   No, I did not feel intimidated by Philip Ewell
18   perception, but I felt like as a board member, JSS                       18     with respect to publication in Theoria mostly because he
19   board member, I was sort of under the directions of its                  19     was not in a position to give me any directions. His
20   advisory board, which, at that time, was Timothy Jackson                 20     article and my article in Theoria were on par with each
21   and Stephen Slottow. And because I was less empowered                    21     other and the third one by Segall. We were on par with
22   in the division, meaning that I did not have tenure and                  22     each other. And I might not remember perfectly well,
23   they both did and still do --                                            23     but I don't think Philip Ewell and I discussed much with
24         Q.    Uh-huh.                                                      24     respect to articles in Theoria. I would not discuss with
25         A.    -- I didn't feel enough independence to do what              25     him. I would discuss it with the editor.

                     ELLEN BAKULINA, PH.D.       10/16/2024                                         ELLEN BAKULINA, PH.D.       10/16/2024
                                                                     98                                                                            100
 1   I wanted to do. I felt like I needed to -- obey is not                     1           Q.   Were you intimidated by Frank Heidlberger as
 2   the right word. To -- I felt submissive, I guess,                          2    the editor of the journal Theoria?
 3   because I was afraid basically of being too independent.                   3                     MS. QUIMBY: Objection, form.
 4   I was afraid to say things to the advisory board, that                     4           A.   Intimidated by the fact that he was the
 5   they would not -- I thought they would not necessarily                     5    editor or by something that he said?
 6   like what I did.                                                           6           Q.   By the fact that he was the editor.
 7         Q.    That didn't prevent you from raising the                       7           A.   No, not really.
 8   issue that they should delay the publication of                            8           Q.   Okay.
 9   Volume 12 because the plenary session was going to be                      9           A.   I was not in any situation with respect to my
10   published in Music Theory Spectrum, did it?                              10     publication in Theoria that would create any problematic
11                      MS. QUIMBY: Objection, form.                          11     events, no.
12         A.    That did not prevent me, correct.                            12            Q.   When you were formulating the call for papers
13         Q.    And you had just been at a talk in November                  13     of the Journal of Schenkerian Studies to solicit articles
14   of 2019 where Philip Ewell received a standing ovation,                  14     for the Symposium --
15   right?                                                                   15            A.   Um-hum.
16                      MS. QUIMBY: Objection, form.                          16            Q.   -- do you recall any discussion about whether
17         A.    Yes.                                                         17     there should be a specific ideological focus of the
18         Q.    Did you feel an inability to speak to Philip                 18     submissions?
19   Ewell in any way?                                                        19                      MS. QUIMBY: Objection, form.
20                      MS. QUIMBY: Objection, form.                          20            A.   I remember that the call for responses. Now, I
21         A.    No.                                                          21     don't actually remember the final form of the call for
22         Q.    Did you feel there was a, quote, power                       22     responses.
23   differential, between you and Philip Ewell as scholars                   23            Q.   Um-hum.
24   in the field?                                                            24            A.   But one of the drafts of the call for
25                      MS. QUIMBY: Objection, form.                          25     responses, I remember seeing that email stated

                                                         Julia Whaley & Associates   214-668-5578
                                                                                                                   APPX.029
                                                                                                                Page 97 to 100 of 228
Case 4:21-cv-00033-ALM                     Document 84-2 Filed 12/20/24 Page 32 of 132 PageID #:
                    ELLEN BAKULINA, PH.D.     10/16/2024               ELLEN BAKULINA, PH.D. 10/16/2024
                                                         4000
                                                                      121                                                                         123
 1        Q.    And I just had a few more questions about that,                   1    obvious that the editor, Walls, would not be independent
 2   and then we'll move on to talking about the Schenker                         2    in making his decisions. He was obviously dependent on
 3   controversy.                                                                 3    his -- on Jackson primarily because Jackson was his
 4        A.    Sure.                                                             4    advisor.
 5        Q.    But I just -- if you could, for the record, can                   5         Q.     Was he so dependent on Professor Jackson as his
 6   you identify anytime before July of 2020 when you were                       6    advisor that it prohibited him from expressing
 7   the direct witness to Professor Jackson exercising                           7    independent views on Philip Ewell's work?
 8   disproportionate power over Mr. Walls?                                       8                       MS. QUIMBY: Objection, form.
 9                    MS. QUIMBY: Objection, form. Excuse me.                     9         A.     I don't know. I can't speculate about that.
10   Only indirectly. And so this is a little   bit of a                        10          Q.     Okay.
11   guess. But I will say, because I think it is relevant,                     11          A.     But I think it's possible, because the
12   I'm speaking of Walls' master's thesis. So       his                       12     topic is extremely sensitive. And I know from personal
13   master's thesis is an analysis of an opera, Schenkerian                    13     experience that it's not easy to have objective opinions,
14   analysis of an opera by a woman composer, French, from                     14     and it's easy to sort of feel intimidated when it comes
15   the nineteenth century. Schenkerian analysis of large                      15     to sensitive topics.
16   portions of music. First of all, it's very difficult.                      16          Q.     Do you think Professor Walls -- strike that.
17   And I applaud Levi for doing that. It's hard to do.                        17               Do you think Mr. Walls was more intimidated by
18        Q.    Um-hum.                                                         18     Timothy Jackson or more intimidated by the Society for
19        A.    It seemed to be very strongly influenced by Dr.                 19     Music Theory's open letter condemning the Journal of
20   Jackson's thinking and intellectual style.                                 20     Schenkerian Studies that he edited as a student editor?
21        Q.    Um-hum.                                                         21                        MS. QUIMBY: Objection, form.
22        A.    Because Jackson did an analysis of an opera                     22          A.     I don't know. I am in no position to judge
23   around that time. I think he did -- well, I won't. I                       23     about his -- how he feels or felt. I don't know.
24   won't say things that I don't remember exactly. But he                     24          Q.     You said you were close to Mr. Walls. Did
25   did an analysis of an opera. And he genuinely likes                        25     he ever discuss feeling unable to express his views on
                    ELLEN BAKULINA, PH.D.         10/16/2024                                          ELLEN BAKULINA, PH.D.      10/16/2024
                                                                      122                                                                         124
 1   doing Schenkerian analysis of extremely large portions                       1    Timothy Jackson with you?
 2   of music, including operas. And when I was working with                      2                       MS. QUIMBY: Objection, form.
 3   Levi, it occurred to me more than once. I was thinking,                      3         A.     No, never.
 4   is it possible that he did all of this on his own? Like                      4         Q.     Thank you. Let's talk about the Schenker
 5   how much is this influenced by Jackson? So this is the                       5    controversy. And by Schenker controversy, do you
 6   only thing I can say. It looked like it was heavily                          6    understand I mean the controversy that erupted in July
 7   influenced by Jackson. How much it was -- how much, you                      7    of 2020 when Volume 12, and especially the Symposium,
 8   know, was it influenced or was it more Dr. Jackson sort                      8    came to light for the first time?
 9   of dictating more what to do to Levi Walls, I don't know.                    9         A.     Um-hum.
10        Q.    Okay.                                                           10          Q.     Okay. When did you personally realize there
11        A.    So it's not about, you know, a specific                         11     was going to be a controversy surrounding Volume 12 of
12   interaction that I witnessed. It's something that I can                    12     the Journal of Schenkerian Studies?
13   only guess based on the intellectual substance of that                     13                        MS. QUIMBY: Objection, form.
14   thesis.                                                                    14          A.     When I saw Facebook post that described the
15        Q.    And in your interactions with the editorial                     15     Volume 12 as -- as problematic. It used the word
16   staff of the Journal of Schenkerian Studies leading up to                  16     "racist." Racist, yeah.
17   the issuing of call for papers, did you have any direct                    17          Q.     Who was the -- who was the author of the
18   knowledge of Levi Walls being affected by a so-called                      18     Facebook post that you read, if you recall?
19   power differential between him and Timothy Jackson?                        19          A.     Christopher Segall.
20        A.    The power differential was obvious. I                           20          Q.     Um-hum. Was Christopher Segall a contributor
21   was not aware of any incidents, no. But the power                          21     to Volume 12?
22   differential was obvious because the fact that the                         22          A.     Yes.
23   Journal editor was the student of someone on the advisory                  23          Q.     Do you remember Christopher Segall complaining
24   board, Timothy Jackson, it was obvious that Jackson at                     24     that there was anything racist about the process before
25   least would have an influence on the editor. So it was                     25     he published?

                                                           Julia Whaley & Associates   214-668-5578             PageAPPX.030
                                                                                                                     121 to 124 of 228
Case 4:21-cv-00033-ALM                     Document 84-2 Filed 12/20/24 Page 33 of 132 PageID #:
                     ELLEN BAKULINA, PH.D.    10/16/2024               ELLEN BAKULINA, PH.D. 10/16/2024
                                                         4001
                                                                    161                                                                          163
 1        A.      Yes.                                                          1         Q.     Um-hum.
 2        Q.      I have just one -- well, a couple of questions.               2         A.     Because it's important not only what every
 3   You would have received this email as well, right?                         3    individual thinks what inclusion means, what racism
 4                       MS. QUIMBY: Objection, form.                           4    means, and so on, but also the public image of something.
 5        A.      I don't know. I'm not listed -- oh, I'm                       5    So when Volume 12 of JSS came out, the public image of
 6   listed. I think so. As I said, it's difficult to                           6    UNT was affected, and this is what this email was about.
 7   remember everything.                                                       7         Q.     Um-hum. Was the Journal of Schenkerian Studies
 8        Q.      What is the musicfaculty@unt.edu, if you                      8    ever published again after July 31st, 2020, to your
 9   know?                                                                      9    knowledge?
10        A.      I should have been part of that, yes.                       10          A.     To my knowledge, no.
11        Q.      Okay. Is it your understanding that these                   11          Q.     Do you think that reflected well on the
12   are collective emails that go out to all members of                      12     University of North Texas?
13   faculty, all members of music staff, music adjuncts?                     13                       MS. QUIMBY: Objection, form.
14        A.      Yes.                                                        14          A.     I don't know. It's -- the question is too
15        Q.      And you're, of course, on faculty at this time,             15     general. I don't know.
16   right?                                                                   16          Q.     I'm going to transition to talking about what
17        A.      Yes.                                                        17     two documents that you referred to. Well, actually, all
18        Q.      And you said you were in Montreal?                          18     three documents besides some of the email correspondence
19        A.      Yes.                                                        19     that you referred to when I asked you what documents you
20        Q.      Did you retire there because of -- not                      20     had looked at to prepare for your deposition. This would
21   retire, but did you remove yourself to Montreal                          21     be the petition signed by faculty, the petition signed by
22   because of COVID?                                                        22     students, and the Ad Hoc Panel Report of November 25th,
23        A.      No. It's because I spent every summer in                    23     2020. So I'm going to mark for the record the Ad Hoc
24   Montreal. In fact, anytime I was not teaching, I spent                   24     Panel Report.
25   in Montreal, because of my family.                                       25                    (Deposition Exhibit Number 14 marked.)

                     ELLEN BAKULINA, PH.D.       10/16/2024                                         ELLEN BAKULINA, PH.D.      10/16/2024
                                                                    162                                                                          164
 1        Q.      Oh, great. And so, of course, it was                          1                      MR. ALLEN: And you'll have to give me a
 2   summertime. It was the end of July?                                        2    second here. I seem to have lost it. Where did it go?
 3        A.      Um-hum, yes.                                                  3    I'm going to need a second to -- sorry. I had this
 4        Q.      You weren't on a faculty appointment up there                 4    exhibit, and now I don't seem to have it anymore. I
 5   of any kind, right?                                                        5    think this is it. Okay. I apologize, Professor
 6        A.      I was on faculty at UNT. I did not work                       6    Bakulina. One of the deposition exhibits I was going
 7   anywhere else.                                                             7    to show you, I misplaced, and I'm finding it again.
 8        Q.      Okay. I meant in Montreal, so thanks.                         8         Q.     So I'm marking for the record as Exhibit 14,
 9             All right. So there is no reason to believe                      9    the Ad Hoc Panel Report. And I'm also going to publish
10   that you would not have received this email?                             10     that into the chat. We're just going to wing this.
11        A.      No, there is no reason.                                     11               All right. So we're not going to go through
12        Q.      Okay. When Dean Richmond writes that the                    12     the entire report. But the report had attached to it
13   College of Music reaffirms the dedication to combating                   13     certain exhibits of its own that I have marked as part
14   racism, what was your understanding of what he was                       14     of the entire report. I'm only doing this because that
15   referring to?                                                            15     keeps them all in one place. But for our purposes, I
16                       MS. QUIMBY: Objection, form.                         16     want to call your attention to a document that was
17        A.      My understanding was that he confirmed that                 17     attached to the Ad Hoc Panel Report. And again, I'm not
18   inclusion was important at UNT.                                          18     trying to hide anything.
19        Q.      And why was he, as you understood it,                       19               Do you recognize this document as the Ad Hoc
20   reaffirming this dedication to combating racism in                       20     Panel Report of Review of Conception and Production of
21   this announcement?                                                       21     Volume 12 of the Journal of Schenkerian Studies dated
22                       MS. QUIMBY: Objection, form.                         22     November 25, 2020, correct?
23        A.      This is because Volume 12 of JSS created an --              23          A.     Yes. Yes, I do.
24   what's the word -- not unpleasant, objectionable public                  24          Q.     And do you recall that various documents
25   image of UNT.                                                            25     were appended to the end of that report, including

                                                         Julia Whaley & Associates   214-668-5578             PageAPPX.031
                                                                                                                   161 to 164 of 228
Case 4:21-cv-00033-ALM                       Document 84-2 Filed 12/20/24 Page 34 of 132 PageID #:
                      ELLEN BAKULINA, PH.D.     10/16/2024               ELLEN BAKULINA, PH.D. 10/16/2024
                                                           4002
                                                                        205                                                                              207
 1          A.     Okay.                                                            1    UNT.
 2          Q.     And the fact is that's why I'm asking, because                   2           Q.     And what did you do as a person on the search
 3   I don't know. It's in close proximity to Exhibit 17,                           3    committee?
 4   which is an email, including an attachment, that is                            4           A.     So first, we formulated a description of the
 5   referred to in the letter -- excuse me, in the email                           5    position.
 6   as "the letter I sent to Dean Richmond on July 29th,                           6           Q.     Um-hum.
 7   2020."                                                                         7           A.     And then we received, I think, two
 8               Okay. And then later in the record, but a                          8    applications. I don't have it anymore. And we
 9   few pages only, we find this. But of course, if it was                         9    reviewed the applications.
10   an attachment, it doesn't say I am an attachment. Do                         10                     (Deposition Exhibit Number 19 marked.)
11   you know what I mean? I'm just trying to see --                              11                          MR. ALLEN: I do want to ask you about
12          A.     Oh, I see, I see, I see. So you are asking if                  12     that. I just want to mark for the record Exhibit 19.
13   this is part of my report. Can I look once again at my                       13     Exhibit 19 is an email string from Benjamin Brand and
14   report to Dean Richmond?                                                     14     Jennifer Cowley, Renaldo Stowers, John Richmond. And
15          Q.     Absolutely.                                                    15     then it looks like it attaches a call for applications,
16          A.     Whatever that was the report for, I don't know.                16     Editor of Journal of Schenkerian Studies.
17          Q.     The previous exhibit?                                          17                 Do you recognize this email?
18          A.     I'm sorry. My English is getting --                            18                          MS. QUIMBY: Objection, form.
19          Q.     I understand.                                                  19            A.     I see. I don't recognize this email. I
20          A.     The thing that I wrote for the Dean Richmond.                  20     don't know if I received it.
21          Q.     I'm sorry. Yes. Sorry, I'm trying to find it.                  21            Q.     And I see that you are not on the string. So
22   It is just going to take me one second. That is not the                      22     if your answer is no, that's a perfectly fine answer.
23   correct one. I know it's in here. Hold on.                                   23            A.     Um-hum.
24               Here it is. I believe it's Exhibit 11. Do                        24            Q.     Do you see this next email is, in Exhibit 19 is
25   you recall examining --                                                      25     --
                      ELLEN BAKULINA, PH.D.        10/16/2024                                            ELLEN BAKULINA, PH.D.        10/16/2024
                                                                        206                                                                              208
 1          A.     Yes. I recall examining it like an hour or two                   1           A.     Yes.
 2   ago.                                                                           2           Q.     -- from SMT-announce on behalf of Bakulina,
 3          Q.     And I would represent to you that at least                       3    Ellen. And this is your email, correct?
 4   the portions I've highlighted from July 29th, 2020 to                          4           A.     Yes, so I guess I was the one who sent it to
 5   subparagraph (a), beginning on November 15th, 2019, are                        5    SMT-announce.
 6   more or less identical except for the date which somehow                       6           Q.     And it's dated May 15th, 2021, right?
 7   got lost to this exhibit?                                                      7           A.     Yes.
 8          A.     Yes. It's part of the same thing. I agree.                       8           Q.     And I know this is small, so I'm going to blow
 9          Q.     Okay. Thank you.                                                 9    it up a little bit here. Can you read that?
10          A.     Yes.                                                           10            A.     Yes, I can.
11          Q.     I don't have any further questions about that.                 11            Q.     It starts UNT 5054, and it continues over
12   I just wanted to authenticate that for the record,                           12     the next page, right? And I'm going to get rid of this
13   Professor Bakulina.                                                          13     highlight. What is this Dear Colleagues document that
14               So after the ad hoc panel issued its report,                     14     you have circulated to the SMT-announce list?
15   which we've already examined to some extent and has been                     15            A.     Sorry. Let me read. One minute.
16   introduced as an exhibit in this deposition, what                            16            Q.     Yeah.
17   happened next?                                                               17            A.     Seeking applications.
18                        MS. QUIMBY: Objection, form.                            18            Q.     Hold on. I just -- I'm sorry. That wasn't
19          A.     I understand you are asking about the Journal.                 19     intentional.
20          Q.     Yes. What first activities did you engage in                   20            A.     No problem. Okay. That's a different
21   concerning the Journal of Schenkerian Studies after                          21     document, right?
22   November 2020?                                                               22            Q.     My apologies. This should be it. I'm sorry.
23          A.     I see. I was invited by the dean, I think, the                 23     I opened a new document, and it jumped out of the way.
24   dean to serve on a search committee that looked for                          24     It's one of the perils of virtual depositions, so please
25   a new editor. And I served on that until the time I left                     25     have as much time as you want to examine this document.

                                                             Julia Whaley & Associates   214-668-5578                PageAPPX.032
                                                                                                                          205 to 208 of 228
Case 4:21-cv-00033-ALM                     Document 84-2 Filed 12/20/24 Page 35 of 132 PageID #:
                   ELLEN BAKULINA, PH.D.     10/16/2024                ELLEN BAKULINA, PH.D. 10/16/2024
                                                        4003
                                                                      209                                                                          211
 1        A.     Okay. Yes, I am ready for questions.                             1    publication. And for a time, American music theory was
 2        Q.     Okay. And I just want to scan down to the next                   2    relatively, not entirely, but relatively isolated. And
 3   page, which goes over to UNT 5055.                                           3    there were real reasons for it. I'm
 4        A.     Um-hum.                                                          4    not criticizing it right now. But there came a time
 5        Q.     And I just -- to highlight here, your name is                    5    gradually, but especially maybe, I will say maybe 20
 6   at the bottom where it says, "Inquiries, nominations, and                    6    years ago, 15 years, where it was no longer just American
 7   application materials should be directed to the search                       7    music theory.
 8   committee chair Jessica Nápoles via email. Search                            8         Q.    Um-hum.
 9   committee members include:"                                                  9         A.    And the field was changing and is still
10            And your name is listed as the first member,                      10     changing globally around the world. And so there are
11   correct?                                                                   11     music theorist societies now in many countries. There
12        A.     Yes.                                                           12     are some in Asia, and those are some of the youngest
13        Q.     What is this document?                                         13     ones. There is one in Russia. There are some in Europe.
14        A.     It's the call for applications.                                14     And some of them are older and some are those are newer.
15        Q.     Call for applications for a new editor?                        15          Q.    Um-hum.
16        A.     Yes.                                                           16          A.    And more -- more than all of that, there's more
17        Q.     And was it your understanding that Timothy                     17     and more interaction. So the field is being globalized.
18   Jackson could not serve on the Journal of Schenkerian                      18     And to me, the rejuvenation of the Journal mentioned in
19   Studies editorial staff?                                                   19     this call for applications means that Schenkerian
20        A.     No. It was not my understanding that he                        20     analysis, if it is to continue existing,
21   could not serve on this.                                                   21     it will continue existing in this new and much larger
22        Q.     That was not communicated to you by Benjamin                   22     cultural context.
23   Brand?                                                                     23          Q.    Um-hum.
24                      MS. QUIMBY: Objection, form.                            24          A.    Not the context -- not necessarily or not only
25        A.     It was never formulated that Timothy Jackson                   25     the context, you know, of former Schenker followers or

                   ELLEN BAKULINA, PH.D.        10/16/2024                                            ELLEN BAKULINA, PH.D.       10/16/2024
                                                                      210                                                                          212
 1   cannot apply for this.                                                       1    Schenker students coming to the U.S. That was extremely
 2        Q.     Okay. And it says -- I'm just looking at the                     2    important to the twentieth century, but no longer there.
 3   second sentence that begins, "We hope."                                      3    You know, how does the Journal and how does the area of
 4            Do you see that?                                                    4    Schenkerian studies exist in a more globalized world, in
 5        A.     Yes.                                                             5    a world where all of these different cultures and all of
 6        Q.     Right here?                                                      6    these different countries and societies in the different
 7        A.     Yes, yes. I do, I do.                                            7    countries interact and languages interact and ideas
 8        Q.     I just wanted to read that into the record.                      8    interact. And there is, of course, also, yes, greater
 9            "We hope that the new editor or editors will                        9    racial and gender and other diversity in SMT itself in
10   help rejuvenate the journal, redefine it in light of the                   10     America. And that's really a context that simply did
11   current state of music theory as a field, and restructure                  11     not exist some time ago. And I don't think this ever
12   and rebrand it to promote its long term viability."                        12     says that Timothy Jackson cannot do it or cannot apply
13            Did I read that correctly?                                        13     for it. This is more about really two things: The role
14        A.     Yes.                                                           14     of the Journal in the new universe, may I say, and the
15        Q.     Can you tell me, as a member of the search                     15     role of the new universe or the changing universe,
16   committee, what you meant by redefine the Journal in the                   16     changing global intellectual context, in relation to
17   light of the current state of music theory as a field?                     17     what exists in Schenkerian studies nowadays.
18        A.     Because Volume 12 of the Journal was involved                  18          Q.    Okay. And following after the clause that
19   with Philip Ewell's ideas, I think that redefining the                     19     calls for the redefining of the Journal in the current
20   journal would deal with redefining it in relation to                       20     state of music theory as a field -- in the light of the
21   ideas of antiracism and redefining it with respect to                      21     current state of -- it says, "restructure and rebrand
22   the growing diversity of SMT. And also, redefining it                      22     the Journal to promote its long term viability."
23   with respect to the growing globalization of our field.                    23             If I asked you what that meant, would your
24        Q.     Uh-huh.                                                        24     answer be more or less the same?
25        A.     Because our field -- I mean, JSS is an American                25          A.    Yes, but it also would be more, and I can --

                                                           Julia Whaley & Associates   214-668-5578             PageAPPX.033
                                                                                                                     209 to 212 of 228
Case 4:21-cv-00033-ALM                       Document 84-2 Filed 12/20/24 Page 36 of 132 PageID #:
                     ELLEN BAKULINA, PH.D.     10/16/2024                ELLEN BAKULINA, PH.D. 10/16/2024
                                                          4004
                                                                    213                                                                          215
 1         Q.      Please.                                                      1    received two applications?
 2         A.      Rebrand. I think I -- somebody did not come up               2         A.    Yes.
 3   with this word, but I can tell you what I understand by                    3         Q.    Who applied?
 4   it.                                                                        4         A.    I don't remember the names. I am so very
 5                  (Cat sounds)                                                5    sorry. I honestly don't recall the names. Both of
 6         Q.      She's tired at the end of the day, too, I                    6    them are not well-known scholars in the field, which I
 7   think. Sorry, I interrupted you. So we were asking --                      7    personally like that fact. That means that, you know,
 8   you were going to define what your understanding of                        8    people who haven't yet had an opportunity to show their
 9   rebranding a journal was. I apologize. I couldn't                          9    work a lot or their qualifications a lot would have an
10   resist with the cat sound.                                               10     opportunity to work. That's all I can say. I wish I
11         A.      No problem. The contents of a journal -- and               11     could recall the names.
12   I'm not specifically talking about JSS, any journal or                   12          Q.    Were there documents reflecting the
13   any conference, there are things that are being analyzed,                13     applications of these individuals?
14   pieces that are being analyzed, sources that are being                   14          A.    They were CDs in both cases.
15   cited. In a way, that is the branding. You know, so if                   15          Q.    Were there any other documents that concerned
16   I read a journal whose latest issue analyzes, let's say,                 16     these two applications that you know of?
17   I don't know, Stravinsky, Bartók, and I don't know,                      17          A.    Let's see. There would be a -- there would
18   Rochberg or somebody like that, my first thought would                   18     be the -- I don't remember if the cover of the CD would
19   be that it's a journal on twentieth century art music.                   19     be a separate documents. Or maybe the cover was simply
20   If I need a journal that, you know, has in its latest                    20     the email itself. Give me one minute, please.
21   issue, I don't know, seven articles out of which six                     21          Q.    Can you just describe what you are doing there?
22   are on various genres of popular music, I will probably                  22          A.    I'm reading the exhibit, the document that
23   think that it's a journal on popular music or something                  23     you've shared, because I'm trying to see if we asked for
24   like that.                                                               24     cover letter and CD separately or were they the same.
25              And I think that -- so I haven't reviewed                     25     Okay. It would be here. Correct, thank you. At least

                     ELLEN BAKULINA, PH.D.        10/16/2024                                        ELLEN BAKULINA, PH.D.      10/16/2024
                                                                    214                                                                          216
 1   the last issues of JSS, of course, not counting                            1    up to there, I'm sorry. I guess the cover letter for CD
 2   Volume 12. But I think that most people agree that                         2    was separate, okay, but I don't recall the details.
 3   existing materials in JSS up to Volume 12 are mostly on                    3         Q.    Do you recall internal communications of the
 4   European music of the tonal era. Is that logical? Well,                    4    committee about these two applications?
 5   that's the things that Schenker analyzed primarily. So                     5         A.    Yes. We -- yes.
 6   yes, a Journal of Schenkerian studies following in the                     6         Q.    Would you have met to discuss them in person?
 7   traditional Schenker logically seems completely good.                      7         A.    No. It was during the pandemic.
 8              However, I also think that if the readership                    8         Q.    Uh-huh. By Zoom?
 9   of the journal made an effort to include pieces that go                    9         A.    It was by email.
10   beyond the, you know, white male, European composers of                  10          Q.    Okay. And so there would also be email
11   certain centuries and made greater effort to publish                     11     correspondence among the committee members reflecting
12   about the book of women, for example, or to publish                      12     these two allocations, right?
13   about, I don't know, an article about perhaps fully                      13                       MS. QUIMBY: Objection, form.
14   tonal work by a -- non-like composer or American                         14          A.    I think so.
15   composers. You know, there's more diversity there than                   15          Q.    Okay. And you read those emails yourself,
16   Europe. And that would also encourage more diversity in                  16     correct?
17   future volumes. So to me, rebranding means, you know,                    17                       MS. QUIMBY: Objection, form.
18   changing the contents of -- let's say, one volume or                     18          Q.    At least as long as you were at the University
19   two volumes would change how these journals would be                     19     of North Texas, right?
20   perceived in the future and showing the direction.                       20          A.    As long as I was at UNT, yes.
21         Q.      So the new direction really had to embrace                 21          Q.    And are you -- do you have any knowledge of why
22   new content of the kind you've described?                                22     neither of these applicants were appointed?
23         A.      Yes, to me.                                                23          A.    I remember that one of them didn't have enough
24         Q.      Yes. And sorry. To follow up on something you              24     experience in editorial work, or maybe both, but the
25   said earlier, you said to your knowledge, the committee                  25     other one, I don't recall.

                                                         Julia Whaley & Associates   214-668-5578              PageAPPX.034
                                                                                                                    213 to 216 of 228
Case 4:21-cv-00033-ALM          Document
            ELLEN BAKULINA, PH.D. 10/16/2024
                                             84-2 Filed 12/20/24 ELLEN
                                                                   Page   37 ofPH.D.
                                                                       BAKULINA, 132 PageID
                                                                                     10/16/2024#:
                                                4005                                                                                            227
                                                                       225         1    amount of time used by each party at the time of the
 1   ______________________________________________________                        2    deposition;
                                                                                   3       Michael Thad Allen - 05 HRS: 49 MIN
 2   ______________________________________________________
                                                                                           Mary Quimby - 00 HRS: 00 MIN
 3         I, ELLEN BAKULINA, have read the foregoing                              4
 4   deposition and hereby affix my signature that same                            5    FOR THE PLAINTIFF:
                                                                                   6       Michael Thad Allen
 5   is true and correct, except as noted above.                                           ALLEN LAW, LLC
 6                                                                                 7       P.O. Box 404
                                                                                           Quaker Hill, CT 06375
 7                           ____________________________                          8       Telephone: 860.772.4738
 8                           ELLEN BAKULINA                                                Fax: 860.469.2783
                                                                                   9       E-mail: M.allen@allen-lawfirm.com
 9
10   THE STATE OF ________________)                                              10
11   COUNTY OF ___________________)                                              11     FOR THE DEFENDANTS:
                                                                                 12        Mary Quimby
12                                                                                         Assistant Attorney General
13            Before me, __________________________, on this                     13        General Litigation Division
                                                                                           P.O. Box 12548, Capital Station
14   day personally appeared ELLEN BAKULINA, known to me or
                                                                                 14        Austin, Texas 78711
15   proved to me on the oath of _______________________ or                                Telephone: 512.463.2120
16   through ______________________________ (description of                      15        Fax: 512.320.0667
                                                                                           E-mail: Mary.Quimby@oag.texas.gov
17   identity card or other document) to be the person whose                     16
18   name is subscribed to the foregoing instrument and                          17           - and -
                                                                                 18        Renaldo Stowers (Appearing Live)
19   acknowledged to me that he/she executed the same for
                                                                                           Cari Jacoby
20   the purpose and consideration therein expressed.                            19        University of North Texas System
                                                                                           Office of General Counsel
21            Given under my hand and seal of office on this
                                                                                 20        801 North Texas Boulevard
22   _______ day of __________________, ________.                                          Denton, Texas 76201
23                                                                               21        Telephone: 940.565.2717
                                                                                           Fax: 940.369.7026
24                        _______________________________                        22        E-mail: Renaldo.Stowers@untsystem.edu
                          NOTARY PUBLIC IN AND FOR                                               cari.jacoby@untsystem.edu
                                                                                 23
25                        THE STATE OF __________________
                                                                                 24          I further certify that I am neither counsel for,
                          My Commission Expires: ________                        25     related to, nor employed by any of the parties or
                        ELLEN BAKULINA, PH.D.        10/16/2024                                        ELLEN BAKULINA, PH.D.       10/16/2024
                                                                       226                                                                      228
 1                        UNITED STATES DISTRICT COURT                             1    attorneys in the action in which this proceeding was
                          FOR THE EASTERN DISTRICT OF                              2    taken, and further that I am not financially or
 2                                SHERMAN DIVISION                                 3    otherwise interested in the outcome of the action.
 3   TIMOTHY JACKSON,                  )                                           4       Certified to by me on this 12th day of November,
                                           )                                       5    2024.
 4         Plaintiff,         )                                                    6
                                           )                                       7
 5   vs.                     ) CASE NO. 4:21-CV-00033-ALM                          8
                                           )                                       9
 6   LAURA WRIGHT, et al.,             )                                         10
                                           )                                     11                      ________________________________
 7         Defendants.             )                                                                     Kim D. Carrell, CSR NO. 1184
 8               __________________________________________                      12                      Date of Expiration: 7-31-26
 9                REPORTER'S CERTIFICATION OF                                                            JULIA WHALEY & ASSOCIATES, INC.
10                ORAL DEPOSITION OF ELLEN BAKULINA, PH.D.                       13                      2012 Vista Crest Drive
11                                October 16, 2024                                                       Carrollton, Texas 75007-1640
12              ___________________________________________                      14                      214-668-5578/Fax 972-236-6666
13         I, KIM D. CARRELL, a Certified Shorthand Reporter                                             JulieTXCSR@gmail.com
14   in and for the State of Texas, hereby certify to the                        15                      Firm registration No. 436
15   following:                                                                                          Firm registration Expires 5-31-25
16           That the witness, ELLEN BAKULINA, was duly sworn                    16
17   and that the transcript of the oral deposition is a                         17
18   true record of the testimony given by the witness;                          18
19         That the deposition transcript was duly submitted                     19
20   on November, 12, 2024, to Mary Quimby, attorney for the                     20
21   witness,for examination, signature, and return to me by                     21
22   December 16, 2024;                                                          22
23         That pursuant to the information given to the                         23
24   deposition officer at the time said testimony was taken,                    24
25   the following includes all partes of record and the                         25

                                                            Julia Whaley & Associates   214-668-5578             PageAPPX.035
                                                                                                                      225 to 228 of 228
          Case 4:21-cv-00033-ALM                                 Document 84-2 Filed 12/20/24                               Page 38 of 132 PageID #:
                                                                             4006
Message

From                Brand Benjamin            BenjaminBranduntedu
Sent                5172021 45146 PM
To                  Cowley Jennifer JenniferCowleyuntedu                                Stowers RenaIdo RenaldoStowersuntsystemedu                           Richmond John

                    JohnRichmonduntedu
Subject             FW SmtAnnounce Call for Applications                             Editor of the Journal   of Schenkerian    Studies




Dear Jennifer John and Renaldo



The call    for applications      for a       new editor of the JSS has been                 publicized      on the SMT     email list      Applications are due July
30 The search       committee       will      begin   its   review       of them shortly thereafter



All the    best

Benjamin



Benjamin Brand           PhD
Pronouns    he him his      Professor    of Music   History

Chair Division of Music      History Theory       and Eihnomusicolog

Conege of Music      University   of North Texas        940 5363561

                            DIVISIONOF MUSIC HISIDRY

                   ii       THEORY a ETHNOMUSICOLOGY
                                     MuPz

       EST         11


From Smtannounce <smtannouncebounceslistssocietymusictheoryorg>                                                     on behalf of Bakulina Ellen

<EllenBakulinauntedu>
Sent Saturday May 15 2021 422 PM

To smtannouncelistssocietymusictheoryorg                                   <smtannouncelistssocietymusictheoryorg>

Cc Napoles        Jessica   <JessicaNapolesuntedu>

Subject     EDO SmtAnnounce Call for Applications                                Editor of     the Journal of Schenkerian            Studies




Dear Colleagues




The University of North Texas                     UNT             is   seeking applications           for   a new   editor or editorial team for the Journal


of Schenkerian Studies              Editors will serve a 3 year term beginning                                 tentatively          no   later   than January        2022

We hope that the new editors will help rejuvenate the journal redefine                                              it   in light   of the current       state      of music

theory     as a field and restructure               and rebrand            it   to   promote    its   long term viability           We are open to the possibility
of teams of coeditors andor editors with associate                                      editors applying for the           editorial      role The      relationships

between      the journal and            its   institutional        stakeholders          can be examined         and revised where appropriate



The Journal of Schenkerian Studies                          is   the only peer reviewed               research journal featuring             articles   on    all   facets   of

Schenkerian thought               including theory analysis pedagogy                              historical    aspects and reviews              of relevant

publications        It   currently       is   published          annually       by the Center for Schenkerian Studies and the University of

North Texas Press



Previous     issues      of the journal can be found here

httpsditititallibrarvunteduexplorekolleetionsJSCS




                                                                                                                                                 APPX.036
                                                                                                                                                                    UNT005054
        Case 4:21-cv-00033-ALM                     Document 84-2 Filed 12/20/24                        Page 39 of 132 PageID #:
                                                               4007
The University of North Texas Press co publishes the journal with the Center andor journal editor The Press

receives final print ready files            from the Editor and arranges for print publication and dissemination                to


subscribers for each annual issue Within                  one year of print publication       the journal   is   loaded with the   UNT
Libraries for open access




Job descriptionresponsibilities


The editor is responsible for developing                a process for determining editorial board           membership terms and length
of service and restructuring              of journal guidelines The editor will also ensure a fair and high quality peer

review   of articles written in or related to the traditions of prolongational                     analysis



The journal       is   expected to abide by the Committee on Publications                 Ethics   COPE guidelines regarding best
practices in editorial       management

httpspublicationethicsorgifilesICOPE                     G A4 SG Ethical          Editing    Tvlay19    SCREEN       AWwebsitepdts


Minimum Qualifications
         A record of sustained high quality research publication in peer reviewed research journals
         Expertise        in Schenkerian      analysisSchenkerian           studies




Preferred     Qualification

         Editorial       experience       as either an editor or an editorial board         member of a research journal



Applications should include

         a cover letter with expression            of interest     in the
                                                                            position   including the candidates       goals for the journal

         a curriculum vitae           including   all   contact   information for the applicant

         a list    of 3 references with current contact            information




Inquiries   nominations and application                 materials should be directed to the search          committee chair Jessica

Napoles via email at JessicaNapolesuntedu                         Search    committee members include



Dr Ellen Bakulina           Assistant      Professor of Music       Theory     UNT
Mr Ron Chrisman Director UNT Press
Dr Graham Hunt             Professor of Music       Theory        UT Arlington
Dr John Ishiyama University Distinguished                     Research      Professor of Political     Science    UNT
Dr Jessica Napoles Associate Professor of Choral Music                          Education    UNT


All applications         must be submitted       electronically in a single       pdf Review of applications         begins July 30th and

will   remain open       until   filled




                                                                                                                      APPX.037
                                                                                                                                     UNT 005055
Case 4:21-cv-00033-ALM                        Document 84-2 Filed 12/20/24                                Page 40 of 132 PageID #:
                                                          4008
                       BENJAMIN D. BRAND, Ph.D.     09/23/2024          1                                   BENJAMIN D. BRAND, Ph.D.    09/23/2024                3



       1                   UNITED STATES DISTRICT COURT                                    1                                I N D E X
                           FOR THE EASTERN DISTRICT OF
       2                         SHERMAN DIVISION                                          2                                                         PAGE
       3 TIMOTHY JACKSON,                 )                                                3   Appearances....................................          2
                                          )
       4         Plaintiff,               )                                                4   Stipulations...................................          6
                                          )
       5   vs.                            )   CASE NO. 4:21-CV-00033-ALM                   5
                                          )
       6   LAURA WRIGHT, et al.,          )                                                6   BENJAMIN D. BRAND, Ph.D.
                                          )
       7         Defendants.              )                                                7           Direct Examination by Mr. Allen........         7
       8                                                                                   8

       9 ********************************************************                          9

      10                   VIDEOTAPED ORAL DEPOSITION OF                                  10                             EXHIBITS
      11                       BENJAMIN D. BRAND, Ph.D.                                   11

      12                          September 23, 2024                                      12     NUMBER             DESCRIPTION                      MARKED
      13 ********************************************************                         13    Exhibit 1     Re-Notice of Taking Deposition.....      7

      14                                                                                  14    Exhibit 2     Letter, 7-31-20, Allen to
      15         VIDEOTAPED ORAL DEPOSITION OF BENJAMIN D. BRAND,                         15                  Wright, et al.

      16 Ph.D., produced as a witness at the instance of the                              16                  (UNT 000157 - 000162).............. 37

      17 Plaintiff and duly sworn, was taken in the above-styled                          17    Exhibit 3     Title Page of Theoria, Volume 26... 47

      18 and numbered cause on the 23rd day of September, 2024,                           18    Exhibit 4     Walls Facebook Post

      19 from 1:14 p.m. to 6:11 p.m., before Kim D. Carrell,                              19                  (JACKSON 000234 - 000236).......... 56

      20 Certified Shorthand Reporter in and for the State of                             20    Exhibit 5     Email, 11-17-19, Walls to Jackson

      21 Texas, reported by computerized stenotype machine at                             21                  (Exhibit G)

      22 the University of North Texas System, 801 North Texas                            22                  (JACKSON 000240 - 000244).......... 70

      23 Boulevard, Gateway Suite #308, Denton, Texas, pursuant                           23    Exhibit 6     Material for the Committee

      24 to the Federal Rules of Civil Procedure and the                                  24                  Emails

      25 provisions stated on the record or attached hereto.                              25                  (UNT 002645 - UNT 002782).......... 78




                                                                                                  BENJAMIN D. BRAND, Ph.D.                      09/23/2024

                       BENJAMIN D. BRAND, Ph.D.     09/23/2024
                                                                                                                                                              4
                                                                        2
                                                                                 1    Exhibit 7      Ad Hoc Review Panel Report
       1                                                                         2                (Exhibit D)
       2                             APPEARANCES
                                                                                 3                 (JACKSON000208 - 000233)........... 84
       3
                                                                                 4    Exhibit 8       Email, 12-11-20, Brand to Jackson
       4   FOR THE PLAINTIFF:
       5         Mr. Michael Thad Allen                                          5                 (JACKSON 000272)................... 87
                 ALLEN LAW, LLC
       6         P.O. Box 404                                                    6    Exhibit 9       Handwritten Notes, 9-16-20, Ad
                 Quaker Hill, CT 06375
       7         Telephone: 860.772.4738
                 Fax: 860.469.2783                                               7                 Hoc Journal Review Committee....... 90
       8         E-mail: M.allen@allen-lawfirm.com
                                                                                 8    Exhibit 10      Emails Re: Questions regarding
       9

      10   FOR THE DEFENDANTS:                                                   9                the JSS
      11         Mr. Benjamin S. Walton                                        10                  (UNT 002539 - 002546).............. 93
                 Assistant Attorney General
      12         General Litigation Division
                 P.O. Box 12548, Capital Station
                                                                               11     Exhibit 11      Emails Beginning 7-25-20, Chung
      13         Austin, Texas 78711
                 Telephone: 512.463.2120                                       12                 to Graf, et al.
      14         Fax: 512.320.0667

      15
                 E-mail: Benjamin.Walton@oag.texas.gov
                     - and -
                                                                               13                  (UNT 000304 - 000309)..............101
      16         Mr. Renaldo Stowers                                           14     Exhibit 12      Emails RE: JSS Beginning 7-25-20,
                 University of North Texas System
      17         Office of General Counsel                                     15                 Chung to Graf, et al.
                 801 North Texas Boulevard
      18         Denton, Texas 76201
                 Telephone: 940.565.2717                                       16                  (UNT 000458 - 000463)..............107
      19         Fax: 940.369.7026
                 E-mail: Renaldo.Stowers@untsystem.edu                         17     Exhibit 13      Response Draft, Heidlberger to
      20

      21 ALSO PRESENT:                                                         18                  Brand, 7-27-20
      22   VIDEOGRAPHER:                                                       19                  (UNT 000472, 000503)...............112
      23         Mr. Tony McGough
                 Legal Video Group
                                                                               20     Exhibit 14      Emails RE: SMT Exec Board
      24         lvg.dallas@gmail.com
                 214-598-5229                                                  21                  response to JSS Essays
      25
                                                                               22                  (UNT 000480, 000481)...............118
                                                                               23     Exhibit 15      Statement from the MHTE Graduate
                                                                               24                  Students (Confidential)
                                                                               25                  (Kohanski 000107 - 000110).........122

                                                          Julia Whaley & Associates   214-668-5578
                                                                                                                            APPX.038
                                                                                                                            Page 1 to 4 of 143
Case 4:21-cv-00033-ALM                    Document 84-2 Filed 12/20/24 Page 41 of 132 PageID #:
                 BENJAMIN D. BRAND, Ph.D.     09/23/2024              BENJAMIN D. BRAND, Ph.D. 09/23/2024
                                                       4009
                                                                  21                                                                          23
 1        A.     I'd say the tempo varies.                                   1         A.     The relationship of the position is that it
 2        Q.     This last article of yours, was it peer                     2    reports to the vice president of digital strategy and
 3   reviewed?                                                               3    innovation.
 4        A.     No.                                                         4         Q.     Is it a center?
 5        Q.     Do you intend to submit that article for your               5         A.     No.
 6   annual review?                                                          6         Q.     How long have you been associated with new
 7        A.     No.                                                         7    ventures?
 8        Q.     At some point, you mentioned you started                    8         A.     I began that position in June of 2023.
 9   working for the Berklee Conservatory? Did I get that                    9         Q.     So you were the division head in 2020, correct?
10   wrong?                                                                10          A.     I was the division chair in 2020.
11        A.     The title is Berklee College of Music.                    11          Q.     I'm sorry. Thanks for correcting me.
12        Q.     And is this -- correct me if I'm wrong.                   12               And do you recall a controversy arising in
13   That's in Boston?                                                     13     approximately July of 2020 involving the Journal of
14        A.     That's correct.                                           14     Schenkerian Studies?
15        Q.     When did you start working there, and what do             15          A.     Yes.
16   you do there?                                                         16          Q.     Can you explain for the record your
17        A.     I started working at the Berklee College of               17     understanding of what that controversy was about?
18   Music, I believe, in March of 2024. And my duties were                18          A.     My understanding of the controversy is that
19   to teach music history classes.                                       19     it centered on the content and the quality of research
20        Q.     Have you left the University of North Texas?              20     in a volume of the Journal of Schenkerian Studies.
21        A.     No.                                                       21          Q.     What about the content of the volume
22        Q.     Are you on sabbatical of some sort?                       22     published by the Journal of Schenkerian Studies became
23        A.     No.                                                       23     controversial at that time?
24        Q.     What is the nature of your position formally              24          A.     My recollection and my understanding is that
25   with Berklee?                                                         25     a number of the contributions, the articles in the
                 BENJAMIN D. BRAND, Ph.D.          09/23/2024                                  BENJAMIN D. BRAND, Ph.D.        09/23/2024
                                                                  22                                                                          24
 1        A.     As an -- my -- I serve as an adjunct                        1    Journal, were perceived to be racist.
 2   instructor.                                                             2         Q.     Did you read the articles in the Journal --
 3        Q.     Are you still obligated to teach and so forth               3    let's back up a second.
 4   at UNT?                                                                 4              Do you recall what volume of the Journal of
 5        A.     No.                                                         5    Schenkerian Studies was published in that time period?
 6        Q.     Have you held any other positions besides those             6         A.     To the best of my recollection, the number of
 7   that you've named at the Berklee Conservatory and the                   7    the Journal, the number of the issue of the Journal or
 8   University of North Texas?                                              8    volume of the Journal was 12.
 9        A.     Yes.                                                        9         Q.     So if we refer to Volume 12, you'll know I'm
10        Q.     Can you please enumerate them?                            10     talking about that specific publication that came out in
11        A.     I currently hold the position of senior                   11     July of 2020, right?
12   director of new ventures in digital strategy innovation               12          A.     Yes.
13   at UNT.                                                               13          Q.     Likewise, just to get some formalities out of
14        Q.     New ventures? Is that what you said?                      14     the way, if you or I refer to JSS, we'll both know and
15        A.     Um-hum.                                                   15     understand that refers to the Journal of Schenkerian
16        Q.     What is that and what is its relationship to              16     Studies?
17   UNT?                                                                  17          A.     Yes.
18        A.     Could you elaborate on relationship?                      18          Q.     So let me back up and ask it again. Did you
19        Q.     Well, let's break it into two parts. Describe             19     read Volume 12 of the Journal of Schenkerian Studies?
20   for the record what new ventures is.                                  20          A.     I did not read it in its entirety.
21        A.     New ventures is potential new projects of                 21          Q.     Let me be more specific. In July of 2020, did
22   the division of digital strategy and innovation we may                22     you read the Journal then, even if you may not have read
23   pursue.                                                               23     it in its entirety?
24        Q.     And what is the relationship of new ventures to           24          A.     In July?
25   the larger institution, University of North Texas?                    25          Q.     Yes. How much of it did you read in July?

                                                      Julia Whaley & Associates   214-668-5578
                                                                                                                  APPX.039
                                                                                                                Page 21 to 24 of 143
Case 4:21-cv-00033-ALM                     Document 84-2 Filed 12/20/24 Page 42 of 132 PageID #:
                   BENJAMIN D. BRAND, Ph.D.    09/23/2024              BENJAMIN D. BRAND, Ph.D. 09/23/2024
                                                          4010
                                                                   41                                                                          43
 1         A.     To the best of my recollection, I did                       1    journal that quotes Wikipedia in some shape or form is,
 2   not perceive the criticisms that were being made of                      2    per se, not scholarly?
 3   Volume 12 of the JSS as threats to the UNT Academic                      3                     MR. WALTON: Form.
 4   Integrity Policy.                                                        4         Q.     Let me strike that question.
 5         Q.     Is there an exception to the UNT's Academic                 5              So was the -- to the best of your memory, was
 6   Freedom Policy for accusations of racism?                                6    the criticism that a journal article that cited Wikipedia
 7         A.     Not that I'm aware of.                                      7    could not be scholarly?
 8         Q.     Going back to Volume 12 of the Journal                      8         A.     To the best of my memory, that -- my
 9   of Schenkerian Studies, what do you recall the main                      9    recollection, that was not a-- that was not the
10   criticisms of the Journal being? You've already                        10     criticism being made.
11   identified that, I guess, some people from outside                     11          Q.     What was the criticism?
12   the University thought something was racist. People                    12          A.     As I recall, it was the way that the
13   from within the University, including the graduate                     13     Wikipedia article in question was being used as a
14   students and faculty, were submitting statements. We                   14     definitive source.
15   will be able to review those in a second.                              15          Q.     Did you read that article and make a
16         A.     Um-hum.                                                   16     determination of how that was being used as a, quote,
17         Q.     But I just wanted to ask you, besides attacks             17     definitive source, I guess, as you've characterized it?
18   on the content of the Journal, what were the criticisms                18          A.     That was one of the articles I've read.
19   leveled at the University of North Texas Press? Excuse                 19          Q.     And you've certainly published enough
20   me.                                                                    20     yourself and are familiar enough with scholarship to
21         A.     I don't --                                                21     make a judgment about that, right?
22         Q.     Strike that question.                                     22          A.     I believe so.
23              What were the -- besides the things we've                   23          Q.     So did you find that invocation of Wikipedia,
24   already discussed, what were the criticisms leveled at                 24     for whatever reason in that article, to be, quote, not
25   the Journal of Schenkerian Studies in this July 2020 to                25     scholarly, close quote?
                   BENJAMIN D. BRAND, Ph.D.        09/23/2024                                    BENJAMIN D. BRAND, Ph.D.       09/23/2024
                                                                   42                                                                          44
 1   November 2020 time frame?                                                1         A.     As I recall reading that citation in Wikipedia
 2         A.     As I recall, one of the main criticisms was                 2    in particular, it struck me as -- as not something that
 3   that some of the content of the volume was racist; that                  3    would be within the mainstream of normal scholarly
 4   some of the content of the volume was poorly researched                  4    research practice.
 5   and of lower scholarly quality. Again, I'm paraphrasing.                 5         Q.     Did you ever confirm that it was false in any
 6   And that the issue -- sorry. The volume in question had                  6    way? The quotation to Wikipedia.
 7   not gone through a peer-review process. Those are the                    7         A.     I don't recall whether it was a quotation of
 8   three criticisms that I recall.                                          8    some citation from a Wikipedia page.
 9         Q.     And I believe you already testified that                    9         Q.     Good correction. Thank you.
10   you couldn't identify what specific content, at least as               10               Did you ever confirm that the information for
11   you read it, was racist, right? You didn't have the                    11     which Wikipedia was relied on for an authority was false?
12   scholarly familiarity with that field or that specialty                12          A.     I don't recall ever having reviewed the
13   to make a judgment?                                                    13     Wikipedia page that was cited.
14         A.     As I recall, I didn't feel like I had the                 14          Q.     Was there any evidence, to your knowledge, that
15   scholarly expertise to make a definitive judgment as to                15     the information for which Wikipedia was invoked as an
16   whether a certain article was racist or not.                           16     authority was somehow false?
17         Q.     And about the scholarly or not scholarly, do              17          A.     Could you repeat the question?
18   you remember what specifically was considered, quote, not              18          Q.     Sure. Let me do a little more work here.
19   scholarly?                                                             19               You were being bombarded by emails, messages,
20         A.     I would say the one thing that I recall                   20     that this was a controversy, correct?
21   particularly clearly as an example of the quality of                   21                      MR. WALTON: Form.
22   research involved was the citation of a Wikipedia                      22          Q.     That there was something wrong with Volume 12
23   article in one of the contributions. I believe that                    23     of the JSS?
24   contribution was by Dr. Jackson.                                       24          A.     I was receiving emails.
25         Q.     Do you agree with that criticism, that a                  25          Q.     And one of the criticisms in these emails was

                                                       Julia Whaley & Associates   214-668-5578
                                                                                                                  APPX.040
                                                                                                                Page 41 to 44 of 143
Case 4:21-cv-00033-ALM                       Document 84-2 Filed 12/20/24 Page 43 of 132 PageID #:
                   BENJAMIN D. BRAND, Ph.D.      09/23/2024              BENJAMIN D. BRAND, Ph.D. 09/23/2024
                                                            4011
                                                                      85                                                                           87
 1        Q.      It doesn't say that, though, does it? It                       1    mark for the record as Exhibit Number 8. This is an
 2   says it was not his job to censor people, right?                            2    email from you, Professor Brand, to Timothy Jackson
 3        A.      That's what the text says.                                     3    titled Follow-Up, from December 11th, 2020.
 4        Q.      Isn't that right? It's not the job of an                       4         A.      Um-hum.
 5   editor to censor people, correct?                                           5                   (Deposition Exhibit Number 8 marked.)
 6                      MR. WALTON: Form.                                        6         Q.      It also has the Bates stamp JACKSON 000272.
 7        Q.      Is there something funny about that question?                  7              Do you remember this email, Professor Brand?
 8   Is there a reason you are smiling?                                          8         A.      I do.
 9        A.      Um.                                                            9         Q.      What was the purpose of your writing this email
10                      MR. ALLEN: Do you have something to                    10     to Timothy Jackson?
11   say, Renaldo?                                                             11          A.      Could you restate the question?
12                      MR. STOWERS: We can go off the record.                 12          Q.      What was your purpose of sending this email
13                      MR. ALLEN: We can go off the record,                   13     to Timothy Jackson on December 11th, 2020?
14   please.                                                                   14          A.      To clarify and confirm some points that I had
15                      THE VIDEOGRAPHER: We're off the record at              15     made verbally.
16   4:05 p.m.                                                                 16          Q.      You had met with Timothy Jackson at this
17                  (Recess taken)                                             17     time?
18                      THE VIDEOGRAPHER: We're back on the                    18          A.      Over Zoom.
19   record at 4:05 p.m.                                                       19          Q.      Of course. It was the COVID era, right? And
20                      MR. WALTON: Object to the form of the                  20     was that that same day?
21   question. It's badgering to the witness.                                  21          A.      I don't recall whether it was the same day
22        Q.      Were you smiling when you read that,                         22     or not.
23   Dr. Brand?                                                                23          Q.      It was within 24 hours of this date?
24        A.      I was.                                                       24          A.      As I recall, it was within 48 hours of the
25        Q.      Did me pointing that out seem offensive to you?              25     date.
                   BENJAMIN D. BRAND, Ph.D.           09/23/2024                                   BENJAMIN D. BRAND, Ph.D.        09/23/2024
                                                                      86                                                                           88
 1        A.      It did not seem offensive, no.                                 1         Q.      Fair enough. And you told him that you could
 2        Q.      So I just asked if you found it funny.                         2    not support a plan according to which he would remain
 3        A.      I don't find it funny.                                         3    involved in the operations of the Journal of Schenkerian
 4        Q.      So I'm asking, especially at a state                           4    Studies, correct?
 5   university, isn't it correct that the job of an                             5                        MR. WALTON: Form.
 6   editor is not to censor people?                                             6         A.      As written in the email, I did tell him that
 7                      MR. WALTON: Form.                                        7    I couldn't support a plan according to which he would
 8        Q.      I know this is getting long in the tooth,                      8    remain in the day-to-day operations of the Journal.
 9   but he's pointing out I'm asking a double negative                          9         Q.      And this was based on your reading of the
10   question, so let me try to rephrase that.                                 10     Ad Hoc Panel Report that we had just introduced as
11             It's correct -- it's correct, that especially                   11     Exhibit 7?
12   at a state institution, it is not the job of an editor to                 12          A.      Correct.
13   censor people, correct?                                                   13          Q.      And he also complained to you in that meeting
14                      MR. WALTON: Form.                                      14     that he was preparing a response, correct?
15        A.      The job of an editor is to provide critical                  15          A.      As I recall, he did inform me that he was
16   feedback.                                                                 16     preparing a response.
17        Q.      Did you see any evidence that critical feedback              17          Q.      And in that first sentence after, you know,
18   was not provided to the authors of the                                    18     bullet point Number 3, you say, "You expressed your
19   Symposium other than whatever Levi Walls was posting                      19     desire that I read your response to the panel's report
20   on Facebook?                                                              20     before I make any definitive judgments and, of course, I
21        A.      Other than Levi Walls' post on Facebook, I have              21     will read your report carefully when I receive it."
22   not seen evidence that authors in that volume of                          22               Did I read that correctly?
23   JSS were not receiving critical feedback.                                 23          A.      Yes.
24                      MR. ALLEN: Sorry, Dr. Brand. I'm looking               24          Q.      Did you receive his response?
25   for an exhibit that I wanted to show you. I'm going to                    25          A.      I recall receiving his response.

                                                          Julia Whaley & Associates   214-668-5578
                                                                                                                     APPX.041
                                                                                                                   Page 85 to 88 of 143
Case 4:21-cv-00033-ALM        Document
           BENJAMIN D. BRAND, Ph.D.
                                          84-2 Filed 12/20/24 BENJAMIN
                                    09/23/2024
                                                                 PageD.44BRAND,
                                                                           of 132  PageID
                                                                                Ph.D.
                                                                                           #:
                                                                                      09/23/2024
                                             4012
                                               141                                               143
 1                      UNITED STATES DISTRICT COURT                       1    otherwise interested in the outcome of the action.
                        FOR THE EASTERN DISTRICT OF                        2       Certified to by me on this 21st day of October,
 2                          SHERMAN DIVISION                               3    2024.
 3   TIMOTHY JACKSON,               )                                      4
                                    )                                      5
 4         Plaintiff,       )                                              6                    ________________________________
                                    )                                                           Kim D. Carrell, CSR NO. 1184
 5   vs.                    ) CASE NO. 4:21-CV-00033-ALM                   7                    Date of Expiration: 7-31-26
                                    )                                                           JULIA WHALEY & ASSOCIATES, INC.
 6   LAURA WRIGHT, et al.,          )                                      8                    2012 Vista Crest Drive
                                    )                                                           Carrollton, Texas 75007-1640
 7         Defendants.          )                                          9                    214-668-5578/Fax 972-236-6666
 8              __________________________________________                                      JulieTXCSR@gmail.com
 9                REPORTER'S CERTIFICATION OF                            10                     Firm registration No. 436
10             ORAL DEPOSITION OF BENJAMIN D. BRAND, Ph.D.                                      Firm registration Expires 5-31-25
11                          September 23, 2024                           11
12             ___________________________________________               12
13         I, KIM D. CARRELL, a Certified Shorthand Reporter             13
14   in and for the State of Texas, hereby certify to the                14
15   following:                                                          15
16         That the witness, BENJAMIN D. BRAND, was duly                 16
17   sworn and that the transcript of the oral deposition is             17
18   a true record of the testimony given by the witness;                18
19         That the deposition transcript was duly submitted             19
20   on October 21, 2024, to Mr. Benjamin Walton, the attorney           20
21   for the defendants, for examination, signature, and                 21
22   return to me by November 22, 2024, (30 days);                       22
23         That pursuant to the information given to the                 23
24   deposition officer at the time said testimony was taken,            24
25   the following includes all partes of record and the                 25
                BENJAMIN D. BRAND, Ph.D.         09/23/2024
                                                               142
 1   amount of time used by each party at the time of the
 2   deposition;
 3      Michael Thad Allen - 03 HRS: 54 MIN
        Benjamin Walton - 00 HRS: 00 MIN
 4
 5   FOR THE PLAINTIFF:
 6      Mr. Michael Thad Allen
        ALLEN LAW, LLC
 7      P.O. Box 404
        Quaker Hill, CT 06375
 8      Telephone: 860.772.4738
        Fax: 860.469.2783
 9      E-mail: M.allen@allen-lawfirm.com

10
11   FOR THE DEFENDANTS:
12      Mr. Benjamin S. Walton
        Assistant Attorney General
13      General Litigation Division
        P.O. Box 12548, Capital Station
14      Austin, Texas 78711
        Telephone: 512.463.2120
15      Fax: 512.320.0667
        E-mail: Benjamin.Walton@oag.texas.gov
16         - and -
17      Mr. Renaldo Stowers
        University of North Texas System
18      Office of General Counsel
        801 North Texas Boulevard
19      Denton, Texas 76201
        Telephone: 940.565.2717
20      Fax: 940.369.7026
        E-mail: Renaldo.Stowers@untsystem.edu
21
22         I further certify that I am neither counsel for,
23   related to, nor employed by any of the parties or
24   attorneys in the action in which this proceeding was
25   taken, and further that I am not financially or

                                                    Julia Whaley & Associates   214-668-5578          PageAPPX.042
                                                                                                           141 to 143 of 143
Case 4:21-cv-00033-ALM                    Document 84-2 Filed 12/20/24 Page 45 of 132 PageID #:
                                            ANDREW JAY CHUNG - 10/15/2024
                                                      4013
                                                        1                                                                         3
 1              IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF TEXAS                 1                           I N D E X
 2                        SHERMAN DIVISION                                                                                     PAGE

 3   TIMOTHY JACKSON,                X
                                                                   2   Appearances..........................................      2
                                     X                             3   Exhibit Index........................................      4
 4             Plaintiff,            X
                                                                   4   Agreements...........................................      5
                                     X
 5   VS.                             X CASE ACTION                 5
                                     X NO.: 4:21-cv-00033-ALM
                                                                   6   ANDREW JAY CHUNG
 6   LAURA WRIGHT, ET AL.,           X
                                     X                             7        Examination by Mr. Allen.........................     6
 7             Defendants.           X                             8

 8                                                                 9   Changes and Signature................................ 148

                                                                  10   Reporter's Certificate............................... 150
 9   ---------------------------------------------------------
                                                                  11
10               ORAL AND VIDEOTAPED DEPOSITION OF                12
                                                                  13
11                           ANDREW JAY CHUNG
                                                                  14
12                           October 15, 2024
                                                                  15

13                         (Reported Remotely)                    16
                                                                  17
14   ---------------------------------------------------------
15                                                                18
16            ORAL AND VIDEOTAPED DEPOSITION OF ANDREW JAY        19
17   CHUNG, produced as a witness at the instance of the
18   Plaintiff, and duly sworn, was taken in the above-styled     20
19   and numbered cause on October 15, 2024, from 9:05 a.m. to    21
20   12:46 p.m., via Zoom, before JENNIFER L. SANDERS, CSR in
                                                                  22
21   and for the State of Texas, reported by machine
22   shorthand, the witness located in Worcester,                 23
23   Massachusetts, pursuant to the Federal Rules of Civil
                                                                  24
24   Procedure and the provisions stated on the record and/or
25   attached hereto.                                             25
                                                              2                                                                   4
 1                     A P P E A R A N C E S                       1                       E X H I B I T S
                                                                   2   NUMBER       DESCRIPTION                               PAGE
 2   FOR THE PLAINTIFF:
                                                                   3   1    Re-Notice of Taking Deposition.................      9
 3         MR. MICHAEL THAD ALLEN
           Allen Harris, PLLC
 4         PO Box 404                                              4   2    Curriculum Vitae...............................     11
           Quaker Hill, Connecticut 06375
 5         Office: 860-499-3399                                    5   3    Complication of Two Websites and One Journal
           Fax: 860-481-7899                                                Article concerning the Journal Spectrum........     23
 6         Email: mallen@allenharrislaw.com                        6
                                                                       4    Email from Timothy Jackson to Stephen
 7                                                                 7        Slottow, et al., dated 12/11/19, and other
     FOR THE DEFENDANTS:                                                    email (UNT 563-566)............................     50
 8                                                                 8
           MS. MARY QUIMBY                                             5    Email from Stephen Slottow to Timothy
 9         Assistant Attorney General                              9        Jackson, et al., dated 7/25/20, and other
           General Litigation Division
                                                                            email (UNT 300-303)............................     63
10         P.O. Box 12548
           Austin, Texas 78711-2548                               10
11         Office: 512-463-2100                                        6    Material for the Committee (UNT 2645-2782).....     80
           Email: mary.quimby@oag.texas.gov                       11
12                                                                     7    Email from Timothy Jackson to others dated
                                                                  12        7/26/20, and other email (UNT 304-309).........     84
13   FOR UNIVERSITY OF NORTH TEXAS
                                                                  13   8    Open Letter on anti-racist Actions Within SMT
14         MR. RENALDO L. STOWERS                                           (UNT 1090-1115)................................ 100
           MS. CARI JACOBY                                        14
15         UNT System                                                  9    Ad Hoc Review Panel Report of Review of
           Office of General Counsel
                                                                  15        Conception and Production of Volume 12 of the
16         801 North Texas Boulevard
                                                                            Journal of Schenkerian Studies dated 11/25/20
           Denton, Texas 76201
17         Office: 940-565-2717                                   16        (Jackson 208-233).............................. 117
           Fax: 940-369-7026
18         Email: renaldo.stowers@untsystem.edu                   17   10   Email from Music Information dated 1/5/22
           Email: cari.jacoby@untsystem.edu                                 (UNT 5521-5522)................................ 133
19                                                                18
                                                                       11   Email from Music Information dated 11/23/21
20   THE VIDEOGRAPHER:                                            19        (UNT5523-5525)................................. 135

21         Mr. Adam Scozzari                                      20   12   Facebook Post by Levi Walls dated 7/27/20
           Legal Video Group                                                (Jackson 234-236).............................. 137
22         Office: 214-598-5229
                                                                  21
           Email: lvg.dallas@gmail.com
                                                                       13   Email from Ellen Bakulina dated 7/29/20........ 143
23
                                                                  22
24
                                                                  23
25                                                                24

                                                                                                    APPX.043
                                                                  25

                                    Julie Whaley & Associates                   214-668-5578         Page 1 to 4 of 152
Case 4:21-cv-00033-ALM                     Document 84-2 Filed 12/20/24 Page 46 of 132 PageID #:
                                             ANDREW JAY CHUNG - 10/15/2024
                                                       4014
                                                                17                                                                     19

 1   journal reviewers knew my name.         It's often -- in a small    1   affiliation with Wesleyan University?

 2   field, it's pretty easy to infer who an author is.                  2          A.   Nope.

 3       Q.     Sure.    So let me just summarize, if possible.          3          Q.   When did your association with Wesleyan end?

 4   A double blind peer-review process means that both the              4                   MS. QUIMBY:     Objection; form.

 5   author of an article and the outside reviewers of the               5          A.   My association with Wesleyan University ended

 6   author -- of the article remain anonymous to each other,            6   when my visiting appointment was over in May -- let's see

 7   correct?                                                            7   -- 2019.

 8       A.     Correct.                                                 8          Q.   (BY MR. ALLEN)     Okay.   Sorry if I pause between

 9       Q.     And to the best of your knowledge, these                 9   exhibits.     It's because I'm keeping track of them and

10   peer-reviewed articles were double blind peer reviewed?            10   keeping track of their files names so I can circulate

11       A.     To the best of my knowledge.       My expectation is    11   them eventually to the reporter.

12   that they were all double blind peer reviewed.                     12               Are you familiar with a music theory journal

13       Q.     Have you ever published articles that are not           13   called Spectrum?

14   peer reviewed?                                                     14          A.   You are referring to Music Theory Spectrum.

15       A.     Articles, no.                                           15   Yes.

16       Q.     Textbook chap- -- go ahead.       I'm sorry.            16          Q.   Can you describe what Music Theory Spectrum is

17       A.     On articles, no.       I've done some journalistic      17   for the record, please?

18   writing, but that's, I think, a different matter.                  18          A.   For the record, Music Theory Spectrum is, I

19       Q.     In this book chapter you've listed in your CV,          19   believe, one of the official publications of the Society

20   "Consonance and Dissonance," do you see where that is on           20   for Music Theory.

21   the -- it looks like second page of Exhibit 2?                     21          Q.   What's the Society for Music Theory?

22       A.     Correct.                                                22          A.   The Society for Music Theory is a professional

23       Q.     Was that peer reviewed?                                 23   society of music theorists.

24       A.     That was editor reviewed.                               24          Q.   Do you belong to the Society for Music Theory?

25       Q.     And could you describe that process in brief            25          A.   I am -- I am currently a member of the SMT.

                                                                18                                                                     20

 1   for the record?                                                     1   That is the Society for Music Theory.

 2       A.     Editor review is -- is a standard that is often          2          Q.   And I believe you just used its acronym SMT,

 3   used for edited collections that are published as books             3   right?

 4   where book chapters are solicited from authors by a team            4          A.   Uh-huh.

 5   of editors, and the pieces are reviewed by the editors.             5          Q.   So if we say "SMT" we'll both understand we're

 6       Q.     And I believe you said you had -- how did you            6   refer to Society for Musical Theory, right?

 7   describe your non-peer reviewed publication efforts?                7          A.   Correct.     Music --

 8   Something like journalistic or popular or something of              8          Q.   Thank you.     Society for Music Theory just for

 9   that nature?                                                        9   the record.     Thank you.

10       A.     Yeah.    Journalistic writing.                          10          A.   Correct.

11       Q.     Where are those in your CV, if they are?                11          Q.   How important is the Society for Music Theory

12       A.     They should be in other writings.                       12   in your field?

13       Q.     Is that this portion on the bottom of Page 2?           13                   MS. QUIMBY:     Objection; form.

14       A.     Yes.    The -- yeah.     The bottom two items, in       14                   Go ahead.

15   The Wire and icareifyoulisten.com.         Yeah.   Those are --    15          A.   It is -- it is the primary U.S.-based

16   those are -- those are journalistic writings.                      16   professional association and conference organizing body

17       Q.     And then what is the History of Music Theory            17   in the field.

18   blog?    You've listed a publication under other writings,         18          Q.   (BY MR. ALLEN)     And you consider yourself a

19   "Colonial Organology and Ornithology in Richard Ligon's            19   music theorist, right?

20   Acoustics of Anthropological Difference."          Did I read      20          A.   At times.     I certainly --

21   that right?                                                        21          Q.   How about --

22       A.     Correct.    Yes.   That is a blog post that             22          A.   -- teach in the music theory departments.

23   solicits short pieces, short reflections having to do              23          Q.   Okay.     Do you teach classes in music theory?

24   with the history of music theory.                                  24          A.   I teach classes in music theory.

25       Q.     Okay.    Do you retain any kind of institutional        25          Q.   Did your -- do your publications -- your

                                    Julie Whaley & Associates
                                                                                                                 APPX.044
                                                                                         214-668-5578 Page 17 to 20 of 152
Case 4:21-cv-00033-ALM                        Document 84-2 Filed 12/20/24 Page 47 of 132 PageID #:
                                                ANDREW JAY CHUNG - 10/15/2024
                                                          4015
                                                                       65                                                                       67

 1   reaction on Facebook?       This is the next email in the                    1   ruined before it properly began.         I have a family to take

 2   chain.                                                                       2   care of now.    I'm also confused about what exactly people

 3         A.   I don't -- I don't recall it, per se.            But              3   want."

 4   it's -- it's here in the email thread.              Yes, I believe is        4              Did I read that right?

 5   it.                                                                          5       A.     Correct.

 6         Q.   And do you have any knowledge of Facebook --                      6       Q.     How did you understand what Mr. Walls was

 7   the social media platform Facebook serving any role in                       7   particularly afraid of at this time?

 8   the editorial process of journals at the University of                       8                  MS. QUIMBY:    Objection; form.

 9   North Texas Press?                                                           9       A.     With the caveat that, you know, I don't have

10         A.   I know of no such practice.                                      10   omniscient access to the internal --

11         Q.   Is Facebook a particularly scholarly forum?                      11       Q.     (BY MR. ALLEN)    Sure.

12         A.   It is not.                                                       12       A.     -- cognition of others, I believe that Levi, in

13         Q.   And here's the second email from you, I                          13   his position as student editor or assistant editor or

14   believe, a little bit later in the evening at 8:32.                         14   editor of the journal, was worried about being --

15   "Please feel free to forward this message to anyone you                     15   being -- about his reputation being jeopardized by

16   think would be appropriate."            Right?                              16   association with the -- the controversy in regards to the

17         A.   Correct.                                                         17   journal.

18         Q.   So is it fair to say that you were bringing                      18       Q.     And have you and he talked about that

19   your colleagues -- to your colleagues attention this --                     19   subsequently as his dissertation advisor?

20   what seemed to be a rapidly developing controversy?                         20       A.     I don't believe so.

21                     MS. QUIMBY:    Objection; form.                           21       Q.     In your role as his dissertation advisor have

22         A.   Yes.    A rapidly developing potential for                       22   you witnessed any harm that has come to his career

23   controversy.                                                                23   because he participated in the Journal of Schenkerian

24         Q.   (BY MR. ALLEN)       Okay.    Did it develop into a              24   Studies?

25   full-blown controversy?                                                     25                  MS. QUIMBY:    Objection.

                                                                       66                                                                       68

 1                     MS. QUIMBY:    Objection; form.                            1       A.     Not to my knowledge.

 2         A.   I think that most people would agree that it                      2       Q.     (BY MR. ALLEN)    And did you understand this

 3   developed into -- into a point of contention, yes.                           3   email to be expressing his fear of some sort of, quote,

 4         Q.   (BY MR. ALLEN)       Thank you.       So here's an email          4   power differential between him and Professor Timothy

 5   on July 25 at about 9:00, 8:55 p.m., by Levi Walls.                    Do    5   Jackson?

 6   you see that email in Exhibit 5?                                             6                  MS. QUIMBY:    Objection; form.

 7         A.   Yes.                                                              7       A.     Power differential?       I mean, there's always a

 8         Q.   And this is a student who would become your                       8   power differential between students and professors.

 9   graduate student or at least in your role as a                               9   That's understood.

10   dissertation advisor.       Can I ask you to read that email                10       Q.     (BY MR. ALLEN)    Sure.     Do you -- do you

11   carefully, please?                                                          11   understand him to be expressing in this email, especially

12         A.   Okay.    I'm finished reading.                                   12   did you understand at the time -- let me strike that

13         Q.   Sure.    I just have a question in the first                     13   question, ask this.

14   sentence.    Well, in the second sentence actually.               He        14              Did you understand at the time that Mr. Levi

15   says, "I just heard about this."            Referring to what you           15   Walls was objecting to a so-called power differential

16   and Ellen Bakulina have identified.              Is that your               16   between him and Professor Jackson in this email?

17   understanding of the email?                                                 17                  MS. QUIMBY:    Objection; form.

18         A.   Correct.                                                         18       A.     In this email I don't recall -- I -- I don't

19         Q.   Would you have received this email at the time?                  19   believe that he was expressing sentiments related to a

20         A.   I believe I did receive this, yes.                               20   power differential, no.

21         Q.   I only ask because, unlike some of the other                     21       Q.     (BY MR. ALLEN)    Picking up on what you said

22   emails, it doesn't seem to have the full received line on                   22   about the inherent difference between a dissertation

23   it.                                                                         23   advisor and the student, the graduate student, that

24              He then goes on, Mr. Walls, to say, "It's very                   24   there's an inherent power differential, that so-called

25   worrying, especially as I don't want my career to be                        25   power differential exists between you and Mr. Walls now,

                                      Julie Whaley & Associates
                                                                                                                     APPX.045
                                                                                               214-668-5578 Page 65 to 68 of 152
Case 4:21-cv-00033-ALM                     Document 84-2 Filed 12/20/24 Page 48 of 132 PageID #:
                                             ANDREW JAY CHUNG - 10/15/2024
                                                       4016
                                                                 69                                                                         71

 1   right?                                                               1   independent will when he worked with [audio cut out]?

 2         A.   In any student-teacher relationship, a power              2                     THE REPORTER:     You cut out at the end.

 3   differential exists.                                                 3                     MR. ALLEN:    Let me rephrase.

 4         Q.   Sure.    Is it your experience of Professor               4       Q.     (BY MR. ALLEN)       Did you have any reason to

 5   Walls -- excuse me.       Strike that, please.                       5   believe, at the time these emails were being sent back

 6              Is it your experience of Mr. Walls that this              6   and forth, that Mr. Walls was bereft of his independent

 7   power differential prevents him from exercising his own              7   will in working with Professor Jackson?

 8   agency in your relationship to him?                                  8                     MS. QUIMBY:     Objection; form.

 9                     MS. QUIMBY:    Objection; form.                    9       A.     I have no knowledge of the dynamics of -- of

10         A.   I mean, strictly speaking -- strictly speaking,          10   Professor Jackson's advisory -- dissertation advisory

11   no.   But teachers are -- you know, teachers are                    11   capacity, dissertation relationship -- dissertation

12   considered -- are considered influential authorities on             12   advisory relationship with Levi Walls.

13   topics.    Students often feel pressure to take the advice          13       Q.     (BY MR. ALLEN)       In these emails that were

14   or take the recommendations of their professors.                    14   exchanged back and forth in which Mr. Walls took part,

15         Q.   (BY MR. ALLEN)       I'm talking about your direct       15   did you have reason to believe that he had been bereft of

16   experience of Mr. Walls.         In your experience with him as     16   his own independent will in his work on the Journal of

17   his dissertation advisor, do you feel that he's reluctant           17   Schenkerian Studies?

18   to speak his mind to you?                                           18                     MS. QUIMBY:     Objection; form.

19         A.   Not more than any other students.        I -- you        19       A.     I do not believe that he was bereft of his own

20   know, students choose their words carefully around their            20   independent will.

21   advisors if they're -- if they are smart.           As they would   21       Q.     (BY MR. ALLEN)       Thank you.   And just to follow

22   with any authorities in a supervisory capacity over them.           22   up on your relationship with Mr. Walls, how close would

23         Q.   And when you were a graduate student at Yale,            23   you describe your relationship with mentee and advisee of

24   did this power differential affect you in your                      24   Mr. Walls at this time?

25   relationship with your dissertation advisor?                        25       A.     Somewhat close.       We correspond maybe once a

                                                                 70                                                                         72

 1                     MS. QUIMBY:    Objection; form.                    1   month, once every two months.

 2         A.   Of course.    This power differential, like I             2       Q.     I assume you have a residence somewhere in the

 3   said, is in every student-teacher relationship.                      3   -- in the Denton area near the University of North Texas,

 4         Q.   (BY MR. ALLEN)       Would you state for the record       4   correct?

 5   whether you believe that, quote, power differential                  5       A.     At the moment, no.

 6   affected your ability to think independently in your own             6       Q.     While you were teaching at the University of

 7   dissertation                                                         7   North Texas, do you live in the Dallas area?

 8                     MS. QUIMBY:    Objection; form.                    8       A.     While teaching and -- so not -- meaning not

 9         A.   I don't believe that it affected my ability to            9   this year, prior to this year --

10   think independently.       But, of course, I received advice        10       Q.     Yes.

11   and cautions that I would not have known to be cognizant            11       A.     -- and after this year, yes, I have had a

12   of from the dissertation advisor who I had who was in a             12   residence in -- around Dallas.

13   position of greater power over me in that relationship.             13       Q.     Have you had Mr. Walls over to your home?

14         Q.   (BY MR. ALLEN)       Is it fair to say that's            14       A.     Nope.

15   inherent in the mentor/mentee relationship?                         15       Q.     Have you ever visited Mr. Walls at his home?

16         A.   That is inherent to the mentor/mentee                    16       A.     Nope.

17   relationship.                                                       17       Q.     Do you primarily meet in your office at UNT?

18         Q.   So your answer is yes?                                   18       A.     Primarily, yes.

19         A.   Yes.                                                     19       Q.     Is Mr. Walls in residence at the -- in Dallas?

20         Q.   Thank you.    And just back to Mr. Walls, you            20       A.     Currently, no.

21   don't -- you don't have any reason to think that he's so            21                     MS. QUIMBY:     Object to form.

22   weak that he has no independent will as your dissertation           22       Q.     (BY MR. ALLEN)       Where is he now?

23   advisee, do you?                                                    23       A.     Mr. Walls is in residence in California while

24         A.   I have no reason to believe such a thing.                24   writing his dissertation.

25         Q.   Did you ever witness him to be bereft of an              25       Q.     And do you know when he left for California?

                                      Julie Whaley & Associates
                                                                                                                 APPX.046
                                                                                       214-668-5578 Page 69 to 72 of 152
Case 4:21-cv-00033-ALM                Document 84-2 Filed 12/20/24 Page 49 of 132 PageID #:
                                        ANDREW JAY CHUNG - 10/15/2024
                                                  4017
                                                   149                                                                   151
 1   _________________________________________________________     1            That the amount of time used by each party at
 2   _________________________________________________________     2   the deposition is as follows:
 3   _________________________________________________________
                                                                   3        MR. MICHAEL THAD ALLEN: 3 Hour(s), 10 Minute(s)
 4   _________________________________________________________
 5   _________________________________________________________
 6            I, ANDREW JAY CHUNG, have read the foregoing         4
     deposition and hereby affix my signature that same is
 7   true and correct, except as noted above.                      5            That pursuant to information given to the
                                                                   6   Deposition officer at the time said testimony was taken,
 8                                                                 7   the following includes counsel for all parties of record:
                                                                   8   FOR THE PLAINTIFF:
 9
                              _________________________________
10                            ANDREW JAY CHUNG                     9       MR. MICHAEL THAD ALLEN
                                                                           Allen Harris, PLLC
11                                                                10       PO Box 404
                                                                           Quaker Hill, Connecticut 06375
12   STATE OF ______________)                                     11       Office: 860-499-3399
                                                                           Fax: 860-481-7899
13   COUNTY OF _____________)                                     12       Email: mallen@allenharrislaw.com
14        Before me, ___________________________, on this day
     personally appeared ANDREW JAY CHUNG, known to me (or        13
15   proved to me under oath or through                                FOR THE DEFENDANT:
     ___________________________) (description of identity        14
16   card or other document)) to be the person whose name is                MS. MARY QUIMBY
     subscribed to the foregoing instrument and acknowledged      15        Assistant Attorney General
17   to me that they executed the same for the purposes and                 General Litigation Division
     consideration therein expressed.
                                                                  16        P.O. Box 12548
18        Given under my hand and seal of office this
                                                                            Austin, Texas 78711-2548
     __________ day of ________________________, __________.
19                                                                17        Office: 512-463-2100
                                                                            Email: mary.quimby@oag.texas.gov
20                                                                18

21                            _________________________________   19            That $__________ is the deposition officer's
                              NOTARY PUBLIC IN AND FOR            20   charges to Mr. Michael Thad Allen, Attorney for
22                            THE STATE OF ____________________
                                                                  21   Plaintiff, for preparing the original deposition
                              COMMISSION EXPIRES: _____________
23                                                                22   transcript and any copies of exhibits;
                                                                  23            I further certify that I am neither counsel
24                                                                24   for, related to, nor employed by any of the parties or
25                                                                25   attorneys in the action in which this proceeding was
                                                         150                                                                   152
 1              IN THE UNITED STATES DISTRICT COURT                1   taken, and further that I am not financially or otherwise
                 FOR THE EASTERN DISTRICT OF TEXAS                 2   interested in the outcome of the action.
 2                        SHERMAN DIVISION
                                                                   3            Certified to by me this               day of
                                                                   4                ,           .
 3   TIMOTHY JACKSON,             X
                                                                   5
                                  X
 4              Plaintiff,        X
                                  X                                6                        _________________________________
 5   VS.                          X CASE ACTION                                             JENNIFER L. SANDERS, CSR No. 5091
                                  X NO.: 4:21-cv-00033-ALM         7                        Expiration Date:     10/31/26
 6   LAURA WRIGHT, ET AL.,        X                                                         JULIA WHALEY & ASSOCIATES
                                  X                                8                        2012 Vista Crest Drive
 7              Defendants.       X                                                         Carrollton, Texas 75007
                                                                   9                        Firm Registration No. 436
 8   ---------------------------------------------------------
                                                                                            214-668-5578 (Office)
                                                                  10                        214-236-6666 (Fax)
 9                    REPORTER'S CERTIFICATION
                                                                  11
10                 DEPOSITION OF ANDREW JAY CHUNG
11                        October 15, 2024                        12
12                      (Reported Remotely)                       13
13   ---------------------------------------------------------    14
14                                                                15
15              I, Jennifer L. Sanders, Certified Shorthand       16
16   Reporter in and for the State of Texas, hereby certify to    17
17   the following:                                               18
18              That the witness, ANDREW JAY CHUNG, was duly
                                                                  19
19   sworn by the officer and that the transcript of the oral
                                                                  20
20   deposition is a true record of the testimony given by the
                                                                  21
21   witness;
22              That the deposition transcript was submitted on   22
23                            to Ms. Mary Quimby, attorney for    23
24   ANDREW JAY CHUNG, for examination, signature and return      24
25   to me by                    ;                                25

                                 Julie Whaley & Associates
                                                                                                     APPX.047
                                                                             214-668-5578Page 149 to 152 of 152
Case 4:21-cv-00033-ALM                       Document 84-2 Filed 12/20/24                              Page 50 of 132 PageID #:
                                                         4018
                           Jennifer Cowley      09/26/2024                1                                   Jennifer Cowley      09/26/2024                 3



       1                    UNITED STATES DISTRICT COURT                                   1                           I N D E X
                         FOR THE EASTERN DISTRICT OF TEXAS
       2                          SHERMAN DIVISION                                         2                                                      PAGE
       3 TIMOTHY JACKSON,                *                                                 3   Appearances.....................................       2
                                         *
       4              Plaintiff,         *                                                 4
                                         *
       5   VS.                           *   CASE NO. 4:21-CV-00033-ALM                    5   JENNIFER COWLEY
                                         *
       6   LAURA WRIGHT, ET AL.,         *                                                 6   Examination by Mr. Allen........................       5
                                         *
       7              Defendants.        *                                                 7

       8                                                                                   8   Changes and Signature...........................   213
       9              ______________________________________                               9

      10         ORAL AND VIDEOTAPED VIDEOCONFERENCE DEPOSITION OF                        10   Reporter's Certificate..........................     215
      11                            JENNIFER COWLEY                                       11   Further Certification...........................   217
      12                      SEPTEMBER 26, 2024                                          12

      13               _____________________________________                              13                         REPORTER'S NOTE

      14                                                                                  14                  Please note that due to the quality
      15                                                                                  15   of the transmission data for a Zoom videoconference,

      16                   ORAL AND VIDEOTAPED VIDEOCONFERENCE                            16   cross-talk causes audio distortion in the testimony when

      17 DEPOSITION of JENNIFER COWLEY, produced at the instance                          17   preparing a videoconference transcript.

      18 of the Plaintiff, and duly sworn, was taken in the                               18

      19 above-styled and numbered cause on the 26th day of                               19                          E X H I B I T S

      20 September, 2024, from 9:04 a.m. to 2:58 p.m., before                             20   NO.     DESCRIPTION                                PAGE

      21 Carla A. Sims, AAS, CSR, RPR, in and for the State of                            21   1       Deposition Notice.......................   116

      22 Texas, reported by method of machine shorthand, via Zoom                         22   2       Email...................................   116
                                                                                                       UNT_000568
      23 videoconference, pursuant to the Federal Texas Rules of                          23
                                                                                               3       UNT Webpage Printout....................   129
      24 Civil Procedure and the provisions stated on the record                          24           UNT_000106

      25 or attached hereto.                                                              25   4       Allen Law Letter........................   132
                                                                                                       UNT_000157 to UNT_000162




                                                                                                       Jennifer Cowley             09/26/2024
                                                                                                                                                          4
                           Jennifer Cowley      09/26/2024                2     1
                                                                                     5         Email String............................ 140
       1                       A P P E A R A N C E S                            2              UNT_002453 to UNT_002454
       2             ALL PARTIES AND WITNESS APPEARED VIA                       3    6         Email................................... 142
                               ZOOM VIDEOCONFERENCE
       3                                                                                       UNT_002460
       4 COUNSEL FOR THE PLAINTIFF:                                             4
       5         Mr. Michael Thad Allen                                              7         Provost Letter.......................... 159
                 ALLEN LAW, LLC
       6         P.O. Box 404                                                   5              JACKSON000261 to JACKSON000263
                 Quaker Hill, Connecticut 06375
       7         860/772-4738 (tel)                                             6    8         Center Review Report.................... 167
                 m.allen@allen-lawfirm.com
       8                                                                                       JACKS_067377 to JACKS_067401
           COUNSEL FOR THE DEFENDANTS and JENNIFER COWLEY:
       9                                                                        7
                 Ms. Mary Quimby
      10         TEXAS ASSISTANT ATTORNEY GENERAL                                    9         Ad Hoc Review Panel Report.............. 170
                 P.O. Box 12548
      11         Capitol Station                                                8              JACKSON000208 to JACKSON000233
                 Austin, Texas 78711
      12         mary.quimby@oag.texas.gov                                      9    10         Ad Hoc Panel Report Student Statement... 185
      13 COUNSEL FOR THE UNIVERSITY OF NORTH TEXAS:                           10     11         Deposition of Levi Walls................ 193
      14         Mr. Renaldo L. Stowers                                       11     12         Provost Letter.......................... 198
                 DEPUTY GENERAL COUNSEL, UNIVERSITY OF NORTH TEXAS
      15         115 Union Circle No. 310907                                                   JACKSON000271
                 Denton, Texas 76203
      16         940/565-2717 (tel)                                           12
                 renaldo.stowers@untsystem.edu
      17
                                                                                     13         Email................................... 206
           COUNSEL FOR THE UNIVERSITY OF TEXAS AT ARLINGTON
      18
                                                                              13               JACKSON000272
                 Mr. Shelby Boseman                                           14
      19         CHIEF LEGAL OFFICER, THE UNIVERSITY OF TEXAS AT
                 ARLINGTON                                                    15
      20         701 South Nedderman Drive
                 Arlington, Texas 76019                                       16
      21         sboseman@uta.edu
                                                                              17
      22 ALSO PRESENT:
                                                                              18
      23 VIDEOGRAPHER:
                                                                              19
      24         Mr. Jason Warner
                 Legal Video Group                                            20
      25         lvg.dallas@gmail.com
                 214-598-5229                                                 21
                                                                              22
                                                                              23
                                                                              24
                                                                              25

                                                         Julia Whaley & Associates   214-668-5578
                                                                                                                         APPX.048
                                                                                                                         Page 1 to 4 of 215
Case 4:21-cv-00033-ALM                      Document 84-2 Filed 12/20/24                              Page 51 of 132 PageID #:
                         Jennifer Cowley    09/26/2024                                                Jennifer Cowley    09/26/2024
                                                        4019
                                                                     65                                                                          67
 1        A.     It could be professional if their concerns are                 1         Q.    (By Mr. Allen) I'm sorry. Could you state your
 2   related to the nature in which the publication was                         2    answer? It was just spoken over just by accident. What
 3   produced.                                                                  3    was your answer?
 4        Q.     (By Mr. Allen) You called for Professor Jackson                4         A.    Correct.
 5   and the -- well, let me strike that.                                       5         Q.    Thank you. You wanted the so-called ad hoc
 6          You called for the Journal of Schenkerian                           6    panel to investigate the Journal of Schenkerian Studies,
 7   Studies to be investigated, right?                                         7    correct?
 8        A.     I formed an ad hoc review panel to review the                  8         A.    I requested that the ad hoc panel review the
 9   concerns raised by the Society for Music Theory.                           9    production of Volume 12 of the Journal of Schenkerian
10        Q.     So you were investigating the Society for Music              10     Studies.
11   Theory?                                                                  11          Q.    And you specifically instructed them to do so
12                       MS. QUIMBY: Objection, form.                         12     objectively, right?
13        A.     No. To clarify, the Society for Music Theory                 13          A.    You would have to refer to the specific charge
14   raised concerns about the production process for Volume                  14     that I gave to the committee.
15   12 of the Journal of Schenkerian Studies. I formed an ad                 15          Q.    As you sit here today, you can't remember
16   hoc panel to review the concerns that were raised and                    16     instructing them to conduct an objective investigation?
17   determine and make recommendations.                                      17          A.    I would want to look at the specific charge.
18        Q.     (By Mr. Allen) And your understanding of their               18     But the general intention was that they would conduct a
19   concerns were only that it was produced in an                            19     review of the production process, focusing on the process
20   unprofessional manner?                                                   20     and procedures that were used to produce the journal.
21                       MS. QUIMBY: Objection, form.                         21          Q.    Did you -- so that again wasn't my question.
22        A.     That was the charge that I gave to the                       22     And this will take a lot less time if you would answer my
23   committee.                                                               23     question instead of answering the question that you
24        Q.     (By Mr. Allen) I'm not asking that. I said the               24     apparently want to answer.
25   Society for Music Theory, your understanding of their                    25            I asked about objectivity; do you understand

                         Jennifer Cowley    09/26/2024                                                Jennifer Cowley    09/26/2024
                                                                     66                                                                          68
 1   concerns were that -- were solely that the journal was                     1    where it's talking about the objectivity of the
 2   not produced in a professional manner?                                     2    investigation. And my question is you don't remember
 3        A.     They had broader concerns. The concerns that I                 3    instructing them to give an -- to undertake an objective
 4   chose to charge the ad hoc committee with were                             4    investigation?
 5   exclusively related to how the journal was produced.                       5                     MS. QUIMBY: Objection, form.
 6        Q.     What were their broader concerns, President                    6         A.    Again I would want to review the specific
 7   Cowley?                                                                    7    charge that I gave to the ad hoc panel to determine
 8        A.     I would have to go back and review their                       8    whether I used the word objective.
 9   specific letter that they submitted to the university.                     9         Q.    (By Mr. Allen) As a provost instructing a
10        Q.     As you sit here today, you can't remember                    10     faculty panel to undertake any investigation, were you
11   their, quote, "broader concerns," closed quote, as you                   11     indifferent to whether they did it objectively or not?
12   just characterized them?                                                 12                      MS. QUIMBY: Objection, form.
13        A.     My recollection was they raised concerns                     13          A.    The expectation is that they would undertake a
14   specific to the journal's publication process and that                   14     reasonable review of the matter and draw reasonable
15   there were concerns regarding some of the journal                        15     conclusions.
16   articles.                                                                16          Q.    (By Mr. Allen) As you used the word, quote,
17        Q.     What were their concerns concerning some of the              17     "reasonable," is that the same as objective in your view?
18   journal articles?                                                        18          A.    You haven't defined the word objective.
19        A.     Again I would have to go back and look at that               19          Q.    Well, that's what I'm trying to ask you about.
20   specific letter that was submitted.                                      20     What do you understand by an objective investigation,
21        Q.     As you sit here today, you can't remember what               21     President Cowley?
22   their broader concerns are or were? That's your                          22                      MS. QUIMBY: Objection, form.
23   testimony today?                                                         23          A.    An objective investigation would review
24                       MS. QUIMBY: Objection.                               24     relevant materials and draw reasonable conclusions based
25        A.     Correct.                                                     25     on the information that they have gathered in that review

                                                         Julia Whaley & Associates   214-668-5578
                                                                                                                    APPX.049
                                                                                                                  Page 65 to 68 of 215
Case 4:21-cv-00033-ALM                      Document 84-2 Filed 12/20/24                              Page 52 of 132 PageID #:
                      Jennifer Cowley      09/26/2024                                                  Jennifer Cowley        09/26/2024
                                                        4020
                                                                     97                                                                           99
 1   for the Journal of Schenkerian Studies than there are for                  1         Q.     (By Mr. Allen) So that was never of concern to
 2   Theoria?                                                                   2    you that there might be double standards in the College
 3                        MS. QUIMBY: Objection, form.                          3    of Music?
 4         A.    Different journals will choose different forms                 4                      MS. QUIMBY: Objection, form.
 5   of publication whether they're editorial reviewed or peer                  5         A.     My concern was specific to the Journal of
 6   reviewed and have, you know, a breadth of ways of                          6    Schenkerian Studies and the concerns raised by the
 7   communicating. Should they all do that in a professional                   7    Society of Music Theory.
 8   way? Yes.                                                                  8         Q.     (By Mr. Allen) And, you know, while you might
 9         Q.    (By Mr. Allen) Should they be subjected to the                 9    guess by the title Theoria that Theoria is a journal of
10   same standards by the University of North Texas press?                   10     music theory, right?
11                        MS. QUIMBY: Objection, form.                        11          A.     But is --
12         A.    What do you mean by standards?                               12          Q.     It's sort of in the title.
13         Q.    (By Mr. Allen) Well, I don't know. You went in               13          A.     But music theory did not raise concerns about
14   and, you know, investigated one journal but not the                      14     Theoria.
15   other. That's clear, right? As you just said, you just                   15          Q.     Right. You said that, I think, about six
16   testified to that.                                                       16     times. My question is very different though. Should
17         A.    The reason we investigated the Journal of                    17     both journals of music theory be abiding by the same
18   Schenkerian Studies is because the Society of Music                      18     standards that are imposed by the University of North
19   Theory raised explicit concerns regarding the production                 19     Texas?
20   of Volume 12 of the Journal of Schenkerian Studies. If                   20                       MS. QUIMBY: Objection, form.
21   any professional society wrote to the university                         21          A.     I don't know what standards Theoria uses, so I
22   expressing concerns over a publication, then it likewise                 22     can't speak to that with more specificity.
23   would have received an investigation.                                    23          Q.     (By Mr. Allen) And you remain completely
24                        MR. ALLEN: I'm going to move to strike              24     uncurious about it too, don't you?
25   that answer as completely nonresponsive.                                 25                       MS. QUIMBY: Objection, form.

                      Jennifer Cowley      09/26/2024                                                  Jennifer Cowley        09/26/2024
                                                                     98                                                                           100
 1         Q.    (By Mr. Allen) If you could focus on the                       1         A.     Mr. Allen, I don't work for the University of
 2   question I'm asking, it would go a lot faster. I know                      2    North Texas anymore. My concerns at the present day are
 3   you had the Journal of Schenkerian Studies investigated,                   3    focused on my own institution that I work at today.
 4   and you didn't have the Journal of Theoria investigated.                   4         Q.     (By Mr. Allen) And it wouldn't bother you as
 5   We just have already established that. What I'm asking                     5    provost that Theoria went along its merry way doing the
 6   is there was an outcome by the ad hoc panel about the                      6    same things that the Journal for Schenkerian Studies had
 7   Journal of Schenkerian Studies, right?                                     7    done so long as the Society for Music Theory never
 8         A.    The outcome was recommendations for how the                    8    complained? That's your testimony today?
 9   Journal of Schenkerian Studies could improve.                              9                      MS. QUIMBY: Objection, form.
10         Q.    Okay. And should those same standards of                     10          A.     Each of our faculty members is expected to
11   publication be applied to all journals in the College of                 11     behave in professional ways and uphold standards of their
12   Music?                                                                   12     disciplines. I can't speak to who the person is that's
13                        MS. QUIMBY: Objection, form.                        13     responsible for Theoria or for anything about that
14         A.    I can't speak to other journals in the College               14     journal.
15   of Music because I'm not familiar with what standards or                 15          Q.     (By Mr. Allen) Are you aware that Theoria
16   approach they use.                                                       16     published articles without per review?
17         Q.    (By Mr. Allen) Would it be okay under your                   17          A.     I'm not. As I have said, I have no knowledge
18   leadership as provost for there to be double standards?                  18     of Theoria other than it is a journal.
19   One standard for the Theoria and one standard for the                    19          Q.     So if Theoria is publishing articles without
20   Journal of Schenkerian Studies?                                          20     peer review, is that something that would have been a
21                        MS. QUIMBY: Objection, form.                        21     concern to you as the provost if you had known?
22         A.    There are different forms of publication. I                  22                       MS. QUIMBY: Objection, form.
23   have no knowledge of whether or not these other journals                 23          A.     Not necessarily. If they were producing
24   that you speak of have a peer review practice or other                   24     another form of review such as editorial review and doing
25   practices.                                                               25     that in a professional way, that's not at issue.

                                                         Julia Whaley & Associates   214-668-5578
                                                                                                                     APPX.050
                                                                                                                  Page 97 to 100 of 215
Case 4:21-cv-00033-ALM                     Document 84-2 Filed 12/20/24                               Page 53 of 132 PageID #:
                      Jennifer Cowley     09/26/2024                                                  Jennifer Cowley     09/26/2024
                                                       4021
                                                                  149                                                                             151
 1        Q.     But you can't provide an example yourself in                 1         A.       My expectation is that they would collect
 2   your experience as provost, right?                                       2    evidence and conduct interviews that would allow them to
 3        A.     Not off the top of my head.                                  3    draw reasonable conclusions as it relates to the
 4        Q.     Can you provide one in your experience as the                4    conception and production of this volume.
 5   President of the University of Texas at Arlington?                       5         Q.       Okay. Would that meaning of objectively, as
 6                    MS. QUIMBY: Objection, form.                            6    you use it in this statement, would it qualify as
 7        A.     Not off the top of my head.                                  7    objectively doing their business correctly to ignore
 8        Q.     (By Mr. Allen) Why did you choose panel members              8    evidence that key witnesses were lying?
 9   from outside the College of Music?                                       9                       MS. QUIMBY: Objection, form.
10        A.     I purposely chose panel members outside of the             10          Q.       (By Mr. Allen) Is that objective?
11   College of Music because the content of the journal --                 11          A.       You would have to provide specific evidence
12   journal publications was irrelevant. It was about how                  12     that that was the case.
13   the conceptualization and production of the volume                     13          Q.       So you can't say, as you sit here today,
14   occurred.                                                              14     whether the definition of objective investigation, as you
15          And therefore selecting committee members that                  15     set forth in this statement, would basically condone
16   were outside of the College of Music, they brought                     16     ignoring a witness -- excuse me -- evidence that a
17   different perspectives and different experiences relative              17     witness was lying? Is that your testimony?
18   to production of journals and would not be knowledgeable               18                        MS. QUIMBY: Objection, form.
19   particularly about Schenkerian Studies.                                19          A.       Your statement was unclear.
20        Q.     Was it the content being Schenkerian Studies               20          Q.       (By Mr. Allen) Okay.
21   that you thought was irrelevant to the panel's                         21          A.       It was jumbled.
22   investigation?                                                         22          Q.       Yeah. No. You're right. Let me strike that.
23                    MS. QUIMBY: Objection, form.                          23            Are you able to testify today -- let me strike
24        A.     The charge to the committee was not based on               24     that again.
25   content. Selecting committee members from outside of the               25            Is it your testimony today that whatever you

                      Jennifer Cowley     09/26/2024                                                  Jennifer Cowley     09/26/2024
                                                                  150                                                                             152
 1   college meant that there was some arm's length distance,                 1    meant by objectively set forth in this email did not
 2   and it was unlikely that faculty members and other                       2    encompass a requirement that the ad hoc panel be
 3   disciplines would have specific knowledge of the content                 3    attentive to the fact that witnesses were lying to them?
 4   areas being discussed in the journal.                                    4                       MS. QUIMBY: Objection, form.
 5        Q.     (By Mr. Allen) Did you ever consider getting a               5         A.       Participants in the process of being
 6   music theorist from outside the University of North Texas                6    interviewed would be expected to share information that
 7   to advise the panel?                                                     7    they believe to be truthful, and it would be up to the
 8        A.     I did not.                                                   8    panel to evaluate the information that they received.
 9        Q.     And would you answer the same if I said to                   9         Q.       (By Mr. Allen) So evidence of truth or untruth
10   participate in the panel? You never thought of including               10     would be relevant to an objective inquiry, right?
11   an outside music theorist to participate in the ad hoc                 11          A.       Maybe. Depending on the context.
12   panel, right?                                                          12          Q.       It would be important to an objective inquiry
13        A.     I considered whether people involved in music              13     not to exclude exculpatory evidence, right?
14   should or should not be involved and made the decision                 14                        MS. QUIMBY: Objection, form.
15   that ultimately I felt it was more appropriate to exclude              15          A.       I can't speak to that. That's context
16   people from the College of Music or music generally.                   16     dependent.
17        Q.     And is that -- well, strike that and move on.              17          Q.       (By Mr. Allen) What -- in what context for the
18          You also said, The panel members who are                        18     investigation of activities at the University of North
19   outside the College of Music will examine objectively the              19     Texas would it be appropriate to ignore exculpatory
20   process followed in the contention and production of                   20     evidence?
21   Volume 12 of the Journal of Schenkerian Studies.                       21          A.       I'm not suggesting it would be.
22          Did I read that correctly?                                      22                        MS. QUIMBY: Objection, form.
23        A.     Correct.                                                   23          A.       We're talking specifically about this
24        Q.     Are you able to explain now what you meant by              24     investigation and any --
25   objectively?                                                           25          Q.       (By Mr. Allen) No. That's not true. Wait. I

                                                       Julia Whaley & Associates   214-668-5578               PageAPPX.051
                                                                                                                   149 to 152 of 215
Case 4:21-cv-00033-ALM                     Document 84-2 Filed 12/20/24                               Page 54 of 132 PageID #:
                      Jennifer Cowley     09/26/2024                                                  Jennifer Cowley     09/26/2024
                                                       4022
                                                                     153                                                                           155
 1   just want to cut you off. I asked you a specific                            1         Q.    (By Mr. Allen) Was the so-called ad hoc panel
 2   question. Can you name a context in which it would be                       2    following any established process for investigation
 3   relevant to ignore exculpatory context in an                                3    established by the University of North Texas?
 4   investigation at the University of North Texas?                             4         A.    There are specific -- there are specific
 5            You supply the context. Enlighten us what                          5    processes for certain types of policy violations.
 6   context would be appropriate in an objective                                6    However, in this case, at the beginning of the process,
 7   investigation under your responsibility as provost to                       7    it was unclear whether there were or were not any policy
 8   ignore exculpatory information?                                             8    violations.
 9                    MS. QUIMBY: Objection, form.                               9           Therefore, there was not an established
10        A.     This is your interview. If you want to provide                10     procedure for which one would follow. Hence, I
11   further context, you're welcome to. Otherwise, my answer                  11     determined the best path forward was to form an ad hoc
12   is no.                                                                    12     committee to review this matter.
13        Q.     (By Mr. Allen) Did you expect the ad hoc panel                13          Q.    So the very name ad hoc kind of indicates that
14   to ignore exculpatory evidence?                                           14     there was no policy being applied, right?
15        A.     My expectation is that the panel would review                 15          A.    I wouldn't draw that conclusion.
16   evidence that was presented and make determinations that                  16                     MS. QUIMBY: Objection.
17   would influence their recommendations.                                    17          A.    But an ad hoc panel or committee are, from time
18        Q.     Does this mean you did or did not expect them                 18     to time, organized by the provost's office or other
19   to ignore exculpatory evidence?                                           19     offices to review a matter that doesn't clearly fall
20                    MS. QUIMBY: Objection, form.                             20     within a specific policy or procedure.
21        A.     The panel was charged with reviewing evidence                 21          Q.    (By Mr. Allen) Was there ever a rules violation
22   and determining that it's most relevant to support their                  22     found by the ad hoc panel?
23   recommendations -- to support the formation of                            23          A.    The panel did not find that there was a
24   recommendations.                                                          24     specific policy violation.
25        Q.     (By Mr. Allen) Now, you said that the                         25          Q.    Did the ad hoc panel find that Timothy Jackson

                      Jennifer Cowley     09/26/2024                                                  Jennifer Cowley     09/26/2024
                                                                     154                                                                           156
 1   University of North Texas was, quote, "not investigating                    1    violated any rules of the university?
 2   Timothy Jackson," closed quote, right?                                      2         A.    As I mentioned, their charge was not to review
 3        A.     The charge of the committee was to review the                   3    Dr. Jackson specifically but to review the production of
 4   conception and production of Volume 12 of the Journal of                    4    Volume 12.
 5   Schenkerian Studies. This professor was involved in the                     5         Q.    Can you answer my question, please?
 6   journal and so would be part of the review process. But                     6         A.    Can you repeat your question?
 7   Dr. Jackson himself was not -- the charge was not about                     7                    MR. ALLEN: Can you read the question to
 8   Dr. Jackson. It was about the journal.                                      8    the witness, please, Madam Court Reporter?
 9        Q.     And you've said it's not -- you're not                          9              (Requested portion read back)
10   investigating the journal, right? You're just                             10          A.    Their recommendations were on how the Journal
11   investigating Volume 12. Was that your testimony?                         11     of Schenkerian Studies could be improved, and they were
12        A.     The conception and production of Volume 12.                   12     not targeted specifically at Dr. Jackson. They were
13        Q.     What policy or rules of the University of North               13     targeted at how the journal could be improved.
14   Texas were being followed when this investigation was                     14          Q.    Does this mean your answer is, no, they didn't
15   ordered?                                                                  15     find that he violated any rules?
16                    MS. QUIMBY: Objection, form.                             16                     MS. QUIMBY: Objection, form.
17        A.     Part of this review was to determine whether or               17          A.    The committee did not state that there were any
18   not there could have been violations of university                        18     specific policy violations by Dr. Jackson.
19   policy. University policies are generally fairly broad,                   19          Q.    (By Mr. Allen) Okay. Thank you. Now, I
20   and they are not policies specific to journals themselves                 20     believe you've testified that the Ad Hoc Panel Report
21   but could fall under other policies.                                      21     came out on November 25th of 2020, right?
22            And so the charge of the ad hoc committee was                    22          A.    I don't recall the date, but if you say that's
23   to make a determination around whether or not there were                  23     when it is, I have no reason to believe otherwise.
24   any issues related to the conception and production of                    24          Q.    And then on September 7th, I believe, in
25   Volume 12 of the Journal of Schenkerian Studies.                          25     advance of that, did you send a letter to Professor

                                                          Julia Whaley & Associates   214-668-5578            PageAPPX.052
                                                                                                                   153 to 156 of 215
Case 4:21-cv-00033-ALM                    Document 84-2 Filed 12/20/24                            Page 55 of 132 PageID #:
                       Jennifer Cowley    09/26/2024                                              Jennifer Cowley    09/26/2024
                                                      4023
                                                                157                                                                          159
 1   Jackson?                                                               1         Q.   Now, you had the discretion to look into
 2         A.   Do you have a copy of that letter?                          2    Timothy Jackson's complaints that his colleagues were
 3         Q.   I'm trying to find it. Yes.                                 3    violating his academic freedom as well, did you not?
 4                     MR. ALLEN: I'm going to mark for the                 4                     MS. QUIMBY: Objection, form.
 5   record -- now I'm afraid to say where we are.                          5         A.   As the provost, I have the ability to look into
 6              Madam Court Reporter, are we on Exhibit 7?                  6    concerns that a faculty member may raise.
 7                     COURT REPORTER: Yes. We are on Exhibit               7         Q.   (By Mr. Allen) And you're very concerned to put
 8   7.                                                                     8    an end to misinformation and mischaracterization,
 9                     MR. ALLEN: Can I mark for the record                 9    correct, about this matter, the investigation of the
10   Exhibit 7, a letter of September 7, 2020.                            10     Journal for Schenkerian Studies?
11              (Deposition Exhibit No. 7 was marked)                     11          A.   Into the mischaracterization about the review
12         Q.   (By Mr. Allen) And, President Cowley, bear with           12     of Volume 12 of the Journal of Schenkerian Studies.
13   me. I can't stand when people do this to me, but it's                13          Q.   Is this a concern about objectivity you're
14   almost inevitable. I've got to scroll through to show                14     expressing here in this final sentence? Is that a fair
15   you your signature. Okay? So I'm not trying to make you              15     characterization?
16   cross eyed.                                                          16                      MS. QUIMBY: Objection, form.
17         A.   That is my signature.                                     17          A.   No.
18         Q.   So now back to the top. Is it accurate to say             18          Q.   (By Mr. Allen) You raised the issue of the
19   that Exhibit 7, the letter of September 7, 2020, is a                19     grievance that Timothy Jackson brought to your attention
20   letter sent by you to Timothy Jackson?                               20     in that letter that we looked at earlier in the
21         A.   That's correct.                                           21     deposition which was dated July 31st, 2020, in this final
22         Q.   I'm sorry. Did you answer and I didn't hear               22     paragraph that begins on this first page, right?
23   it?                                                                  23          A.   Are you referring to his claim related to
24         A.   Yes. I said that's correct.                               24     academic freedom?
25         Q.   Okay. I apologize. I think it -- we had a                 25          Q.   Yes.
                       Jennifer Cowley    09/26/2024                                              Jennifer Cowley    09/26/2024
                                                                158                                                                          160
 1   little bit of a delay in the audio feed.                               1         A.   Okay. Just let me read that paragraph.
 2          So here you tell him -- I'm just going to skip                  2         Q.   I'm going to represent that it goes onto the
 3   down to the third paragraph -- that the university is not              3    next page here too, so I'll move it up just a bit.
 4   investigating him or the journal, correct?                             4    There you go. I'm sorry.
 5         A.   Can I read that paragraph?                                  5         A.   That's okay. I reached the end of that
 6         Q.   Oh, yeah. I'm not trying to rush you.                       6    paragraph.
 7   Please, if you want me to reposition it on the page or                 7         Q.   I'm calling up the letter. And you -- your
 8   whatnot, just tell me.                                                 8    statement here is that apparently your counsel, the
 9         A.   That's okay. Okay. I've read that paragraph.                9    counsel of the university I assume, pointed out that he
10         Q.   Okay. And you inform him in the first sentence            10     could not identify the policy under which he was filing a
11   of that paragraph, The university is investigating                   11     grievance. He, meaning Timothy Jackson, is that how you
12   neither you nor the Journal of Schenkerian Studies,                  12     understood that sentence?
13   correct?                                                             13          A.   Correct.
14         A.   That's what that sentence states.                         14          Q.   Do you recall that letter referring to the
15         Q.   But then you go on to say that it is actually             15     academic freedom policy of the university?
16   investigating Volume 12, right?                                      16          A.   I recall a policy number, but we'd have to go
17         A.   Correct. That's correct.                                  17     back and look at the letter.
18         Q.   But somehow that's not investigating the                  18          Q.   And you're sort of anticipating what I was
19   journal, right?                                                      19     going to do here is -- this is the letter of July 31st,
20         A.   It's investigating a particular volume of the             20     2020, from the law firm Allen Law, LLC, to you, Jennifer
21   journal, a particular publication.                                   21     Cowley. Do you remember seeing this exhibit earlier?
22         Q.   And you also say here -- and I'm going to take            22          A.   Yes, I do.
23   this off -- The university has discretion, if not the                23          Q.   And I apologize to counsel and to you because
24   obligation, to look into these circumstances, right?                 24     of the question we have about numbering. I'm just going
25         A.   Correct.                                                  25     to refer to the letter and the record will reflect how it

                                                     Julia Whaley & Associates   214-668-5578            PageAPPX.053
                                                                                                              157 to 160 of 215
Case 4:21-cv-00033-ALM                    Document 84-2 Filed 12/20/24                             Page 56 of 132 PageID #:
                     Jennifer Cowley     09/26/2024                                                 Jennifer Cowley     09/26/2024
                                                      4024
                                                                  169                                                                           171
 1        Q.    Now, do you know if this panel report ever made               1         A.    Yes, I do.
 2   clear to Timothy Jackson in advance that he would be                     2         Q.    So this was Exhibit 2 to the Ad Hoc Panel
 3   invited to respond?                                                      3    Report, and this is the Executive Board of the Society of
 4                   MS. QUIMBY: Objection, form.                             4    Music Theory's statement, right?
 5        A.    I'm not certain. I know there were some                       5         A.    Yes. That's what it appears to be.
 6   communications such as the letter you showed, but I don't                6         Q.    And the first line says, The Executive Board of
 7   recall specifically.                                                     7    the Society for Music Theory condemns the antiblack
 8        Q.    (By Mr. Allen) Okay. If that was part of the                  8    statements and personal ad hominem attacks on Philip
 9   process of the investigation by the ad hoc panel, would                  9    Ewell perpetuated in several essays included in the
10   you expect them to put that in the report?                             10     symposium on Philip Ewell's 2019 SMT plenary paper
11                   MS. QUIMBY: Objection, form.                           11     published by the Journal of Schenkerian Studies, right?
12        A.    I would expect that the people that they                    12          A.    You read that correctly.
13   interviewed as part of their review would be included or               13          Q.    Did you understand from that -- this is the
14   referenced in the report.                                              14     statement by the SMT which you said prompted you to
15        Q.    (By Mr. Allen) But that's not my question.                  15     convene an investigation, right?
16   That he would have a chance to respond to the                          16          A.    Correct.
17   investigation report. If that was going to be part of                  17          Q.    And you understood -- well, let me back up.
18   the process, would you expect them to put that in the                  18     And you read it, I assume, carefully at the time, right?
19   report?                                                                19          A.    Correct.
20        A.    Their charge was to provide recommendations to              20          Q.    Did you understand from that headline which we
21   me on their findings.                                                  21     just read, the Executive Board of the Society for Music
22        Q.    Yeah. They have a section that goes background              22     Theory condemns the antiblack statements and personal ad
23   information and scope of review, right?                                23     hominem attacks on Philip Ewell.
24        A.    Uh-huh.                                                     24            You understood that as indicating their primary
25        Q.    You remember reading that, correct?                         25     concern was with the procedural methods followed by the

                     Jennifer Cowley     09/26/2024                                                 Jennifer Cowley     09/26/2024
                                                                  170                                                                           172
 1        A.    I do. I don't recall the details.                             1    journal in publishing Volume 12?
 2        Q.    And here it is on Page 3 to 4 of the report,                  2                     MS. QUIMBY: Objection, form.
 3   correct?                                                                 3         A.    That is not the conclusion that I drew.
 4        A.    Okay, yes.                                                    4    Further down in the statement, it specifically --
 5        Q.    Here in our review, To begin, they say we first               5         Q.    (By Mr. Allen) We'll get there. Don't -- I'm
 6   reviewed the concerns expressed about the journal's                      6    just asking. Look, this will go a lot faster if you just
 7   editorial and review processes raised in public                          7    answer the question. In the first sentence, they're
 8   statements raised by three different groups.                             8    primarily concerned with what they call antiblack
 9          And they list them right here, correct?                           9    statements and personal ad hominem attacks, right?
10        A.    Yes, they do.                                               10          A.    I do not draw the conclusion that that's their
11        Q.    And you understand there were exhibits attached             11     primary concern.
12   to the Ad Hoc Panel Report that were actually those                    12          Q.    Do you think that by putting it in much larger
13   concerns, those statements of concern that they just                   13     font that the rest of the statement, that that had no
14   referenced in those three numbered paragraphs?                         14     meaning to them?
15                   MS. QUIMBY: Objection, form.                           15                      MS. QUIMBY: Objection, form.
16        A.    Yes. I was aware that those were included as                16          Q.    (By Mr. Allen) Is that insignificant to you?
17   appendices, if you will, to the report.                                17          A.    I cannot draw a conclusion about what the SMT
18        Q.    (By Mr. Allen) And here is -- I'm sorry if this             18     executive board thought.
19   overlaps. You'll see these stamps at the top of the page               19          Q.    And you draw no conclusion from the fact that
20   or because the document has been filed in court.                       20     they put that first in their statement?
21        A.    Okay.                                                       21          A.    I did not draw a conclusion from that being the
22        Q.    Just so I'm clear about that to you. And I'm                22     first statement.
23   not arguing that those were part of the document.                      23          Q.    Then the second statement, the executive
24        A.    Okay.                                                       24     board -- excuse me. There it is again. Sorry. No, no.
25        Q.    Do you see this Exhibit 2 stamp up here?                    25     This is the second statement.

                                                       Julia Whaley & Associates   214-668-5578             PageAPPX.054
                                                                                                                 169 to 172 of 215
Case 4:21-cv-00033-ALM                    Document 84-2 Filed 12/20/24                              Page 57 of 132 PageID #:
                     Jennifer Cowley      09/26/2024                                                Jennifer Cowley    09/26/2024
                                                      4025
                                                                  205                                                                           207
 1   the meeting between Benjamin Brand and Timothy Jackson on                1    want to ask you anyway. Did you direct the University of
 2   December 11, 2020.                                                       2    North Texas press to cease publication of the journal?
 3        A.    So I was aware that there was a conversation                  3         A.    I did not.
 4   and there was a discussion about how editorial duties                    4         Q.    Okay. And this -- okay. I think that will
 5   might be handled moving forward.                                         5    probably be the last exhibit but -- and I only have one
 6        Q.    Do you know what -- beyond that general level,                6    more series of questions, and it might be the last
 7   do you know concretely what was the outcome? What                        7    question. Did you have anything to do with the committee
 8   administrative action was proposed at the meeting?                       8    allegedly formed to reconstitute the journal at the
 9                   MS. QUIMBY: Objection, form.                             9    University of North Texas?
10        A.    From reading this email, it looks like there                10                      MS. QUIMBY: Objection, form.
11   were several different potential outcomes that were                    11          A.    I have no knowledge of a committee to
12   discussed, and so I just knew that there were discussions              12     resubstitute the journal.
13   of options.                                                            13          Q.    (By Mr. Allen) Let me put it in a different way
14        Q.    (By Mr. Allen) And one of the options was                   14     just to make sure we understand what we're talking about.
15   Number 3 which was a non-option, right? Benjamin Brand                 15     You were aware that a committee was formed to look for a
16   says, I cannot support a plan according to which you                   16     new editor of some sort?
17   would remain involved in the day-to-day operations of the              17                      MS. QUIMBY: Objection, form.
18   journal and its editorial process in particular, given                 18          A.    I don't know that I knew it was a committee.
19   the panel's findings of editorial mismanagement of the                 19     I knew there was an effort to find an editor for the
20   acronym JSS.                                                           20     journal and some kind of call for nominations for
21          Did I read that correctly?                                      21     editors.
22        A.    You did read that correctly.                                22          Q.    (By Mr. Allen) And did you have anything to do
23        Q.    And you understood JSS is an acronym for                    23     with that as provost is my question?
24   Journal of Schenkerian Studies, right?                                 24          A.    I was informed that this was a planned action.
25        A.    Yes. I assume that's the acronym.                           25          Q.    But it wasn't something your office was

                     Jennifer Cowley      09/26/2024                                                Jennifer Cowley    09/26/2024
                                                                  206                                                                           208
 1        Q.    So did you understand by that, as you sit here                1    involved in directly?
 2   today, that Timothy Jackson was going to be removed from                 2         A.    No.
 3   the JSS?                                                                 3         Q.    Did you have --
 4        A.    What I read from this is that there are several               4         A.    Once the report was issued, the actions to move
 5   different options that could include housing the journal                 5    forward were delegated to the department.
 6   elsewhere, starting a new journal, finding an editor and                 6         Q.    Okay.
 7   chief, that several different options were outlined. I                   7                     MR. ALLEN: Okay. I think I'm going to
 8   don't know what the choice was in terms of the -- at this                8    pass the witness then, Mary, and you can go ahead and --
 9   time from that meeting.                                                  9    I'm going to take this down too. Excuse me. Do you want
10        Q.    So you find that language ambiguous: I cannot               10     to take a break or --
11   support a plan according to which you would remain                     11                      MS. QUIMBY: Yeah. Can we just take five,
12   involved in the day-to-day operations of the journal?                  12     please?
13                   MS. QUIMBY: Objection, form.                           13                      MR. ALLEN: Absolutely.
14        A.    As I read that, I hear the chair saying that                14                      VIDEOGRAPHER: Off the record, 2:53.
15   keeping the journal as it is and having him as the editor              15                (Recess taken from 2:53 to 2:57)
16   would not be acceptable to Dr. Brand.                                  16                      VIDEOGRAPHER: On the record, 2:57 p.m.
17        Q.    (By Mr. Allen) Okay. Are you aware that the                 17                      MS. QUIMBY: Thank you. I will reserve my
18   Journal of Schenkerian Studies has never published again?              18     questions for trial.
19        A.    I was not aware of that. I was aware that                   19                      MR. ALLEN: Okay. President Cowley, thank
20   there was a call for editors.                                          20     you so much for spending the time today sitting for
21        Q.    Were you aware that Dean Richmond testified in              21     deposition.
22   open court that the journal had been, quote, "put on                   22                      COURT REPORTER: Ms. Quimby, do you want
23   ice," closed quote?                                                    23     to purchase a transcript?
24        A.    No. I was not aware of that.                                24                      VIDEOGRAPHER: Off the record.
25        Q.    Well, I think I know the answer to this, but I              25                      COURT REPORTER: We are still on --

                                                       Julia Whaley & Associates   214-668-5578            PageAPPX.055
                                                                                                                205 to 208 of 215
Case 4:21-cv-00033-ALM
              Jennifer Cowley            Document 84-2 Filed 12/20/24
                                        09/26/2024                                              Page    58 of 132
                                                                                                Jennifer Cowley
                                                                                                                   PageID #:
                                                                                                                09/26/2024
                                                     4026
                                                      213
                                                                                                                                          215
 1   pages contain any changes and the reasons therefor;
                                                                            1                       FURTHER CERTIFICATION
 2      ____ was not requested by the deponent or a party
 3   before the completion of the deposition.                                                   DEPOSITION OF JENNIFER COWLEY
 4        That the deposition transcript was submitted on                   2
 5   October 30, 2024, to Ms. Mary Quimby, attorney for the                 3       The original deposition was/was not returned to the
 6   witness, for examination, signature, and return to me by
                                                                            4    deposition officer on the _____ day of _____________,
 7   the 2nd day of December, 2024;
 8      That the amount of time used by each party at the                   5    20__.
 9   deposition is as follows:                                              6       If returned, the attached Changes and Signature
10      Mr. Michael Thad Allen..........04 HOURS:38 MINUTES                 7    page contains any changes and the reasons therefor;
        Ms. Mary Quimby.................00 HOURS:00 MINUTES                 8       If returned, the original deposition was delivered
11      Mr. Renaldo L. Stowers..........00 HOURS:00 MINUTES
                                                                            9    to Mr. Michael Thad Allen, Custodial Attorney;
        Mr. Shelby Boseman..............00 HOURS:00 MINUTES
12                                                                        10        That $___________ is the deposition officer's
13   COUNSEL FOR THE PLAINTIFF:                                           11     charges to the Plaintiff for preparing the original
14     Mr. Michael Thad Allen                                             12     deposition transcript and any copies of exhibits;
       ALLEN LAW, LLC
                                                                          13
15     P.O. Box 404
       Quaker Hill, Connecticut 06375                                     14        Certified to by me this _____ day of ___________,
16     860/772-4738 (tel)                                                 15     20__.
       m.allen@allen-lawfirm.com                                          16
17                                                                        17
     COUNSEL FOR THE DEFENDANTS and JENNIFER COWLEY:
                                                                          18                      __________________________________
18
       Ms. Mary Quimby                                                                            JULIA WHALEY & ASSOCIATES, INC.
19     TEXAS ASSISTANT ATTORNEY GENERAL                                   19                      2012 Vista Crest Drive
       P.O. Box 12548                                                                             Carrollton, Texas 75007-1640
20     Capitol Station
                                                                          20                      214-668-5578/Fax 972-236-6666
       Austin, Texas 78711
21     mary.quimby@oag.texas.gov                                                                  JulieTXCSR@gmail.com
22   COUNSEL FOR THE UNIVERSITY OF NORTH TEXAS:                           21                      Firm registration No. 436
23     Mr. Renaldo L. Stowers                                                                     Firm registration Expires 5-31-25
       DEPUTY GENERAL COUNSEL, UNIVERSITY OF NORTH TEXAS                  22
24     115 Union Circle No. 310907
                                                                          23
       Denton, Texas 76203
25     940/565-2717 (tel)                                                 24
       renaldo.stowers@untsystem.edu                                      25
                    Jennifer Cowley 09/26/2024
                                                    214
 1   COUNSEL FOR THE UNIVERSITY OF TEXAS AT ARLINGTON

 2      Mr. Shelby Boseman
          CHIEF LEGAL OFFICER, THE UNIVERSITY OF TEXAS AT
 3      ARLINGTON
        701 South Nedderman Drive
 4      Arlington, Texas 76019
        sboseman@uta.edu
 5
 6       I further certify that I am neither counsel for,
 7   related to, nor employed by any of the parties or
 8   attorneys in the action in which this proceeding was
 9   taken. Further, I am not a relative or employee of any
10   attorney of record in this cause, nor am I financially or
11   otherwise interested in the outcome of the action.
12       Certified to by me this the 14th day of October,
13   2024.
14
15
                     __________________________________
16                    Carla A. Sims, AAS, RPR
                      Texas CSR No. CSR-6125
17                    Expiration Date: 04-30-26
                      JULIA WHALEY & ASSOCIATES, INC.
18                    2012 Vista Crest Drive
                      Carrollton, Texas 75007-1640
19                    214-668-5578/Fax 972-236-6666
                      JulieTXCSR@gmail.com
20                    Firm registration No. 436
                      Firm registration Expires 5-31-25
21


22
23
24
25

                                                     Julia Whaley & Associates   214-668-5578            PageAPPX.056
                                                                                                              213 to 215 of 215
Case 4:21-cv-00033-ALM                      Document 84-2 Filed 12/20/24                                    Page 59 of 132 PageID #:
                                                        4027
                              Rachel Gain       5/19/21                 1                                            Rachel Gain       5/19/21               3



       1              IN THE UNITED STATES DISTRICT COURT                                  1                                 INDEX
                       FOR THE EASTERN DISTRICT OF TEXAS
       2                       SHERMAN DIVISION                                            2                                                          PAGE
       3 TIMOTHY JACKSON,                   )                                              3    Appearances.......................................... 2
                                            )
       4             Plaintiff,             )                                              4    Stipulations......................................... 4
                                            )
       5   v.                               ) CASE NO.                                     5    RACHEL GAIN
                                            ) 4:21-cv-00033-ALM
       6   LAURA WRIGHT, et al,             )                                              6           Examination by Ms. Harris........................ 4
                                            )
       7             Defendants.            )                                              7
                                            )
       8                                                                                   8    Reporter's Certificate................................60
       9                                                                                   9

      10              -----------------------------------                                 10

      11                       ORAL DEPOSITION OF                                         11                                EXHIBITS

      12                            RACHEL GAIN                                           12    NO.    DESCRIPTION                                    PAGE

      13                            MAY 19, 2021                                          13    Exhibit 35       Notice of Taking Deposition............ 9

      14              -----------------------------------                                 14    Exhibit 36       Text Messages - Vivek Virani and
                                                                                                                 Rachel Gain............................ 9
      15                                                                                  15
                                                                                                Exhibit 37       Microsoft Teams conversation...........22
      16                                                                                  16
                                                                                                Exhibit 38      News from SEM: General News, Statement
      17        ORAL DEPOSITION OF RACHEL GAIN, produced as a                             17                    of UNT Faculty on Journal of
                                                                                                                Schenkerian Studies ...................22
      18 witness at the instance of the Plaintiff, and duly                               18
                                                                                                Exhibit 39       Twitter Messages.......................51
      19 sworn, was taken in the above-styled and numbered cause                          19

      20 on May 19, 2021, from 1:06 p.m. to 2:49 p.m., before                             20

      21 Nita G. Cullen, CSR in and for the State of Texas,                               21

      22 reported by machine shorthand, at the Law Offices of                             22

      23 Cutler Smith, 12750 Merit Drive, Suite 1450, in the City                         23

      24 of Dallas, County of Dallas, State of Texas, pursuant to                         24

      25 the Federal Rules of Civil Procedure.                                            25




                                                                                                              Rachel Gain          5/19/21

                              Rachel Gain       5/19/21
                                                                                                                                                        4
                                                                        2
                                                                                 1                            PROCEEDINGS
       1                      A P P E A R A N C E S                              2                                   RACHEL GAIN,
       2
                                                                                 3    having been first duly sworn, testified as follows:
       3 FOR THE PLAINTIFF:
                                                                                 4                                   EXAMINATION
       4        MR. MICHAEL THAD ALLEN
                MS. SAMANTHA HARRIS
       5        ALLEN LAW, LLC                                                   5    BY MS. HARRIS:
                P.O. Box 404
       6        Quaker Hill, Connecticut 06375                                   6         Q.         Okay. Hi, my name is Samantha Harris. I'm one
                860.772.4738
       7        860.469.2783 Fax
                m.allen@allen-lawfirm.com                                        7    of the attorneys for Dr. Jackson, along with my partner.
       8
                                                                                 8    And have you ever been deposed before?
       9 FOR THE DEFENDANTS:

      10        MR. MATT BOHUSLAV                                                9         A.         No.
                ASSISTANT ATTORNEY GENERAL
      11        GENERAL LITIGATION DIVISION                                    10          Q.         Okay. So, it's just going to be a
                ATTORNEY GENERAL OF TEXAS
      12        P.O. Box 12548, Capitol Station
                Austin, Texas 78711
                                                                               11     conversation, but it is part of the Court record, that's
      13        matthew.bohuslav@oag.texas.gov
                                                                               12     why she's taking these -- you know, these notes. And
      14 AND

      15        MR. RENALDO STOWERS
                                                                               13     so, this is testimony that will be part of the case. If
                SENIOR ASSOCIATE GENERAL COUNSEL
      16        UNIVERSITY OF NORTH TEXAS SYSTEM                               14     at any time anything I'm asking you isn't clear or you
                OFFICE OF GENERAL COUNSEL
      17        940.565.2717                                                   15     need me to clarify or repeat the question, just ask.
                renaldo.stowers@untsystem.edu
      18
                                                                               16     Your attorney may object from time to time.
      19 ALSO PRESENT:
                                                                               17                           MS. HARRIS: Are we going to stipulate,
      20        MR. TIMOTHY JACKSON
      21                                                                       18     you know, the same things that we have in the previous
      22                                                                       19     depositions, that objections except as to form
      23
                                                                               20     objections will be reserved for the time of trial.
      24
                                                                               21                           MR. BOHUSLAV: Yes.
      25
                                                                               22          Q.         (By Ms. Harris) Okay. So, he will object, and
                                                                               23     that objection will go on the record, but it doesn't
                                                                               24     change your obligation to answer the question. So, when
                                                                               25     he objects, it doesn't mean, you know, that you're not

                                                          Julia Whaley & Associates   214-668-5578
                                                                                                                           APPX.057
                                                                                                                            Page 1 to 4 of 61
Case 4:21-cv-00033-ALM                      Document 84-2 Filed 12/20/24                               Page 60 of 132 PageID #:
                          Rachel Gain     5/19/21                                                        Rachel Gain     5/19/21
                                                        4028
                                                                     5                                                                          7
 1   going to answer, it just means that that objection will                   1    with Volume 12 of the JSS?
 2   be noted, and the Judge can decide what to do with it.                    2           A.   It was, I think, on the Friday evening, which I
 3        A.    (Witness nods head affirmatively.)                             3    believe was the 25th of July, 2020.
 4        Q.    So, we'll just start with some background                      4           Q.   Okay. And how did you hear about it, first?
 5   questions. Is there anything that would prevent you                       5           A.   On Twitter, people were posting their opinions
 6   from giving truthful testimony here today?                                6    on it and screen shots of the passages that they were
 7        A.    No.                                                            7    offended by.
 8        Q.    Are you on any medications, or do you have any                 8           Q.   Okay. Have you read Volume 12 of the JSS?
 9   medical conditions that could potentially interfere with                  9           A.   I've read most of it.
10   your ability to give truthful testimony?                                10            Q.   Most of it. Okay. Have you read Dr. Jackson's
11        A.    Not that I know of, no.                                      11     article?
12        Q.    Okay. So, just tell me a little bit about your               12            A.   Yes.
13   background. Obviously, now, you're a graduate student                   13            Q.   Okay. And have you listened to Dr. Ewell's
14   at UNT, right?                                                          14     talk, the talk that prompted --
15        A.    (Witness nods head affirmatively.)                           15            A.   Yes.
16        Q.    And what, specifically, are you studying?                    16            Q.   Okay. So, when you said people were tweeting
17        A.    I'm studying music theory.                                   17     about it, do you remember who specifically was tweeting
18        Q.    Music theory. Okay. Prior to that, where did                 18     that you noticed?
19   you go to college?                                                      19            A.   Quite a lot of people. One person comes to
20        A.    I did my undergraduate mostly at the University              20     mind that I can definitely say did. The first name's
21   of Birmingham, with one year at the University of                       21     Devon. I can't remember the entirety of their surname,
22   Ottawa, and I did a master's degree in music theory at                  22     but it begins with "C-H". Something like Chalamu or
23   the University of Western Ontario.                                      23     Chalamo (Phonetic).
24        Q.    Okay. Now, you said you're studying music                    24            Q.   And is that someone who was also a student at
25   theory here at the University of North Texas?                           25     UNT?

                          Rachel Gain     5/19/21                                                        Rachel Gain     5/19/21
                                                                     6                                                                          8
 1        A.    Yes.                                                           1           A.   No.
 2        Q.    What year of the program are you in?                           2           Q.   Okay. So, these were people from outside of
 3        A.    I just finished my second year.                                3    the university.
 4        Q.    Okay. So, you're in the theory department.                     4           A.   Yes.
 5   Have you met Dr. Jackson before?                                          5           Q.   Do you know how they learned about the
 6        A.    We've been in the same room, I've smiled at him                6    controversy?
 7   in hallways, but that's the extent of our interactions.                   7           A.   Some of them had a copy of the journal and had
 8        Q.    Okay. So, would you say your interactions with                 8    read it, and others had seen the journal -- the excerpts
 9   him have been pleasant or --                                              9    that had been sent to them.
10        A.    I've had no response from him, so I wouldn't                 10            Q.   Okay. And when did you first read Dr.
11   use the word "pleasant". I'd say absence, really.                       11     Jackson's article?
12        Q.    Okay. When did you first learn about the                     12            A.   I read the excerpts at the time, and within the
13   controversy over Volume 12 of the -- I'm going to say                   13     next day or two, I read the article.
14   the Journal of Schenkerian Studies. If I call it the                    14            Q.   Okay. All right. Terrific. So, you know, I
15   JSS here on out, will that be clear?                                    15     meant to do this before we did the background, but I'm
16        A.    Yes.                                                         16     going to just -- so, I'm going to be introducing some
17        Q.    And you know what? I see you nodded and said                 17     documents throughout. They're going to be marked as
18   "yes", and that reminds me of one thing I should have                   18     exhibits.
19   said at the beginning of the deposition, is because this                19                 So, any document that I'm going to ask you
20   is all going on the record, even if it's just a "yes" or                20     about, I will give you a copy of to familiarize yourself
21   "no" answer, always say "yes" or "no", rather than just                 21     with it. And the first thing I just want to give you a
22   nodding, which you didn't do, you said "yes", but it                    22     copy of, and I believe this will be 35, I think, because
23   made me think of it.                                                    23     we're continuing to number the exhibits from previous
24        A.    Okay.                                                        24     depositions.
25        Q.    So, when did you first learn of the controversy              25                 This is just the Notice of Deposition that

                                                        Julia Whaley & Associates   214-668-5578
                                                                                                                      APPX.058
                                                                                                                       Page 5 to 8 of 61
Case 4:21-cv-00033-ALM                      Document 84-2 Filed 12/20/24                                   Page 61 of 132 PageID #:
                          Rachel Gain      5/19/21                                                            Rachel Gain       5/19/21
                                                        4029
                                                                       57                                                                          59
 1   correct?                                                                     1         A.      Yes.
 2        A.     Yes.                                                             2                        MS. HARRIS: Okay. Thanks. That's all.
 3        Q.     Okay. The petitions also refer to the past                       3                        THE WITNESS: Okay. Thank you.
 4   bigoted behaviors of UNT faculty.                                            4                        MS. HARRIS: Do you have any --
 5        A.     Yes.                                                             5                        MR. BOHUSLAV: No. We'll reserve
 6        Q.     And you've testified today that you don't have                   6    questions for time of trial.
 7   any firsthand knowledge of past bigoted behaviors by UNT                     7                        (DEPOSITION ADJOURNED AT 2:49 P.M.)
 8   faculty.                                                                     8

 9        A.     Yes.                                                             9

10        Q.     Okay. And this also referred to past racist                    10

11   actions of Dr. Jackson, yes?                                               11

12        A.     Could you show me where in the document it says                12

13   that?                                                                      13

14        Q.     Sure. It's under -- it is the July 27th                        14

15   petition that's marked Exhibit 3 at the top. Yeah.                         15

16   That one.                                                                  16

17        A.     Okay.                                                          17

18        Q.     Says, "Dr. Jackson's actions, both past and                    18

19   present, are racist and unacceptable." So, is it fair                      19

20   to say that you don't have firsthand knowledge of any                      20

21   past racist actions by Dr. Jackson?                                        21

22        A.     Well, seeing as I've never been in the same --                 22

23   or I've never been in a conversation with him, that                        23

24   would follow, yes.                                                         24

25        Q.     Okay. And in the July 30th version of the                      25

                          Rachel Gain      5/19/21                                                            Rachel Gain       5/19/21
                                                                                                                                                   60
                                                                       58
                                                                                  1                  IN THE UNITED STATES DISTRICT COURT
 1   statement, Dr. Jackson is accused of extortion, correct?
                                                                                                      FOR THE EASTERN DISTRICT OF TEXAS
 2        A.     Where is this?                                                   2                                SHERMAN DIVISION
 3        Q.     It is on Kohanski 000109, No. 3 under "Calling                   3    TIMOTHY JACKSON,                   )

 4   for Dr. Jackson's Dismissal. Extortion through grade                                                     )
                                                                                  4           Plaintiff,          )
 5   manipulation and threats to students' careers and
                                                                                                              ) Case No.
 6   reputations."                                                                5    v.                      )
 7        A.     It does say that.                                                                            ) 4:21-cv-00033-ALM
 8        Q.     Okay. And is it fair to say that you have no                     6    LAURA WRIGHT, et al,               )
                                                                                                              )
 9   firsthand knowledge of any extortion by Dr. Jackson?
                                                                                  7           Defendants.             )
10        A.     Yes. I wasn't in the country at the time.
11        Q.     Okay. But you did sign your name to a                            8
12   statement asking that Dr. Jackson be fired for all of                        9                  -----------------------------------

13   these reasons, yes?                                                        10                           DEPOSITION CERTIFICATE
                                                                                11                                    RACHEL GAIN
14        A.     Where does it say that he should be fired?
                                                                                12                                    MAY 19, 2021
15        Q.     "Calling for Dr. Jackson's Dismissal. Dr.                      13                   -----------------------------------
16   Jackson should be removed from the UNT faculty."                           14

17        A.     Yes. I signed a statement saying that it was                   15               I, Nita G. Cullen, Certified Shorthand
                                                                                16     Reporter in and for the State of Texas, hereby certify
18   our opinion that he should be fired.
                                                                                17     to the following:
19        Q.     Okay.
                                                                                18               That the witness, RACHEL GAIN, was duly sworn
20        A.     Or dismissed, in the words of the statement.                   19     by the officer and that the transcript of the oral
21        Q.     Okay. And other than his article in the                        20     deposition is a true record of the testimony given by the

22   journal, which you have said you've read, would it be                      21     witness;
                                                                                22               I further certify that pursuant to FRCP Rule
23   fair to say that you called for his termination with no
                                                                                23     30(f)(1) that the signature of the deponent:
24   firsthand knowledge of any of the behaviors specified in                   24                   ___ was requested by the deponent or a
25   this petition?                                                             25     party before the completion of the deposition and is to

                                                           Julia Whaley & Associates   214-668-5578
                                                                                                                               APPX.059
                                                                                                                              Page 57 to 60 of 61
Case 4:21-cv-00033-ALM
                Rachel Gain
                            Document
                             5/19/21
                                     84-2 Filed 12/20/24                               Page 62 of 132 PageID #:
                                        4030
                                         61
 1   be returned within 30 days from date of receipt of the
 2   transcript. If returned, the attached Changes and
 3   Signature Page contains any changes and the reasons
 4   therefor;
 5             X was not requested by the deponent or a
 6   party before the completion of the deposition.
 7          I further certify that I am neither attorney or
 8   counsel for, nor related to or employed by, any of the
 9   parties or attorneys to the action in which this
10   deposition was taken.
11          Further, I am not a relative or employee of any
12   attorney of record in this case, nor am I financially
13   interested in the outcome of the action.
14           Subscribed and sworn to on this 15th day of
15   June, 2021.
16
17               _________________________________
                 NITA G. CULLEN, Texas CSR #1563
18               Expiration Date: 08-31-2022
                 JULIA WHALEY & ASSOCIATES
19               Firm Registration No. 436
                    2012 Vista Crest Drive
20               Carrollton, Texas 75007-1640
                 214.668.5578
21
22
23
24
25




                                            Julia Whaley & Associates   214-668-5578
                                                                                                APPX.060
                                                                                               Page 61 to 61 of 61
Case 4:21-cv-00033-ALM                        Document 84-2 Filed 12/20/24                               Page 63 of 132 PageID #:
                                                          4031
                       BENJAMIN S. GRAF, Ph.D.     09/23/2024          1                                   BENJAMIN S. GRAF, Ph.D.    09/23/2024                3



       1                  UNITED STATES DISTRICT COURT                                    1                               I N D E X
                          FOR THE EASTERN DISTRICT OF
       2                        SHERMAN DIVISION                                          2                                                        PAGE
       3 TIMOTHY JACKSON,                 )                                               3   Appearances....................................         2
                                          )
       4         Plaintiff,               )                                               4   Stipulations...................................         5
                                          )
       5   vs.                            )   CASE NO. 4:21-CV-00033-ALM                  5
                                          )
       6   LAURA WRIGHT, et al.,          )                                               6   BENJAMIN S. GRAF, Ph.D.
                                          )
       7         Defendants.              )                                               7           Direct Examination by Mr. Allen........        6
       8                                                                                  8

       9 ********************************************************                         9

      10                  VIDEOTAPED ORAL DEPOSITION OF                                  10                             EXHIBITS
      11                       BENJAMIN S. GRAF, Ph.D.                                   11     NUMBER               DESCRIPTION                   MARKED
      12                         September 23, 2024                                      12    Exhibit 1    Re-Notice of Taking Deposition..... 40
      13 ********************************************************                        13    Exhibit 2    Center Review, Reporting

      14                                                                                 14                 Period: FY2013 - FY2016
      15         VIDEOTAPED ORAL DEPOSITION OF BENJAMIN S. GRAF,                         15                 (JACKS 067377 - 067401)............ 40

      16 Ph.D., produced as a witness at the instance of the                             16    Exhibit 3    Ad Hoc Review Panel Report

      17 Plaintiff and duly sworn, was taken in the above-styled                         17                 (Exhibit D)

      18 and numbered cause on the 23rd day of September, 2024,                          18                 (JACKSON000208 - 000233)........... 65

      19 from 9:03 a.m. to 12:08 p.m., before Kim D. Carrell,                            19    Exhibit 4    Material for the Committee

      20 Certified Shorthand Reporter in and for the State of                            20                 Emails

      21 Texas, reported by computerized stenotype machine at                            21                 (UNT 002645 - UNT 002782).......... 79

      22 the University of North Texas System, 801 North Texas                           22    Exhibit 5    Email, 7-24-20, Graf to Chung,

      23 Boulevard, Gateway Suite #308, Denton, Texas, pursuant                          23                 et al.

      24 to the Federal Rules of Civil Procedure and the                                 24                 (UNT 000439).......................102

      25 provisions stated on the record or attached hereto.                             25




                                                                                                  BENJAMIN S. GRAF, Ph.D.                     09/23/2024

                       BENJAMIN S. GRAF, Ph.D.     09/23/2024
                                                                                                                                                            4
                                                                       2
                                                                                1    Exhibit 6        Screenshot of Facebook Post from
       1                             APPEARANCES                                2                   Graf to Ewell, 7-25-20.............104
       2
                                                                                3    Exhibit 7        Emails Regarding Meeting With You
       3 FOR THE PLAINTIFF:
                                                                                4                   Monday Sept 14 at Noon
       4         Mr. Michael Thad Allen
                 ALLEN LAW, LLC
       5         P.O. Box 404                                                   5                   (UNT 002500 - 002505)..............109
                 Quaker Hill, CT 06375
       6         Telephone: 860.772.4738                                        6    Exhibit 8        Emails Regarding JSS
                 Fax: 860.469.2783
       7         E-mail: M.allen@allen-lawfirm.com
                                                                                7                   (JACKS 089828 - 089832)............114
       8
                                                                                8    Exhibit 9        Statement From the MHTE Graduate
       9   FOR THE DEFENDANTS:
      10         Mr. Benjamin S. Walton                                         9                   Students - Confidential
                 Assistant Attorney General
      11         General Litigation Division                                  10                    (Kohanski 000107 - 000110).........115
                 P.O. Box 12548, Capital Station
      12         Austin, Texas 78711
                 Telephone: 512.463.2120
                                                                              11     Exhibit 10          Emails Regarding Faculty
      13         Fax: 512.320.0667
                 E-mail: Benjamin.Walton@oag.texas.gov                        12                    Statement on the Recent Issue
      14

      15
                     - and -                                                  13                  of JSS
                 Renaldo Stowers
      16         University of North Texas System                             14                    (UNT 000526).......................117
                 Office of General Counsel
      17         801 North Texas Boulevard                                    15
                 Denton, Texas 76201
      18         Telephone: 940.565.2717
                 Fax: 940.369.7026                                            16
      19         E-mail: Renaldo.Stowers@untsystem.edu
                                                                              17
      20

      21 ALSO PRESENT:                                                        18

      22 VIDEOGRAPHER:                                                        19
      23         Mr. Tony McGough
                 Legal Video Group
                                                                              20
      24         lvg.dallas@gmail.com
                 214-598-5229                                                 21
      25
                                                                              22

                                                                              23

                                                                              24

                                                                              25

                                                         Julia Whaley & Associates   214-668-5578
                                                                                                                          APPX.061
                                                                                                                          Page 1 to 4 of 125
Case 4:21-cv-00033-ALM                   Document 84-2 Filed 12/20/24 Page 64 of 132 PageID #:
                  BENJAMIN S. GRAF, Ph.D.   09/23/2024               BENJAMIN S. GRAF, Ph.D. 09/23/2024
                                                       4032
                                                                   57                                                                          59
 1   Journal would want to be able to read and interpret a                   1    conversations, what did he say?
 2   basic Schenkerian analysis. I think that's reasonable.                  2         A.    I mean, our conversations were very practical.
 3        Q.     Was there a type-setting of these graphs                    3         Q.    Um-hum.
 4   involved?                                                               4         A.    Things like what software would you use to take
 5        A.     Sometimes. Sometimes, yes. It depended on the               5    an article from manuscript through publication.
 6   article.                                                                6         Q.    And to cut to the chase, was it focused on the
 7               MR. WALTON: Mr. Allen, just for purposes                    7    craft of publishing these articles?
 8   of the record, since we have a witness whose last name is               8         A.    It was a lot more focused on the craft of
 9   very interesting, can you clarify that these questions                  9    publishing the articles than it was the substance or,
10   you've been asking are graph, G-R-A-P-H?                              10     yeah, the craft of the practical matters.
11               MR. ALLEN: Yes, sorry. And so I believe                   11          Q.    At any point in this transition time --
12   you'll also note -- and thank you. That didn't even                   12     incidentally, when was it decided -- so there's a
13   occur to me.                                                          13     transition period. You announce you are going to
14        Q.     And I certainly wasn't meaning to pun off your            14     withdraw from the Journal. You talked to Benjamin Brand
15   name, Professor Graf. But the way your name is spelled                15     about that in the fall of 2019, correct? And then you
16   literally means, in German, "count," correct?                         16     have a subsequent meeting -- sorry, I just realized I was
17        A.     Correct, rough translation. Rough translation.            17     relying on you nodding your head.
18        Q.     And graph with a PH has nothing to do with                18          A.    Correct.
19   that, correct?                                                        19          Q.    And then you had a subsequent conversation with
20        A.     Correct.                                                  20     Professor Jackson and Professor Slottow?
21        Q.     And we've just been talking about the                     21          A.    Correct.
22   pictograms, if you want to call them that, for these                  22          Q.    And that involved, at some point, having these
23   graphs that are made in Schenkerian analysis, right?                  23     very practical conversations with Levi Walls, correct?
24        A.     Yes.                                                      24          A.    Those happened after.
25        Q.     Thank you.                                                25          Q.    And at that time when those happened, what time

                  BENJAMIN S. GRAF, Ph.D.      09/23/2024                                     BENJAMIN S. GRAF, Ph.D.        09/23/2024
                                                                   58                                                                          60
 1        A.     Good clarification.                                         1    are we talking, if you can remember? What month? What
 2               MR. ALLEN: Thanks to Opposing Counsel                       2    time period?
 3   for bringing that up.                                                   3         A.    Let's think. Probably October, beginning of
 4        Q.     So just back to Levi Walls, do you know what                4    October, I want to say.
 5   role then he started to play in the Journal going forward               5         Q.    Okay. Did Professor Walls -- excuse me. Did
 6   from this time where you announced you're stepping back?                6    Mr. Walls raise any concerns about a power differential
 7        A.     Yeah. His role was to take over the reins and               7    between him and Professor Jackson at that time?
 8   communicate with the advisors in order to move forward                  8         A.    He did not raise them to me specifically,
 9   with the Journal. That's the way I understood it.                       9    but -- he may have been concerned about it, but he didn't
10        Q.     Was there going to be a transition period where           10     raise it to me.
11   you brought him on as a kind of mentor?                               11          Q.    Did you raise those issues with him?
12        A.     I can't remember if it was Dr. Brand or                   12          A.    If I had any issues, I would have brought them
13   Dr. Jackson and Slottow that asked me to help, but one                13     straight to Benjamin Brand.
14   of those people asked me to help. I can't honestly                    14          Q.    Did you?
15   remember if it was Dr. Brand or Dr. Jackson asked me                  15          A.    I want to say that I did.
16   to show Levi certain things about the Journal.                        16          Q.    And what did you say?
17        Q.     Based on your direct experience or                        17          A.    I'm trying to remember the exact conversation.
18   conversations with Mr. Walls, did he seem enthusiastic                18     Benjamin Brand and I talked about possibly having some
19   about the new position?                                               19     concerns about the editorship of the Journal being under
20        A.     It's hard to say. It's hard to say. I'm not               20     a graduate student. And I left it to his discretion
21   really sure how enthusiastic he was or not.                           21     at that point because I didn't feel it was my place
22        Q.     Did you have any discussions with him about               22     to comment any further on it. And it sounded like
23   taking on the new position?                                           23     Dr. Jackson wanted Levi Walls to take over the Journal.
24        A.     Very few, very few.                                       24     That's the best way I can summarize it.
25        Q.     Well, if you can remember back to those few               25          Q.    Did you ever speak in your -- I'm talking about

                                                      Julia Whaley & Associates   214-668-5578
                                                                                                                 APPX.062
                                                                                                               Page 57 to 60 of 125
Case 4:21-cv-00033-ALM                     Document 84-2 Filed 12/20/24 Page 65 of 132 PageID #:
                   BENJAMIN S. GRAF, Ph.D.     09/23/2024              BENJAMIN S. GRAF, Ph.D. 09/23/2024
                                                          4033
                                                                   93                                                                         95
 1              And that's by Levy -- Levi Walls, excuse me.                  1    published version of Ewell's talk, then they are welcome
 2   Did I say that right?                                                    2    to do so, and we should be open to publishing additional
 3         A.     Yes.                                                        3    responses to that version in a subsequent issue after the
 4         Q.     And he seems to also confirm that the                       4    upcoming one of the Journal of Schenkerian Studies.
 5   announcement was made that these papers would be                         5    Best, Tim."
 6   published in Spectrum before they were even delivered                    6              Did I read that correctly?
 7   to the panel.                                                            7         A.     Yes, you read that email correctly.
 8              That's what Ellen Bakulina described, correct?                8         Q.     And do you remember responding to that email?
 9         A.     Yeah, it appears to be in her email.                        9         A.     I don't really remember it.
10         Q.     Then do you remember the subsequent discussion,           10          Q.     The next email is from you, correct?
11   which is continued by Professor Bakulina, about whether                11          A.     Yes.
12   to go forward with the JSS call for papers as planned?                 12          Q.     Do you believe that is not -- has not been sent
13         A.     I don't really recall a lot of discussion on              13     by you?
14   it.                                                                    14          A.     No, I think I did send that.
15         Q.     Okay. And so the next message is                          15          Q.     And you say, "I agree with Tim."
16   December 1st, 4:53 p.m. It seems like some of them                     16               Right?
17   either might be unusually stamped or they may be out of                17          A.     Um-hum.
18   order.                                                                 18          Q.     Did you feel you couldn't say you didn't agree?
19         A.     Okay.                                                     19     I mean, strike that question because of the double
20         Q.     But I just want to call your attention to the             20     negative.
21   one that begins at the bottom of that page. Do you see                 21               Did you have any reason to volunteer that
22   that? Ellen Bakulina to Walls, Jackson, Graf, Cubero,                  22     information based in coercion of any kind?
23   Slottow. And this appears to be two different emails.                  23          A.     I didn't really feel comfortable elaborating on
24   For some reason, Timothy Jackson is listed twice. Do you               24     my personal viewpoint.
25   see that? This is at the bottom of UNT 2657.                           25          Q.     At that time?
                   BENJAMIN S. GRAF, Ph.D.        09/23/2024                                     BENJAMIN S. GRAF, Ph.D.      09/23/2024
                                                                   94                                                                         96
 1         A.     I see -- oh, yes, I do see that he appears                  1         A.     At that time, no.
 2   twice there in the "To" line.                                            2         Q.     Well, I'm asking you to elaborate now. Is
 3         Q.     That's not important. The thing I wanted to                 3    there some reason you felt compelled to chime in at that
 4   call your attention to, is that your correct email there                 4    time that said you agree with Tim?
 5   that we discussed earlier?                                               5         A.     There's no particular reason either way other
 6         A.     That is my correct email.                                   6    than it seemed like this is the way Dr. Jackson wanted it
 7         Q.     Okay. So whenever that email appears in an                  7    to happen, so I felt it was best for me to follow what he
 8   email, then you received it, correct?                                    8    wanted to do at that point.
 9         A.     Yes.                                                        9         Q.     Did you feel you couldn't express dissent?
10         Q.     Okay. And Timothy then responds, "All things              10          A.     To an extent, yeah. I didn't really want to
11   considered, JSS should go forward with the call as                     11     express my dissent.
12   planned."                                                              12          Q.     Were you lying when you said you agreed with
13              Do you see that subsequent email?                           13     Timothy Jackson?
14         A.     I do.                                                     14          A.     No. I just didn't feel like I could fully
15         Q.     At 10:06 p.m.?                                            15     express myself.
16         A.     Yeah. This is on 2658.                                    16          Q.     Did you feel the need to express yourself by
17         Q.     And he says -- I'm going to skip down to,                 17     agreeing with Timothy Jackson at this time when you said
18   oh, geez, to the sixth line, the body of the email that                18     you were trying to withdraw as much as possible from the
19   begins on UNT 2658. Do you see that "- and we definitely               19     affairs of the Journal?
20   should publish it" line?                                               20          A.     I just had a brief, succinct response that I
21         A.     Yes.                                                      21     thought was not going to interfere with the affairs of
22         Q.     So he says, "We definitely should publish it."            22     the Journal from my position of trying to take a step
23              He then says, "More responses have promised                 23     back.
24   and have even been requested. Therefore, if others are                 24          Q.     Let me -- one further question about emails
25   interested in responding, but wish to wait for the                     25     in this body of documents that were considered by the

                                                       Julia Whaley & Associates   214-668-5578
                                                                                                                  APPX.063
                                                                                                                Page 93 to 96 of 125
Case 4:21-cv-00033-ALM                      Document 84-2 Filed 12/20/24 Page 66 of 132 PageID #:
                    BENJAMIN S. GRAF, Ph.D.    09/23/2024               BENJAMIN S. GRAF, Ph.D. 09/23/2024
                                                          4034
                                                                     97                                                                            99
 1   University of North Texas so-called ad hoc panel.                          1         A.      No.
 2                  If you could turn to 2697, please?                          2                  MR. WALTON: Form.
 3        A.       2697.                                                        3         A.      I wasn't lying.
 4        Q.       And I'm going to direct your attention to an                 4         Q.      And you -- finally, you end the email, "Cheers
 5   email at the bottom of that page.                                          5    getting this to press."
 6        A.       Sure.                                                        6               Right?
 7        Q.       This appears to be an email from you to                      7         A.      Yes.
 8   schenker@unt.edu. Or no, I guess it's from                                 8         Q.      You also -- there's an email right below that.
 9   schenker@unt.edu, right?                                                   9    It looks like you write to Barry Wiener. Am I mistaken
10        A.       It is from the official Schenker email.                    10     about that?
11        Q.       That was going to be my next question. That                11          A.      Let's see.
12   schenker@unt.edu, that's the official email for the                      12          Q.      On March 20th.
13   editor?                                                                  13          A.      On March 20th, Ben Graf wrote to Wiener.
14        A.       I'm not really sure who used that email. On                14                I don't see an email address from that, but...
15   occasion, I used it as editor, yeah.                                     15          Q.      It seems to be copied and pasted into this
16        Q.       And is this an email you sent?                             16     massive document that was submitted to the UNT ad hoc
17        A.       It appears to be something that I sent, yes.               17     panel. Do you remember writing and corresponding with
18        Q.       And it looks like this is March 14th, 2020, and            18     Barry Wiener?
19   things are wrapping up with getting the special Symposium                19          A.      I don't honestly remember the correspondence
20   out for publication.                                                     20     with every author, because I was just trying to get them
21        A.       Yes, I was trying to collect materials from                21     to sign the forms. You know, my role was very minimal
22   some of the authors, it appears.                                         22     there at the end, just to get everyone to sign their
23        Q.       Is that why there are three, 1), 2), 3), sort              23     forms.
24   of bullet points that you are asking for the final                       24          Q.      Um-hum.
25   information?                                                             25          A.      Get it off to press.
                    BENJAMIN S. GRAF, Ph.D.         09/23/2024                                     BENJAMIN S. GRAF, Ph.D.        09/23/2024
                                                                     98                                                                            100
 1        A.       Yes.                                                         1         Q.      Would you say to an author that you had read
 2        Q.       And you also say, Levy -- Levi -- excuse me --               2    his piece when you didn't read it?
 3   "Levi Walls has done excellent work on this volume, and                    3         A.      Possibly.
 4   the Journal will be in good hands as he takes over sole                    4         Q.      Do you remember doing that for Barry Wiener?
 5   editorship of the JSS."                                                    5         A.      I really don't remember Barry's article. I
 6             Right?                                                           6    could not cite specific parts of it. But a lot of times,
 7        A.       Yes.                                                         7    when I finished out the publication, I would say thank
 8        Q.       Were you impressed with the work of Levi Walls               8    you for your contribution or something like that.
 9   on the Journal up to this time?                                            9         Q.      Do you remember telling the ad hoc panel that
10        A.       I was referring to his work on the software,               10     you didn't read all of the articles?
11   his familiarity with the process of getting manuscripts                  11          A.      Yes.
12   into the correct software formatting.                                    12          Q.      Was that true?
13        Q.       And then you go on -- well, just to follow that            13          A.      That's true. I did not read every article
14   up. And that was all very good work by him, right?                       14     word-for-word.
15        A.       The way I understood it, he did a good enough              15          Q.      Was it expected that you would read the
16   job to take over the reins. And I really felt like I was                 16     article?
17   done at that point.                                                      17          A.      I don't think there was a clear expectation.
18        Q.       And you also commented in this sentence                    18          Q.      Was there a division of labor in the Journal
19   after that.                                                              19     for the Symposium?
20             "In my view, the additional content that we                    20          A.      For the Symposium? Was there a division of
21   collected this winter following Ewell's SMT plenary makes                21     labor? Not really.
22   a great addition to an already remarkable publication."                  22          Q.      Do you know if Mr. Walls read all of the
23             Right?                                                         23     papers?
24        A.       Yes. That was a little bit of -- yes.                      24          A.      I'm not sure.
25        Q.       Were you lying?                                            25          Q.      Do you know if Professor Jackson was relying on

                                                         Julia Whaley & Associates   214-668-5578
                                                                                                                    APPX.064
                                                                                                                 Page 97 to 100 of 125
Case 4:21-cv-00033-ALM                    Document 84-2 Filed 12/20/24 BENJAMIN
                                                                          PageS.67 of 132 PageID
                                                                                 GRAF, Ph.D.
                                                                                                      #:
                                                                                             09/23/2024
                 BENJAMIN S. GRAF, Ph.D.    09/23/2024
                                                       4035                                                                                     123
                                                                   121
                                                                               1                        UNITED STATES DISTRICT COURT
 1                       CHANGES AND SIGNATURE
                                                                                                        FOR THE EASTERN DISTRICT OF
 2   WITNESS: BENJAMIN S. GRAF, Ph.D.
                                                                               2                               SHERMAN DIVISION
 3   DATE: 9-23-24                                                             3    TIMOTHY JACKSON,               )
 4   PAGE/LINE         CHANGE              REASON                                                                      )

 5   _____________________________________________________                     4          Plaintiff,       )
                                                                                                                       )
 6   _____________________________________________________
                                                                               5    vs.                    ) CASE NO. 4:21-CV-00033-ALM
 7   _____________________________________________________
                                                                                                                       )
 8   _____________________________________________________                     6    LAURA WRIGHT, et al.,          )
 9   _____________________________________________________                                                             )
10   _____________________________________________________                     7          Defendants.          )
                                                                               8                __________________________________________
11   _____________________________________________________
                                                                               9                 REPORTER'S CERTIFICATION OF
12   _____________________________________________________
                                                                             10                 ORAL DEPOSITION OF BENJAMIN S. GRAF, Ph.D.
13   _____________________________________________________                   11                             September 23, 2024
14   _____________________________________________________                   12                ___________________________________________
15   _____________________________________________________                   13           I, KIM D. CARRELL, a Certified Shorthand Reporter

16   _____________________________________________________                   14     in and for the State of Texas, hereby certify to the
                                                                             15     following:
17   _____________________________________________________
                                                                             16           That the witness, BENJAMIN S. GRAF, was duly
18   _____________________________________________________
                                                                             17     sworn and that the transcript of the oral deposition is
19   _____________________________________________________                   18     a true record of the testimony given by the witness;
20   _____________________________________________________                   19           That the deposition transcript was duly submitted

21   _____________________________________________________                   20     on October 21, 2024, to Mr. Benjamin Walton, the attorney
                                                                             21     for the witness,for examination, signature, and return to
22   _____________________________________________________
                                                                             22     me by November 22, 2024, (30 days);
23   _____________________________________________________
                                                                             23           That pursuant to the information given to the
24   _____________________________________________________                   24     deposition officer at the time said testimony was taken,
25   _____________________________________________________                   25     the following includes all partes of record and the
                 BENJAMIN S. GRAF, Ph.D.       09/23/2024                                        BENJAMIN S. GRAF, Ph.D.        09/23/2024
                                                                                                                                                124
                                                                   122
                                                                               1    amount of time used by each party at the time of the
 1   ______________________________________________________                    2    deposition;
 2   ______________________________________________________                    3       Michael Thad Allen - 02 HRS: 37 MIN
 3   ______________________________________________________                            Benjamin Walton - 00 HRS: 00 MIN
                                                                               4
 4      I, BENJAMIN S. GRAF, have read the foregoing
                                                                                    FOR THE PLAINTIFF:
 5   deposition and hereby affix my signature that same                        5       Mr. Michael Thad Allen
 6   is true and correct, except as noted above.                                       ALLEN LAW, LLC
 7
                                                                               6       P.O. Box 404
                                                                                       Quaker Hill, CT 06375
 8                      ____________________________                           7       Telephone: 860.772.4738
                            BENJAMIN S. GRAF                                           Fax: 860.469.2783
 9                                                                             8       E-mail: M.allen@allen-lawfirm.com

                                                                              9
10   THE STATE OF ________________)                                          10     FOR THE DEFENDANTS:
     COUNTY OF ___________________)                                          11        Mr. Benjamin S. Walton
11                                                                                     Assistant Attorney General
                                                                             12        General Litigation Division
12      Before me, __________________________, on this day
                                                                                       P.O. Box 12548, Capital Station
13   personally appeared BENJAMIN S. GRAF, known to me or                    13        Austin, Texas 78711
14   proved to me on the oath of _______________________ or                            Telephone: 512.463.2120
15   through ______________________________ (description of                  14        Fax: 512.320.0667
                                                                                       E-mail: Benjamin.Walton@oag.texas.gov
16   identity card or other document) to be the person whose                 15
17   name is subscribed to the foregoing instrument and                                      - and -
18   acknowledged to me that he/she executed the same for                    16
                                                                                          Renaldo Stowers
19   the purpose and consideration therein expressed.
                                                                             17           University of North Texas System
20         Given under my hand and seal of office on this                                 Office of General Counsel
21   _______ day of __________________, ________.                            18           801 North Texas Boulevard
22                                                                                        Denton, Texas 76201
                                                                             19           Telephone: 940.565.2717
23                   _____________________________
                                                                                          Fax: 940.369.7026
                     NOTARY PUBLIC IN AND FOR                                20           E-mail: Renaldo.Stowers@untsystem.edu
24                   THE STATE OF ________________                           21
                     My Commission Expires:___________                       22          I further certify that I am neither counsel for,
                                                                             23     related to, nor employed by any of the parties or
25                                                                           24     attorneys in the action in which this proceeding was
                                                                             25     taken, and further that I am not financially or

                                                        Julia Whaley & Associates   214-668-5578                PageAPPX.065
                                                                                                                     121 to 124 of 125
Case 4:21-cv-00033-ALM       Document
           BENJAMIN S. GRAF, Ph.D.
                                        84-2 Filed 12/20/24
                                   09/23/2024
                                                                                          Page 68 of 132 PageID #:
                                            4036
                                             125
 1   otherwise interested in the outcome of the action.
 2      Certified to by me on this 21st day of October,
 3   2024.
 4
 5
 6                   _______________________________
                     Kim D. Carrell, CSR NO. 1184
 7                   Date of Expiration: 7-31-26
                     JULIA WHALEY & ASSOCIATES, INC.
 8                   2012 Vista Crest Drive
                     Carrollton, Texas 75007-1640
 9                   214-668-5578/Fax 972-236-6666
                     JulieTXCSR@gmail.com
10                   Firm registration No. 436
                     Firm registration Expires 5-31-25
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25




                                               Julia Whaley & Associates   214-668-5578        PageAPPX.066
                                                                                                    125 to 125 of 125
Case 4:21-cv-00033-ALM                     Document 84-2 Filed 12/20/24                                       Page 69 of 132 PageID #:
                                                       4037
                          Frank Heidlberger        5/19/21                 1                                         Frank Heidlberger     5/19/21               3



       1              IN THE UNITED STATES DISTRICT COURT                                      1                                INDEX
                       FOR THE EASTERN DISTRICT OF TEXAS
       2                       SHERMAN DIVISION                                                2                                                          PAGE
       3 TIMOTHY JACKSON,                 )                                                    3     Appearances.......................................... 2
                                          )
       4             Plaintiff,           )                                                    4     Stipulations......................................... 4
                                          )
       5   v.                             ) CASE NO.                                           5     FRANK HEIDLBERGER
                                          ) 4:21-cv-00033-ALM
       6   LAURA WRIGHT, et al,           )                                                    6           Examination by Mr. Allen......................... 4
                                          )
       7             Defendants.          )                                                    7           Examination by Mr. Bohuslav......................85
                                          )
       8                                                                                       8

       9                                                                                       9

      10              -----------------------------------                                     10     Reporter's Certificate................................86
      11                       ORAL DEPOSITION OF                                             11

      12                          FRANK HEIDLBERGER                                           12                               EXHIBITS
      13                            MAY 19, 2021                                              13     NO.   DESCRIPTION                                    PAGE

      14              -----------------------------------                                     14     Exhibit 24      Notice of Taking Deposition............ 7
                                                                                                     Exhibit 25      Statement from the Division of Music
      15                                                                                      15                     History, Theory and Ethnomusicology of
                                                                                                                     the University of North Texas..........34
      16                                                                                      16     Exhibit 26      E-mail to Benjamin Brand, 7/27/2020....34
                                                                                                     Exhibit 27      E-mail to Frank Heidlberger,
      17        ORAL DEPOSITION OF FRANK HEIDLBERGER, produced as a                           17                     7/28/2020..............................53
                                                                                                     Exhibit 28      E-mail to Benjamin Brand, 7/27/2020....56
      18 witness at the instance of the Plaintiff, and duly                                   18     Exhibit 29      Music History, Theory, and
                                                                                                                     Ethnomusicology - Theoria..............58
      19 sworn, was taken in the above-styled and numbered cause                              19     Exhibit 30      E-mail to Timothy Jackson,
                                                                                                                     September 14, 2016.....................68
      20 on May 19, 2021, from 9:10 a.m. to 11:56 a.m., before                                20     Exhibit 31      E-mail to Dr. Jackson,
                                                                                                                     September 17, 2018.....................73
      21 Nita G. Cullen, CSR in and for the State of Texas,                                   21     Exhibit 32      E-mail to Peter Kohanski,
                                                                                                                     July 30, 2020..........................74
      22 reported by machine shorthand, at the Law Offices of                                 22     Exhibit 33      News from SEM: General News............78
                                                                                                     Exhibit 34      E-mail to John Richmond,
      23 Cutler Smith, 12750 Merit Drive, Suite 1450, in the City                             23                     July 30, 2020..........................80

      24 of Dallas, County of Dallas, State of Texas, pursuant to                             24

      25 the Federal Rules of Civil Procedure.                                                25




                                                                                                              Frank Heidlberger           5/19/21

                          Frank Heidlberger        5/19/21
                                                                                                                                                            4
                                                                           2
                                                                                    1                       PROCEEDINGS
       1                      A P P E A R A N C E S                                 2                              FRANK HEIDLBERGER,
       2
                                                                                    3    having been first duly sworn, testified as follows:
       3 FOR THE PLAINTIFF:
                                                                                    4                                    EXAMINATION
       4        MR. MICHAEL THAD ALLEN
                MS. SAMANTHA HARRIS
       5        ALLEN LAW, LLC                                                      5    BY MR. ALLEN:
                P.O. Box 404
       6        Quaker Hill, Connecticut 06375                                      6          Q.       Mr. Heidlberger, my name is Michael Allen. I'm
                860.772.4738
       7        860.469.2783 Fax
                m.allen@allen-lawfirm.com                                           7    counsel to Timothy Jackson. Have you ever been deposed
       8
                                                                                    8    before, sir?
       9 FOR THE DEFENDANTS:

      10        MR. MATT BOHUSLAV                                                   9          A.       No.
                ASSISTANT ATTORNEY GENERAL
      11        GENERAL LITIGATION DIVISION                                       10           Q.       So, I'm just going to go over a few ground
                ATTORNEY GENERAL OF TEXAS
      12        P.O. Box 12548, Capitol Station                                   11     rules. This is a relatively formal conversation. A
                Austin, Texas 78711
      13        matthew.bohuslav@oag.texas.gov
                                                                                  12     deposition, although it's taking place in a private
      14 AND
                                                                                  13     office here, is actually an extension of the Court. The
      15        MR. RENALDO STOWERS
                SENIOR ASSOCIATE GENERAL COUNSEL
      16        UNIVERSITY OF NORTH TEXAS SYSTEM                                  14     purpose of depositions is both to find out what you
                OFFICE OF GENERAL COUNSEL
      17        1155 Union Circle                                                 15     know, obviously, and also to find out what you would say
                Denton, Texas 76203
      18        940.565.2717
                renaldo.stowers@untsystem.edu                                     16     at trial.
      19
                                                                                  17                   I'll start with a few preliminary
      20 ALSO PRESENT:

      21        MR. TIMOTHY JACKSON                                               18     questions. Is there anything that would prevent you
      22                                                                          19     from giving truthful testimony today?
      23
                                                                                  20           A.       No.
      24
                                                                                  21           Q.       Are you taking any medication that might affect
      25
                                                                                  22     your memory or ability to testify truthfully?
                                                                                  23           A.       No.
                                                                                  24           Q.       Are you ill in any way?
                                                                                  25           A.       I have Type 1 diabetes, that might affect over

                                                             Julia Whaley & Associates   214-668-5578
                                                                                                                              APPX.067
                                                                                                                               Page 1 to 4 of 87
Case 4:21-cv-00033-ALM                     Document 84-2 Filed 12/20/24                               Page 70 of 132 PageID #:
                       Frank Heidlberger    5/19/21                                                   Frank Heidlberger    5/19/21
                                                       4038
                                                                    33                                                                           35
 1   sorry.                                                                    1    Benjamin Brand, is that correct?
 2        Q.    Was this a Jewish composer, by any chance, or                  2         A.    Yes.
 3   something of that nature?                                                 3         Q.    What was your purpose in writing this e-mail to
 4        A.    I can't confirm that.                                          4    Benjamin Brand? And as part of that explanation, could
 5        Q.    And regardless of the name of the composer,                    5    you explain for the Court who Benjamin Brand is?
 6   those were archival resources that were located at the                    6         A.    Benjamin Brand is the current chair of the
 7   center, is that it?                                                       7    Division of Music History, Theory and Ethnomusicology,
 8        A.    Again, I am sorry to be unspecific here, but I                 8    and as such, my successor in that field.
 9   think so. It could have been related to material that                     9         Q.    And what was your purpose in sending him this
10   the center has gathered, but I'm not entirely sure.                     10     e-mail?
11        Q.    Is it by any chance the name Gunther Raphael?                11          A.    I sent this e-mail in consequence of emerging
12        A.    Yes. Raphael, yes.                                           12     concerns by colleagues, partially expressed in e-mails,
13        Q.    Could you pronounce that and spell it for the                13     partially expressed in -- as far as I remember, in --
14   Court?                                                                  14     mostly in Facebook, of which one Facebook post by Ed
15        A.    Okay. Gunther Raphael. So, that is G-U-N-T --                15     Klorman came up, who singled out the case as we know it.
16   maybe T-H-E-R, Gunther, and then R-A-P-H-A-E-L.                         16               Publication of JSS articles with
17        Q.    And I guess my last question, I just mean it to              17     problematic formulations, and the reactions to this post
18   be a "yes" or "no" question, if a scholar were to access                18     as they were posted as comments in the bottom of the
19   archival materials of the center and publish something                  19     Facebook posts saying things like, well, I hate to say,
20   about that, does that make that the center's work, or is                20     but I'm a UNT alumnus or, look at these guys, their MHTE
21   that simply the scholar's individual work, in the eyes                  21     mission statement states that they are fair and
22   of the scholarly community in which you're embedded?                    22     non-racist, and then they produce something like that.
23        A.    That's not a "yes, no" question.                             23               In other words, the generalization of one
24        Q.    It's good that you point that out. Let me                    24     particular problematic case as one may interpret that of
25   rephrase it. If a scholar accesses the scholarly                        25     people involved being interpreted as a general opinion

                       Frank Heidlberger    5/19/21                                                   Frank Heidlberger    5/19/21
                                                                    34                                                                           36
 1   archives of the center and then publishes something that                  1    of the division and the theory area as a whole, which
 2   is the scholar's work on that, is that considered the                     2    would be a wrong interpretation, and my sense that we
 3   work of the center?                                                       3    have to react against this misinterpretation of the work
 4        A.    No.                                                            4    of my colleagues in the division and in the field.
 5             (DEPOSITION EXHIBIT 25 MARKED.)                                 5         Q.    You've mentioned a couple terms that I don't
 6                     (MS. HARRIS RE-ENTERS ROOM.)                            6    understand, a problematic case or one case that we know
 7                     MR. ALLEN: And could I have this exhibit                7    of. What are you referring to, when you -- speaking in
 8   marked as 26?                                                             8    these general terms?
 9             (DEPOSITION EXHIBIT 26 MARKED.)                                 9         A.    Yes. I refer to the case that some articles in
10        Q.    (By Mr. Allen) And please let me know when                   10     the Journal of Schenkerian Studies that represent the
11   you've had a chance to examine it.                                      11     colloquium as a response to Phil Ewell were not well
12        A.    Yes.                                                         12     edited, not edited to the standards of peer reviewed,
13        Q.    So, these are two documents, and I'm just going              13     scholarly journals, but represent opinions, partially
14   to direct your attention to the bottom right of the                     14     even anonymous opinions in a way that is not appropriate
15   document. Each one has a UNT number, and I'm just going                 15     for a scholarly journal.
16   to represent to you that in the course of litigation,                   16               And that's not my opinion. That's what I
17   attorneys will mark all exhibits with page numbers that                 17     saw in the reactions -- in the public reactions in the
18   have to do with all the documents produced in the case.                 18     field that this was seen as the problem. So the problem
19             So, the UNT designation indicates that this                   19     of incorrect handling of editorial procedures of a
20   was produced by the University of North Texas as part of                20     scholarly journal. It's not a newspaper. It's not an
21   this litigation. And I was going to ask you if you                      21     opinion paper.
22   recognize these documents, first of all?                                22               And second, the nature of those problematic
23        A.    Yes.                                                         23     statements supporting -- and again, that is the
24        Q.    And I see the date was July 27th, 2020, on                   24     perspective that others implemented into this situation,
25   Exhibit 26, and it seems to be an e-mail from you to                    25     that the articles do exactly that what Phil Ewell tried

                                                        Julia Whaley & Associates   214-668-5578
                                                                                                                   APPX.068
                                                                                                                  Page 33 to 36 of 87
Case 4:21-cv-00033-ALM                     Document 84-2 Filed 12/20/24                               Page 71 of 132 PageID #:
                       Frank Heidlberger    5/19/21                                                   Frank Heidlberger       5/19/21
                                                       4039
                                                                    37                                                                           39
 1   to fight, and that is the white framing of music theory                   1           A.   Well, the small scale type of response that I
 2   in terms of repertoire, in terms of the interpretation                    2    refer to, I did this in Theoria about Aspect of
 3   of repertoire and of methodologies, particularly                          3    Historical Music Theory, modal theory of the 16th
 4   Schenkerian analysis. And that is -- yeah. That's my                      4    century. There are two perspectives as to how much
 5   point.                                                                    5    tonal aspects of music theory has influenced the
 6        Q.    So, I want to ask you, you're referring to the                 6    understanding of modes, which are a medieval way of
 7   symposium published in Volume 12 of the Journal of                        7    explaining the musical scales, can be seen.
 8   Schenkerian Studies, correct?                                             8                And there are basically two opinions, I
 9        A.    That is correct.                                               9    guess, or whether this influence of tonal impact us
10        Q.    And that is distinct from other articles                     10     there. So, I had a discussion like that. So, what I
11   published in that very same volume, correct?                            11     did is, when I got a response, I said, okay, I will
12        A.    Correct.                                                     12     publish this in the next issue. I informed the author
13        Q.    Let me ask a preliminary question. Have you                  13     and told him, okay -- and I informed the -- the
14   ever heard any criticism of articles, besides the                       14     respondent that I will share this answer with the
15   symposium, published by the Journal of Schenkerian                      15     author, giving him the opportunity to directly respond
16   Studies for what you've characterized as incorrect                      16     to the response.
17   handling of editorial opinions?                                         17                 And I got the response, both where I
18        A.    No.                                                          18     checked them carefully for accuracy and no personal or
19        Q.    Not even in Volume 12, correct?                              19     any kind of inappropriate wording and published them
20        A.    No.                                                          20     both in the following volume.
21        Q.    And could I ask you, as both an experienced                  21            Q.   Did you send them out for peer review?
22   academic and also as the editor of a journal yourself,                  22            A.   No.
23   are you aware that journals would publish symposia?                     23            Q.   Have you ever solicited such responses
24        A.    Yes.                                                         24     yourself, as an editor?
25        Q.    Could you give some examples, just based on                  25            A.   No.
                       Frank Heidlberger     5/19/21                                                  Frank Heidlberger       5/19/21
                                                                    38                                                                           40
 1   your own personal experience?                                             1           Q.   Have you ever published such a response,
 2        A.    It is usually, in a much smaller scale, a                      2    personally, as an author, either in Theoria or any other
 3   direct response to an article published in a previous                     3    journal?
 4   volume, and you open up the perspective for people who                    4           A.   Response to criticism on one of my articles,
 5   want to respond, usually criticize statements in a given                  5    yes.
 6   article, that then causes a response by another author.                   6           Q.   Was that peer reviewed?
 7              So, it is not usually a collection of                          7           A.   No.
 8   articles, but a response to previously published                          8           Q.   Was the criticism, to your knowledge, peer
 9   articles in the same journal.                                             9    reviewed that you were responding to?
10        Q.    Are you aware of journals that would have                    10            A.   They were marked as letters to the editor, and
11   published responses to, other than an article published                 11     they are usually not peer reviewed, so they were
12   in a previous volume of the journal, as you've just                     12     specifically not articles, but letters.
13   characterized it?                                                       13            Q.   And was that -- incidentally, can you identify
14        A.    Sorry. Could you repeat this, please?                        14     the publication for the Court?
15        Q.    Let me see if I can -- I want to see if I                    15            A.   It was the Journal, the Clarinet, the Journal
16   understand what you said. So, it sounds to me like you                  16     of the International Clarinet Association, which is not
17   are aware of symposia published by other journals in                    17     a peer reviewed journal.
18   which there is a collection of perspectives published in                18            Q.   That's not a peer reviewed journal. To your
19   response to an article, but you characterize the article                19     knowledge, do these kinds of exchanges occur in
20   as usually in a previous volume of that very self same                  20     otherwise peer reviewed journals?
21   journal.                                                                21            A.   Yes, they do.
22        A.    Yes.                                                         22            Q.   You also raise an issue of scale with regard
23        Q.    And let me pause to ask, can you explain or                  23     to -- is it clear -- if I refer to the Journal of
24   state any specific examples of journals that have done                  24     Schenkerian Studies as JSS, or simply the journal, will
25   that, that you know of?                                                 25     you understand what I'm discussing?

                                                        Julia Whaley & Associates   214-668-5578
                                                                                                                    APPX.069
                                                                                                                   Page 37 to 40 of 87
Case 4:21-cv-00033-ALM                       Document 84-2 Filed 12/20/24                                Page 72 of 132 PageID #:
                         Frank Heidlberger    5/19/21                                                     Frank Heidlberger    5/19/21
                                                         4040
                                                                      41                                                                            43
 1        A.      Yes.                                                           1         Q.       "Provide." Thank you.
 2        Q.      So, in the JSS, you refer to the scale of the                  2         A.       At the same time, I was very concerned and was
 3   symposium. Do I get that -- did I understand correctly?                     3    thinking, oh, my God, hopefully he does it politically
 4        A.      I used the term the scale merely within the                    4    correctly with all the steps involved. These were my
 5   context of the 16th century modal theory that I                             5    private thoughts because I know Tim Jackson in the best
 6   explained. So the musical scale is usually a number of                      6    sense and respect his work. But I knew that needs very,
 7   notes within an octave, either a half tone or a whole                       7    very careful consideration and constant oversight from
 8   tone apart from each other that define various modes.                       8    the highest level; in other words, from Tim Jackson
 9   So, it is the interpretation of musical scales. I only                      9    himself.
10   used that term in that context.                                           10                  Don't get the student involved and the
11        Q.      I'm glad you cleared that up. And you said                   11     whatever, you know, lecturer who was the previous editor
12   that the symposium, which was this collection of papers                   12     who was involved in this, and discuss it explicitly with
13   published in Volume 12 of the journal, was seen by                        13     the board. That is major. Even asking to the point
14   colleagues as supporting exactly the kind of approach to                  14     just, you know, by courtesy to say, you know, okay,
15   music theory that Philip Ewell was trying to fight.                       15     we -- I plan something that might be very controversial.
16             My understanding is that you're referring                       16     Do you agree with me doing this address to the board
17   to Philip Ewell, a professor of Hunter College, and his                   17     members?
18   plenary address to the Society for Music Theory that                      18                  So, assuming all that, and a very strict
19   took place in the beginning of November 2019. Is that                     19     selective and peer reviewed process with regard to these
20   correct, just to clear that up?                                           20     responses, because they are not responses, they are on
21        A.      I think it was in November 2019, if I'm                      21     their own right reactive scholarly articles towards the
22   correct. And yes, the answer is yes.                                      22     main point of Ewell's statements.
23        Q.      And is that impermissible to oppose Philip                   23                  Given that, it would be absolutely
24   Ewell's scholarship on music theory in the way that it                    24     productive and healthy and correct to do this kind in
25   was done in the symposium?                                                25     this journal, which is dedicated to Schenkerian studies.

                         Frank Heidlberger    5/19/21                                                     Frank Heidlberger    5/19/21
                                                                      42                                                                            44
 1        A.      Absolutely not. If it is done in the right                     1    Unfortunately, in the process of seeing the announcement
 2   way, I would absolutely support it, and I think it's a                      2    published, and then seeing, once the volume was
 3   healthy way of getting a discourse going or keeping a                       3    published, the introduction to the symposium, I was very
 4   discourse that was in the field.                                            4    disappointed and see that this was not handled
 5        Q.      And what specifically, if there was a wrong way                5    correctly.
 6   that was done in the journal, what specifically was the                     6         Q.       And you made a distinction between reactive
 7   wrong way, and what was the right way that should have                      7    scholarly articles, not responses. Could you be more
 8   been followed?                                                              8    specific about what the difference is between those two?
 9                       MR. BOHUSLAV: Objection, compound.                      9         A.       It was my understanding that Dr. Jackson opened
10        A.      I was present at Phil Ewell's presentation and               10     up the JSS primarily to write substantial articles about
11   was delighted by the rhetorical elegance of his                           11     the points that Dr. Ewell raised in his presentation.
12   presentation, and at the same --                                          12     If I remember correctly, in the call for papers, that
13        Q.      Go ahead, please.                                            13     was kind of left open in a way that it also could
14        A.      I was delighted by the rhetorical elegance and               14     include immediate reactions, which then were published
15   his presentations and shocked, at the same time, by his                   15     actually as, you know, one, two paragraphs of some sort,
16   blunt simplification of very complex historical facts.                    16     what kind of nonsense Ewell's thing is, you know, how
17   My first private thoughts that I didn't share with                        17     productive that kind of publication is is another
18   anyone was, oh, my God, how will Tim Jackson react to                     18     question. But it -- just from the status and the
19   this? He has to react.                                                    19     character of the journal, I assumed that these will be
20             And so I thought, he has a journal, and he                      20     substantial articles.
21   will do the right things to prevent a platform for open                   21          Q.       Is there any requirement, that you know of,
22   discussion of these points.                                               22     that a journal like the JSS not publish responses to a
23        Q.      Can I interject? Did you just say, "prevent a                23     paper such as Philip Ewell's?
24   platform"?                                                                24          A.       Formally, no.
25        A.      "Provide."                                                   25          Q.       You also said that you were at once impressed

                                                          Julia Whaley & Associates   214-668-5578
                                                                                                                        APPX.070
                                                                                                                       Page 41 to 44 of 87
Case 4:21-cv-00033-ALM                    Document 84-2 Filed 12/20/24                            Page 73 of 132 PageID #:
                      Frank Heidlberger    5/19/21                                                 Frank Heidlberger     5/19/21
                                                      4041
                                                                  49                                                                           51
 1        Q.     (By Mr. Allen) Did you agree with the                       1    roughly, it's a long article, and he put a lot of work
 2   characterization presented in social media about Volume                 2    into that. The third third of the article moves from
 3   12 that it's articles were racist?                                      3    the genre of a scholarly, well-researched article to an
 4        A.     I agreed to the extent that some sections of                4    inappropriate, opinionated, editorial-like statement,
 5   specific articles could be interpreted as racist, yes.                  5    using words like "the blacks", and I'm quoting here,
 6        Q.     And could you identify, if you can remember,                6    that are not up to speed, in terms of cultural education
 7   the explicitly racist statements in some of the                         7    with western music, and bringing in a whole complicated
 8   articles? And here I'm quoting from your statement                      8    matter in that of black anti-Semitism, implying that
 9   here, if you look down page -- the page marked UNT 503,                 9    Ewell has something to do with it, because why would it
10   in the middle of that paragraph, it says, "main points                10     be in a response to Ewell's article?
11   of criticism are the short response time for the call                 11                 And that I thought was not well thought
12   for papers, the inconsistent solicitation of responses,               12     through, not substantiated by the quotes, even if he
13   and the explicitly racist statements in some of the                   13     quotes some articles about -- including that Wikipedia,
14   articles." So, I'm asking, what would you identify as                 14     and should have been seriously edited by somebody
15   the explicitly racist statements in some of the                       15     involved in JSS.
16   articles?                                                             16          Q.     Do you consider that part -- the last third of
17                    MR. BOHUSLAV: I'm going to object to you             17     the article, I believe you referred to, right?
18   asking him about a document. Could you show him the                   18          A.     Roughly.
19   document, please --                                                   19          Q.     Do you consider that last third racist?
20                    MR. ALLEN: He has the document.                      20          A.     I consider it as written so that it can be
21                    MR. BOHUSLAV: -- you're asking about the             21     interpreted as racist.
22   articles?                                                             22          Q.     Have you -- in your personal experience with
23                    MR. ALLEN: I asked him if he remembers               23     Timothy Jackson since approximately the year 2000, I
24   which statements he's explicitly identifying. I                       24     believe, do you have any direct experience of him being
25   understand your objection, and it's on the record.                    25     a racist?
                      Frank Heidlberger     5/19/21                                                Frank Heidlberger     5/19/21
                                                                  50                                                                           52
 1        A.     I can name examples of racist statements, but               1         A.     I think you asked that before, and my clear
 2   I'm not saying in this -- in this text that there are                   2    answer was no.
 3   racist statements in there. I'm saying that these are                   3         Q.     Can I ask, what was the intended effect of
 4   main points of criticism in the social media statements.                4    sending these statements to Dr. Benjamin Brand?
 5   So, I'm not explicitly agreeing with them. I see that                   5         A.     Dr. Brand often refers to me as an advisor, as
 6   this -- these points of criticism come up; among them,                  6    a senior advisor with difficult decisions to make, and
 7   the criticism of racist statements.                                     7    here I took the initiative to send him some ideas that
 8        Q.     (By Mr. Allen) And you did agree, however,                  8    might come up in an upcoming discourse. It was just
 9   that some of the articles had made racist statements. I                 9    meant privately and confidentially, as it is shown in
10   believe you testified about that earlier, correct?                    10     that sense, never that it is published.
11        A.     The term "racist" is an inappropriate reduction           11                 I wrote this down in five minutes. I had
12   of the problem here, and some statements were simply                  12     other things to do, but I saw the Facebook thing that --
13   superficial. And from the perspective of implicit white               13     the avalanche of trouble coming towards us. And I said,
14   supremacy, but not necessarily racist as against a                    14     hey, do something. This is just a summary, take it or
15   certain person with a certain background, and that is                 15     dump it, and, you know, that's all.
16   maybe implicit of the author, the black music theorist                16          Q.     In your experience at UNT, has there ever been
17   Ewell.                                                                17     a time before where the department was forced or
18               But more obvious, it is the appropriateness               18     decided -- strike that, please.
19   or inappropriateness of statements at stake here. And                 19                 Was there ever a time before at UNT, in
20   that was handled within a very wide range and often                   20     your experience, where the department decided to take
21   inappropriate range in some of the articles, with one                 21     action, purely based on social media reactions to what a
22   exception, and that is, unfortunately, Dr. Jackson's                  22     scholar had written?
23   article.                                                              23                      MR. BOHUSLAV: Objection, assumes facts
24               When I read it -- sorry. I want to shorten                24     not in evidence.
25   the answer down here. The third third of the article,                 25          A.     I'm not aware of any.

                                                      Julia Whaley & Associates   214-668-5578
                                                                                                                 APPX.071
                                                                                                                Page 49 to 52 of 87
Case 4:21-cv-00033-ALM                        Document 84-2 Filed 12/20/24                              Page 74 of 132 PageID #:
                          Frank Heidlberger    5/19/21                                                  Frank Heidlberger   5/19/21
                                                          4042
                                                                      53                                                                           55
 1                        MR. ALLEN: I'm going to mark this as                   1    these schools for students and applicants, and it is a
 2   Exhibit 27.                                                                 2    small field, everybody knows everybody.
 3               (DEPOSITION EXHIBIT 27 MARKED.)                                 3              And if something goes off track, it
 4          Q.     (By Mr. Allen) Do you recognize this document,                4    immediately damages the field, and not just the field of
 5   Professor Heidlberger?                                                      5    music theory, but within the institution. And with the
 6          A.     Yes, I think so, yes.                                         6    situation -- the vulnerable situation we are in as UNT,
 7          Q.     And is this an e-mail from Benjamin Brand that                7    representing music so much on a national level. And
 8   you received on July 28th, 2020?                                            8    that is something I got very aware of as administrator
 9          A.     Yes.                                                          9    and was very much eager to protect us, just for the sake
10          Q.     And it states, "I think it would be helpful for             10     of success of our students, our current students, our
11   the two of us to have a meeting with the dean today to                    11     future students, and our junior faculty.
12   discuss what's ongoing at SMT and the possible                            12               Because by that time we had -- of our
13   reputational impact on MHTE and UNT music theory." Did                    13     eleven full-time music theorists, we have five tenure
14   I read that correctly?                                                    14     track people who were scared to death by any kind of
15          A.     Correct.                                                    15     this problematic interpretation of what is going on in
16          Q.     Did you, in fact, meet with the dean on that                16     Denton, Texas.
17   day?                                                                      17          Q.    By "problematic interpretation of what is going
18          A.     Yes.                                                        18     on in Denton, Texas," do you mean the accusations of
19          Q.     Can you explain the substance of your meeting               19     racism being leveled against Timothy Jackson,
20   with the dean on that day?                                                20     individually?
21          A.     It was an informal meeting by Zoom simply to                21          A.    Correct.
22   explain my point of view from inside the field. Both                      22          Q.    And I see that in this call to a meeting, which
23   Dr. Brand and Dr. Richmond are from outside the field,                    23     resulted in the Zoom meeting, you also attach an SMT
24   are not music theorists, and I'm very familiar with SMT                   24     announcement from July 27th, 2020. Am I correct to
25   and the persons involved in this kind of discussion.                      25     interpret this as a statement by the Society for Music

                          Frank Heidlberger    5/19/21                                                  Frank Heidlberger   5/19/21
                                                                      54                                                                           56
 1               And this is information we exchanged. This                      1    Theory, in this exhibit?
 2   was all. It was not at all discussed what the                               2         A.    Yes.
 3   consequences will be and such because that in due course                    3         Q.    Were you in communication with the individual
 4   is a matter of the higher administration and of the                         4    at the Society for Music Theory who drafted this
 5   dean.                                                                       5    statement?
 6          Q.     And was the information you discussed                         6         A.    No.
 7   summarized in your statement that we have examined as                       7         Q.    Did they contact you at any time to discuss the
 8   Exhibits 25 and 26?                                                         8    developments at the University of North Texas?
 9          A.     Yes.                                                          9         A.    No.
10          Q.     But as you just stated, there was no potential              10          Q.    How did you come to have this statement?
11   action discussed in that Zoom meeting?                                    11          A.    In the Facebook post by Ed Klorman, which must
12          A.     Correct.                                                    12     have been on this July 27th, where he outlined the case
13          Q.     What did you mean by reputational impact on the             13     kind of for the Facebook public, but also on other
14   MHTE and UNT music theory division?                                       14     public medium, and I included that in my documentation,
15          A.     Music theory is a comparatively small field,                15     one comment was from the current -- or from the back
16   particularly in the level we are playing in this field.                   16     then I think president or board member of SMT saying
17   There are probably two handfuls of institutions that                      17     exactly this, oh, we are preparing a statement. So that
18   provide Ph.Ds in music theory, which means they are                       18     was published publicly on Facebook as a comment and
19   forming the future generation of professors, and we are                   19     that's all where my knowledge comes from.
20   competing on that level with schools that are, by                         20               (DEPOSITION EXHIBIT 28 MARKED.)
21   nature, of a higher status.                                               21          Q.    (By Mr. Allen) Professor Heidlberger, do you
22               I'm talking about flagship schools, like                      22     recognize this document?
23   University of Michigan, Florida State University, and                     23          A.    Yes.
24   then even into the elite schools, like Yale and                           24          Q.    You have mentioned some of these individuals
25   University of Chicago. And we compete directly with                       25     before, but I'm referring to Nicole Biamonte and Ed

                                                          Julia Whaley & Associates   214-668-5578
                                                                                                                     APPX.072
                                                                                                                    Page 53 to 56 of 87
Case 4:21-cv-00033-ALM                   Document 84-2 Filed 12/20/24                           Page   75 of 132 PageID
                                                                                                Frank Heidlberger 5/19/21
                                                                                                                          #:
                        Frank Heidlberger  5/19/21
                                                     4043                                                                               87
                                                                85
                                                                           1    be returned within 30 days from date of receipt of the
 1   Professor Heidlberger, I've shown you Exhibit 32.
                                                                           2    transcript. If returned, the attached Changes and
 2               Do you have your own copy?
                                                                           3    Signature Page contains any changes and the reasons
 3                      MR. ALLEN: I do, but if you would                  4    therefor;
 4   characterize the exhibit to the Court, I think it would               5                X was not requested by the deponent or a
 5   help us.                                                              6    party before the completion of the deposition.
 6        Q.     (By Mr. Bohuslav) Okay. I'm showing you                   7            I further certify that I am neither attorney
 7   what's been marked as Exhibit 32. I'll represent to                   8    or counsel for, nor related to or employed by, any of the
                                                                           9    parties or attorneys to the action in which this
 8   you, it's the faculty statement in July of 2020. Is
                                                                         10     deposition was taken.
 9   that a fair characterization?
                                                                         11            Further, I am not a relative or employee of any
10        A.     Yes.                                                    12     attorney of record in this case, nor am I financially
11        Q.     Okay. When you signed this document, in July            13     interested in the outcome of the action.
12   of 2020, did you agree with all the statements it                   14             Subscribed and sworn to on this 17th day of
13   contains?                                                           15     June, 2021.
                                                                         16
14        A.     Yes.
                                                                         17                    _________________________________
15        Q.     And to this day, do you continue to agree with
                                                                                               NITA G. CULLEN, Texas CSR #1563
16   all the statements in that document?
                                                                         18                    Expiration Date: 08-31-2022
17        A.     Yes.                                                                          JULIA WHALEY & ASSOCIATES
18                      MR. BOHUSLAV: Okay. I'll pass the                19                    Firm Registration No. 436
19   witness.                                                                                      2012 Vista Crest Drive
20                      MR. ALLEN: No further questions. We can          20                    Carrollton, Texas 75007-1640
                                                                                               214.668.5578
21   close the deposition.
                                                                         21
22                      (DEPOSITION ADJOURNED AT 12:09 P.M.)
                                                                         22
23
                                                                         23
24                                                                       24
25                                                                       25
                        Frank Heidlberger   5/19/21
                                                                86
 1            IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF TEXAS
 2                    SHERMAN DIVISION
 3   TIMOTHY JACKSON,          )
                      )
 4        Plaintiff,    )
                      ) Case No.
 5   v.                )
                      ) 4:21-cv-00033-ALM
 6   LAURA WRIGHT, et al,     )
                      )
 7        Defendants.     )

 8
 9                -----------------------------------
10                       DEPOSITION CERTIFICATE
11                          FRANK HEIDLBERGER
12                            MAY 19, 2021
13                -----------------------------------
14
15       I, Nita G. Cullen, Certified Shorthand Reporter in
16   and for the State of Texas, hereby certify to the
17   following:
18       That the witness, FRANK HEIDLBERGER, was duly sworn
19   by the officer and that the transcript of the oral
20   deposition is a true record of the testimony given by
21   the witness;
22           I further certify that pursuant to FRCP Rule
23   30(f)(1) that the signature of the deponent:
24              ___ was requested by the deponent or a
25   party before the completion of the deposition and is to

                                                    Julia Whaley & Associates   214-668-5578
                                                                                                               APPX.073
                                                                                                              Page 85 to 87 of 87
Case 4:21-cv-00033-ALM   Document 84-2 Filed 12/20/24   Page 76 of 132 PageID #:
                                     4044




                                                                 APPX.074
Case 4:21-cv-00033-ALM   Document 84-2 Filed 12/20/24   Page 77 of 132 PageID #:
                                     4045




                                                                 APPX.075
Case 4:21-cv-00033-ALM   Document 84-2 Filed 12/20/24   Page 78 of 132 PageID #:
                                     4046




                                                  APPX.076
Case 4:21-cv-00033-ALM   Document 84-2 Filed 12/20/24   Page 79 of 132 PageID #:
                                     4047




                                                  APPX.077
Case 4:21-cv-00033-ALM   Document 84-2 Filed 12/20/24   Page 80 of 132 PageID #:
                                     4048

                         UNITED STATES DISTRICT COURT

                           EASTERN DISTRICT OF TEXAS

                           SHERMAN DIVISION
      TIMOTHY JACKSON,              §
                                    §
                Plaintiff,          §
                                    § Civil Action No.
      VS.                           §
                                    § 4:21-cv-00033-ALM
      LAURA WRIGHT, et al.,         §
                                    §
                Defendants.         §
                                    §


               *******************************************

                     ORAL AND VIDEOTAPED DEPOSITION OF

                            TIMOTHY JACKSON, Ph.D.

                              SEPTEMBER 24, 2024

               *******************************************


                          The Oral and Videotaped Deposition of

      TIMOTHY JACKSON, Ph.D., produced as a witness at the

      instance of the defendants, and duly sworn, was taken in

      the above-styled and numbered cause on SEPTEMBER 24,

      2024, from 9:07 a.m. to 6:22 p.m., before Nicole A.

      Hatler, CSR No. 11275 in and for the State of Texas,

      reported by machine shorthand, at the University of

      North Texas System, 801 North Texas Blvd, Gateway Suite

      308, Denton, TX 76201.



                                    ---oOo---



                                                                 APPX.078
     Case 4:21-cv-00033-ALM                  Document 84-2 Filed 12/20/24 PageJackson
                                                                     Timothy   81 of 132 -
                                                                                         PageID #:
                                                                                           9/24/2024
                                                         4049
                                                                14                                                                   16
 1   school. It's, sort of, like a vast -- it's very similar          1       Q. Sure.
 2   to Harvard.                                                      2       A. So I went to the Queens College for two years
 3       Q. Okay.                                                     3   to get a master's degree.
 4       A. So I spent three years there getting a                    4       Q. So you did get a master's degree from Queens?
 5   bachelor's degree in composition.                                5       A. Yes.
 6       Q. So you got your bachelor's degree in three                6       Q. And what was that master's degree in?
 7   years?                                                           7       A. It was in music theory, but I began in
 8       A. Yes.                                                      8   composition. I actually originally applied in
 9       Q. And then -- now, it seems that at Juilliard you           9   composition, but while I was at Queens, I studied with a
10   were more focused on piano performance --                       10   very famous -- another Schenkerian who was there by the
11       A. Right.                                                   11   name of Carl Schachter, and I realized that my real
12       Q. -- and in college, you were more focused on              12   interest was in music theory and Schenkerian theory, in
13   composition by then.                                            13   particular, so I switched.
14       A. Right.                                                   14       Q. What was it about Schenkerian theory that
15       Q. Why the shift?                                           15   attracted you?
16       A. I always wanted to be a composer, but unlike             16       A. Well, I believe that Schenker was the Einstein
17   Mozart, who was already a composer at the age of 6, I           17   of music theory and that his approach makes it possible
18   was just a pianist as a kid, all right. And I wanted to         18   to understand music in a certain way that allows us to
19   learn how to compose.                                           19   really understand what the composers were thinking when
20              So I had composed a little bit on the side,          20   they wrote the music. So what is the underlying
21   and I remember that, in order to apply to McGill, I had         21   compositional idea? What is the underlying
22   to provide a portfolio of compositions. And I did, and          22   philosophical idea behind the music? That was
23   I got in. And it was a very, very challenging program,          23   fascinating to me, so I decided that that was going to
24   I can tell you. The first day I was in classes, the             24   be my life's vocation.
25   professor sat with six students who were accepted down          25       Q. And, sort of, for a laymen who is a




                                                                15                                                                   17
 1   at a table just like this one -- and this was my very            1   nonmusician, certainly a nontheorist, how would you
 2   first day at university -- and he said, "At the end of           2   describe Schenkerian analysis in just a couple of
 3   the first year, there will be one of you sitting at this         3   sentences?
 4   table."                                                          4       A. Well, it's impossible to really describe it. I
 5              So everybody looked at everybody else like            5   mean, it's like saying how would you describe
 6   they were on a sinking ship, but I was the only                  6   Einsteinian physics in a couple of sentences, right.
 7   survivor.                                                        7   You're not going to learn it while standing on one foot,
 8       Q. And after three years, when you graduated with            8   I can tell you that. And there's an enormous learning
 9   your bachelor's, did you go into another graduate study          9   curve. It's not something that you can pick up in one
10   program or did you obtain employment somewhere?                 10   semester.
11       A. No. I -- I -- it's very hard to get a                    11              So it really is a very intricate and
12   degree -- I mean to get a job just with a bachelor's            12   technical understanding of music that requires, really,
13   degree, especially in this field. So no, I -- I thought         13   years of study with the very best teachers. And so,
14   about what I wanted to do, and I -- I decided to go to          14   some of my teachers said to me that it takes about six
15   Toronto -- University of Toronto for a year to begin a          15   years of intense study to get to the point where you're
16   master's degree.                                                16   an independent scholar in this field, and I found that
17              And I started studying Schenkerian analysis          17   to be, basically, true. So it took me about six years
18   in Toronto with a very, very amazing teacher by the name        18   of intense study before I really could feel that I knew
19   of Edward Laufer. And unfortunately, Laufer didn't have         19   something about Schenkerian analysis. And I'm still
20   his doctorate, so he wasn't allowed to teach graduate           20   learning, actually.
21   courses. So I studied surreptitiously with him. And             21       Q. So -- so is it fair to say that, in your
22   that's when I decided, with his help, to apply to go to         22   understanding, Schenkerian analysis is -- is really not
23   Queens College in New York City.                                23   something that -- that the average person could
24              And that's when I -- I went, basically.              24   understand until they studied it for a long time?
25   That's when I immigrated from Canada, sort of, de facto.        25       A. Right.




                                   Integrity Legal Support Solutions
                                       www.integritylegal.support                                               APPX.079
      Case 4:21-cv-00033-ALM                   Document 84-2 Filed 12/20/24                       Page 82 of 132 PageID #:
                                                           4050
                                                                18                                                                   20
 1       Q. Okay.                                                     1       A. So I spent a year there and then I went back to
 2       A. That's true. It's like quantum mechanics. You             2   New York to finish my doctorate and wrap up everything.
 3   know, you can't just walk off the street and understand          3   I've oversimplified a little bit because I commuted
 4   it.                                                              4   sometimes between New York and Germany.
 5       Q. So after you graduated with your master's at              5       Q. Sure.
 6   Queens, did you pursue any other education or did you            6       A. But I finished my doctoral degree at CUNY, and
 7   pursue employment?                                               7   while I was in Germany doing my doctoral research, I was
 8       A. No. I was still not ready for the job market.             8   already thinking that I'd like to -- to go back to
 9   So I continued into the graduate center at CUNY, which           9   Europe, but this time I wanted to go to Austria. And
10   is their doctoral program in music theory. And also             10   so, what I did was I had spied out manuscripts for Anton
11   after spending two -- doing two years of course work            11   Bruckner, another well-known 19-century composer, and I
12   there, I decided that I wanted to write my dissertation         12   had come up with a research project based on Bruckner.
13   on the composer Richard Strauss, who was a famous German        13   And so, I applied for another year, but this time from
14   composer, and also that I wanted to study in Europe             14   the Austrian government, to spend a year looking at
15   because I felt that the American system -- or American          15   Bruckner manuscripts.
16   education system, as wonderful as it was, didn't offer a        16             So I was very lucky to win that, and I
17   full perspective on German music, and that was my main          17   spent a year in Vienna. And that was a very wonderful
18   interest.                                                       18   year, because by that time, my German was getting
19             So I decided to go to Bavaria in Germany,             19   better, really pretty good. And that was good because
20   and I got a scholarship from the -- it's called the             20   Austria speaks a slightly different German than --
21   German Academic Exchange Fellowship Program. And the            21   than -- than Germany does. They have a -- it's almost
22   scholarship allowed me to go to Munich. I lived in the          22   like Texas, but even more so.
23   Olympic village, that -- they took the little houses            23             So if people from Germany, especially
24   that were made for the athletes and converted them into         24   northern Germany, hear Austrians speaking, the
25   student housing. So I lived there for a year.                   25   difference is even bigger than people, let's say, from




                                                                19                                                                   21
 1             And at the same time, I -- I took a                    1   Boston coming down here and hearing a Texas accent.
 2   course -- or courses at the Bavarian Academy of Arts and         2   It's quite different, and my ears became attuned to
 3   Sciences, and I also pursued my research for my                  3   Austrian dialect and to Viennese dialect, which is quite
 4   dissertation in Garmisch-Partenkirchen, in Richard               4   different. And so, that was good -- so I could navigate
 5   Strauss' personal house. I -- I had made arrangements            5   my way through Austria.
 6   to study there. And so, I actually had the great                 6              And it was a very, very wonderful
 7   privilege of working at his desk and going through his           7   experience for me, I have to say. I -- I didn't just
 8   private papers for my dissertation.                              8   look at Bruckner there. I did a lot of things. And I
 9       Q. And just for the record, is it fair to say that           9   traveled also. I went to the communist part of Europe
10   Richard Strauss was a German composer from the romantic         10   because Europe was still communist at that time. And I
11   era?                                                            11   went to Poland and looked at manuscripts there and so
12       A. Well, he -- he died in 1948, but some people             12   forth.
13   talk about the long 19th century. He was, basically,            13              And then I went back to Canada and I taught
14   a -- some people saw him as a relic of the 19th century,        14   for a year at the University of Toronto. My mentor,
15   but I thought he was very interesting and worthy of             15   Edward Laufer, helped me win another grant, which was a
16   study. So that's why I wrote my dissertation on his             16   teaching and research grant. So I taught part-time at
17   last work.                                                      17   the university and I worked on my project -- on my
18       Q. So would you classify Richard Strauss as                 18   Bruckner project.
19   romantic or post romantic?                                      19        Q. And when --
20       A. Post romantic would be good. That's a good               20        A. And then in 1998 -- no. Sorry earlier than
21   point, yeah.                                                    21   that. 1994 or '3. I can't remember now exact time, but
22       Q. Okay. Okay. And it's your understanding he               22   I got my first job, finally.
23   was a German composer?                                          23        Q. Okay. What year was it that you earned your
24       A. Oh, yes.                                                 24   doctorate degree?
25       Q. All right. How long did you study in Munich?             25        A. 1988.




                                     Integrity Legal Support Solutions
                                         www.integritylegal.support                                              APPX.080
     Case 4:21-cv-00033-ALM                  Document 84-2 Filed 12/20/24 PageJackson
                                                                     Timothy   83 of 132 -
                                                                                         PageID #:
                                                                                           9/24/2024
                                                         4051
                                                                167                                                                   169
 1   got to listen -- just because you're a student, you got           1   let's say you were asking about how did they know where
 2   to do what we say. That -- that wasn't the atmosphere.            2   to send their things out for review. So when we had our
 3       Q. Do you recall any instances where a student                3   meetings, we would brainstorm, this article is probably
 4   editor wanted to publish -- wanted to accept for                  4   good for these readers. And they, basically, learned
 5   publication a submission where you or Professor Slottow           5   how to do it on the job. They didn't have like a code
 6   disagreed?                                                        6   of conduct or a code of rule book.
 7       A. No. Except for that one case which I                       7               We didn't have a rule book that said, you
 8   mentioned, the David Beech situation.                             8   know, now you must do this, now you must do that. But
 9       Q. I see.                                                     9   we -- that was our job. Our job, like Slottow and me,
10              And was that an example of where a student            10   was to supervise and make sure that things went well in
11   editor was going to reject it, but you asked them to --          11   terms of the protocols.
12       A. Right.                                                    12        Q. Who chose the editorial board members?
13       Q. -- to wait?                                               13        A. Well, Slottow and I did it at the very outset,
14              Okay. Let me flip the -- the previous                 14   when we -- when we set up the journal. And then over
15   question and ask it the other way. Are you aware of any          15   the years -- over the 20 years that we published the
16   instances other than that where a student editor was             16   journal, some people died and other people were added.
17   inclined to reject a submission for publication but you          17        Q. So when a -- when someone was appointed to --
18   or Dr. Slottow disagreed with that?                              18   accepted the invitation to serve on the editorial board
19       A. No.                                                       19   for the JSS, were there any term limits on that?
20       Q. Okay. For submissions that were going to be               20        A. No.
21   published as peer reviewed submissions in the JSS, who           21        Q. Was there ever any period of reevaluation?
22   decided how many reviewers to put on an article and who          22        A. Not really. The -- we thought, though, that it
23   those reviewers were going to be?                                23   was -- it was too big. After a while it -- we decided
24       A. Usually that was the student editors who were             24   it that it was too big, and I think our intention was to
25   doing that, and they were receiving the comments, not me         25   prune it down. But we didn't really do that.




                                                                168                                                                   170
 1   or Slottow. I think that in a few cases where there               1      Q. Who decided it was too big?
 2   were -- we weren't sure, that we looked at the comments,          2      A. Well, we, kind of, selectively felt that way,
 3   all of us. But usually it was pretty clear cut.                   3   especially Slottow seemed to think it was too big. I
 4       Q. The student editors, would they send -- would              4   really didn't mind one way or the other because I think
 5   they send submissions to other members of the editorial           5   that the more people you have, the better because you
 6   board for peer review?                                            6   can have more specialties.
 7       A. Uh-huh. If it was appropriate.                             7      Q. How many -- well, was there ever anyone who
 8       Q. I see.                                                     8   asked or chose to leave or resign from the editorial
 9       A. In other words, if it was in their sphere of               9   board?
10   interest.                                                        10      A. After the appearance of the Ewell symposium, if
11       Q. Sure.                                                     11   we want to call it that, I received -- I think two or
12       A. That was the preferred thing.                             12   three people wrote in saying they wanted to resign.
13       Q. Are you aware of -- of when articles would be             13      Q. And about how many editors were on the board at
14   peer reviewed by reviewers that were not on the                  14   that time?
15   editorial board of the JSS?                                      15      A. Well, it wasn't editors. These were on the
16       A. There were has a few cases, I think, where that           16   editorial board -- they were like the advisory board.
17   happened because we didn't have anybody on the board who         17   Yeah.
18   was a specialist in that particular field. So I'm                18      Q. Excuse me.
19   pretty sure that in one or two cases, people were asked          19      A. Yeah.
20   to review things who weren't on the board officially.            20      Q. How many people were on the editorial board at
21       Q. Sure. How did the student editors know,                   21   that time?
22   basically, how to do their job?                                  22      A. So you mean me, Slottow, or -- Lavi Wells and
23             Were there -- were there some sort of                  23   Benjamin Grand -- Benjamin Graf -- I mean. I'm sorry --
24   written procedures for them to follow?                           24   Benjamin Graf.
25       A. Not really. We -- we supervised them. So                  25      Q. And what was the --




                                   Integrity Legal Support Solutions
                                       www.integritylegal.support                                              APPX.081
       Case 4:21-cv-00033-ALM                     Document 84-2 Filed 12/20/24                      Page 84 of 132 PageID #:
                                                              4052
                                                                195                                                                   197
 1   thought about it, the more I thought that in the -- in            1   but also -- yeah, as neutral and properly focused as
 2   the speaking of -- in the spirit of dialectics, which I           2   possible. So that it would attract pros and cons.
 3   consider essential for all serious scholarship, there             3      Q. Do you recall any specific edits or suggestions
 4   should be pros and cons.                                          4   that you suggested that call that were not incorporated?
 5             So I thought that it wasn't be great if I               5      A. I think there was a few, but you know what? I
 6   just contacted the cons, but that we would send out a             6   wasn't going to quibble about it.
 7   general call for contributions to the symposium, and              7      Q. Do you recall what they were?
 8   that would enable people who were in favor of Ewell's             8      A. No.
 9   talk and his points and his point of view, and that we            9      Q. Okay.
10   would publish both without censorship and let the public         10      A. We just -- I just -- I remember saying to
11   decide. Because I'm of the view more speech is better            11   myself, well, maybe this isn't quite what we should do,
12   is the way to get to the truth, not censoring people.            12   but let's let it go. Let -- let -- let the chips fall
13       Q. And how was it determined whether those                   13   where they may.
14   responses would or would not be peer reviewed?                   14      Q. Had you discussed the idea of publishing
15       A. Well, we -- we weren't -- you see, we were                15   responses to Ewell's address with any Schenkerian
16   asking for people to respond in a sense of not writing           16   scholars before that call went out?
17   an article about it -- not writing a peer reviewed               17      A. Yes.
18   article about it, but just expressing their opinions             18      Q. Who had you discussed it with?
19   about Ewell's thesis because it was really quite                 19      A. Oh, a whole bunch of people. A whole group of
20   controversial, and that was the spirit of the call.              20   scholars.
21       Q. I see.                                                    21      Q. And was that through one-on-one contact with
22             Do you recall having any conversations with            22   them --
23   Mr. Walls about whether these responses would be peer            23      A. Yes.
24   reviewed?                                                        24      Q. -- or was it through a group communication?
25       A. No.                                                       25      A. No, it was through one-on-one.




                                                                196                                                                   198
 1       Q. Okay. Do you recall Dr. Slottow ever                       1       Q. And did --
 2   mentioning the idea of peer reviewing them?                       2       A. And, you see, what happened was that -- that
 3       A. No.                                                        3   was the initial plan, was to, in fact, ask the
 4       Q. Who -- when you refer to the call, are you                 4   Schenkerian scholars what they thought. And then I --
 5   referring to the written call for submissions that was            5   in the course of doing that, I recognized that that was
 6   sent out through the SMT list serve?                              6   unfair. I thought that was unfair. So that's when I
 7       A. Yes.                                                       7   felt that we should really branch out and -- and issue
 8       Q. Who drafted that call?                                     8   the call through the SMT for all sundry to respond.
 9       A. Not me. It was drafted I think by other                    9       Q. Before the SMT call went out, had you discussed
10   people. Probably by Ben Graf and Levy Walls, and                 10   this idea of responses with anyone who was sympathetic?
11   maybe -- we had input in it. We -- we they began with            11       A. I don't know who was sympathetic exactly,
12   the draft, and then Dr. Slottow and I gave our two cents         12   really. I didn't have any idea, and I still don't
13   worth. I don't believe they took all of our                      13   because not all the Schenkerians that I contacted wanted
14   suggestions, but they basically sent it out having               14   to submit responses. So some of them may well be
15   absorbed some thoughts from us and from other faculty,           15   sympathetic.
16   actually.                                                        16       Q. You just don't know?
17             I -- I wanted to -- because I knew this                17       A. I can guess a few of them, but I'm not sure.
18   would be controversial, although I never had any inkling         18   But they declined.
19   of how controversy it would be, I wanted to consult all          19       Q. So you don't know what their response would
20   the faculty in the music theory area who had any                 20   have been had they agreed to write one?
21   experience with Schenkerian analysis. And so I asked             21       A. I'm not a prophet. No.
22   Diego Cubero and Olga, who calls herself Ellen,                  22       Q. All right.
23   Velikanova for their input. And also we asked some               23       A. But once we decided to go with the call, I felt
24   other people in the faculty for their input into the             24   very comfortable about the whole thing because I thought
25   call and how to frame it so that it would be as neutral          25   it was fair. In other words, I thought that once we had




                                        Integrity Legal Support Solutions
                                            www.integritylegal.support                                              APPX.082
      Case 4:21-cv-00033-ALM                     Document 84-2 Filed 12/20/24                      Page 85 of 132 PageID #:
                                                             4053
                                                                259                                                                   261
 1   conversations to base that on?                                    1   this point, if I'm not mistaken, it wasn't clear that
 2       A. No.                                                        2   they were actually going to shut the journal down. That
 3       Q. Okay.                                                      3   was made clear later by Dr. Brand.
 4       A. Because the dean never consulted me before                 4       Q. And how did Dr. Brand communicate that?
 5   issuing that statement.                                           5       A. He communicated it in writing as well as
 6       Q. And just for the record, do you have any                   6   verbally. So in one of our legal documents here we
 7   specific document to support that belief?                         7   actually quoted Dr. Brand's statement saying that I was
 8              MR. ALLEN: Objection.                                  8   no longer going to be connected to the journal in any
 9              THE WITNESS: No, I don't. I don't think                9   way, shape, or form because of my editorial malpractice,
10   so. I have the dean's statement, which I received along          10   if you will, and that that was a decision that had been,
11   with all the other people in the school of music.                11   obviously, taken by the administration.
12       Q. BY MR. WALTON: Similar question for -- I'll               12       Q. You took Dr. Brand's e-mail to mean that that
13   just say for the dean statement, but the decision by the         13   was already a hard and fast decision?
14   university, whoever made the decision to institute this          14       A. Yes, it was expressed in that manner.
15   ad hoc review panel, did anyone ever tell you that that          15       Q. And did you have any --
16   was done in response to the student statement or the             16       A. That I was removed from the journal.
17   faculty statement?                                               17       Q. And did you ever hear any or see any statement
18       A. I don't think it was explicitly indicated in              18   from Dr. Brand that -- that a decision had been made not
19   the document, although I can't remember that for sure.           19   simply to remove you, but to shut the whole journal
20   In other words, nobody came and said, okay, because of           20   down?
21   these publicized statements, we are going to create the          21       A. No. I did not receive such a statement. It
22   ad hoc committee to do this investigation.                       22   seemed like they wanted to hire a new editor, which was
23              But what happened was that the students and           23   what they tried to do.
24   faculty called for such a committee, and the                     24       Q. Okay. After you got that e-mail from Dr. Brand
25   administration succeeded to that demand and did call the         25   about your ongoing involvement in the journal that you




                                                                260                                                                   262
 1   committee into effect. So could I say that there's a              1   just described, did you attempt to have any further
 2   kind of logic there between the call for the                      2   conversation with him about that?
 3   investigation and the issuing of the promise to -- to             3       A. No.
 4   have an investigation and then the actual investigation?          4       Q. Why not?
 5   It would seem like there is a connection, you know.               5       A. It seemed like -- I mean, it didn't just seem
 6       Q. And I'm just asking, in addition to what you've            6   like it. A decision was taken. What -- what would I
 7   just described, are there any specific conversations or           7   have gone to see him about?
 8   documents that you believe exist that make that                   8             MR. WALTON: Let's go ahead and go off the
 9   connection explicit?                                              9   record and take a break.
10             MR. ALLEN: Objection.                                  10             MR. ALLEN: Okay.
11             THE WITNESS: I don't know of those because             11             THE VIDEOGRAPHER: We're off the record at
12   the Dean never contacted me --                                   12   5:17 p.m.
13       Q. BY MR. WALTON: Okay.                                      13      (A recess was held from 5:17 p.m. to 5:33 p.m.)
14       A. -- to ask me about anything.                              14             THE VIDEOGRAPHER: We're back on the record
15       Q. When you got the -- when you saw the report               15   at 5:33 p.m.
16   from the panel --                                                16       Q. BY MR. WALTON: Dr. Jackson, we're back after a
17       A. Yes.                                                      17   break. Are you ready to proceed?
18       Q. -- did you have any conversations with anyone             18       A. Ready.
19   about whether or how to implement the recommendations in         19       Q. If you look at Exhibit 3, the ad hoc review
20   that report?                                                     20   panel report, and you flip back to Exhibit 3 -- to the
21       A. Yes.                                                      21   Exhibit 3.
22       Q. What were those conversations?                            22       A. Wait a second. I'm confused.
23       A. Well, I -- I actually talked with various                 23       Q. Page 189.
24   people about the -- the recommendations for the journal          24       A. Oh, here. Yes, yes.
25   going forward on, because it wasn't clear that -- at             25       Q. And this is the -- this is a version of a




                                       Integrity Legal Support Solutions
                                           www.integritylegal.support                                              APPX.083
     Case 4:21-cv-00033-ALM                        Document 84-2 Filed 12/20/24 PageJackson
                                                                           Timothy   86 of 132 -
                                                                                               PageID #:
                                                                                                 9/24/2024
                                                               4054
                                                                295                                                                   297
 1     I, TIMOTHY JACKSON, Ph.D., have read the foregoing              1   November 16, 2024;
 2 deposition and hereby affix my signature that same is               2          I further certify that pursuant to FRCP Rule
                                                                       3   30(f)(1) that the signature of the deponent:
 3 true and correct, except as noted above.
                                                                       4          __X__ was requested by the deponent or a part
 4
                                                                       5   before the completion of the deposition and that the
 5                                                                     6   signature is to be before any notary public and returned
 6             _______________________________                         7   within 30 days from the date of receipt of the
               TIMOTHY JACKSON, Ph.D.                                  8   transcript. If returned, the attached Changes and
 7                                                                     9   Signature Page contains any changes and the reasons
 8 THE STATE OF ______________)                                       10   therefore:
                                                                      11          ______ was not requested by the deponent or a
 9 COUNTY OF _________________)
                                                                      12   part before the completion of the deposition.
10     Before me ___________________ on this day
                                                                      13          I further certify I am neither counsel for,
11 personally appeared TIMOTHY JACKSON, Ph.D., known to me            14   related to, nor employed by any of the parties or
12 (or proved to me under the oath or through                         15   attorneys in the action in which this proceeding was
13 ___________________) (description of identity card or              16   taken, and further that I am not financially or
14 other document) to be the person whose name is                     17   otherwise interested in the outcome of the action.
15 subscribed to the foregoing instrument and acknowledged            18          Certified to by me this 17th day of OCTOBER,
                                                                      19   2024.
16 to me that they executed the same for the purposes and
                                                                      20
17 consideration therein expressed.
                                                                      21
18     Given under my hand and seal of office this                    22                 _________________________________
19 _______ day of __________________, 2024.                                              Nicole A. Hatler, Texas CSR 11275
20                                                                    23                 Expiration Date: 11/30/24
21                                                                                       Integrity Legal Support Solutions
22             _______________________________                        24                 9901 Brodie Ln., #160-400
                                                                                         Austin, TX 78748
               NOTARY PUBLIC IN AND FOR
                                                                      25                 (512) 320-8609
23
                                                                                         www.integritylegal.support
24             THE STATE OF __________________
25


                                                                296
1          UNITED STATES DISTRICT COURT
2           EASTERN DISTRICT OF TEXAS
3              SHERMAN DIVISION
       TIMOTHY JACKSON,           §
4                    §
           Plaintiff, §
5                    § Civil Action No.
          VS.          §
6                    § 4:21-cv-00033-ALM
      LAURA WRIGHT, et al., §
7                    §
           Defendants. §
 8                   §
 9
10           REPORTER'S CERTIFICATION
11             ORAL AND VIDEOTAPED
12         DEPOSITION OF TIMOTHY JACKSON, Ph.D.
13             SEPTEMBER 24, 2024
14
15          I, Nicole A. Hatler, Certified Shorthand
16   Reporter No. 11275 in and for the State of Texas, hereby
17   certify to the following:
18          That the witness, TIMOTHY JACKSON, Ph.D., was
19   duly sworn by the officer and that the transcript of the
20   oral deposition is a true record of the testimony given
21   by the witness;
22          That the original deposition transcript was
23   delivered to October 17, 2024;
24          That the copy of this certificate was served
25   on all parties and/or the witness shown herein on




                                        Integrity Legal Support Solutions
                                            www.integritylegal.support                                                APPX.084
Case 4:21-cv-00033-ALM   Document 84-2 Filed 12/20/24   Page 87 of 132 PageID #:
                                     4055

                    THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF TEXAS
                            SHERMAN DIVISION

      TIMOTHY JACKSON,                    )
                                          )
                         Plaintiff,       )
                                          )
      VS.                                 ) CIVIL ACTION
                                          )
      LAURA WRIGHT, ET AL.                ) NO.: 4:21-cv-00033-ALM
                                          )
                         Defendants.      )
                                          )
                                          )

                   -----------------------------------

                    ORAL AND VIDEOTAPED DEPOSITION OF

                           STEPHEN SLOTTOW, PhD

                              NOVEMBER 7, 2024

                   -----------------------------------

              ORAL AND VIDEOTAPED DEPOSITION OF STEPHEN

      SLOTTOW, PhD, produced as a witness at the instance

      of the DEFENDANTS, and duly sworn, was taken in the

      above-styled and numbered cause on November 7, 2024,

      from 8:31 a.m. to 4:41 p.m., via Zoom teleconference

      before Vanessa J. Theisen, CSR in and for the State

      of Texas, and RPR, reported by machine shorthand, at

      the University of North Texas System, 801 North Texas

      Boulevard, Gateway Suite #340, Denton, Texas 76201,

      pursuant to the Federal Rules of Civil Procedure and

      any provisions stated on the record or attached

      hereto.



                                                                 APPX.085
      Case 4:21-cv-00033-ALM                     Document 84-2 Filed 12/20/24                  Page 88 of 132 PageID #:
                                                             4056
                                                             26                                                               28
 1   opportunity given for a response.                             1       Q. Do you think the college's reputation was
 2             Usually at a plenary address there's                2   damaged by the journal?
 3   some room for questions and responses afterwards.             3       A. I don't know. If music theory -- the
 4   But this plenary address, since he was one of, I              4   division of music history and ethnomusicology, they
 5   think, three or four people who was talking on                5   were certainly on the receiving end of a lot of
 6   different topics, there were no question-and-answer           6   disapproval, so they certainly thought they were.
 7   periods.                                                      7   Perhaps their reputation was damaged by those who
 8             And then, very unusually, there was                 8   were outraged that we would criticize Philip Ewell's
 9   no -- there were no articles. There was no response           9   opinions.
10   in the journals. There was nothing. There was no             10       Q. Who are you talking about when you say, "by
11   opportunity to give any response. So the Journal of          11   those who were outraged that you would criticize
12   Schenkerian Studies decided that we would post a             12   Philip Ewell's opinions"?
13   response and solicit articles from music theorists,          13       A. Music theorists, musicologists, people
14   including us, Dr. Jackson and myself, whoever wanted         14   like -- people like -- people who would -- wrote
15   to respond.                                                  15   blogs on music.
16             This led to -- we were -- since Ewell              16             If you look on YouTube, there is an
17   was accusing Heinrich Schenker of being a racist and         17   awful lot of support for Ewell's views, and, mixed
18   that his racism was affecting his music theory,              18   with that, would be attacks on Dr. Jackson, to some
19   therefore, he was promulgating a racist music theory,        19   extent me, and sort of by reflection, on the music
20   and it was certainly the kiss of death to be in any          20   theory department of UNT -- not department -- area,
21   way associated with racism, the school was terribly,         21   yes. It was a big kerfuffle, yes.
22   terribly embarrassed and then afraid of bad publicity        22       Q. And so was this coming from outside of UNT,
23   and reacted to that. That's what I mean.                     23   inside of UNT?
24       Q. Who at the school was -- reacted, as you              24       A. Well, it was certainly coming from outside
25   say?                                                         25   of UNT, but it was coming from inside UNT also,




                                                             27                                                               29
 1       A. Well, I know that Dr. Brand did and the dean           1   because a petition was put together by the majority
 2   did. And beyond that, I don't know for certain.               2   of UNT -- well, of faculty of the division of music
 3       Q. How do you know that Dr. Brand and the dean            3   history, music theory, and ethnomusicology
 4   did?                                                          4   attacking -- and also a separate petition by GAMuT,
 5       A. Because it was -- as I said, it was                    5   which is a graduate student organization of the
 6   Dr. Brand, with consultation from the dean, who told          6   division, attacking the -- criticizing the journal
 7   us that we would no longer be handling the journal            7   and criticizing Dr. Jackson, in particular, of
 8   and the center.                                               8   essentially being a racist. And I think the student
 9       Q. He told you that?                                      9   petition demanded his ouster from the university.
10       A. Well, he told Tim -- he told Dr. Jackson              10             And a lot of the music theory facul --
11   that, I think. I don't think he told me directly,            11   the music theory and history -- well, the faculty of
12   and I got it from Dr. Jackson, certainly.                    12   the division signed this -- not everyone did. And
13       Q. Okay. So you said Dr. Brand and the dean at           13   all of those people are now defendants in
14   the time. Was the dean John Richmond by chance?              14   Dr. Jackson's suit. Well, all of the faculty and one
15       A. I don't -- I'm not sure if the dean -- if it          15   student who's no longer a student at UNT. She's at
16   was Richmond or Scott. I -- for some reason I think          16   Yale.
17   it was Richmond, but I'm not entirely sure. I think          17       Q. Uh-huh.
18   it was John Richmond.                                        18       A. What was the question?
19       Q. Do you think they had reason to be                    19       Q. I'm sorry, I don't recall either.
20   embarrassed?                                                 20             MS. QUIMBY: Court reporter, could you
21       A. Well, administrators are always terribly              21   please read it back?
22   concerned with the reputation of their programs and          22             THE REPORTER: Yes, give me just a
23   the schools, and they're very sensitive to bad               23   second.
24   publicity, so they probably did. We were certainly           24             MS. QUIMBY: Yes, thank you.
25   getting plenty of bad publicity.                             25             THE REPORTER: "And so was this coming




                                       Integrity Legal Support Solutions
                                           www.integritylegal.support                                          APPX.086
      Case 4:21-cv-00033-ALM                     Document 84-2 Filed 12/20/24                  Page 89 of 132 PageID #:
                                                             4057
                                                             34                                                               36
 1   silence for a long time -- after Ewell's SMT address          1   an Exhibit 1, so let's mark that as Exhibit 2.
 2   and the article based on it that appeared in Music            2              MS. QUIMBY: I'm sorry, this will be
 3   Theory Online, and I think the actual address he gave         3   Exhibit 2.
 4   verbatim also appeared in, I think, Music Theory              4              MR. ALLEN: Exhibit 2, right? Exhibit 1
 5   Spectrum. I'm not sure which one appeared in which.           5   is the full --
 6       Q. Did that -- did the verbatim publishing of             6              MS. QUIMBY: You can hang onto that.
 7   his speech and the publishing of his paper occur              7              MR. ALLEN: -- print copy of the Volume
 8   before or after Volume 12 was published?                      8   12.
 9       A. I think it occurred after. We had a                    9              THE WITNESS: You might want to change
10   recording of the speech, and we transcribed the              10   the number.
11   recording and were responding to that.                       11              MS. QUIMBY: Actually, the Exhibit 1, is
12             Somewhere along the line an article                12   that the full volume?
13   based and expanding his SMT talk appeared in either          13              MR. ALLEN: Which he referred to in the
14   Journal -- either Music Theory Spectrum or Music             14   course of the deposition, yes.
15   Theory Online. I don't think that was out -- I don't         15              (Exhibit 2 marked.)
16   think that was published yet when this came out, but         16       Q. (BY MS. QUIMBY) Dr. Slottow, I'll have you
17   I might be wrong. Yeah.                                      17   just take a look at that while I'm putting this in
18       Q. When you published Volume 12, were you aware          18   the Zoom chat.
19   that those were forthcoming?                                 19       A. Okay.
20       A. I was aware that there was an article                 20              MS. QUIMBY: Mike, do you see that there
21   expanding the talk that was forthcoming, yes.                21   in the chat?
22       Q. Did you consider waiting until that was               22              MR. ALLEN: I just did get it, yep.
23   published to publish the responses to his talk?              23              MS. QUIMBY: Would you prefer that I
24       A. We might have, but I don't think we                   24   also share -- I don't know -- now I'm getting
25   considered it very much. We felt that some sort of a         25   feedback.




                                                             35                                                               37
 1   response to the talk, which was -- I mean, it's the           1              MR. ALLEN: We just got an echo. Did
 2   main -- it's the annual meeting of the major                  2   you hear that?
 3   professional society for music theory with a huge             3              MS. QUIMBY: Yeah, for some reason my
 4   attendance and huge publicity. It had been followed           4   laptop audio turned on.
 5   by this very strange vacuum of no response. I think           5              MR. ALLEN: So this will be Exhibit 2,
 6   we felt that it was more important to have some               6   sorry, for the record?
 7   response out there. At least that's my recollection.          7              MS. QUIMBY: Yes. Are you okay to just
 8       Q. Okay. Back to the student who has been sued            8   view it -- download it and pull it up that way?
 9   in this lawsuit, Rachel Gain. Do you know her?                9              MR. ALLEN: Yes, that's perfectly fine.
10       A. Not well. She was a student in a class of             10   I can see it here, yeah.
11   mine. Well, I didn't know her personally outside of          11              MS. QUIMBY: Okay.
12   that.                                                        12       Q. (BY MS. QUIMBY) Okay, Dr. Slottow. Have
13       Q. Okay. If you will bear with me a moment, I            13   you had a chance to look at this?
14   have an exhibit I want to show you. It is part of            14       A. Yeah.
15   the Journal of Schenkerian Studies, which you have           15       Q. What is it?
16   there in front of you.                                       16       A. Well, it's the list of -- the first page is
17             MR. ALLEN: Is it part of Volume 12?                17   a list of the editorial board, the editor, assistant
18             MS. QUIMBY: Yes, I'm sorry.                        18   editor, advisory board. The second is information
19             MR. ALLEN: Uh-huh.                                 19   about the journal with phone numbers and addresses
20             MS. QUIMBY: Okay. I'm marking this as              20   and fax numbers. Then there is the table of
21   Exhibit 1, and I'll share that with you momentarily,         21   contents. That's it.
22   Mike, in the chat.                                           22       Q. Okay. And to your understanding, this is
23             MR. ALLEN: I'm not trying to hasten the            23   from Volume 12, correct?
24   process.                                                     24       A. Yes.
25             THE REPORTER: I think we already have              25       Q. Okay. So you're listed there both on the




                                       Integrity Legal Support Solutions
                                           www.integritylegal.support                                          APPX.087
     Case 4:21-cv-00033-ALM                  Document 84-2 Filed 12/20/24
                                                              Stephen      Page 90
                                                                       Slattow,    of 132 -
                                                                                 Ph.D.    PageID #:
                                                                                            11/7/2024
                                                         4058
                                                             38                                                                40
 1   editorial board and as the -- part of the advisory            1       A. No, no. Even though I was officially listed
 2   board, correct?                                               2   as codirector, something like that. I think -- I
 3       A. I seem to be, yes.                                     3   think in reality Dr. Jackson was the motive force and
 4       Q. Can you explain to me the -- your role on              4   the main director of the center. I mean, it was his
 5   the editorial board first?                                    5   project from the start.
 6       A. Well, the editorial board was just a whole             6       Q. Uh-huh.
 7   group of mainly prominent Schenkerian scholars,               7       A. So I viewed myself as sort of -- my role was
 8   who -- they didn't do much. They weren't consulted            8   secondary to his.
 9   much. But they were there to -- they could provide            9       Q. And I think you described earlier that the
10   some responses to the direction and actions of the           10   center or at least the journal was created about the
11   journal. They were partly there for prestige. I'm            11   time that you started?
12   not sure why I'm on there, actually.                         12       A. Yeah, because Volume 1 -- I was involved in
13             That's some of the people there, such as           13   Volume 1, so I think they had the idea of the
14   L. Poundie Burstein, Allen Cadwallader, David Beach,         14   journal, and part of my role was to help make it
15   Charles Burkhart, Carl Schachter were very prominent         15   real.
16   -- were and are very prominent scholars. The                 16       Q. Uh-huh. Did Dr. Jackson create both the
17   advisory board are people who were actually in charge        17   center and the journal?
18   of the journal.                                              18       A. Well, he certainly created the center. I
19       Q. Okay. I'm going to ask you more about that            19   mean, because it was already there --
20   in a moment. But you said the editorial board, they          20       Q. Uh-huh.
21   weren't consulted on much. Were they consulted at            21       A. -- when I came in. The journal was an idea
22   all?                                                         22   that was to be one of the activities of the center.
23       A. Well, they certainly weighed in after Volume          23   But it -- it had not been actualized.
24   12 came out. In fact, a number of them resigned.             24       Q. Okay. How and when did it become
25       Q. Do you recall who resigned?                           25   actualized, if you recall?




                                                             39                                                                41
 1       A. L. Poundie Burstein resigned --                        1       A. Well, it would have been shortly after I
 2       Q. Uh-huh.                                                2   joined. So that would probably be around 2002, 2003.
 3       A. -- for sure. Frank Samarotto resigned.                 3   I don't know what date the first volume came out. I
 4   Diego Cubero probably resigned. Ellen Bakulina, I             4   have it at home, but I didn't think to bring it.
 5   think, resigned. Mark Anson-Cartwright may have done          5              Actually, I should be able to tell you.
 6   so, yes.                                                      6   That's interesting. Volume 1 actually came out in
 7       Q. What were they -- so they weren't -- so you            7   fall 2005. So it was later than I thought.
 8   said they were consulted after Volume 12 was                  8       Q. Okay. Back to this Exhibit 2 here. Can you
 9   published, correct?                                           9   describe your role as an advisory board member?
10       A. Well, they weren't --                                 10       A. It's hard to remember specifics after some
11       Q. Or they weighed in, I think you said.                 11   years. I was -- I was involved in decisions of the
12       A. They weighed in.                                      12   center. For instance, the decision to -- I was
13             THE REPORTER: Okay. Hang on. I can't               13   certainly involved in soliciting articles and reviews
14   get your answer and -- okay.                                 14   for the journal. I was certainly involved in the
15             THE WITNESS: What?                                 15   idea of putting together a Ewell, Philip Ewell,
16             MS. QUIMBY: We were talking over each              16   special edition.
17   other, so the court reporter is just reminding us to         17              I was involved in policy. Since I had
18   not do that. That's my fault. Thank you.                     18   entered UNT, part of my job was to do with the
19       A. They weighed in.                                      19   center, specifically with the journal. I was
20       Q. (BY MS. QUIMBY) Okay.                                 20   probably more involved in things that -- issues
21       A. Now, I don't know whether Dr. Jackson                 21   having to do with the journal than, say, putting on
22   consulted with them about the idea of soliciting             22   concerts or making CDs. Dr. Jackson tended to be
23   articles in response to Ewell's address or not. I            23   much more involved in those than I was.
24   can't recall.                                                24       Q. The concerts and the CDs?
25       Q. Did you consult with them?                            25       A. Yeah.




                                   Integrity Legal Support Solutions
                                       www.integritylegal.support                                           APPX.088
      Case 4:21-cv-00033-ALM                    Document 84-2 Filed 12/20/24                  Page 91 of 132 PageID #:
                                                            4059
                                                             74                                                                76
 1       Q. -- responses?                                          1   like musicology plus anthropology. So there are
 2       A. No, no.                                                2   anthropologically-oriented ethnomusicologists and --
 3       Q. Did you read them at the time?                         3   well, most of them are, and some which are more music
 4       A. No, I looked -- you know, I would -- some of           4   theory, musicology oriented. But the subject matter
 5   them I read completely. Some of them I just sort of           5   tends to be different from music theory and
 6   browsed through. Some of them were very short. Some           6   musicology, per se.
 7   are much longer.                                              7             But all this is getting blurred because
 8       Q. Was it expected or were you expected to read           8   you find music theorists doing nonwestern music or
 9   all of them before the volume was published?                  9   nonwestern classical music. So all these boundaries
10       A. It was expected that I look at them. I'm              10   are -- have shifted quite a lot.
11   not sure it was expected that I read every word.             11       Q. Okay. So what was written in Dr. Jackson's
12       Q. Did you read any of them in their entirety?           12   article about ethnomusicology that you're describing
13       A. Yes, I did.                                           13   that you recall?
14       Q. Did you provide feedback on any of them?              14       A. I can't really recall. It's just that there
15       A. No, I wasn't asked to. Well, yes, I did,              15   were a lot of -- there seemed to be a lot of
16   actually. I -- well, both Benjamin Graf and I                16   derogatory references to it. And my recollection is
17   provided a lot of feedback on Dr. Jackson's, which is        17   that Benjamin and I were afraid that these would be
18   viewed as somewhat problematical.                            18   taken as, well, criticisms of ethnomusicology and
19       Q. What is viewed as somewhat problematical,             19   ethnomusicologists, and they weren't necessary, and
20   the...                                                       20   we didn't want them in there.
21       A. Well, I think what we found problematical is          21             I'm not sure how accurate my
22   there were a lot of derogatory -- as I recall, there         22   recollection is, but that is what it is.
23   were a lot of derogatory references to                       23       Q. Were you requesting or recommending changes
24   ethnomusicologists and ethnomusicology. And                  24   to the substance of the article?
25   we worked hard at getting --                                 25       A. Yeah, we wanted those to be tempered down or




                                                             75                                                                77
 1             THE REPORTER: I'm sorry, to what?                   1   removed. I think in the end they were removed for
 2   "There was a lot of derogatory references to"?                2   the most part.
 3             THE WITNESS: Ethnomusicology.                       3       Q. Would you describe that as censorship?
 4             THE REPORTER: Ethno?                                4       A. No. Because we were -- when you send an
 5             THE WITNESS: It's one word,                         5   article out for review and changes and suggestions,
 6   ethnomusicology.                                              6   that's not censorship. That's the function of the
 7             THE REPORTER: Thank you.                            7   reviewer.
 8       A. So we certainly worked a lot on that one.              8             When -- so we were doing essentially the
 9   Of course, I worked a lot on my own article. I think          9   same function. We had no -- we had no power to make
10   those were the only ones that I had some critiques           10   those changes, just to make our case to Dr. Jackson.
11   of.                                                          11   We thought it was a -- they were a bad idea, you
12       Q. What is ethnomusicology?                              12   know, those -- those things.
13       A. Ethnomusicology began as sort of the                  13       Q. I think you just described the peer review
14   academic formal study of nonwestern music. So these          14   process of sending things out, correct?
15   none -- like -- or nonwestern classical musics. So           15       A. Yes, but the -- if we're asked to read over
16   music of Africa, music of Indonesia or, within North         16   an article -- I think Dr. Jackson asked us to read
17   America, you might say pop music or American Indian          17   over his article and give responses -- then we would
18   music or -- especially when it started, musicology,          18   give responses.
19   music theory were mainly sort of western classical           19       Q. In the peer review process, were substantive
20   music. So musics outside that and especially musics          20   changes recommended?
21   from outside of European culture, you might say,             21       A. Oh, I don't know, because --
22   were -- had this -- fell under the catch-all                 22             MR. ALLEN: Objection.
23   ethnomusicology.                                             23       A. -- I was -- the editor was the one who
24             In practice, it was sort of a                      24   primarily read the peer reviews.
25   combination and remains so of formal music study,            25       Q. (BY MS. QUIMBY) Uh-huh.




                                      Integrity Legal Support Solutions
                                          www.integritylegal.support                                         APPX.089
     Case 4:21-cv-00033-ALM                   Document 84-2 Filed 12/20/24
                                                               Stephen      Page 92
                                                                        Slattow,    of 132 -
                                                                                  Ph.D.    PageID #:
                                                                                             11/7/2024
                                                          4060
                                                             78                                                                80
 1       A. We were only called in when the editor felt            1   to certain people that they submit responses or if I
 2   it was necessary, which was -- didn't happen, or it           2   don't know, I assume and strongly suspect so.
 3   didn't happen very much. So I don't know.                     3        Q. And you said Ben Graf also may have provided
 4       Q. In your experience of engaging in the peer             4   feedback on Dr. Jackson's article?
 5   review process of your own articles, were you -- did          5        A. He did.
 6   you engage in substantive changes in that process             6        Q. Okay.
 7   ever?                                                         7        A. We both did.
 8       A. Well, I was asked to at times. Often the               8        Q. And I'm sorry if you may have answered this,
 9   author can argue against changes --                           9   but do you recall any other feedback you provided
10       Q. Uh-huh.                                               10   besides the feedback about ethnomusicology or
11       A. -- that the peer reviewer or some of these            11   musicologists?
12   peer reviewers want to make.                                 12        A. I don't recall that there was more. I mean,
13              In my case, I have done that, because             13   it took some work to get those done, because
14   especially if you're doing an analytical article, the        14   Dr. Jackson was resistant to making those changes, so
15   peer reviewer may have a different interpretation of         15   we had to apply a certain amount of persuasion.
16   the piece than you have. And if you incorporate too          16              As in my own case, suggesting changes
17   many of their changes, your entire argument, your            17   doesn't equate to the author making those changes.
18   entire interpretation might be gone; you've simply           18        Q. In the peer review process I think you
19   substituted it with theirs.                                  19   described as -- is it required that suggested changes
20       Q. Uh-huh.                                               20   be adopted?
21       A. It's not your article anymore. So I have              21        A. That depends on the journal and the
22   argued successfully for the most part on a number of         22   editorial policy. If you're lucky, the editor -- the
23   occasions.                                                   23   editor of the journal will permit you to make a plea
24       Q. Is peer review a form of censorship?                  24   of conscience and say, "If I make these changes, it's
25       A. No, no. It's -- in fact, it's viewed as a             25   no longer my article; it's their article," and let




                                                             79                                                                81
 1   prestigious thing. An article that appears in a               1   you -- let you publish with that disagreement.
 2   peer-reviewed journal has more -- a higher reputation         2             But some journals I think will say, "You
 3   than an article that does not because in the article,         3   have to implement these changes or we won't publish
 4   if it's not, the idea is that just any old thing can          4   your article," and then you -- that's that.
 5   get published in the journal. It's not subject to             5       Q. Was it a policy of the JSS to require
 6   inspection from someone who is a specialist.                  6   changes suggested in the peer review process to be
 7         Q. So I want to -- can you describe how the             7   adopted?
 8   articles that were published in the symposium were            8       A. I don't know because that was the editor's
 9   chosen? I understand you may not have read them all.          9   job, and the editor handled it seemingly very well,
10         A. No, I really can't because I wasn't involved        10   and we -- he seldom felt it was necessary to consult
11   in that.                                                     11   us.
12         Q. Did you -- were you involved in soliciting          12       Q. So was it -- was there a written policy
13   responses?                                                   13   addressing that one way or the other?
14         A. No.                                                 14       A. Oh, I'm sure there was, and that would be up
15         Q. Who -- did anyone solicit responses?                15   to the discretion of the editor.
16         A. The editor, I think, solicited responses. I         16             The editor had considerable power in the
17   think Dr. Jackson also solicited responses.                  17   journal. It wasn't just a matter of doing the work;
18         Q. When we're talking about the editor, are we         18   it was also making a lot of the decisions. If the
19   talking about Ben Graf or Levi Walls or both?                19   editor saw fit to consult Dr. Jackson and I or if we
20         A. I would say Ben Graf. I mean, Levi might            20   felt we really needed to consult with the editor,
21   have written the letter, but I would suspect that,           21   that would happen. But it would not automatically
22   being a -- Levi, being sort of an apprenticeship             22   happen.
23   learn-on-the-job role, that anything of that sort            23       Q. Is that true for -- that the editor had a
24   would have come more from Ben.                               24   lot of power, is that true for the symposium of
25               But I know that Dr. Jackson did suggest          25   Volume 12?




                                    Integrity Legal Support Solutions
                                        www.integritylegal.support                                         APPX.090
      Case 4:21-cv-00033-ALM                     Document 84-2 Filed 12/20/24                   Page 93 of 132 PageID #:
                                                             4061
                                                             82                                                                84
 1       A. Yeah, I would say so. I think it's                     1       A. No.
 2   generally the case that the editor is the one who             2       Q. Okay.
 3   makes most of the decisions.                                  3       A. I've met him because Ellen -- well, Ellen
 4       Q. Do you recall telling the ad hoc panel that            4   Bakulina, who was on our faculty for some years, just
 5   you and Dr. Jackson kind of took over on the                  5   left to go to McGill, was a friend of his. I don't
 6   symposium part of the Volume 12?                              6   think I've ever talked to him. So I guess the answer
 7       A. Took over? What do you mean "took over"?               7   is no.
 8       Q. I believe those are words that you used.               8       Q. Were you involved in the creation of the
 9       A. I wonder what I meant by that.                         9   call for papers for the symposium issue?
10             MR. ALLEN: Objection.                              10       A. No. Well, no, no. The editor and the
11       A. I don't think we took over at all.                    11   assistant editor came up with that. I wasn't -- I
12       Q. (BY MS. QUIMBY) Do you recall telling the             12   saw it, but I wasn't involved in it.
13   ad hoc panel that?                                           13       Q. For the sym -- go ahead.
14       A. I don't --                                            14       A. I guess I could have been involved in it if
15             MR. ALLEN: Objection.                              15   I had an objection to it.
16       A. I don't recall. I mean, we do have notes              16       Q. Do you recall having an objection to it?
17   from the ad hoc panel, which I've looked over, but           17       A. No, no. I mean, I recall that I did not
18   not thoroughly. I don't know if it's -- I don't              18   have an objection to it.
19   think something like that is mentioned, but I'm not          19       Q. Do you recall how many responses or -- were
20   sure.                                                        20   received?
21       Q. Was there anything about -- strike that.              21       A. I don't know because they would come in to
22             Was there ever a time before publishing            22   the editor. They wouldn't come in to either
23   or before Volume 12 was published that the editorship        23   Dr. Jackson or to me.
24   of the journal or the structure of it was discussed          24       Q. Were all of the responses that you received
25   or discussed that it needed to be changed?                   25   published?




                                                             83                                                                85
 1       A. No.                                                    1       A. I don't know. That would be a good question
 2             MR. ALLEN: Objection.                               2   to ask Levi Walls or Ben Graf.
 3       A. I mean, we were in a period of transition as           3       Q. Do you recall the -- that there was a
 4   it was.                                                       4   deadline in the call for papers?
 5       Q. (BY MS. QUIMBY) What do you mean by that?              5       A. There was a deadline, and it was a close
 6       A. Well, as I said, Ben Graf was the editor,              6   deadline, as I recall. A little too close for
 7   but Levi was being groomed, so to speak, as the next          7   comfort. I know that some people complained about
 8   editor; therefore, we have "assistant editor" on the          8   it. We weren't giving them enough time.
 9   masthead.                                                     9       Q. What was too close for comfort about that?
10             THE REPORTER: I'm sorry, "an assistant             10       A. I don't re -- I think it was three weeks or
11   editor on the"?                                              11   something like that. It was just -- that's very
12             THE WITNESS: The masthead.                         12   short. I think it's mainly because we were looking
13             THE REPORTER: Masthead, thank you.                 13   at a publication deadline from UNT Press. But, yeah,
14       Q. (BY MS. QUIMBY) Before Volume 12, though,             14   there was definitely a deadline. There has to be a
15   was it ever discussed that the structure -- the              15   deadline. It's unworkable if there's not.
16   editorial structure be changed?                              16       Q. You said that it was about three weeks that
17       A. No. That was the model from the beginning.            17   you recall?
18   It seemed to work very well. Ben Graf was, as Colin          18       A. I think so, but I'm not sure.
19   Davis had been before him, superb at his job. We had         19       Q. How long --
20   nothing to complain about. There didn't seem to be           20       A. That's just an impression.
21   any reason -- he was not complaining. Didn't seem to         21       Q. How long would a normal deadline be?
22   be any reason to change that. And it was part of the         22       A. Well, normally -- normally, a journal is not
23   conception of the journal from the outset.                   23   going to have a deadline. I mean -- well, I don't
24       Q. Switching gears a little bit, do you know             24   know.
25   Philip Ewell personally?                                     25             Usually, with journals, people send in




                                       Integrity Legal Support Solutions
                                           www.integritylegal.support                                          APPX.091
       Case 4:21-cv-00033-ALM                     Document 84-2 Filed 12/20/24                 Page 94 of 132 PageID #:
                                                              4062
                                                             90                                                                92
 1   and he was asking about editorial policies and                1   Dr. Ewell would be looked upon as a victim and we
 2   etcetera.                                                     2   would be looked upon as oppressors and racists
 3       Q. Were you truthful in your interview?                   3   because I thought a lot of what Ewell was saying was
 4       A. Yeah, as -- to my knowledge, yeah.                     4   outrageous and ill-founded. So I was taken aback by
 5       Q. Do you recall describing the symposium as a            5   the -- and had I anticipated such a reaction, I would
 6   visceral reaction to the Ewell -- Dr. Ewell's talk?           6   have counseled a great deal more caution in what the
 7       A. Visceral reaction? Well, the notes that                7   journal did.
 8   were taken -- I see that there were notes taken on            8       Q. Would you have read all of the responses
 9   the interview. They were certainly not written by             9   before they were published?
10   me.                                                          10       A. Probably, but what I probably would have
11       Q. Uh-huh.                                               11   done differently was that I -- in retrospect, I would
12       A. And they were certainly not language that I           12   have counseled that we ask Dr. Ewell to participate
13   would usually use. I don't think I would say                 13   as a respondent, and I probably would have counseled
14   "visceral reaction" because they weren't.                    14   that in this case everything be peer-reviewed. But I
15       Q. How would you describe it, then?                      15   did not anticipate that -- that response.
16       A. Well, it's a reaction to Ewell's allegations          16       Q. You just mentioned Dr. Ewell, you would have
17   involving Heinrich Schenker and Schenkerian analysis.        17   invited him. So was he invited into the process at
18   Visceral implies a sort of like a scream of pain from        18   all?
19   the guts. Hopefully they weren't that; they were             19       A. No. Well, he was invited only to the extent
20   more considered. And, besides, not all of them were          20   that he could have submitted --
21   critical of Dr. Ewell either. So I would not                 21       Q. Uh-huh.
22   describe it as a visceral reaction.                          22       A. -- an article of his own, and -- like anyone
23              I didn't -- I don't think I would use             23   else. He was certainly aware of the call for papers,
24   those words, but who knows? It's possible.                   24   but he wasn't invited as a respondent to the papers.
25       Q. Do you recall expressing -- and maybe not in          25       Q. A respondent to the responses. Is that --




                                                             91                                                                93
 1   these words, but that more caution should have been           1       A. Yeah.
 2   exercised in publishing --                                    2       Q. Why would he have responded to his own
 3       A. Yes, I did --                                          3   paper?
 4       Q. -- this symposium?                                     4       A. Well, it does seem sort of illogical when
 5       A. -- because I did not anticipate the                    5   you put it that way. But that's the extent, that he
 6   reaction. It took me by surprise. I thought that a            6   was not invited in any special role at all.
 7   lot of what Dr. Ewell was saying was outrageous and           7             In retrospect, after the response to the
 8   hypocritical because he said, "I hope we can save             8   journal, he probably -- I would feel -- I don't know
 9   Schenkerian analysis."                                        9   if Dr. Jackson would, but I would feel that that
10              Save Schenkerian analysis from what?              10   would have been the better approach and more cautious
11   Well, from Dr. Ewell's attacks. That's from what.            11   approach.
12   It didn't need to be saved before.                           12       Q. So we talked about that Benjamin Graf, you
13              So to take this sort of sanctimonious --          13   think he resigned as the editor. What about Levi
14   "I'm only here to save Schenkerian analysis from its         14   Walls? Did he resign, or do you know what happened
15   enemies of whom I am the main person," I thought it          15   to that role?
16   was a little hard to swallow and of their -- and so I        16       A. Levi was attacked -- Levi was attacked, as
17   think hypocritical is the word I would use for some          17   was Dr. Jackson, and to some extent, me, as being the
18   of what he said.                                             18   assistant editor and the one who signed, I think, the
19              What was the question?                            19   call for papers. And then I think the -- there was
20       Q. I don't -- I asked if you recall expressing           20   something here that was sort of a little introduction
21   that more caution should have been --                        21   to the symposium that he might have signed saying
22       A. Oh, yes.                                              22   something about, "We welcome," you know, "all
23       Q. -- exercised?                                         23   opinions."
24       A. Yes. I was -- I went off on a tangent.                24             Oh, yes. This introduction to the
25              I did not anticipate the reaction that            25   symposium, he wrote that, though he didn't sign it.




                                        Integrity Legal Support Solutions
                                            www.integritylegal.support                                        APPX.092
     Case 4:21-cv-00033-ALM                   Document 84-2 Filed 12/20/24
                                                               Stephen      Page 95
                                                                        Slattow,    of 132 -
                                                                                  Ph.D.    PageID #:
                                                                                             11/7/2024
                                                          4063
                                                             94                                                                96
 1   He came in for a lot of criticism. As a graduate              1   been sort of his project, fundamentally.
 2   student, he was afraid that he would be -- his career         2       Q. So if there's no editor -- let's just say,
 3   would be adversely affected or ruined entirely, and           3   for example, the journal still exists.
 4   he -- well, he did a number of things. He went                4              MR. ALLEN: Objection.
 5   online and kind of said he was bullied into doing             5       Q. (BY MS. QUIMBY) Could it be -- could it
 6   certain things, I think, by Dr. Jackson, or made to           6   publish anything without editors?
 7   do certain things or felt he had no choice, and he            7       A. No.
 8   resigned as editor in chief in an attempt to                  8       Q. Okay.
 9   forestall further negative reaction which could hurt          9       A. I mean, not with any degree of repute. No
10   his career.                                                  10   one would take it seriously.
11       Q. Do you think he was justified in being                11       Q. Do you think Volume 12 or the symposium
12   afraid for his career?                                       12   damaged UNT's reputation?
13       A. Oh, yeah, sure. Definitely. And look what             13       A. I don't know, but there's a good chance of
14   happened to Dr. Jackson. All of that as a result of          14   it. I mean, certainly UNT was reacting to the
15   this issue and of his article in this issue.                 15   possibility that it would.
16              I was attacked, certainly have been               16       Q. Are you -- so Levi Walls' resignation, are
17   attacked in Ewell's recent book. And since -- in the         17   you -- did he do that on his own accord, do you know?
18   United States especially, not so much in Europe or           18       A. I'm sure he did it on his own accord. He
19   Britain, anyone accused of racism in the academic            19   was trying to remove himself from a toxic situation
20   circles is sort of assumed guilty. And -- yeah, he           20   as much as he could.
21   had reason to be afraid, certainly.                          21              Levi was viewing himself very much as a
22       Q. So he resigned, as I understand and you have          22   victim, I think, a victim of Dr. Jackson in
23   testified, and Dr. Graf resigned. So effectively             23   particular. And he was trying to -- and he was being
24   there's no editor?                                           24   attacked and criticized by the -- certainly by the
25       A. Well, at that point, I don't know if there            25   online music theory community, and he was scared,




                                                             95                                                                97
 1   was any journal or any center anymore. I'm not sure           1   with reason.
 2   exactly what happened first. But at a certain point           2       Q. Do you think he was wrong in being a victim
 3   there was nothing left to be editor of.                       3   or feeling like a victim?
 4       Q. Why do you say that?                                   4       A. No, he was -- well, of Dr. Jackson? I don't
 5       A. Because the journal was taken away from us             5   think he was a victim of Dr. Jackson.
 6   by the college. They tried, naively, to find someone          6              Levi was -- Levi was not -- my
 7   who would take the journal on, maybe someone from             7   perception was that Levi was not very assertive.
 8   another school. Of course -- well, I wasn't on the            8   Levi was slow to argue back. If he really felt
 9   search committee, but, evidently no one would touch           9   something was wrong, he might say something, but he
10   it with a 10-foot pole. It was radioactive at that           10   wouldn't stick to his guns. He felt very much
11   point.                                                       11   that -- in a subservient position, far more than any
12       Q. What do you mean that it was taken away from          12   of the previous editors had done. I mean, I don't
13   you?                                                         13   think that any of our previous editors felt
14       A. The journal was part of the center. The               14   especially they had to take -- be subservient or feel
15   center was part of the -- and the school said that we        15   they had to do something which is against their
16   were -- we could no longer publish the journal and           16   conscience.
17   that the center is in abeyance.                              17              I don't think that Ben Graf felt that
18       Q. And I think you testified earlier that your           18   way, but I think I read somewhere that he said he
19   knowledge of this is through Dr. Jackson, correct?           19   did. Maybe in a deposition; I don't know. But that
20       A. Well, it was widely known. I mean, things             20   wasn't my perception.
21   get out fast, but I don't recall what any of the             21              But Levi did. He was not very -- he
22   administration -- I don't think any of the                   22   felt he was -- his role was a subservient one.
23   administration told me directly, because Dr. Jackson         23       Q. So you described the committee that was put
24   was certainly viewed as sort of the main person              24   together to find a new editor, correct, or you
25   responsible for the center. It was -- it had always          25   mentioned that?




                                    Integrity Legal Support Solutions
                                        www.integritylegal.support                                         APPX.093
       Case 4:21-cv-00033-ALM                       Document 84-2 Filed 12/20/24                  Page 96 of 132 PageID #:
                                                                4064
                                                               98                                                                100
 1      A. I alluded to it, yeah. I wasn't part of it.               1       Q. Why do you think it was associated with
 2      Q. Uh-huh. Is there anything preventing you                  2   racism?
 3   from applying to be the editor?                                 3       A. Well, you looked at this exhibit, didn't
 4      A. The editor of what? There's nothing left.                 4   you?
 5      Q. Well, isn't the committee searching for an                5       Q. I'm asking you.
 6   editor?                                                         6             MR. ALLEN: Can you state for the record
 7      A. Oh, that's -- that disbanded probably years               7   which exhibit you're referring to, please?
 8   ago.                                                            8             THE WITNESS: It says 3.
 9      Q. Before it disbanded.                                      9             MR. ALLEN: Thank you. And is that the
10      A. Well, you don't apply to be. You're                      10   faculty petition?
11   appointed to it, probably by the dean. You can't               11             THE WITNESS: Yes.
12   apply to be on it. You can, but it's not going to do           12       A. "The forthcoming issue is replete with
13   anything.                                                      13   racial stereotyping and tropes and include personal
14            You don't volunteer to -- it was a                    14   attacks directed at Dr. Ewell." Yeah.
15   search committee. You don't volunteer for search               15             MS. QUIMBY: Can you read back my
16   committees, or there's no reason to.                           16   question, please?
17      Q. I meant apply for the position of editor.                17             THE REPORTER: The witness's mic is
18      A. That would be a rather absurd thing to do                18   getting very, very quiet. Was it getting quiet for
19   because I had already been so involved in it, they             19   anyone else?
20   would want a clean sweep.                                      20             MR. ALLEN: I'm good. I was having
21      Q. Is it -- did they tell you that? Did they                21   trouble hearing Mary, but I think it was the way she
22   say you can't?                                                 22   turned her head when she turned to you.
23      A. No, but it's obvious.                                    23             THE REPORTER: Okay. Here's the
24      Q. How is it --                                             24   question: "Why do you think it was associated with
25      A. It would be like Dr. Jackson applying to be              25   racism?"




                                                               99                                                                101
 1   the editor of the journal or Ben Graf. I mean, the              1        A. So, in addition to this, I mean, Ewell's
 2   idea was to preserve the journal, but to disassociate           2   contention was that Schenker was a racist, that his
 3   it with anyone it had be associated with and maybe              3   racism had infected his views (phonetic) of theory,
 4   even hand it off to a different school. It didn't go            4   which I deny, by the way, and that -- and then that
 5   anywhere.                                                       5   the Journal of Schenkerian Studies, by criticizing
 6             In any case, we weren't approached                    6   Ewell, was racist in doing so.
 7   certainly. I mean, I guess there's nothing to                   7             So each side is accusing the other of
 8   prevent us from -- I mean, there was a public search.           8   being racist for different reasons. In a sense, the
 9   You know, "We're looking for someone to take over the           9   Journal of Schenkerian Studies is being accused of
10   editors of the journal," and I suppose Dr. Jackson or          10   being racist for criticizing Philip Ewell's
11   I or Ben could have written in, but it wouldn't have           11   accusations that Schenker was racist. So a lot of
12   gotten to first base. I mean, you generally don't              12   racism.
13   apply for things where you feel you have no choice of          13        Q. (BY MS. QUIMBY) Was the criticism of
14   acceptance because that wasn't the reason it was               14   racism, did that come from other than just the
15   being advertised.                                              15   faculty petition and the student petition as you've
16             Evidently -- I mean, nothing came of it,             16   described them?
17   and I don't know -- I wouldn't be surprised if no one          17        A. Yeah, yeah.
18   applied, but I wouldn't know, because I wasn't on the          18        Q. Where else did it come from?
19   search committee.                                              19        A. Online chatter, and there was an SMT talk
20       Q. I think you described it as radioactive, the            20   list where there was a lot -- or SMT discussion list.
21   journal. What do you mean by that?                             21   SMT being the Society for Music Theory.
22       A. The journal was now associated with racism              22             THE REPORTER: Okay. I need to pause.
23   and with acting unfairly to poor Dr. Ewell and                 23   He's very, very quiet on my end.
24   deficient editorial practices, and it was just like            24             MR. ALLEN: They both are. I don't know
25   this sort of radioactive turd.                                 25   what happened in that transition.




                                         Integrity Legal Support Solutions
                                             www.integritylegal.support                                            APPX.094
     Case 4:21-cv-00033-ALM                    Document 84-2 Filed 12/20/24
                                                                Stephen      Page 97
                                                                         Slattow,    of 132 -
                                                                                   Ph.D.    PageID #:
                                                                                              11/7/2024
                                                           4065
                                                             134                                                                136
 1   article about black anti-Semitism --                           1       A. Levi Walls I did not know that well. He was
 2        Q. Uh-huh.                                                2   a student in my Schenker class.
 3        A. -- would certainly be construed as racist by           3       Q. Uh-huh.
 4   some key people. I would not because I think it's a            4       A. And then I had some contact with him when
 5   phenomena that exists.                                         5   this issue was being put together, mainly emails. He
 6        Q. Uh-huh. Did anyone actually take issue with            6   would email Ben Graf and Tim Jackson and me --
 7   its factual basis?                                             7       Q. Sure.
 8        A. Not to my -- well, not to my knowledge, no.            8       A. -- and we would go back and forth, but that
 9        Q. I believe Timothy Jackson also argued that             9   was about it.
10   black children are, on average, not exposed to the            10       Q. Okay. And do you remember him ever
11   tradition of western classical music --                       11   expressing a view before the publication came out on
12        A. I think --                                            12   the quality of Philip Ewell's scholarship?
13        Q. -- in comparison to other groups of people            13             MS. QUIMBY: Objection. Form.
14   in the United States?                                         14       A. No, no.
15        A. Yeah, I think he did say that.                        15       Q. (BY MR. ALLEN) Okay. That's fine.
16        Q. And do you recall that being -- him being             16             Now, you -- I think you characterized
17   accused of being racist because he wrote that?                17   Levi Walls -- and I'm not trying to put words in your
18        A. I don't recall any specific instance, but             18   mouth, but something of a weak person?
19   it's a case where he well might be.                           19       A. Well, it's -- yeah, don't put words in my
20        Q. Has anyone, to your knowledge in the                  20   mouth.
21   Schenker kerfuffle that you have identified, ever             21             I wouldn't say -- he was -- he was not
22   published any factual refutation of that assertion?           22   as assertive or as self-confident as the previous
23        A. No, I don't think that anyone has.                    23   editors had been. And he was more inclined to feel
24        Q. Do you know if it's in fact true?                     24   that he had to do what -- most specifically, what
25        A. I don't know if it's true. I would assume             25   Dr. Jackson told him to do, that that was his role.




                                                             135                                                                137
 1   that Dr. Jackson has his own reasons for --                    1             I don't think that Ben Graf or Colin
 2       Q. Okay.                                                   2   or -- who was the first editor? The name escapes
 3       A. -- saying it, but I wouldn't care to defend             3   me -- really felt that way. They would argue back if
 4   that as a true or false assertion.                             4   they really felt --
 5       Q. Okay. That's fine. But you don't know of                5       Q. Uh-huh.
 6   anyone in the controversy that actually tried to               6       A. -- something was the wrong thing to do and
 7   refute with facts Timothy Jackson's argument that              7   they had a better idea.
 8   this is actually a cultural phenomenon in the United           8             Levi would only argue to a certain
 9   States?                                                        9   extent, and then he would say, well -- and then he
10       A. I don't know of anyone who has done that.              10   would stop. So he was more prone to viewing himself
11   But also, I made a conscious decision to stop                 11   as a -- sort of a functionary under authority --
12   involving myself at a certain point --                        12       Q. Uh-huh.
13       Q. I understand.                                          13       A. -- than the previous editors were. And then
14       A. -- in reading the back-and-forth on it. So             14   he wasn't a full-fledged editor too. I mean, he was
15   to my knowledge, no.                                          15   sort of an editor-in-training. So he was also under
16       Q. Thank you. You talked quite a bit in your              16   the authority of Benjamin Graf to some extent too.
17   testimony about Mr. Levi Walls and Benjamin Graf, the         17       Q. Sure. And in your view --
18   two editors of the Journal for Schenkerian Studies            18       A. It was --
19   back in 2020, and I want to ask you if you worked at          19       Q. Sorry.
20   all with Levi Walls in the lead-up to the publication         20       A. It was an apprenticeship.
21   of the Volume 12 of the Journal of Schenkerian                21       Q. Okay. And in your view, was there a power
22   Studies?                                                      22   differential between Benjamin Graf and Levi Walls?
23       A. No. Benjamin Graf, yes. I mean, I've known             23       A. Well, there was, because Benjamin was the
24   him for a long time as a student and colleague.               24   very experienced editor, and Levi was just coming in
25       Q. Uh-huh.                                                25   and learning the job. I don't think it was a




                                     Integrity Legal Support Solutions
                                         www.integritylegal.support                                          APPX.095
      Case 4:21-cv-00033-ALM                     Document 84-2 Filed 12/20/24                     Page 98 of 132 PageID #:
                                                             4066
                                                             138                                                                140
 1   problematic power issue -- power imbalance.                    1   to Dr. Jackson and me and Ben arguing before
 2       Q. Okay.                                                   2   publication that we should invite Philip Ewell in as
 3       A. The power imbalance he felt between him and             3   a respondent and that -- and that -- well, I argued
 4   Timothy Jackson was a much more powerful and                   4   against it because I told him what I told you, which
 5   problematic one.                                               5   is that in my experience, the traditional way to
 6       Q. Well, why was it problematic?                           6   handle these things is that the criticized scholar
 7       A. Because he felt -- I think he felt he was               7   would write a letter to the editor, and it would be
 8   under Dr. Jackson's control, as I said, in a way the           8   dealt with in that way.
 9   other editors did not and that --                              9       Q. Uh-huh.
10       Q. Uh-huh.                                                10       A. It turns out that there evidently was also a
11       A. -- he had sort of had to do what Dr. Jackson           11   practice of doing just what Levi suggested, but I
12   said even if he disapproved of it. He would -- he             12   somehow didn't know about it. I hadn't had
13   would kowtow in a certain way.                                13   experience with that.
14       Q. And yet that didn't prevent him from                   14              So I argued against that, and then
15   condemning Professor Jackson in July of 2020, did it?         15   Dr. Jackson agreed with me. And then Levi -- in
16       A. Well, that was -- that was after the                   16   retrospect, as I said, I think that would have been a
17   publication of the journal, right?                            17   good idea. But Levi then just let the matter drop.
18       Q. Yes.                                                   18   He -- you know, "If Dr. Jackson and Dr. Slottow say
19       A. No, he -- you might say he turned on                   19   no, then I've done what I could. I'm not going to
20   Dr. Jackson then because he felt that Dr. Jackson was         20   press the issue. I'm not going to continue to argue
21   instrumental in possibly destroying his career.               21   for it." He just let it drop. So he brought it up,
22       Q. Do you think he feared Dr. Jackson or the              22   but he let it go fairly easily. That's one instance
23   larger community of society of music theory                   23   I can remember.
24   professors who were agitating against the journal at          24       Q. Was he ever ordered by Timothy Jackson to
25   that time?                                                    25   censor anyone?




                                                             139                                                                141
 1       A. Well, he certainly feared the larger                    1       A. Not to my knowledge, no. It would seem very
 2   community to the extent the larger community was               2   uncharacteristic.
 3   pointing to him as the editor and saying, "This is             3             What do you mean "censor anyone"?
 4   your fault" --                                                 4       Q. I don't know. That's the word he used,
 5       Q. Uh-huh.                                                 5   right, that he was directed, quote, "not to censor
 6       A. -- but he blamed Dr. Jackson to a large                 6   someone that he wanted to censor," or something of
 7   extent for that situation.                                     7   that nature.
 8       Q. And you said -- I forget how you put it, but            8       A. Are you saying that I said that?
 9   he felt dominated or something like that by Timothy            9       Q. I'm asking you. I'm asking you if you ever
10   Jackson?                                                      10   heard Timothy Jackson direct Levi Walls to censor
11       A. Yes.                                                   11   someone?
12       Q. What specific observations did you -- you              12       A. No.
13   know, what specific events or emails or utterances by         13       Q. Had -- did you ever --
14   Levi Walls gave you that impression? And I'm talking          14       A. I'm not even sure what that means.
15   about before the journal came out.                            15       Q. Did you ever witness -- okay. Sorry, go
16       A. Well, it was in -- before it was published,            16   ahead.
17   you mean?                                                     17       A. Like -- no, I never heard anything of that
18       Q. Yes, correct. Before his grand, you know,              18   nature, and this context, I'm not even sure what that
19   renunciation of his position and condemnation of              19   would mean.
20   Timothy Jackson and claiming that he had been stuck           20       Q. So you don't even know what Levi Walls is
21   in a car by some gangster-like professor and all this         21   talking about?
22   stuff.                                                        22       A. Well, I don't know that he had used that
23             MS. QUIMBY: Objection. Form.                        23   term, and I'm not sure -- unless -- without knowing
24       A. Yeah, I don't -- he never talked to me about           24   more --
25   that last point. I do know he did send an email out           25       Q. Yeah.




                                       Integrity Legal Support Solutions
                                           www.integritylegal.support                                             APPX.096
     Case 4:21-cv-00033-ALM           Document 84-2 Filed 12/20/24
                                                       Stephen      Page 99
                                                                Slattow,    of 132 -
                                                                          Ph.D.    PageID #:
                                                                                     11/7/2024
                                                  4067
                                                           166                                                                     168
                                                                  1        THE UNITED STATES DISTRICT COURT
 1             CHANGES AND SIGNATURE
                                                                           FOR THE EASTERN DISTRICT OF TEXAS
 2   WITNESS NAME: STEPHEN SLOTTOW, PhD                           2            SHERMAN DIVISION
 3   DATE OF DEPOSITION: NOVEMBER 7, 2024                         3   TIMOTHY JACKSON,             )
                                                                                       )
 4   PAGE      LINE     CHANGE        REASON
                                                                  4          Plaintiff, )
 5   _____________________________________________________                             )
 6   _____________________________________________________        5   VS.                ) CIVIL ACTION
                                                                                       )
 7   _____________________________________________________
                                                                  6   LAURA WRIGHT, ET AL.           ) NO.: 4:21-cv-00033-ALM
 8   _____________________________________________________                             )
 9   _____________________________________________________        7          Defendants. )
                                                                  8
10   _____________________________________________________
                                                                           REPORTER'S CERTIFICATION OF THE ORAL
11   _____________________________________________________        9        DEPOSITION OF STEPHEN SLOTTOW, PhD
12   _____________________________________________________                     NOVEMBER 7, 2024
                                                                 10
13   _____________________________________________________
                                                                 11           I, Vanessa J. Theisen, a Certified
14   _____________________________________________________       12   Shorthand Reporter in and for the State of Texas,
15   _____________________________________________________       13   hereby certify to the following:
                                                                 14           That the witness, STEPHEN SLOTTOW, PhD,
16   _____________________________________________________
                                                                 15   was duly sworn by the officer and that the transcript
17   _____________________________________________________       16   of the oral deposition is a true record of the
18   _____________________________________________________       17   testimony given by the witness;
                                                                 18           That the original deposition was delivered
19   _____________________________________________________
                                                                 19   to Mr. Patrick Todd to obtain witness's signature.
20   _____________________________________________________       20           That a copy of this certificate was served
21   _____________________________________________________       21   on all parties and/or the witness shown herein on
                                                                 22   November 11, 2024.
22   _____________________________________________________
                                                                 23           I further certify that pursuant to FRCP
23   _____________________________________________________       24   Rule 30(3) that the signature of the deponent:
24   _____________________________________________________       25           _XX_ was requested by the deponent or a

25   _____________________________________________________




                                                           167                                                                     169
 1        I, STEPHEN SLOTTOW, PhD, have read the                  1   party before the completion of the deposition and
 2 foregoing deposition and hereby affix my signature             2   that the signature is to be before any notary public
                                                                  3   and returned within 30 days from date of receipt of
 3 that same is true and correct, except as noted above.
                                                                  4   the transcript.
 4
                                                                  5          If returned, the attached Changes and
 5                   _________________________                    6   Signature Page contains any changes and the reasons
                     STEPHEN SLOTTOW, PhD                         7   therefore:
 6                                                                8           ____ was not requested by the deponent or
 7 THE STATE OF ________ )                                        9   a party before the completion of the deposition.
 8 COUNTY OF ___________ )                                       10           I further certify that I am neither
                                                                 11   counsel for, related to, nor employed by any of the
 9      Before me, _______________, on this day
                                                                 12   parties or attorneys in the action in which this
10 personally appeared STEPHEN SLOTTOW, PhD, known to me
                                                                 13   proceeding was taken, and further that I am not
11 (or proved to me under oath or through                        14   financially or otherwise interested in the outcome of
12 ______________) (description of identity card or              15   the action.
13 other document) to be the person whose name is                16           Certified to by me on this, the 11th day
14 subscribed to the foregoing instrument and                    17   of November, 2024.
15 acknowledged to me that he executed the same for the          18
                                                                 19                __________________________________
16 purposes and consideration therein expressed.
                                                                                   VANESSA J. THEISEN, Texas CSR, RPR
17
                                                                 20                Texas Cert No. 3238
18       Given under my hand and seal of office, this                              Expiration Date: 10/31/25
19 _______ day of _________________, __________.                 21                Integrity Legal Support Solutions
20                                                                                 Firm Registration No. 528
21                  ________________________                     22                9901 Brodie Ln., Ste. 160-400
                    NOTARY PUBLIC IN AND FOR                                       Austin, Texas 78748
                                                                 23                (512) 320-8690
22
                                                                                   www.integritylegal.support
23                  THE STATE OF ___________
                                                                 24
24 My commission expires: _________________________              25
25 ____ No Changes Made ____ Amendment Sheet(s) Attached



                              Integrity Legal Support Solutions
                                  www.integritylegal.support                                                            APPX.097
Case 4:21-cv-00033-ALM   Document 84-2 Filed 12/20/24      Page 100 of 132 PageID #:
                                     4068


                     Journal of Schenkerian Studies
                               Editor Benjamin Graf
                             Assistant Editor Levi Walls

                                   Editorial Board

                               Mark Anson-Cartwright
                                 Benjamin Ayotte
                                   Ellen Bakulina
                                    David Beach
                                 Charles Burkhart
                                L. Poundie Burstein
                                Allen Cadwallader
                                   Diego Cubero
                                 William Drabkin
                                    David Gagné
                                 Yosef Goldenberg
                                   Graham Hunt
                                Timothy L. Jackson
                                   Roger Kamien
                                    Wayne Petty
                                 William Renwick
                                 Frank Samarotto
                                   Carl Schachter
                                    Hedi Siegel
                                   Peter H. Smith
                                    David Stern
                                   Lauri Suurpää
                                  Stephen Slottow

                                   Advisory Board
                                                                   Exhibit
                                                            Stephen Slottow, Ph.D.
                                 Timothy L. Jackson
                                  Stephen Slottow                     2
                                                                  11/07/024 VT


                                                               APPX.098
Case 4:21-cv-00033-ALM               Document 84-2 Filed 12/20/24                    Page 101 of 132 PageID #:
                                                 4069

     About the Journal

     The Journal of Schenkerian Studies (ISSN 1558-268X) is a peer-reviewed journal published annually
     by the Center for Schenkerian Studies and the University of North Texas Press under the guidance of
     Timothy Jackson, Stephen Slottow, and an expert editorial board. The journal features articles on all
     facets of Schenkerian thought, including theory, analysis, pedagogy, and historical aspects and reviews
     of relevant publications.

     For new orders and back issues, please contact:

     Texas A&M University Press Consortium
     John H. Lindsey Building
     Lewis Street
     4354 TAMU
     College Station, Texas 77843-4354

     Main Press Phone:
     979-845-1436
     Main Press Fax:
     979-847-8752
     Orders Toll Free (U.S. Only):
     800-826-8911

     Article Submissions and Editorial Correspondence

     Article submissions are accepted year round. For submission guidelines visit:
     http://www.music.unt.edu/mhte/node/54

     Please send article submissions and editorial correspondence to the editor at the following address:

     Journal of Schenkerian Studies
     Levi Walls, Editor
     UNT College of Music
     1155 Union Circle #311367
     Denton, TX 76203-5017
     Email correspondence: schenker@unt.edu

     Copyright

     © 2019 Center for Schenkerian Studies. All rights reserved. No part of this publication may be copied,
     reproduced, transmitted, or stored in any way without the written consent of the Center for Schenkerian
     Studies and the University of North Texas Press. Photocopying content for personal use is permitted for
     libraries and other users registered with the Copyright Clearance Center (CCC), 222 Rosewood Drive,
     Danvers, MA 01923 (www.copyright.com).




                                                                                         APPX.099
Case 4:21-cv-00033-ALM                 Document 84-2 Filed 12/20/24                               Page 102 of 132 PageID #:
                                                   4070


                                 Journal of Schenkerian Studies
       VOLUME 12					                                                                                                        2019


                                                           CONTENTS

       JOHN KOSLOVSKY
       Schenkerizing Tristan, Past and Present ..................................................................... 1

       BRYAN J. PARKHURST
       The Hegelian Schenker, The Un-Schenkerian Hegel, and How to Be a Dialectician
       about Music ............................................................................................................... 55

       NICHOLAS STOIA
       The Tour-of-Keys Model and the Prolongational Structure in Sonata-Form Movements
       by Haydn and Mozart ................................................................................................ 79

       Symposium on Philip Ewell’s SMT 2019 Plenary Paper, “Music Theory’s White Racial
       Frame”.............................................................................................................. 125–214

           INTRODUCTION .............................................................................................. 125

           DAVID BEACH
           Schenker–Racism–Context ................................................................................. 127

           RICHARD BEAUDOIN
           After Ewell: Music Theory and “Monstrous Men” ............................................ 129

           JACK BOSS
           Response to P. Ewell ........................................................................................... 133

           CHARLES BURKHART
           Response to Philip Ewell .................................................................................... 135

           ALLEN CADWALLADER
           A Response to Philip Ewell ................................................................................ 137



                                                                                                         APPX.100
Case 4:21-cv-00033-ALM                   Document 84-2 Filed 12/20/24                                Page 103 of 132 PageID #:
                                                     4071

        SUZANNAH CLARK
        Patterns of Exclusion in Schenkerian Theory and Analysis ............................... 141

        NICHOLAS COOK
        Response to Philip Ewell .................................................................................... 153

        TIMOTHY L. JACKSON
        A Preliminary Response to Ewell ....................................................................... 157

        STEPHEN LETT
        De-Scripting Schenker, Scripting Music Theory ................................................ 167

        RICH PELLEGRIN
        Detail, Reduction, and Organicism: A Response to Philip Ewell ....................... 173

        BOYD POMEROY
        Schenker, Schenkerian Theory, Ideology, and Today’s Music Theory
        Curricula ............................................................................................................. 179

        CHRISTOPHER SEGALL
        Prolongational Analysis without Beams and Slurs: A View from Russian Music
        Theory ................................................................................................................. 183

        STEPHEN SLOTTOW
        An Initial Response to Philip Ewell .................................................................... 189

        BARRY WIENER
        Philip Ewell’s White Racial Frame ..................................................................... 195

        ANONYMOUS
        An Anonymous Response to Philip Ewell .......................................................... 207

        BIBLIOGRAPHY FOR THE RESPONSES....................................................... 209

     CONTRIBUTORS .................................................................................................. 215




                                                                                                            APPX.101
Case 4:21-cv-00033-ALM                    Document 84-2 Filed 12/20/24                                    Page 104 of 132 PageID #:
                                                      4072
                          Levi Nigem Xenon Walls      5/18/21           1                                         Levi Nigem Xenon Walls   5/18/21              3



        1              IN THE UNITED STATES DISTRICT COURT                                 1                                    INDEX
                        FOR THE EASTERN DISTRICT OF TEXAS
        2                       SHERMAN DIVISION                                           2                                                             PAGE
        3 TIMOTHY JACKSON,                 )                                               3    Appearances.......................................... 2
                                           )
        4             Plaintiff,           )                                               4    Stipulations......................................... 4
                                           )
        5   v.                             ) CASE NO.                                      5    LEVI NIGEM XENON WALLS
                                           ) 4:21-cv-00033-ALM
        6   LAURA WRIGHT, et al,           )                                               6           Examination by Mr. Allen......................... 4
                                           )
        7             Defendants.          )                                               7    Reporter's Certificate...............................143
                                           )
        8                                                                                  8
                                                                                                                              EXHIBITS
        9                                                                                  9
                                                                                                NO.    DESCRIPTION                                       PAGE
       10              -----------------------------------                                10
                                                                                                Exhibit      4      Subpoena to Testify for Levi Walls..... 6
       11                        ORAL DEPOSITION OF                                       11    Exhibit      5      Text Messages between Levi and Chris...11
                                                                                                Exhibit      6      Text Messages between Nate, Brian,
       12                     LEVI NIGEM XENON WALLS                                      12                        Jessica, and E.........................34
                                                                                                Exhibit      7      E-mail to Benjamin Brand, dated
       13                            MAY 18, 2021                                         13                        7/26/2020..............................45
                                                                                                Exhibit      8      E-mail to Benjamin Brand, dated
       14              -----------------------------------                                14                        January 9, 2020........................50
                                                                                                Exhibit      9      E-mail to Ellen Bakuline, dated
       15                                                                                 15                        July 25, 2020..........................62
                                                                                                Exhibit   10        Facebook Post by Levi Walls, July 27...70
       16                                                                                 16    Exhibit   11        Letter to Dr. Jackson from Levi Walls..85
                                                                                                Exhibit   12        Letter to Dr. Jackson from Levi Walls..87
       17        ORAL DEPOSITION OF LEVI NIGEM XENON WALLS, produced                      17    Exhibit   13        E-mail to Stephen Slottow, 12/19/2019..89
                                                                                                Exhibit   14        E-mail to JSS Authors and Advisory
       18 as a witness at the instance of the Plaintiff, and duly                         18                        Board, March 14, 2020..................93
                                                                                                Exhibit 15          E-mail dated March 10, 2020, to
       19 sworn, was taken in the above-styled and numbered cause                         19                        Schenker, me...........................99
                                                                                                Exhibit   16        E-mail to Levi Walls, March 13, 2020..101
       20 on May 18, 2021, from 12:57 p.m. to 4:52 p.m., before                           20    Exhibit   17        E-mail to Dr. Jackson, February 13....108
                                                                                                Exhibit   18        Call For Papers, December 17, 2019....110
       21 Nita G. Cullen, CSR in and for the State of Texas,                              21    Exhibit   19        Members of the Editorial Board
                                                                                                                    Correspondence re. Call for Papers,
       22 reported by machine shorthand, at the Law Offices of                            22                        November 25-December 1, 2019..........113
                                                                                                Exhibit 20          Response to Ewell, November 19, 2019..122
       23 Cutler Smith, 12750 Merit Drive, Suite 1450, in the City                        23    Exhibit 21          Meeting, November 15, 2019............126
                                                                                                Exhibit 22          E-mail to Dr. Jackson, November 18,
       24 of Dallas, County of Dallas, State of Texas, pursuant to                        24                        2019..................................130
                                                                                                Exhibit 23          E-mail to Tim, Stephen, and Benjamin,
       25 the Federal Rules of Civil Procedure.                                           25                        April 22, 2019........................133




                                                                                                         Levi Nigem Xenon Walls              5/18/21
                                                                                                                                                           4
                          Levi Nigem Xenon Walls      5/18/21           2
                                                                                 1                       P R O C E E D I N G S
        1                      A P P E A R A N C E S                             2                               LEVI NIGEM XENON WALLS,
        2
                                                                                 3    having been first duly sworn, testified as follows:
        3 FOR THE PLAINTIFF:
                                                                                 4                                    EXAMINATION
        4        MR. MICHAEL THAD ALLEN
                 MS. SAMANTHA HARRIS
        5        ALLEN LAW, LLC                                                  5    BY MR. ALLEN:
                 P.O. Box 404
        6        Quaker Hill, Connecticut 06375                                  6         Q.         Mr. Walls, my name is Michael Allen, I'm an
                 860.772.4738
        7        860.469.2783 Fax
                 m.allen@allen-lawfirm.com                                       7    attorney for Timothy Jackson. I just wanted to talk
        8
                                                                                 8    about some things preliminarily. This will be a very
        9 FOR THE DEFENDANTS:

       10        MR. MATT BOHUSLAV                                               9    formal conversation, but it's a conversation
                 ASSISTANT ATTORNEY GENERAL
       11        GENERAL LITIGATION DIVISION                                   10     nonetheless. The deposition is an extension of the
                 ATTORNEY GENERAL OF TEXAS
       12        P.O. Box 12548, Capitol Station                               11     Court, and the purpose of the deposition is to find out
                 Austin, Texas 78711
       13        matthew.bohuslav@oag.texas.gov
                                                                               12     what evidence you have and what you would say at trial.
       14 AND
                                                                               13                     So, a couple ground rules. If I -- if I
       15        MR. RENALDO STOWERS
                 SENIOR ASSOCIATE GENERAL COUNSEL
       16        UNIVERSITY OF NORTH TEXAS SYSTEM                              14     say anything that's unclear to you, please feel free to
                 OFFICE OF GENERAL COUNSEL
       17        1155 Union Circle                                             15     interrupt me and ask for clarification. It's more than
                 Denton, Texas 76203
       18        940.565.2717
                 renaldo.stowers@untsystem.edu                                 16     possible that it's my unclarity, my incompetence at
       19
                                                                               17     forming a good question. So, I wouldn't want you to
       20 ALSO PRESENT:

       21        MR. TIMOTHY JACKSON                                           18     answer a question you didn't understand, is that clear?
       22                                                                      19          A.         Yes.
       23
                                                                               20          Q.         So, as a corollary to that, if you don't ask
       24
                                                                               21     for a clarification, I'll assume you understand my
       25
                                                                               22     question; is that also clear?
                                                                               23          A.         Yes.
                                                                               24                            MR. ALLEN: Matt, in the last deposition,
                                                                               25     we agreed that all objections except those that go to

                                                          Julia Whaley & Associates   214-668-5578
                                                                                                                              APPX.102
                                                                                                                              Page 1 to 4 of 144
Case 4:21-cv-00033-ALM                    Document 84-2 Filed 12/20/24                             Page 105 of 132 PageID #:
                     Levi Nigem Xenon Walls   5/18/21                                              Levi Nigem Xenon Walls     5/18/21
                                                      4073
                                                                   29                                                                         31
  1   technique of analyzing music and scholars who try to                    1    or International Conference on Musical Forum, but those
  2   advance or think of the theory behind the technique, or                 2    aren't really a society in the way that SMT is a
  3   am I misunderstanding that?                                             3    society.
  4          A.   I don't think I'm making that distinction. I                4         Q.     How large is the Society for Music Theory?
  5   just think that there is a spectrum -- as with any                      5         A.     I don't know how large it is, in terms of
  6   research interest, there's a spectrum of, you know,                     6    number of members. I recall at some point seeing the
  7   where people are, in terms of their relationship to                     7    statistics, probably at an SMT meeting, but I have -- I
  8   Schenkerian analysis.                                                   8    could not even make a guess, in terms of how many
  9               Some people are interested in it, but don't                 9    members there are. Maybe two or 3,000, but that seems
 10   rely on it very often or very much for their analyses,                10     like an overestimate.
 11   whereas some people do Schenkerian analysis and only                  11          Q.     And do you have knowledge -- do you know
 12   Schenkerian analysis.                                                 12     whether Schenkerians are a minority of those members?
 13          Q.   And of those people, the latter category, who             13     And by that I mean the hard core Schenkerians whom you
 14   do primarily or only Schenkerian analysis, can you name               14     described earlier.
 15   any in the United States that are not on the board of                 15          A.     Yeah. I would say that they would be a
 16   the Journal of Schenkerian Studies?                                   16     minority, if we're talking about hard core Schenkerians.
 17          A.   I don't think so. Granted, I don't know every             17          Q.     A small minority or a sizeable minority?
 18   music theorist in the country.                                        18                        MR. BOHUSLAV: Objection, vague.
 19          Q.   Of course. Let me ask a follow-up question.               19          A.     I would really go in between those two. I
 20   You know, how large of a community would you estimate                 20     wouldn't say it's a small minority, but I think it would
 21   that community of scholars is, within general terms?                  21     be too far to say it was sizeable minority.
 22   I'm not asking for an exact number, but can you estimate              22          Q.     (By Mr. Allen) I want to call your attention
 23   for me about how many of th0se, I guess you might have                23     to Exhibit 5, again. There's a blue bubble underneath
 24   described them as hard core Schenkerians, if you will.                24     that much larger bubble of yours. It seems to be
 25          A.   Really, I have no idea in terms of a number. I            25     Benjamin Graf speaking again. And he says, "I agree,
                     Levi Nigem Xenon Walls      5/18/21                                           Levi Nigem Xenon Walls     5/18/21
                                                                   30                                                                         32
  1   think that the number has gotten smaller over the years,                1    and I am in a similar position. I was editor when Tim
  2   whereas Schenkerian analysis was incredibly popular in                  2    Jackson and Stephen Slottow were my dissertation
  3   the '80s and '90s, including at institutions like CUNY                  3    advisors. Now, they are my colleagues and on promotions
  4   and Mann's. I think that the number has dwindled over                   4    committees, et cetera, that have a significant stake in
  5   the last few decades. But in terms of a current number,                 5    my employment. Volume 12 was largely ready before the
  6   I really have no idea how to quantify it.                               6    SMT and I was passing the baton to Levi when these ideas
  7          Q.   Well, let me put it this way. Is it over 100?               7    came up."
 8           A.   I think it's safe to say that it would be over              8               I'm curious about what he means, if you
 9    100.                                                                    9    know, where he says, "they are my colleagues and on
 10          Q.   And, I mean, in your rough estimation, how many           10     promotions committees, et cetera, that have a
 11   music theorists are there employed at academic                        11     significant stake in my employment."
 12   institutions throughout the United States?                            12                What is he discussing there with you and
 13                    MR. BOHUSLAV: Objection, calls for                   13     Chris Segall?
 14   speculation.                                                          14                        MR. BOHUSLAV: Objection, calls for
 15          A.   I honestly have no idea how many academics                15     speculation.
 16   there are in music employed in the United States.                     16          Q.     (By Mr. Allen) You were a party to this
 17          Q.   (By Mr. Allen) What's the primary academic                17     conversation, were you not?
 18   organization for or professional society for music                    18          A.     Yes.
 19   theorists in the United States?                                       19          Q.     So, how did you interpret what Benjamin Graf
 20          A.   The Society for Music Theory.                             20     was saying?
 21          Q.   Is there any other?                                       21          A.     I assume, since he is tenure track, I believe,
 22          A.   I mean, there are obvious organizations that              22     that he would rely on colleagues like Tim Jackson and
 23   would rank below that, in terms of importance. Well, I                23     Stephen Slottow, rely on their good impressions in order
 24   suppose I'm mainly thinking of conferences, because I                 24     to advance his career.
 25   was about to say -- name a few conferences, like EuroMAC              25          Q.     Do you know of any instance in which Timothy

                                                       Julia Whaley & Associates   214-668-5578
                                                                                                                  APPX.103
                                                                                                                Page 29 to 32 of 144
Case 4:21-cv-00033-ALM                     Document 84-2 Filed 12/20/24                              Page 106 of 132 PageID #:
                     Levi Nigem Xenon Walls    5/18/21                                               Levi Nigem Xenon Walls    5/18/21
                                                       4074
                                                                      37                                                                         39
  1   bubbles.                                                                   1    a Ewell supporter or you're a person who does
  2        A.    Uh-huh.                                                         2    Schenkerian analysis.
  3        Q.    I believe Benjamin Graf is saying, "it's                        3         Q.   Skipping to the next page here, if you could.
  4   blowing up and honestly we never even wanted to do it,                     4    I'm on page 5, now. You contribute to the conversation.
  5   but it's my dissertation advisor and higher ranking                        5    "I can see that -- referring to what was coming before
  6   colleague, plus we wanted to publish supporting essays."                   6    it -- "definitely not something I or Ben considered. We
  7   Did I read that correctly?                                                 7    were about to finish the journal, which was supposed to
  8        A.    Yes.                                                            8    be published in November or early December, when the
  9        Q.    And you recognize that as Benjamin Graf                         9    advisory board got really gungho about a response to
 10   speaking to you and Chris Segall, right?                                 10     Ewell. And so, we made the deadline very short."
 11        A.    Yes.                                                          11               Can you describe what you're referring to
 12        Q.    What's he referring to, "we never even wanted                 12     in that statement?
 13   to do it, and we wanted to publish supporting essays?                    13          A.   So, I think Chris had expressed the relief that
 14                     MR. BOHUSLAV: Objection, calls for                     14     the very short deadline at a busy time of the year,
 15   speculation.                                                             15     around Christmas, was strategically done in order to
 16        A.    I believe he's talking about the -- not                       16     limit the number of responses. So, in other words, in
 17   plenary -- the -- sorry -- the responses to Ewell --                     17     order to limit the number of pro Ewell responses. And I
 18   symposium, sorry, the word just flew out of my head.                     18     said that I could see that reasoning, but it wasn't
 19        Q.    (By Mr. Allen) And just to be clear, that's                   19     something that Graf or I had considered.
 20   the symposium, which was the given in November of 2019,                  20               The reasoning at the time had just been
 21   published in Volume 12 of the Journal of Schenkerian                     21     that the journal was basically done at the end of the
 22   Studies?                                                                 22     year, and then the SMT in November happened. And
 23        A.    Yes.                                                          23     suddenly, there was this new section of the journal that
 24        Q.    Is it fair if we just refer to that by                        24     we had to do, and so in order to salvage somewhat of a
 25   shorthand as just "the symposium", for the rest of the                   25     deadline, since it was supposed to be a 2020 journal,
                     Levi Nigem Xenon Walls        5/18/21                                           Levi Nigem Xenon Walls    5/18/21
                                                                      38                                                                         40
  1   deposition?                                                                1    the call was just made very short.
  2        A.    Sure.                                                           2         Q.   Did other people at the journal discuss
  3        Q.    Okay. Thanks. Again, you understood Benjamin                    3    manipulating the deadline to exclude pro Ewell points of
  4   Graf to be saying we never even wanted to do the                           4    view?
  5   symposium, correct?                                                        5         A.   No.
  6        A.    I believe so.                                                   6         Q.   And you also say, if you skip down one bubble
  7        Q.    And "we wanted to publish supporting essays."                   7    after Benjamin Graf's blue bubble there, it says,
  8   What does he mean -- how did you understand that to                        8    "Volume 13 would have been preferable," correct?
  9   mean, "we wanted to publish supporting essays"?                            9         A.   Yes.
 10        A.    I believe what he meant was that if the                       10          Q.   Is that something you argued for at the time?
 11   symposium was going to go ahead, that our preference                     11          A.   I don't think I argued for putting the
 12   would have been for there to be plenty of essays in                      12     symposium in Volume 13. I think the view at the time
 13   support of Ewell, rather than it just being Schenkerian                  13     was that it was timely for it to go in Volume 12.
 14   after Schenkerian.                                                       14          Q.   And what would make it timely? Can you
 15        Q.    Is it possible to be a Schenkerian and be pro                 15     describe the thought process of you, as an editor, of
 16   Ewell?                                                                   16     are what you were fielding as questions by anyone on the
 17        A.    Sure. I think so.                                             17     editorial board? What was making it timely?
 18        Q.    And is it possible to be pro Ewell and be, you                18          A.   Well, if there was going to be a symposium
 19   know, pro Schenkerian analysis?                                          19     based on Ewell's talk, it would make sense for it to
 20        A.    I think that as Ewell has done, you can admit                 20     occur a month or two after Ewell's talk, rather than a
 21   that Schenkerian analysis has analytical uses, but also                  21     year and month after Ewell's talk.
 22   that it has a history with a race that's very                            22               On the other hand, putting it in Volume 13,
 23   questionable and deserves to be questioned.                              23     even though it would have been delayed, would have been
 24              And so, I don't think that there is this                      24     preferable from the standpoint that there would have
 25   necessity to be black and white, in which you're either                  25     been more time to, you know, allow people to write

                                                          Julia Whaley & Associates   214-668-5578
                                                                                                                  APPX.104
                                                                                                                Page 37 to 40 of 144
Case 4:21-cv-00033-ALM                      Document 84-2 Filed 12/20/24                                 Page 107 of 132 PageID #:
                      Levi Nigem Xenon Walls   5/18/21                                                  Levi Nigem Xenon Walls      5/18/21
                                                        4075
                                                                       41                                                                            43
  1   responses.                                                                  1          A.    Yes.
  2         Q.     It was certainly a lot of work for you, right?                 2          Q.    And did you recognize his article as racist at
  3         A.     Sure.                                                          3    the time?
  4         Q.     It would seem that you worked very hard on this                4          A.    Yes.
  5   project, correct?                                                           5          Q.    And did you leave any writing indicating that
  6         A.     Well, it was my job.                                           6    you felt his article was racist?
 7          Q.     Were you -- did anyone comment about your hard                 7          A.    I did not tell him that his article was racist.
 8    work on the project at the time, that it was deficient                      8    I said that the tone was -- I don't recall exactly what
 9    in any way or that you weren't holding up your end?                         9    I said, but I think I said something along the lines
 10         A.     No. I think I did well in typesetting the                    10     that the tone was confrontational and that his arguments
 11   articles and getting rid of typos and, you know, looking                  11     would come out better if it was not as confrontational
 12   at structure.                                                             12     or if he was less, I don't know, confrontational towards
 13         Q.     And Levi Walls, reading your name "Levi" on the              13     left politics?
 14   next page, page 6. I'm sorry to call you by your first                    14           Q.    Is it racist to be confrontational, is that
 15   name, but it's just that's the name on the thread, no                     15     what you mean?
 16   disrespect intended. You know, about two sentences                        16           A.    I don't believe it's racist to be
 17   down, it says, "I like the job in general, because I                      17     confrontational in itself. I believe it's racist to say
 18   love editing and being involved in research, but I'm not                  18     something along the lines of, left politics being part
 19   in a position to go against the people who control the                    19     of reeducation camps.
 20   journal." You see that?                                                   20           Q.    Did his article say that?
 21         A.     Yes.                                                         21           A.    I believe that was in that article. I could be
 22         Q.     Describe your position on the journal and how                22     mistaken, it could have been in another article.
 23   you felt you were able to discuss the initiatives of the                  23           Q.    And you write here, in fact, you have the
 24   journal with other people on the editorial board for me.                  24     exhibit, "I also don't want to lose my job." Do you see
 25         A.     Well, when it came to discussions of what                    25     where you said that?

                      Levi Nigem Xenon Walls        5/18/21                                             Levi Nigem Xenon Walls      5/18/21
                                                                       42                                                                            44
  1   should and shouldn't go into the journal, even if I had                     1          A.    Yes.
  2   reservations, I generally kept them to myself.                              2          Q.    Did anyone ever threaten you with losing your
  3         Q.     Describe your interactions with authors in the                 3    job at the journal?
  4   editorial process. How did you interact with the                            4          A.    No.
  5   authors?                                                                    5          Q.    In fact, you quit you said, I think, July 29th,
  6         A.     Mostly, I gave comments on readability and if                  6    2020, if I'm not mistaken, or thereabouts?
  7   there was something that they wrote that I thought was,                     7          A.    Yes. And I was encouraged to leave by Benjamin
  8   you know, clumsy or awkward, well, I wouldn't have said                     8    Brand.
  9   "clumsy" to them, that would have come off as rude. But                     9          Q.    Benjamin Brand being the department chair or
 10   if the wording was somehow unclear, I would have                          10     division chair MHTE.
 11   suggested an alternate wording. And, obviously, if they                   11           A.    Yes.
 12   were clear typos, I would have suggested changing those.                  12           Q.    I'm always afraid I'm transposing the letters.
 13              Generally, closest I got to content, at                        13     So, he essentially told you to leave the job, is that
 14   least in the -- you know, well, I suppose in both the                     14     it?
 15   large scale articles and the symposium would be comments                  15           A.    He didn't tell me to leave the job, but he knew
 16   about, like, argumentative structure. Like, if I saw an                   16     I was unhappy in the job, especially in the recent
 17   argument that just rhetorically wasn't clear, but that                    17     months leading up to July. Really, from November to
 18   really doesn't have much to do with like the content of                   18     July. Pre-November, pre-SMT, I was actually rather
 19   it.                                                                       19     happy with the job, just working on those three academic
 20              The closest I got to talking about content                     20     articles.
 21   was with one of the contributors, Barry Wiener. And I                     21                 And up to that point, the input from the
 22   expressed some concern over the tone. But after that, I                   22     editorial board was a lot less. It was after the SMT
 23   stopped doing that.                                                       23     that it became very micromanaged, and that's about the
 24         Q.     And this was an author you now characterize as               24     point where I started to dislike the job.
 25   having published a racist article, correct?                               25                 So, Brand knowing that I was already

                                                           Julia Whaley & Associates   214-668-5578
                                                                                                                       APPX.105
                                                                                                                     Page 41 to 44 of 144
Case 4:21-cv-00033-ALM                      Document 84-2 Filed 12/20/24                               Page 108 of 132 PageID #:
                      Levi Nigem Xenon Walls    5/18/21                                              Levi Nigem Xenon Walls      5/18/21
                                                        4076
                                                                     45                                                                           47
  1   unhappy in the job and had already been concerned about                   1         Q.    But you know for a fact no call for papers for
  2   my name being attached to something that was racist,                      2    a Volume 13, as a kind of follow-up to the symposium
  3   encouraged me to leave the position. And, mainly, did                     3    ever went out.
  4   that by saying that my funding would be okay if I did,                    4         A.    I don't know that for a fact. I just haven't
  5   that I would have a position as a TA, which was my main                   5    seen one. As far as I know, no call ever went out for
  6   concern.                                                                  6    Volume 13.
  7         Q.     Which is what you've done now, correct? You've               7         Q.    Did you prepare any such call for papers?
  8   continued as a TA, correct?                                               8         A.    No.
  9         A.     Yes.                                                         9         Q.    You participated directly in the call for
 10         Q.     And no one was issuing statements for you to be            10     papers that went out for the symposium, correct?
 11   fired, correct?                                                         11          A.    Yes.
 12         A.     No.                                                        12          Q.    Isn't this a normal part of editorial practice,
 13         Q.     And it was -- you were becoming dissatisfied               13     to call for responses to controversial articles that
 14   with the job, you said from November up through July, so                14     have been published?
 15   sounds like from the Philip Ewell talk through the                      15          A.    To the best of my knowledge, I think that's
 16   publication of the journal and the resulting fallout,                   16     normal, although I got a sense from other people that
 17   because of the racist content of the journal.                           17     what would have been more standard would have been to
 18         A.     Yes.                                                       18     specifically invite Ewell from the beginning.
 19                      (DEPOSITION EXHIBIT 7 MARKED.)                       19          Q.    Do you know that Ewell was not invited to
 20         Q.     (By Mr. Allen) I think you're on this e-mail,              20     participate in the symposium?
 21   Mr. Walls. Is this your e-mail, LeviWalls@my.unt.edu?                   21          A.    He wasn't directly or explicitly invited.
 22         A.     Yes.                                                       22          Q.    Was he invited in some way?
 23         Q.     Do you recall this e-mail?                                 23          A.    It is true that the call went out general or
 24         A.     Yes, I do.                                                 24     generally through the SMT list, I think, and so,
 25         Q.     And isn't it true that this e-mail discusses               25     theoretically, he might have had access to the call, if

                      Levi Nigem Xenon Walls       5/18/21                                           Levi Nigem Xenon Walls      5/18/21
                                                                     46                                                                           48
  1   having a response from Ewell and others who might want                    1    he keeps track of the SMT list, which I mean, I imagine
  2   to respond to the symposium in a Volume 13?                               2    he does, but he wouldn't have been invited specifically.
  3         A.     I have to remind myself everything that was                  3         Q.    Do you know if Ewell participated in any of the
  4   said in this e-mail. Could I just have a moment to                        4    authors' publications that were pro-Ewell that appeared
  5   review it?                                                                5    in the symposium, by either consulting with them or
  6         Q.     Of course. Of course. I should have said that                6    reading their papers in advance or in any form like
  7   at the beginning, and I'm sure your attorney would have                   7    that? Did you have any knowledge of that, as an editor?
  8   objected if I forced you to comment on a document that                    8         A.    I think one of the articles mentioned in --
  9   you couldn't read. If at any time you need time to                        9    sorry -- acknowledgments that they consulted with Ewell,
 10   examine a document, please just say so.                                 10     just asking his opinion on what they wrote, but I
 11         A.     All right. What was your question?                         11     don't -- I want to say Lett's, that could be wrong.
 12         Q.     So, this e-mail discusses having a response                12     Stephen Lett.
 13   from Ewell, as well as others, to the symposium in                      13          Q.    Stephen Lett's publication, is that what you're
 14   Volume 13, which would have appeared in the next                        14     referring to?
 15   subsequent volume of the Journal for Schenkerian                        15          A.    Yes. I believe that was the one with the
 16   Studies, correct?                                                       16     acknowledgment mentioning that they ran it by Ewell for
 17         A.     Yes.                                                       17     comments.
 18         Q.     Do you know if a call for papers ever went out?            18          Q.    So if someone said Ewell had no notice that the
 19         A.     For Volume 13?                                             19     symposium was going to be published, that would be
 20         Q.     Correct.                                                   20     false, correct?
 21         A.     Not that I know of.                                        21                       MR. BOHUSLAV: Objection, calls for
 22         Q.     Why not?                                                   22     speculation.
 23         A.     I mean, I assume if it went out, it would have             23          A.    I think he had notice, but it seemed to me --
 24   went to SMT list, but I actually don't keep track of                    24     and, again, I don't really know Ewell's frame of mind --
 25   it -- SMT list, that is.                                                25     it seems as if he wanted a direct invitation, that if

                                                         Julia Whaley & Associates   214-668-5578
                                                                                                                   APPX.106
                                                                                                                 Page 45 to 48 of 144
Case 4:21-cv-00033-ALM                      Document 84-2 Filed 12/20/24                               Page 109 of 132 PageID #:
                      Levi Nigem Xenon Walls   5/18/21                                               Levi Nigem Xenon Walls       5/18/21
                                                        4077
                                                                      53                                                                          55
  1   specific theoretical issues, but they chose to                             1    Studies, correct?
  2   specifically focus on just the direction that the                          2         A.    Yes.
  3   plenary took, in terms of like being on social issues or                   3         Q.    And they were reacting to what you
  4   being left of center.                                                      4    characterized as the content of Ewell's paper, as you
  5        Q.      Do you consider, for instance, Philip Ewell's                 5    just summarized, correct?
  6   views to be left of center?                                                6         A.    Yes.
  7        A.      Yes.                                                          7         Q.    Did this meeting take place between you and Dr.
  8        Q.      Do you consider them to be moderate views?                    8    Brand?
  9        A.      Yeah. I would say that they're moderate.                      9         A.    Yes.
 10        Q.      How would you characterize his paper in its                 10          Q.    And what did you discuss in that meeting?
 11   substance? If you could summarize his paper in three                     11          A.    I told him that I was worried about what the
 12   sentences, how would you summarize it?                                   12     journal was going to print, because it seemed as if
 13        A.      I mean, that's quite a task. But I would say                13     people were really angry about Ewell's paper, and I
 14   that primarily his paper focused on the -- really,                       14     didn't want the journal to print anything explicitly
 15   the -- what's the word I'm looking for? I suppose the                    15     racist or implicitly racist, and I was afraid that they
 16   debt that music theory has, and to a somewhat lesser                     16     were going to, and so I just told him that I was worried
 17   extent musicology, the debt that it has to white                         17     about that.
 18   supremacist narratives, mainly seen through issues of                    18          Q.    Were you worried about the effect this would
 19   canon, what works are and aren't focused on in academia.                 19     have on your career, too?
 20   And as a part of that, he focused on Schenker as a case                  20          A.    Yeah. I was worried. I was a little bit more
 21   study, since Schenker is a widely practiced methodology                  21     worried about the reputation of the school and the
 22   in North America.                                                        22     departments, but I was also worried about my own
 23        Q.      And is the objection to those opinions what                 23     reputation as being someone who -- whose name would be
 24   you're referring to here? I'm looking at the second                      24     on the journal.
 25   sentence, which is quite long, but I'm going to -- look                  25          Q.    What else did you talk about with Dr. Brand?

                      Levi Nigem Xenon Walls       5/18/21                                           Levi Nigem Xenon Walls       5/18/21
                                                                      54                                                                          56
  1   where it refers to Burkhart, Eric Wen and Damschroder,                     1         A.    I mean, it wasn't a really long meeting. I
  2   and you say, "who I know to have particularly vitriolic                    2    don't recall exactly how long it was, maybe 20 minutes,
  3   opinions about Ewell and his paper." Is it the                             3    and so that's mainly what we stuck to. He did express
  4   objection to those ideas which you summarized what you                     4    the idea that there wasn't much to worry about and that
  5   meant when you wrote that to your chair, Benjamin Brand?                   5    I shouldn't be very worried, that if -- you know, if the
  6                       MR. BOHUSLAV: Objection, vague, compound.              6    journal did express racist -- people who contributed to
  7        A.      Could you re -- or could you be a little bit                  7    the journal expressed racist beliefs, then those were
  8   more clear?                                                                8    their beliefs and not necessarily my own.
  9        Q.      (By Mr. Allen) Sure. I'll just withdraw the                   9         Q.    Did he express any desire or need to eliminate
 10   question, please.                                                        10     the journal at that time?
 11                Let me read the sentence. "Even though we                   11          A.    No.
 12   put out a CFP that I specifically framed in a way that                   12          Q.    Did he express any belief or desire to remove
 13   emphasizes that responses should be thoughtful and                       13     Timothy Jackson from the editorial board?
 14   neutral in tone, Dr. Jackson has been privately                          14          A.    No.
 15   soliciting responses from people (Burkhart, Eric Wen,                    15          Q.    To remove Stephen Slottow from the editorial
 16   Damschroder) who I know to have particularly vitriolic                   16     board?
 17   opinions about Ewell and his paper." Did I read that                     17          A.    No.
 18   correctly?                                                               18          Q.    To replace you with a tenured faculty member in
 19        A.      Yes.                                                        19     any way?
 20        Q.      And you wrote that, right?                                  20          A.    No.
 21        A.      Yes.                                                        21          Q.    And was there anything else you discussed with
 22        Q.      And the particularly vitriolic opinions about               22     Benjamin Brand in that 20-minute meeting?
 23   Ewell and his paper, those you were identifying as the                   23          A.    Let me think. We did briefly discuss the -- as
 24   opinions of the hard core Schenkerians, among whom many                  24     I understood it, the history of Dr. Jackson's
 25   were on the board of the Journal for Schenkerian                         25     understanding of race, and that I didn't have a lot of

                                                          Julia Whaley & Associates   214-668-5578
                                                                                                                    APPX.107
                                                                                                                  Page 53 to 56 of 144
Case 4:21-cv-00033-ALM                      Document 84-2 Filed 12/20/24                               Page 110 of 132 PageID #:
                       Levi Nigem Xenon Walls   5/18/21                                               Levi Nigem Xenon Walls       5/18/21
                                                        4078
                                                                      77                                                                            79
  1   discourse?                                                                 1    we've discussed politically correct discourse, and you
  2        A.       Well, there were a few instances. At one                     2    say in your sentence, politically correct discourse and
  3   point, when discussing Meyerbeer Opera, he used the term                   3    race relations. What I'm trying to ask you is, what are
  4   negro, not necessarily in a case that would have been                      4    you referring to in the phrase "race relations" that we
  5   warranted historically. And in another case, he                            5    have not discussed in terms of politically correct
  6   expressed worry about when he was in school being mugged                   6    discourse?
  7   by black people when he was carrying around his scores.                    7           A.    I suppose just defining race relations would be
  8   That he carried scores around New York a lot, and he                       8    the really relating to societal structure, including
  9   would see black people look at him a certain way and                       9    things like hegemony, like which classes of people tend
 10   would be worried that he was going to be mugged, which                   10     to get resources and which don't. That's, I think, what
 11   seemed incredibly ignorant.                                              11     I meant by race relations.
 12        Q.       When was this, like in the 1970s, 1980s, do you            12            Q.    So, differences in the distribution of wealth,
 13   know?                                                                    13     is that what you mean?
 14        A.       I don't recall exactly when he went to school,             14            A.    Yes, among other things.
 15   but I would guess 1980s.                                                 15            Q.    What other factors do you mean by hegemony?
 16        Q.       Do you know what the crime rates were at that              16     I'm really unsure what hegemony means.
 17   time?                                                                    17            A.    Just basically the status quo. In this case,
 18        A.       Nope.                                                      18     the -- really the uneven distribution of wealth
 19        Q.       Do you think there's any objective basis to                19     following as -- what's the word -- as a consequence of
 20   fear that he might be mugged on the streets of New York                  20     an entire group of people having been enslaved 200 years
 21   in the 1980s?                                                            21     ago.
 22        A.       I think that there is a basis to fear mugging              22            Q.    And by that, you mean black Americans.
 23   anywhere in the U.S., in any state at any time, but not                  23            A.    Yes.
 24   specifically by one group over another.                                  24            Q.    And anything else you mean by hegemony in race
 25        Q.       So, you would believe that it is racist to                 25     relations?
                       Levi Nigem Xenon Walls       5/18/21                                           Levi Nigem Xenon Walls       5/18/21
                                                                      78                                                                            80
  1   believe that statistics showing that certain groups of                     1           A.    I suppose not.
  2   people are more likely, on average, to commit crimes                       2           Q.    You also say -- I'm skipping down yet again to
  3   than other groups would not be a rational basis for                        3    the bottom of that page -- "I feared retaliation from
  4   opinions.                                                                  4    Timothy Jackson because" -- let me start that again. "I
  5        A.       Yes.                                                         5    feared retaliation from Timothy Jackson: He is an
  6        Q.       Whether or not those statistics have any basis               6    incredibly well-connected and influential figure in
  7   in reality.                                                                7    Schenkerian circles."
  8        A.       Yes.                                                         8                 So, I think you had expressed in that first
  9        Q.       And that was part of Jackson's woeful ignorance              9    text message thread with Christopher Segall that you
 10   about politically correct discourse, correct?                            10     feared retaliation, correct?
 11        A.       Yes.                                                       11            A.    Yes.
 12        Q.       And you would believe that any professor, not              12            Q.    And you're repeating that fear here.
 13   just Professor Jackson, should hue and observe                           13            A.    Yes.
 14   politically correct discourse, is that your basic                        14            Q.    And I believe that this being July 27th is
 15   belief?                                                                  15     approximately the same time frame, is that correct?
 16        A.       Yes.                                                       16            A.    Yes.
 17        Q.       And is there anything in the category race                 17            Q.    And we established already that you can't
 18   relations that you believe is included in politically                    18     really identify any specific incident in which you were
 19   correct discourse that we haven't discussed as part of                   19     retaliated against, correct?
 20   politically correct discourse?                                           20            A.    No. Because I was very careful not to give him
 21                        MR. BOHUSLAV: Objection, vague.                     21     reason to retaliate against me up until that point.
 22        A.       Yeah, I'm a little turned around by that                   22            Q.    So, your position is that you might have been
 23   question. Could you rephrase it?                                         23     retaliated against, but for not saying things or
 24        Q.       (By Mr. Allen) Yeah. Let me strike that                    24     something of that nature.
 25   question. What I'm trying to get at, Mr. Walls, is                       25            A.    I was sure I would have been.

                                                          Julia Whaley & Associates   214-668-5578
                                                                                                                      APPX.108
                                                                                                                    Page 77 to 80 of 144
Case 4:21-cv-00033-ALM                    Document 84-2 Filed 12/20/24                               Page 111 of 132 PageID #:
                     Levi Nigem Xenon Walls   5/18/21                                               Levi Nigem Xenon Walls       5/18/21
                                                      4079
                                                                    81                                                                             83
  1        Q.     What made you sure?                                          1            A.   I'm sure it is because the issue was, as I
  2        A.     Talking to people who have been retaliated                   2    understand, taken up with administration.
  3   against, and just knowing -- just how he is, in terms of                 3            Q.   So, this was vetted with the administration, as
  4   getting his own way about things.                                        4    far as you know?
  5        Q.     Who had Timothy Jackson retaliated against in                5            A.   As far as I know.
  6   the past?                                                                6            Q.   Do you agree that a student should not get a
  7        A.     Yiyi Gao.                                                    7    passing grade for work that's not passing?
  8        Q.     Anyone else you can think of?                                8            A.   But the work was passing. That's why I got a
  9        A.     I don't remember her last name, but a previous               9    passing grade.
 10   Schenker RA, Rachel something.                                         10             Q.   How do you know that?
 11        Q.     Would it be Rachel Gain?                                   11             A.   Because I got a passing grade.
 12        A.     It was not Rachel Gain.                                    12             Q.   I thought you said it was changed from a
 13        Q.     So, you can't remember the name of this other              13     passing to failing grade.
 14   Schenker RA?                                                           14             A.   It was changed from a passing to failing grade,
 15        A.     I don't recall her last name. We never really              15     when the student didn't do what they wanted -- what Dr.
 16   spoke in person. I was just told about their problems                  16     Jackson wanted.
 17   from another person, David Falterman, who also                         17             Q.   What was that?
 18   expressed -- expressed grievances about retaliation.                   18             A.   To keep typesetting materials after the
 19        Q.     David Falterman?                                           19     independent study had ended.
 20        A.     David.                                                     20             Q.   So, your view is or your understanding of this
 21        Q.     David.                                                     21     so-called retaliation was requiring a student to keep
 22        A.     Yeah.                                                      22     typesetting work after a semester had ended for which
 23        Q.     Can you spell his last name, if you know it?               23     they got a passing grade.
 24        A.     F-A-L-T-E-R-M-A-N.                                         24             A.   Yes. A student should not be ordered to
 25        Q.     And would the Rachel be Rachel Anderson, by any            25     continue work that they are no longer getting school

                     Levi Nigem Xenon Walls       5/18/21                                           Levi Nigem Xenon Walls       5/18/21
                                                                    82                                                                             84
  1   chance?                                                                  1    credits for.
  2        A.     I'm really not sure.                                         2            Q.   So, she should have got a non-passing grade and
  3        Q.     So, you can't identify the second person,                    3    not have been afforded the opportunity to finish that
  4   correct?                                                                 4    work. Is that what you understand?
  5        A.     I just simply don't remember their last name.                5            A.   They got a passing grade because I assume they
  6        Q.     And you knew about it only through other people              6    finished the work or else they wouldn't have gotten a
  7   telling you things.                                                      7    passing grade. It's only when they refused to keep
  8        A.     I knew about it through David, who talked to                 8    doing work that they were given a failing grade.
  9   them.                                                                    9            Q.   Do you have any knowledge of whether the work
 10        Q.     And do you know if David Falterman -- if David             10     up to that point was unsatisfactory or not?
 11   Falterman experienced any retaliation?                                 11             A.   No. I assume it was just by virtue of the fact
 12        A.     He said that he did, although he didn't go into            12     that it was given a passing grade.
 13   detail.                                                                13             Q.   So, the basic point is, you don't really
 14        Q.     And do you know any of the details about the               14     understand the circumstances that led to this passing
 15   supposed retaliation against the Schenker RA?                          15     grade supposedly being given, correct?
 16        A.     I don't know the specific details.                         16             A.   I don't know all the circumstances, I just know
 17        Q.     How about Yiyi Gao, what do you know about                 17     that it was wrong.
 18   supposed retaliation against this individual?                          18             Q.   And did you hear this from Yiyi Gao directly?
 19        A.     That one, I know more about. I know that there             19             A.   I don't remember who I heard it from. It might
 20   was a point where they were asked to keep typesetting                  20     have been from Yiyi, or it might have been from a mutual
 21   materials after an independent study had ended, and they               21     friend.
 22   couldn't because they were going home to see family.                   22             Q.   So, you can't identify now where you heard
 23   And when they said that, Dr. Jackson retroactively                     23     this.
 24   changed their passing grade to a failing grade.                        24             A.   I think it was Yiyi, I'm just not 100 percent
 25        Q.     And do you know if this is documented anywhere?            25     certain.

                                                        Julia Whaley & Associates   214-668-5578
                                                                                                                    APPX.109
                                                                                                                  Page 81 to 84 of 144
Case 4:21-cv-00033-ALM                      Document 84-2 Filed 12/20/24                            Page 112 of 132 PageID
                                                                                                   Levi Nigem Xenon Walls
                                                                                                                      5/18/21
                                                                                                                              #:
                       Levi Nigem Xenon Walls   5/18/21
                                                        4080                                                                                 143
                                                                    141
                                                                               1              IN THE UNITED STATES DISTRICT COURT
  1   there's something I'm forgetting, okay?
                                                                                               FOR THE EASTERN DISTRICT OF TEXAS
  2                        MR. BOHUSLAV: Okay.                                 2                      SHERMAN DIVISION
  3                        (OFF THE RECORD FROM 4:46 TO 4:51 P.M.)             3    TIMOTHY JACKSON,           )
  4            Q.   (By Mr. Allen) Mr. Walls, I just had one last                                     )
                                                                               4         Plaintiff,     )
  5   question, and it goes back to the meeting in the car you
                                                                                                      ) Case No.
  6   had with Professor Jackson, which you described in the                   5    v.                 )
  7   middle of a snowstorm in February at some point. Did I                                          ) 4:21-cv-00033-ALM
  8   characterize that correctly?                                             6    LAURA WRIGHT, et al,      )
                                                                                                      )
  9            A.   I wouldn't call it a snowstorm. It was just
                                                                               7         Defendants.      )
 10   lightly snowing.
                                                                                                      )
 11            Q.   And did you go into the car to escape the                  8
 12   weather?                                                                 9                 -----------------------------------
 13            A.   That was how he suggested it.                            10                         DEPOSITION CERTIFICATE
                                                                             11                         LEVI NIGEM XENON WALLS
 14            Q.   Did he use force in any way?
                                                                             12                               MAY 18, 2021
 15            A.   No.                                                      13                  -----------------------------------
 16            Q.   Did he use coercion in any way?                          14

 17            A.   No. I could have said "no".                              15             I, Nita G. Cullen, Certified Shorthand
                                                                             16     Reporter in and for the State of Texas, hereby certify
 18            Q.   Thank you. And so, he didn't threaten you, if
                                                                             17     to the following:
 19   you did not go into his car.
                                                                             18             That the witness, LEVI NIGEM XENON WALLS, was
 20            A.   No. But he suggested that we go into the car,            19     duly sworn by the officer and that the transcript of the
 21   and I just have trouble saying no to people who are my                 20     oral deposition is a true record of the testimony given
 22   advisor. And so, even though I was uncomfortable, I                    21     by the witness;
                                                                             22             I further certify that pursuant to FRCP Rule
 23   went into the car.
                                                                             23     30(f)(1) that the signature of the deponent:
 24            Q.   But you said you could have said no, correct?            24                ___ was requested by the deponent or a
 25            A.   Yes.                                                     25     party before the completion of the deposition and is to
                       Levi Nigem Xenon Walls      5/18/21                                         Levi Nigem Xenon Walls       5/18/21
                                                                    142                                                                      144
                                                                               1    be returned within 30 days from date of receipt of the
  1                        MR. ALLEN: Okay. That's all. I pass the
                                                                               2    transcript. If returned, the attached Changes and
  2   witness to you, Mr. Bohuslav.
                                                                               3    Signature Page contains any changes and the reasons
  3                        MR. BOHUSLAV: We'll reserve till time of            4    therefor;
  4   trial.                                                                   5                X was not requested by the deponent or a
  5                        MR. ALLEN: Thank you so much. Thank you             6    party before the completion of the deposition.
  6   for your time. Good luck with your graduate studies.                     7            I further certify that I am neither attorney

  7                        (DEPOSITION ADJOURNED AT 4:52 P.M.)                 8    or counsel for, nor related to or employed by, any of the
                                                                               9    parties or attorneys to the action in which this
  8
                                                                             10     deposition was taken.
  9
                                                                             11             Further, I am not a relative or employee of
 10                                                                          12     any attorney of record in this case, nor am I financially
 11                                                                          13     interested in the outcome of the action.
 12                                                                          14             Subscribed and sworn to on this 14th day of
 13                                                                          15     June, 2021.
                                                                             16
 14
                                                                             17
 15
                                                                             18                    _________________________________
 16
                                                                                                   NITA G. CULLEN, Texas CSR #1563
 17                                                                          19                    Expiration Date: 08-31-2022
 18                                                                                                JULIA WHALEY & ASSOCIATES
 19                                                                          20                    Firm Registration No. 436
 20                                                                                                    2012 Vista Crest Drive
                                                                             21                    Carrollton, Texas 75007-1640
 21
                                                                                                   214.668.5578
 22
                                                                             22
 23
                                                                             23
 24                                                                          24
 25                                                                          25

                                                        Julia Whaley & Associates   214-668-5578            PageAPPX.110
                                                                                                                 141 to 144 of 144
Case 4:21-cv-00033-ALM   Document 84-2 Filed 12/20/24   Page 113 of 132 PageID #:
                                     4081




                                                                  APPX.111
Case 4:21-cv-00033-ALM   Document 84-2 Filed 12/20/24   Page 114 of 132 PageID #:
                                     4082




                                                                  APPX.112
Case 4:21-cv-00033-ALM   Document 84-2 Filed 12/20/24   Page 115 of 132 PageID #:
                                     4083




                                                                  APPX.113
Case 4:21-cv-00033-ALM   Document 84-2 Filed 12/20/24   Page 116 of 132 PageID #:
                                     4084




                                                                 APPX.114
Case 4:21-cv-00033-ALM   Document 84-2 Filed 12/20/24   Page 117 of 132 PageID #:
                                     4085




                                                                 APPX.115
Case 4:21-cv-00033-ALM   Document 84-2 Filed 12/20/24   Page 118 of 132 PageID #:
                                     4086




                                                                  APPX.116
Case 4:21-cv-00033-ALM   Document 84-2 Filed 12/20/24   Page 119 of 132 PageID #:
                                     4087




                                                                  APPX.117
Case 4:21-cv-00033-ALM                      Document 84-2 Filed 12/20/24                                  Page 120 of 132 PageID #:
                                                        4088
                        John Toaru Ishiyama, Ph.D.       9/27/24           1                                     John Toaru Ishiyama, Ph.D.   9/27/24                   3



        1                  UNITED STATES DISTRICT COURT                                       1                                I N D E X
                           FOR THE EASTERN DISTRICT OF                                                                                                  PAGE
        2                        SHERMAN DIVISION                                             2
                                                                                                        Appearances...............................        2
        3 TIMOTHY JACKSON,                  )                                                 3
                                            )                                                           Stipulations..............................        5
        4         Plaintiff,                )                                                 4
                                            )                                                      JOHN TOARU ISHIYAMA, Ph.D.
        5   vs.                             )   CASE NO. 4:21-CV-00033-ALM                    5
                                            )                                                              Direct Examination by Mr. Allen........        6
        6   LAURA WRIGHT, et al.,           )                                                 6
                                            )
        7         Defendants.               )                                                 7    Corrections and Changes........................ 129

        8 ********************************************************                            8    Reporter's Certificate......................... 131

        9               VIDEOTAPED ZOOM ORAL DEPOSITION OF                                    9
                                                                                                                             EXHIBITS
       10                      JOHN TOARU ISHIYAMA, Ph.D.                                    10
                                                                                                        NUMBER              DESCRIPTION                 MARKED
       11                          September 27, 2024                                        11
                                                                                                  Exhibit 1      Re-Notice of Taking Deposition........         7
       12                          (Reported Remotely)                                       12
                                                                                                  Exhibit 2      Email Chain Ending 8-3-20, Cowley to
       13 ********************************************************                           13                  Ishiyama, Request to Serve on Ad Hoc
                                                                                                                 Review Panel
       14         VIDEOTAPED ORAL DEPOSITION OF JOHN TOARU ISHIYAMA,                         14                  (UNT 002453 - 002454).................        20

       15 Ph.D., produced as a witness at the instance of the                                15   Exhibit 3      Ad Hoc Review Panel Report (Exhibit D)
                                                                                                                 (JACKSON000208 - 000233)..............        23
       16 Plaintiff and duly sworn, was taken in the above-styled                            16
                                                                                                  Exhibit 4      COPE Guidelines: A Short Guide to
       17 and -numbered cause on the 27th day of September, 2024,                            17                  Ethical Editing for New Editors
                                                                                                                 (UNT 003303 - 003314).................        34
       18 from 9:13 a.m. to 12:35 p.m., before Kim D. Carrell,                               18
                                                                                                  Exhibit 5      Theoria Title Page, List of Articles,
       19 Certified Shorthand Reporter in and for the State of                               19                  Directions to Contributors, Volume
                                                                                                                 26-2020...............................        43
       20 Texas, reported remotely by computerized stenotype                                 20
                                                                                                  Exhibit 6      Emails ending 10-14-20, Ishiyama to
       21 machine at the University of North Texas System,                                   21                  Jackson, et al. RE: Talk With UNT Ad
                                                                                                                 Hoc Journal Review Panel
       22 801 North Texas Boulevard, Gateway Suite #308, Denton,                             22                  (UNT 002634 - 002635).................        50

       23 Texas, pursuant to the Federal Rules of Civil Procedure                            23   Exhibit 7      Handwritten Notes, 9-16-20, Ad Hoc
                                                                                                                 Journal Review Committee..............        63
       24 and the provisions stated on the record or attached                                24
                                                                                                  Exhibit 8      Potential Questions for Benjamin Brand
       25 hereto.                                                                            25                  Chair of the Division of History,
                                                                                                                 Theory & Ethnomusicology..............        68




                                                                                                      John Toaru Ishiyama, Ph.D.                        9/27/24
                                                                                                                                                                    4
                        John Toaru Ishiyama, Ph.D.       9/27/24           2        1


        1                              APPEARANCES                                  2    Exhibit 9         PLoS Medicine Article, What Should

        2 FOR THE PLAINTIFF:
                                                                                                        Be Done to Tackle Ghostwriting in
                                                                                    3                   the Medical Literature............. 71
        3         Mr. Michael Thad Allen
                  ALLEN LAW, LLC
        4         P.O. Box 404
                  Quaker Hill, CT 06375                                             4    Exhibit 10           Walls Facebook Post
        5         Telephone: 860.772.4738 - Fax: 860.469.2783
                  E-mail: m.allen@allen-lawfirm.com                                                      (JACKSON 000234 - 000236).......... 81
        6                                                                           5
        7 FOR THE DEFENDANTS:                                                            Exhibit 11           Email Chain ending 9-30-20, Walls
        8         Ms. Mary Quimby                                                   6                   to Ishiyama
                  Assistant Attorney General
        9         General Litigation Division                                                           (UNT 002533)....................... 83
                  P.O. Box 12548, Capital Station
       10         Austin, Texas 78711
                                                                                    7
                  Telephone: 512.463.2120 - Fax: 512.320.0667                            Exhibit 12           Jackson Materials for the
       11         E-mail: Mary.Quimby@oag.texas.gov
                                                                                    8                   Committee
       12             - and -
                                                                                                        (UNT 002645 - 002782).............. 99
       13         Mr. Renaldo Stowers     (Appearing Live)
                  University of North Texas System                                  9
       14         Office of General Counsel
                  801 North Texas Boulevard
                                                                                         Exhibit 13           Email, 10-2-20, Ishiyama to
       15         Denton, Texas 76201                                             10                     TitleIX, et al. Reporting on an
                  Telephone: 940.565.2717 - Fax: 940.369.7026
       16         E-mail: Renaldo.Stowers@untsystem.edu                                                 Incident
       17                                                                         11                    (UNT 003435).......................117
       18 ALSO PRESENT:        Jason Warner, Videographer                         12
                               lvg.dallas@gmail.com                               13
       19
                                                                                  14
       20
                                                                                  15
       21
                                                                                  16
       22
                                                                                  17
       23                                                                         18
       24                                                                         19
       25                                                                         20
                                                                                  21
                                                                                  22
                                                                                  23
                                                                                  24
                                                                                  25

                                                             Julia Whaley & Associates   214-668-5578
                                                                                                                               APPX.118
                                                                                                                               Page 1 to 4 of 102
Case 4:21-cv-00033-ALM                       Document 84-2 Filed 12/20/24 Page 121 of 132 PageID #:
                    John Toaru Ishiyama, Ph.D.    9/27/24                John Toaru Ishiyama, Ph.D. 9/27/24
                                                          4089
                                                                     85                                                                            87
  1        A.     Yes. I don't recall him specifically saying it                1    consider.
  2   to us in our testimony, but he did seem to indicate that                  2         Q.     Okay. And did you include that in the Ad Hoc
  3   he had little control over the content.                                   3    Panel Report?
  4        Q.     Did -- sorry, go ahead.                                       4         A.     Yes, the power differential is clearly
  5        A.     Even as editor.                                               5    indicated as a problem with the journal. It has been a
 6         Q.     He also said he was -- it was an extremely                    6    problem for some time.
 7    shameful position to be the editor at the Journal of                      7         Q.     And it caused him not to be able to assert his
 8    Schenkerian Studies?                                                      8    own editorial views; is that correct?
 9                 MS. QUIMBY: Objection, form.                                 9         A.     That would be true. That's also something that
 10        A.     He may have. I do not recall. But it's his                  10     Dr. Graf said as well, the previous editor.
 11   testimony and it appears here in writing, so...                         11          Q.     And now, I know you didn't, as you say
 12        Q.     And you received this email, right?                         12     apparently, address the content of the journal. That
 13        A.     Yes, although I don't recall specifically                   13     was a matter of indifference to you, I suppose. But he
 14   word for word what the email said, but...                               14     also says here that he thought he essentially agreed with
 15        Q.     He also went on to give some concrete examples.             15     Philip Ewell's talk.
 16   For instance here, let's just read this, which I'm going                16          A.     That may be true. I do not know what Philip
 17   to highlight briefly for the purpose of our testimony.                  17     Ewell's talk was about, nor did -- not did most all of
 18             "For the first few months, the job seemed fine                18     our committee -- I think our committee members didn't
 19   as I got to work with three articles on various topics.                 19     know either.
 20   Typesetting and offering clarity related edits."                        20          Q.     I'm not imputing -- I'm not imputing to your
 21        A.     Um-hum.                                                     21     knowledge of -- in fact, you've testified that the
 22        Q.     However, after Philip Ewell's SMT presentation,             22     knowledge of the actual controversy was a matter of
 23   Timothy Jackson decided that it was the responsibility of               23     indifference to the panel, right?
 24   the Journal to, quote, protect Schenkerian analysis.                    24          A.     Yes, absolutely.
 25                "Although, after serious thought, I                        25          Q.     I think you -- so you've already stated that, I
                    John Toaru Ishiyama, Ph.D.     9/27/24                                        John Toaru Ishiyama, Ph.D.        9/27/24
                                                                     86                                                                            88
  1   essentially agreed with Ewell's talk. It was not up to                    1    think, more than once. So I understand that's your
  2   me what did or did not go into the journal. After seeing                  2    testimony.
  3   some of the responses, I started to become incredibly                     3         A.     Um-hum.
  4   worried. I gave comments to one author, including                         4         Q.     But here, this witness, a very key witness, can
  5   that they seemed to devalue other fields of study, that                   5    we agree, the student editor of the journal?
  6   they cherrypicked information to make Schenker appear                     6         A.     I would say a witness, not a key witness.
  7   in a better light, and that they confused cultural                        7    We had multiple bits of evidence, multiple pieces of
  8   appropriation with egalitarianism. Shortly after, I was                   8    evidence that we considered.
  9   told by Timothy Jackson (my superior in at least three                    9         Q.     Oh, I don't deny that. But he's --
 10   senses: A tenured faculty member who ran the journal and                10          A.     I would not say he's the key witness.
 11   also served as my academic advisor) that it was not my                  11          Q.     He was an important witness. Would you
 12   job to censor people. After this, things continued to                   12     disagree?
 13   go in a direction that I found to be disgusting."                       13          A.     I would say he is a witness.
 14             Did I read that correctly?                                    14          Q.     Just a witness among others, right?
 15        A.     Yes, you did.                                               15          A.     Among others, yes.
 16        Q.     Did that implicate the processes by which the               16          Q.     That's your testimony today?
 17   journal was published?                                                  17          A.     Yes.
 18        A.     Well, some of it did. Not -- much of                        18          Q.     And he's telling you, as a member of the ad hoc
 19   it had to do with the content. Again, which I have to                   19     panel, that he essentially agreed with Philip Ewell's
 20   reiterate, we ignored the content of the articles and                   20     talk, and he relates how this complicated his work as
 21   what was being said. But the power differential between                 21     the editor of the journal, right?
 22   Levi Walls who's officially the editor of the journal --                22                  MS. QUIMBY: Objection, form.
 23        Q.     Sure.                                                       23          A.     I cannot infer that was his meeting, but that
 24        A.     -- and the actual process by which decisions                24     was irrelevant to us.
 25   were made, that is -- that is something that we did                     25          Q.     It's certainly part of an editor's task to

                                                         Julia Whaley & Associates   214-668-5578
                                                                                                                    APPX.119
                                                                                                                  Page 85 to 88 of 102
Case 4:21-cv-00033-ALM                     Document 84-2 Filed 12/20/24 Page 122 of 132 PageID #:
                   John Toaru Ishiyama, Ph.D.  9/27/24                 John Toaru Ishiyama, Ph.D. 9/27/24
                                                       4090
                                                                     93                                                                            95
  1        Q.     I see.                                                        1    editorial review, then the editor does have the
  2        A.     Not on content.                                               2    responsibility to review a piece. But I don't understand
  3        Q.     And I've always been puzzled by this section,                 3    the status of these articles, if they were peer reviewed
  4   Professor Ishiyama, because is it ever the job of an                      4    or if they were editor reviewed. It seems confusing.
  5   editor of a journal to censor people?                                     5           Q.     I understand. Sure, I understand. Although
  6                MS. QUIMBY: Objection, form.                                 6    you were given an extensive packet of e-mails that were,
  7        A.     Again, it could depend on what you mean by                    7    more or less, comprehensive, detailing the communications
  8   censor.                                                                   8    between the editorial staff that led to the publication
  9        Q.     Well, you put it in your report, so that's                    9    of these articles, right?
 10   why I'm asking you.                                                     10            A.     Yes.
 11        A.     Well, no. This is a quote. It's in the                      11            Q.     I'm going to represent to you, because you've
 12   report, but it's a quote from what Dr. Jackson was                      12     said the content of the publication didn't matter to you
 13   reported to say.                                                        13     supposedly.
 14        Q.     Sure.                                                       14            A.     It did not.
 15        A.     I don't think we need -- I would ask perhaps                15            Q.     There was a paper delivered by this public
 16   the plaintiff to define that.                                           16     intellectual music theory professor from New York named
 17        Q.     Well, they had a chance to depose Professor                 17     Philip Ewell. He gave a plenary presentation at the
 18   Jackson. But again, we're talking about the Ad Hoc Panel                18     Society for Music Theory that was very well received, but
 19   Report. And I'm asking --                                               19     nonetheless, controversial. Then the call for papers
 20        A.     Okay. This is a quote. Again, this is a                     20     went out for the Journal of Schenkerian Studies for
 21   quote.                                                                  21     soliciting responses to this article -- or excuse me, to
 22        Q.     Oh, I understand. It's a quote that you placed              22     this presentation at this Society for Music Theory. The
 23   in the Ad Hoc Panel Report, right?                                      23     papers that were published in Volume 12 in the Symposium
 24        A.     As dutifully reflecting what the testimony                  24     were roughly split between people who were pro-Ewell and
 25   said.                                                                   25     people who were anti-Ewell.
                   John Toaru Ishiyama, Ph.D.       9/27/24                                          John Toaru Ishiyama, Ph.D.     9/27/24
                                                                     94                                                                            96
  1        Q.     Of Levi Walls.                                                1                Do you have any information to suggest that
  2        A.     Of Levi Walls, yes.                                           2    my summary to you is wrong in any way?
  3        Q.     And now, I want to ask a follow-up question.                  3           A.     I have no idea what the content of the journal
  4             In your experience and expertise as an                          4    was.
  5   academic editor of journals, can you identify a context                   5           Q.     Okay, good.
  6   in which it's appropriate for an editor to censor people?                 6           A.     I don't even know if some were pro. I have not
  7                MS. QUIMBY: Objection, form.                                 7    read a single piece. I'm not even sure what Philip Ewell
  8        A.     I don't think -- it depends on what you mean by               8    said, as I've said before.
  9   censor. If you mean the job is to edit and marshal the                    9           Q.     So you didn't read a single one of the
 10   peer-review process, then yes, that is the responsibility               10     contributions in Volume 12 of the Journal of Schenkerian
 11   of the editor. But censorship is not something we                       11     Studies?
 12   consider.                                                               12            A.     No, no.
 13        Q.     Is it -- is it appropriate for an academic                  13                    MS. QUIMBY: Objection.
 14   editor to censor for viewpoints?                                        14                 Renaldo, please. I think I'm having a -- on
 15        A.     I'm not going to venture an opinion. I would,               15     my end, I'm having freezing. Is that mine freezing? I
 16   myself, not do that. I don't think censorship is part of                16     can see myself kind of jump around on the screen. I just
 17   the discussion. Rather, it's the editor's job to make                   17     want to kind sure my objections were heard. I don't know
 18   sure the pear-review process had integrity.                             18     that I was able to get them in because of the --
 19        Q.     Okay.                                                       19                    MR. ALLEN: I'm seeing you freezing, too,
 20        A.     That it is peer reviewed.                                   20     Mary. So I know what you mean. If you want to -- I
 21        Q.     And not to short-circuit the peer-review                    21     don't know. Was it to form? Now, she's totally frozen.
 22   process by telling an author that they may or may not                   22                    THE VIDEOGRAPHER: Do you want to go off
 23   express a certain view?                                                 23     the record?
 24        A.     Well, I mean, it depends. If this is --                     24                    MR. ALLEN: Sure.
 25   if the argument is that these pieces were edited --                     25                    THE VIDEOGRAPHER: Off the record at

                                                         Julia Whaley & Associates   214-668-5578
                                                                                                                     APPX.120
                                                                                                                   Page 93 to 96 of 102
Case 4:21-cv-00033-ALM                   Document 84-2 Filed 12/20/24 John Page
                                                                             Toaru 123   of 132
                                                                                   Ishiyama, Ph.D. PageID
                                                                                                    9/27/24 #:
                    John Toaru Ishiyama, Ph.D.
                                             9/27/24
                                                     4091   1
                                                                                                               130
                                                               _____________________________________________________
                                                                     128
                                                                                 2    _____________________________________________________
  1                MR. ALLEN: Okay. I'm going to pass the                        3        I, JOHN TOARU ISHIYAMA, Ph.D., have read the
                                                                                 4    foregoing deposition and hereby affix my signature that
  2   witness, Mary.                                                             5    same is true and correct, except as noted above.
                                                                                 6
  3                MS. QUIMBY: I'll reserve my questions
  4   for trial.                                                                 7

  5                MR. ALLEN: Thank you, Professor                               8                             ____________________________
                                                                                                               JOHN TOARU ISHIYAMA, Ph.D.
  6   Ishiyama.                                                                  9
  7                 (No deletions.)
                                                                               10     THE STATE OF ________________)
  8                THE VIDEOGRAPHER: Off the record at
                                                                               11     COUNTY OF ___________________)
  9   12:35.
                                                                               12         Before me, __________________________, on this day
 10                 (Proceedings concluded at 12:35 p.m.)                             personally appeared JOHN TOARU ISHIYAMA, Ph.D., known to
                                                                               13     me or proved to me on the oath of _______________________
 11
                                                                                      or through ______________________________ (description of
 12                                                                            14     identity card or other document) to be the person whose
                                                                                      name is subscribed to the foregoing instrument and
 13                                                                            15     acknowledged to me that he/she executed the same for the
                                                                                      purpose and consideration therein expressed.
 14                                                                            16
 15                                                                                            Given under my hand and seal of office on this
                                                                               17
 16                                                                                   _______ day of __________________, ________.
                                                                               18
 17
                                                                               19
 18                                                                                                          _____________________________
 19                                                                            20                            NOTARY PUBLIC IN AND FOR
                                                                                                             THE STATE OF ________________
 20                                                                            21

 21                                                                            22     My Commission Expires: ___________
 22                                                                            23
 23
                                                                               24
 24
                                                                               25
 25

                    John Toaru Ishiyama, Ph.D.     9/27/24                                               John Toaru Ishiyama, Ph.D.    9/27/24
                                                                                                                                                  131
                                                                     129
                                                                                 1                          UNITED STATES DISTRICT COURT
  1                        CHANGES AND SIGNATURE
                                                                                                            FOR THE EASTERN DISTRICT OF
  2   WITNESS: JOHN TOARU ISHIYAMA, Ph.D.
                                                                                 2                                  SHERMAN DIVISION
  3   DATE: SEPTEMBER 27, 2024                                                   3    TIMOTHY JACKSON,                   )
  4    PAGE/LINE           CHANGE                REASON                                                                      )

  5   _____________________________________________________                      4          Plaintiff,          )
                                                                                                                             )
  6   _____________________________________________________
                                                                                 5    vs.                       ) CASE NO. 4:21-CV-00033-ALM
  7   _____________________________________________________
                                                                                                                             )
  8   _____________________________________________________                      6    LAURA WRIGHT, et al.,              )
  9   _____________________________________________________                                                                  )
 10   _____________________________________________________                      7          Defendants.              )
                                                                                 8               __________________________________________
 11   _____________________________________________________
                                                                                 9                 REPORTER'S CERTIFICATION OF
 12   _____________________________________________________
                                                                               10              ORAL DEPOSITION OF JOHN TOARU ISHIYAMA, Ph.D.
 13   _____________________________________________________                    11                                September 27, 2024
 14   _____________________________________________________                    12                ___________________________________________
 15   _____________________________________________________                    13           I, KIM D. CARRELL, a Certified Shorthand Reporter

 16   _____________________________________________________                    14     in and for the State of Texas, hereby certify to the
                                                                               15     following:
 17   _____________________________________________________
                                                                               16           That the witness, JOHN TOARU ISHIYAMA, Ph.D., was
 18   _____________________________________________________
                                                                               17     duly sworn and that the transcript of the oral deposition
 19   _____________________________________________________                    18     is a true record of the testimony given by the witness;
 20   _____________________________________________________                    19           That the deposition transcript was duly submitted
 21   _____________________________________________________                    20     on October 28, 2024, to Ms. Mary Quimby, for examination,
                                                                               21     signature, and return to me by November 27, 2024;
 22   _____________________________________________________
                                                                               22           That pursuant to the information given to the
 23   _____________________________________________________
                                                                               23     deposition officer at the time said testimony was taken,
 24   _____________________________________________________                    24     the following includes all partes of record and the
 25   _____________________________________________________                    25     amount of time used by each party at the time of the

                                                          Julia Whaley & Associates   214-668-5578                   PageAPPX.121
                                                                                                                          128 to 131 of 128
Case 4:21-cv-00033-ALM        Document
            John Toaru Ishiyama, Ph.D.  84-2 Filed 12/20/24
                                       9/27/24                                          Page 124 of 132 PageID #:
                                            4092
                                             132
  1   deposition;
  2      Mr. Michael Thad Allen - 02 HRS: 47 MIN
             Attorney for the Plaintiff
  3
         Ms. Mary Quimby - 00 HRS: 00 MIN
  4         Attorney for the Defendants

  5       I further certify that I am neither counsel for,
  6   related to, nor employed by any of the parties or
  7   attorneys in the action in which this proceeding was
  8   taken, and further that I am not financially or
  9   otherwise interested in the outcome of the action.
 10       Certified to by me on this 28th day of October,
 11   2024.
 12
 13
                     _______________________________
 14                  Kim D. Carrell, CSR NO. 1184
                     Date of Expiration: 7-31-26
 15
                     JULIA WHALEY & ASSOCIATES, INC.
 16                  2012 Vista Crest Drive
                     Carrollton, Texas 75007-1640
 17                  214-668-5578/Fax 972-236-6666
                     Firm Registration No. 436
 18                  Certification Expires 10-31-26
                     Notary Comm. Expires 12-1-25
 19
 20
 21
 22
 23
 24
 25




                                             Julia Whaley & Associates   214-668-5578        PageAPPX.122
                                                                                                  132 to 132 of 132
Case 4:21-cv-00033-ALM   Document 84-2 Filed 12/20/24   Page 125 of 132 PageID #:
                                     4093




                                                                            UNT_001317
                                                                              APPX.123
Case 4:21-cv-00033-ALM   Document 84-2 Filed 12/20/24   Page 126 of 132 PageID #:
                                     4094




                                                                            UNT_001318
                                                                              APPX.124
Case 4:21-cv-00033-ALM   Document 84-2 Filed 12/20/24   Page 127 of 132 PageID #:
                                     4095




                                                                            UNT_001319
                                                                              APPX.125
Case 4:21-cv-00033-ALM   Document 84-2 Filed 12/20/24   Page 128 of 132 PageID #:
                                     4096




                                                                            UNT_001320
                                                                              APPX.126
Case 4:21-cv-00033-ALM   Document 84-2 Filed 12/20/24   Page 129 of 132 PageID #:
                                     4097




                                                                            UNT_001321
                                                                              APPX.127
Case 4:21-cv-00033-ALM   Document 84-2 Filed 12/20/24   Page 130 of 132 PageID #:
                                     4098




                                                                            UNT_001322
                                                                              APPX.128
Case 4:21-cv-00033-ALM   Document 84-2 Filed 12/20/24   Page 131 of 132 PageID #:
                                     4099




                                                                            UNT_001323
                                                                              APPX.129
Case 4:21-cv-00033-ALM   Document 84-2 Filed 12/20/24   Page 132 of 132 PageID #:
                                     4100




                                                                            UNT_001324
                                                                              APPX.130
